Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20         Page 1 of 509 PageID 7940



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
 NATIONAL RIFLE ASSOCIATION OF              §
 AMERICA,                                   §
                                            §
         Plaintiff and Counter-Defendant    §
                                            §
 and                                        §
                                            §
 WAYNE LAPIERRE,                            §
                                            § Civil Action No. 3:19-cv-02074-G
         Third-Party Defendant,             §
                                            §
 v.                                         §
                                            §
 ACKERMAN MCQUEEN, INC.,                    §
                                            §
         Defendant and Counter-Plaintiff,   §
                                            §
 and                                        §
                                            §
 MERCURY GROUP, INC., HENRY                 §
 MARTIN, WILLIAM WINKLER,                   §
 MELANIE MONTGOMERY, and JESSE              §
 GREENBERG,                                 §
                                            §
         Defendants.                        §

      APPENDIX IN SUPPORT OF PLAINTIFF NATIONAL RIFLE ASSOCIATION OF
       AMERICA’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
      MOTION TO DISQUALIFY PLAINTIFF’S COUNSEL (WILLIAM A. BREWER III
                   AND BREWER ATTORNEYS & COUNSELORS)
                            BREWER, ATTORNEYS & COUNSELORS
                             Michael J. Collins, Esq. (TX Bar No. 00785493)
                             mjc@brewerattorneys.com
                             Alessandra Allegretto (TX Bar No. 24109575)
                             apa@brewerattorneys.com
                             1717 Main Street, Suite 5900
                             Dallas, Texas 75201
                             Telephone: (214) 653-4000
                             Facsimile: (214) 653-1015
                            ATTORNEYS FOR PLAINTIFF AND COUNTER-
                            DEFENDANT NATIONAL RIFLE ASSOCIATION OF
                            AMERICA
   Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 2 of 509 PageID 7941



     Plaintiff/Counter-Defendant National Rifle Association of America, (“NRA”) offers the

following evidence in support of their Response in Opposition to Defendants’ Motion to Disqualify

Plaintiff’s Counsel (William A. Brewer III and Brewer Attorneys & Counselors):

 EXHIBIT                             DESCRIPTION                                 PAGE NO.

             Declaration of Michael J. Collins, dated May 4, 2020                APPENDIX001-009

        1.   Alter, Charlotte, At the NRA’s TV Network, Guns Are a Weapon        APPENDIX010-014
             in      the     Culture     Wars,    Time,     available    at:
             https://time.com/5027071/nras-tv-network-guns-are-weapon-in-
             culture-wars/, dated November 16, 2017
        2.   Bradley, Laura, What the F—k is NRATV? Let John Oliver              APPENDIX015-017
             Explain, Vanity Fair, available at:
             vanityfair.com/Hollywood/2018/03/john-oliver-nra-tv-review-
             last-week-tonight, dated March 5, 2018
        3.   Folkenflik, David, NRATV Strays Seemingly Far From Gun              APPENDIX018-022
             Ownership, NPR, available at:
             https://www.npr.org/2018/05/07/609180 824/nratv-strays-
             seemingly-far-afield-from-gun-ownership, dated May 7, 2018
        4.   Public Statement from Brewer Attorneys & Counselors                 APPENDIX023-025
             (“BAC”), The NRA Sues New York Governor Andrew Cuomo,
             New York State Department of Financial Services Over Alleged
             Attack on First Amendment Rights, dated May 11, 2018
        5.   Parker, James, Live-Streaming the Apocalypse With NRATV, The        APPENDIX026-032
             Atlantic, available at:
             https://www.theatlantic.com/magazine/archive/2018/06/nratv-
             live-streaming-the-apocalypse/559139/, dated June 2018
        6.   Letter from Stephen Ryan to William A. Brewer III, dated            APPENDIX033-036
             August 22, 2018
        7.   Melas, Chloe, NRA TV Depicts Thomas & Friends in KKK                APPENDIX037-040
             Hoods, CNN, available at:
             https://www.cnn.com/2018/09/13/entertainment/thomas-the-
             tank-engine-nra-kkk-trnd/index.html, dated September 14, 2018
        8.   CPAC Speech of Wayne LaPierre, dated March 2, 2019                  APPENDIX041-050

        9.  Hakim, Danny, Incendiary N.R.A. Videos Find New Critics:             APPENDIX051-054
            N.R.A. Leaders, The New York Times, available at:
            https://www.nytimes.com/2019/03/11 /us/nra-video-streaming-
            nratv.html, dated March 11, 2019
        10. Letter from Jay Madrid to John Frazer, dated March 12, 2019          APPENDIX055-059

        11. Packel, Dan, Meet the Lawyers Who Clean Up Clients’ Worst            APPENDIX060-071
            Messes, The American Lawyer, dated March 28, 2019, available



                                                    1
 Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 3 of 509 PageID 7942



EXHIBIT                           DESCRIPTION                                  PAGE NO.

          at: https://www.law.com/americanlawyer/2019/03/28/meet-the-
          lawyers-who-clean-up-clients-worstmesses/
    12.   Public statement from Ackerman McQueen, Inc. (“AMc”), dated          APPENDIX072-073
          April 15, 2019
    13.   Letter from Wayne LaPierre to the NRA Board of Directors,            APPENDIX074-077
          dated April 25, 2019
    14.   Maremont, Mark, NRA’s Wayne LaPierre Says He Is Being                APPENDIX078-082
          Extorted, Pressured to Resign, The Wall Street Journal, dated
          April 26, 2019, available at: https://www.wsj.com/articles/nras-
          wayne-lapierre-says-he-is-being-extorte d-pressured-to-resign-
          11556314763
    15.   Brewer, William A. III, Advocacy as Art: Lawyers Must Engage         APPENDIX083-088
          in Issues and Crisis Management, Texas Lawyer, dated May 6,
          2019, available at:
          https://www.law.com/texaslawyer/2019/05/06/advocacy-as-art-
          lawyers-must-engage-in-issues-andcrisis-management
    16.   McQueen, Revan electronic biography, available on May 16,            APPENDIX089-090
          2019, https://www.am.com/our-team/?id=revan-mcqueen as
          obtained from Internet
          Archive_https://web.archive.org/web/20190516125304/https://w
          ww.am.com/our-team/?id=revan-mcqueen
    17.   Weinberg, Neil, Ad Firm Cuts Ties With NRA, Says ‘Chaos Led          APPENDIX091-093
          Us To Lose Faith’ After 38 Years, Bloomberg, Public statement
          from AMc, available at:
          https://www.bloomberg.com/news/articles/2019-05-29/nra-s-
          longtime-ad-agency-severs-ties-as-legal-battle-escalates
    18.   Emails from Dan Boren, dated May 30, 2019, from NRA v.               APPENDIX094-114
          AMc, et al., Circuit Court of Virginia for the City of Alexandria,
          Cause CL19001757, and NRA v. AMc, et al., Circuit Court of
          Virginia for the City of Alexandria, Cause CL19002067,
          included in Exhibit A to Plaintiff’s Responses and Objections to
          Defendant Ackerman McQueen Inc’s First Set of Interrogatories,
          which were included in Exhibit A to Plaintiff’s Memorandum of
          Law in Opposition to Defendant’s Motion to Compel Production
          of Documents, filed in the Virginia Lawsuits
    19.   AMc’s Opposition to Plaintiff’s Motion for Pro Hac Vice              APPENDIX115-120
          Admission of Brewer Attorneys, filed in Cause No. CL19001757
          and CL19002067, in the Circuit Court of Virginia for the City of
          Alexandria, dated June 24, 2019
    20.   Public statement from AMc, dated June 26, 2019                       APPENDIX121-122

    21. Transcript of Hearing, dated June 26, 2019, from NRA v. AMc,           APPENDIX123-137
        et al., Circuit Court of Virginia for the City of Alexandria, Cause
        CL19001757, now consolidated with NRA v. AMc, et al.,

                                                  2
 Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20               Page 4 of 509 PageID 7943



EXHIBIT                          DESCRIPTION                                 PAGE NO.

        Circuit Court of Virginia for the City of Alexandria, Cause
        CL19002067
    22. Public statement from AMc, dated July 3, 2019                        APPENDIX138-139

    23. Kovensky, Josh, Jilted NRATV Firm Accuses Gun Group of               APPENDIX140-143
        ‘Hurting As Many People As Possible,’ Talking Points Memo,
        available at: talkingpointsmemo.com/muckracker/nratv-
        severance-ackerman-mcqueen, dated July 3, 2019
    24. Lackmeyer, Steve, Ackerman McQueen Accuses NRA of                    APPENDIX144-146
        Threatening Employees, The Oklahoman available at:
        https://oklahoman.com/article/56 35424/ackerman-mcqueen-
        accuses-nra-of-threatening-employees, dated July 4, 2019
    25. Public statement from AMc, dated August 30, 2019                     APPENDIX147-148

    26. Public statement from AMc, dated September 13, 2019                  APPENDIX149-150

    27. Memorandum in Support of Defendants’ Plea in Bar, filed in           APPENDIX151-161
        NRA v. AMc, et al., Circuit Court of Virginia for the City of
        Alexandria, Cause CL19001757, and NRA v. AMc, et al.,
        Circuit Court of Virginia for the City of Alexandria, Cause
        CL19002067, dated September 24, 2019
    28. Order Denying Defendants’ Plea in Bar, filed in NRA v. AMc, et       APPENDIX162-164
        al., Cause CL19001757, in the Circuit Court of Virginia for the
        City of Alexandria, dated October 8, 2019
    29. Gutowski, Stephen, Staff Writer, Washington Free Beacon,             APPENDIX165-168
        Twitter, available at:
        https://twitter.com/StephenGutowski/status/11888840122422190
        09, dated October 28, 2019
    30. Stockler, Asher, NRATV Creator Threatens ‘Legal Action’              APPENDIX169-174
        Against Former Host Over ‘Fabrications,’ Newsweek, available
        at: https://www.ne wsweek.com/nratv-ackerman-mcqueen-nra-
        guns-1477939, dated December 18, 2019
    31. Excerpt of Deposition Transcript of                 , dated          APPENDIX175
        January 10, 2020, in NRA v. AMc, et al., Circuit Court of
        Virginia for the City of Alexandria, Cause CL19001757, and
        NRA v. AMc, et al., Circuit Court of Virginia for the City of
        Alexandria, Cause CL19002067
    32.             , Exhibit 15 to the Deposition of                dated   APPENDIX176
        January 10, 2020 in NRA v. AMc, et al., Circuit Court of Virginia
        for the City of Alexandria, Cause CL19001757, and NRA v.
        AMc, et al., Circuit Court of Virginia for the City of Alexandria,
        Cause CL19002067
    33. Excerpt of Deposition Transcript of                      , dated     APPENDIX177
        January 29, 2020, in NRA v. AMc, et al., Circuit Court of

                                                3
 Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20               Page 5 of 509 PageID 7944



EXHIBIT                          DESCRIPTION                                 PAGE NO.

        Virginia for the City of Alexandria, Cause CL19001757, and
        NRA v. AMc, et al., Circuit Court of Virginia for the City of
        Alexandria, Cause CL19002067
    34.            , Exhibit 10 to the Deposition of                  ,      APPENDIX178
        dated January 29, 2020 in NRA v. AMc, et al., Circuit Court of
        Virginia for the City of Alexandria, Cause CL19001757, and
        NRA v. AMc, et al., Circuit Court of Virginia for the City of
        Alexandria, Cause CL19002067
    35. Maremont, Mark, NRA Fails to Stop Former Ad Agency From              APPENDIX179-182
        Cooperating With New York Probe, available at:
        https://www.wsj.com/articles/nra-fails-to-stop-former-ad-
        agency-from-cooperating-with-new-york-probe-11582575899,
        dated February 24, 2020
    36. Declaration of Travis Carter, dated March 4, 2020                    APPENDIX183-186

    37. Order Granting Defendants’ Motion to Stay Proceedings from           APPENDIX187-190
        NRA v. AMc, et al., Circuit Court of Virginia for the City of
        Alexandria, Cause CL19001757, now consolidated with NRA v.
        AMc, et al., Circuit Court of Virginia for the City of Alexandria,
        Cause CL19002067, and NRA v. AMc, et al., Circuit Court of
        Virginia for the City of Alexandria, Cause CL19002886
        (collectively, the “Virginia Lawsuits”), dated March 18, 2020
    38. Declaration of Andrew Arulanandam, dated April 14, 2020              APPENDIX191-195

    39. Stockler, Asher, Longtime NRA Attorney Says Group’s Own              APPENDIX196-200
        Lawyer Embarked On ‘Highly Destructive Path,’ Court
        Documents Show, Newsweek, available at:
        https://www.newsweek.com/national-rifle-association-lawsuit-
        1498670, dated April 17, 2020
    40. Sanction reversal, Brewer v. Lennox Hearth Products, LLC, et         APPENDIX201-260
        al., No. 18-0426, Court of Appeals for the Seventh District,
        dated April 24, 2020,
    41. Declaration of Michael Erstling, dated April 29, 2020                APPENDIX261-265

    42. Declaration of Charles Cotton dated April 30, 2020                   APPENDIX266-269

    43. Declaration of Ian Shaw, dated April 30, 2020                        APPENDIX270-273

    44. Declaration of Grant Stinchfield, dated April 30, 2020               APPENDIX274-278

    45. Declaration of John Frazer, dated May 1, 2020                        APPENDIX279-286

    46. Declaration of Andrew Arulanandam, dated May 1, 2020                 APPENDIX286-290



                                                 4
 Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20            Page 6 of 509 PageID 7945



EXHIBIT                        DESCRIPTION                                PAGE NO.

    47. Declaration of James McCormack, dated May 3, 2020                 APPENDIX291-317

    48. Declaration of Wayne LaPierre, dated May 3, 2020                  APPENDIX318-326

    49. Declaration of Travis Carter, dated May 4, 2020                   APPENDIX327-340

    50. Declaration of Nancy Moore, dated May 4, 2020                     APPENDIX341-362

    51. Declaration of Richard Flamm, dated May 4, 2020                   APPENDIX363-423

    52. Declaration of Craig Spray, dated May 4, 2020                     APPENDIX424-428

    53. Chart summarizing AMc’s waiver, dated May 4, 2020                 APPENDIX429-433

    54. Brewer, Attorneys & Counselors Public Relations Unit              APPENDIX434-437
        electronic biographies (Travis Carter, Andrea Sadberry, and
        Katherine Leal Unmuth), available at:
        https://www.brewerattorneys.com/team-1
    55. Crisis Law and Strategy Group Overview, Quinn Emmanuel            APPENDIX438-448
        Urquhart & Sullivan, LLP, available at:
        https://www.quinnemanuel.com/the-firm/news-
        events/announcement-quinn-emanuel-launches-crisis-law-
        strategy/
    56. Crisis Management Overview, Akin Gump Strauss Hauer &             APPENDIX449-451
        Feld, LLP, available at:
        https://www.akingump.com/en/experience/practices/litigation/cri
        sis-management.html
    57. Defendants Answer, Plea in Bar, and Counterclaim, filed in        APPENDIX452-502
        CL19001757, in the Circuit Court for the City of Alexandria,
        dated May 23, 2019

  Dated: May 4, 2020                Respectfully submitted,

                                    BREWER, ATTORNEYS & COUNSELORS


                                    By:    /s/ Michael J. Collins
                                           Michael J. Collins, Esq.
                                           State Bar No. 00785493
                                           mjc@brewerattorneys.com
                                           Alessandra Allegretto
                                           State Bar No. 24109575
                                           1717 Main Street, Suite 5900
                                           Dallas, Texas 75201

                                              5
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 7 of 509 PageID 7946



                                               Telephone: (214) 653-4000
                                               Facsimile: (214) 653-1015

                                               ATTORNEYS FOR PLAINTIFF AND
                                               COUNTER-DEFENDANT NATIONAL RIFLE
                                               ASSOCIATION OF AMERICA



                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document was electronically

 served via the Court’s electronic case filing system upon all counsel of record on this 4th day of

 May 2020.

                                               /s/ Michael J. Collins
                                               Michael J. Collins
 4845-4957-5611, v. 1




                                                  6
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20              Page 8 of 509 PageID 7947

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


NATIONAL RIFLE ASSOCIATION OF                 §
AMERICA,                                      §
                                              §
        Plaintiff and Counter-Defendant,      §
                                              §
and                                           §
                                              §
WAYNE LAPIERRE,                               §
                                              §
        Third-Party Defendant,                §
                                              §
v.                                            § Civil Action No. 3:19-cv-02074-G
                                              §
ACKERMAN MCQUEEN, INC.,                       §
                                              §
        Defendant and Counter-Plaintiff,      §
                                              §
and                                           §
                                              §
MERCURY GROUP, INC., HENRY                    §
MARTIN, WILLIAM WINKLER,                      §
MELANIE MONTGOMERY, and JESSE                 §
GREENBERG,                                    §
                                              §
        Defendants.                           §


       DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF PLAINTIFF
        NATIONAL RIFLE ASSOCIATION OF AMERICA’S OPPOSITION TO
         DEFENDANTS’ MOTION TO DISQUALIFY PLAINTIFF’S COUNSEL

       I, MICHAEL J. COLLINS, declare under penalty of perjury pursuant to 28 U.S.C. § 1746,

that the following is true and correct:

       1.      I respectfully submit this declaration in support of Plaintiff National Rifle

Association of America’s Opposition to Defendants’ Motion To Disqualify Plaintiff’s Counsel

(the “Motion”).



                                             1


                                                                                               Appendix001
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 9 of 509 PageID 7948

       2.      I am a partner with the law firm Brewer, Attorneys & Counselors (“BAC”).

       3.      I serve as counsel of record for the National Rifle Association of America

(the “NRA”) in the above-captioned action (the “Action”).

       4.      William A. Brewer III will not appear as an advocate at the jury trial of this matter.

       5.      I am fully competent and qualified in all respects to make this Declaration. The

facts stated herein are true and correct, and unless otherwise qualified, are within my personal

knowledge.

       6.      As counsel for the NRA, I have reviewed pleadings, and other documents related

to this Action, and I am familiar with, and have personal knowledge of, the facts and circumstances

of this case, unless otherwise stated herein.

       7.      Attached to this declaration are true and correct copies of the following documents:

               a. Alter, Charlotte, At the NRA’s TV Network, Guns Are a Weapon in the Culture

                   Wars, Time, available at: https://time.com/5027071/nras-tv-network-guns-are-

                   weapon-in-culture-wars/, dated November 16, 2017, attached as Exhibit 1.

               b. Bradley, Laura, “What the F—k is NRATV?” Let John Oliver Explain, Vanity

                   Fair,   available   at:   vanityfair.com/Hollywood/2018/03/john-oliver-nra-tv-

                   review-last-week-tonight, dated March 5, 2018, attached as Exhibit 2.

               c. Folkenflik, David, NRATV Strays Seemingly Far From Gun Ownership, NPR,

                   available    at:    https://www.npr.org/2018/05/07/609180       824/nratv-strays-

                   seemingly-far-afield-from-gun-ownership, dated May 7, 2018, attached as

                   Exhibit 3.




                                                  2


                                                                                                        Appendix002
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20              Page 10 of 509 PageID 7949

      d. Public Statement from BAC, The NRA Sues New York Governor Andrew

         Cuomo, New York State Department of Financial Services Over Alleged Attack

         on First Amendment Rights, dated May 11, 2018, attached as Exhibit 4.

      e. Parker, James, Live-Streaming the Apocalypse With NRATV, The Atlantic,

         available   at:   https://www.theatlantic.com/magazine/archive/2018/06/nratv-

         live-streaming-the-apocalypse/559139/, dated June 2018, attached as Exhibit

         5.

      f. Letter from Stephen Ryan to William A. Brewer III, dated August 22, 2018,

         attached as Exhibit 6.

      g. Melas, Chloe, NRA TV Depicts Thomas & Friends in KKK Hoods, CNN,

         available at: https://www.cnn.com/2018/09/13/entertainment/thomas-the-tank-

         engine-nra-kkk-trnd/index.html, dated September 14, 2018, attached as Exhibit

         7.

      h. CPAC Speech of Wayne LaPierre, dated March 2, 2019, attached as Exhibit 8.

      i. Hakim, Danny, Incendiary N.R.A. Videos Find New Critics: N.R.A. Leaders,

         The New York Times, available at: https://www.nytimes.com/2019/03/11

         /us/nra-video-streaming-nratv.html, dated March 11, 2019, attached as Exhibit

         9.

      j. Letter from Jay Madrid to John Frazer, dated March 12, 2019, attached as

         Exhibit 10.

      k. Packel, Dan, Meet the Lawyers Who Clean Up Clients’ Worst Messes, The

         American      Lawyer,      dated    March     28,    2019,    available   at:




                                       3


                                                                                         Appendix003
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20               Page 11 of 509 PageID 7950

         https://www.law.com/americanlawyer/2019/03/28/meet-the-lawyers-who-

         clean-up-clients-worstmesses/, attached as Exhibit 11.

      l. Public statement from Ackerman McQueen, Inc. (“AMc”), dated April 15,

         2019, attached as Exhibit 12.

      m. Letter from Wayne LaPierre to the NRA Board of Directors, dated April 25,

         2019, attached as Exhibit 13.

      n. Mark Maremont, NRA’s Wayne LaPierre Says He Is Being Extorted, Pressured

         to Resign, The Wall Street Journal, dated April 26, 2019, available at:

         https://www.wsj.com/articles/nras-wayne-lapierre-says-he-is-being-extorte d-

         pressured-to-resign-11556314763, attached as Exhibit 14.

      o. Brewer, William A. III, Advocacy as Art: Lawyers Must Engage in Issues and

         Crisis Management, Texas Lawyer, dated May 6, 2019, available at:

         https://www.law.com/texaslawyer/2019/05/06/advocacy-as-art-lawyers-must-

         engage-in-issues-andcrisis-management, attached as Exhibit 15.

      p. Revan McQueen electronic biography, available on May 16, 2019,

         https://www.am.com/our-team/?id=revan-mcqueen as obtained from Internet

         Archive_https://web.archive.org/web/20190516125304/https://www.am.com/

         our-team/?id=revan-mcqueen, attached as Exhibit 16.

      q. Weinberg, Neil, Ad Firm Cuts Ties With NRA, Says ‘Chaos Led Us To Lose

         Faith’ After 38 Years, Bloomberg, Public statement from AMc, available at:

         https://www.bloomberg.com/news/articles/2019-05-29/nra-s-longtime-ad-

         agency-severs-ties-as-legal-battle-escalates, dated May 29, 2019, attached as

         Exhibit 17.



                                     4


                                                                                          Appendix004
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20              Page 12 of 509 PageID 7951

      r. Emails from Dan Boren, dated May 30, 2019, from NRA v. AMc, et al., Circuit

         Court of Virginia for the City of Alexandria, Cause CL19001757, and NRA v.

         AMc, et al., Circuit Court of Virginia for the City of Alexandria, Cause

         CL19002067, included in Exhibit A to Plaintiff’s Responses and Objections to

         Defendant Ackerman McQueen Inc’s First Set of Interrogatories, which were

         included in Exhibit A to Plaintiff’s Memorandum of Law in Opposition to

         Defendant’s Motion to Compel Production of Documents, filed in the Virginia

         Lawsuits, attached as Exhibit 18.

      s. AMc’s Opposition to Plaintiff’s Motion for Pro Hac Vice Admission of Brewer

         Attorneys, filed in Cause No. CL19001757 and CL19002067, in the Circuit

         Court of Virginia for the City of Alexandria, dated June 24, 2019, attached as

         Exhibit 19.

      t. Public statement from AMc, dated June 26, 2019, attached as Exhibit 20.

      u. Transcript of Hearing, dated June 26, 2019, from NRA v. AMc, et al., Circuit

         Court of Virginia for the City of Alexandria, Cause CL19001757, and NRA v.

         AMc, et al., Circuit Court of Virginia for the City of Alexandria, Cause

         CL19002067, attached as Exhibit 21.

      v. Public statement from AMc, dated July 3, 2019, attached as Exhibit 22.

      w. Kovensky, Josh, Jilted NRATV Firm Accuses Gun Group of ‘Hurting As Many

         People    As     Possible,’       Talking   Points   Memo,    available    at:

         talkingpointsmemo.com/muckracker/nratv-severance-ackerman-mcqueen,

         dated July 3, 2019, attached as Exhibit 23.




                                       5


                                                                                          Appendix005
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 13 of 509 PageID 7952

      x. Lackmeyer, Steve, Ackerman McQueen Accuses NRA of Threatening

         Employees, The Oklahoman available at: https://oklahoman.com/article/56

         35424/ackerman-mcqueen-accuses-nra-of-threatening-employees, dated July

         4, 2019, attached as Exhibit 24.

      y. Public statement from AMc, dated August 30, 2019, attached as Exhibit 25.

      z. Public statement from AMc, dated September 13, 2019, attached as Exhibit 26.

      aa. Memorandum in Support of Defendants’ Plea in Bar, filed in NRA v. AMc, et

         al., Circuit Court of Virginia for the City of Alexandria, Cause CL19001757,

         and NRA v. AMc, et al., Circuit Court of Virginia for the City of Alexandria,

         Cause CL19002067, and NRA v. AMc, et al., Circuit Court of Virginia for the

         City of Alexandria, Cause CL19002886 (collectively, the “Virginia Lawsuits”),

         attached as Exhibit 27.

      bb. Order Denying Defendants’ Plea in Bar, filed in NRA v. AMc, et al., Cause

         CL19001757, in the Circuit Court of Virginia for the City of Alexandria, dated

         October 8, 2019, attached as Exhibit 28.

      cc. Gutowski, Stephen, Staff Writer, Washington Free Beacon, Twitter, available

         at: https://twitter.com/StephenGutowski/status/1188884012242219009, dated

         October 28, 2019, attached as Exhibit 29.

      dd. Stockler, Asher, NRATV Creator Threatens ‘Legal Action’ Against Former

         Host   Over   ‘Fabrications,’      Newsweek,   available    at:   https://www.ne

         wsweek.com/nratv-ackerman-mcqueen-nra-guns-1477939, dated December

         18, 2019, attached as Exhibit 30.




                                      6


                                                                                            Appendix006
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 14 of 509 PageID 7953

      ee. Deposition Excerpt of                   in the Virginia Lawsuits, dated January

            10, 2020, attached as Exhibit 31.

      ff.               , Exhibit    to the Deposition of                  in the Virginia

            Lawsuits, dated January 10, 2020, attached as Exhibit 32.

      gg. Deposition Excerpt of                            in the Virginia Lawsuits, dated

            January 29, 2020, attached as Exhibit 33.

      hh.                Exhibit    to the Deposition of                    in the Virginia

            Lawsuits, dated January 29, 2020, attached as Exhibit 34.

      ii. Maremont, Mark, NRA Fails to Stop Former Ad Agency From Cooperating

            With New York Probe, available at: https://www.wsj.com/articles/nra-fails-to-

            stop-former-ad-agency-from-cooperating-with-new-york-probe-11582575899,

            dated February 24, 2020, attached as Exhibit 35.

      jj. Declaration of Travis Carter, dated March 4, 2020, attached as Exhibit 36.

      kk. Order Granting Defendants’ Motion to Stay Proceedings in the Virginia

            Lawsuits, dated March 18, 2020, attached as Exhibit 37.

      ll. Declaration of Andrew Arulanandam, dated April 14, 2020, attached as Exhibit

            38.

      mm.         Stockler, Asher, Longtime NRA Attorney Says Group’s Own Lawyer

            Embarked On ‘Highly Destructive Path,’ Court Documents Show, Newsweek,

            available at: https://www.newsweek.com/national-rifle-association-lawsuit-

            1498670, dated April 17, 2020, attached as Exhibit 39.




                                         7


                                                                                              Appendix007
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 15 of 509 PageID 7954

      nn. Sanction reversal, Brewer v. Lennox Hearth Products, LLC, et al., No. 18-0426,

         Court of Appeals for the Seventh District, dated April 24, 2020, attached as

         Exhibit 40.

      oo. Declaration of Michael Erstling, dated April 29, 2020, attached as Exhibit 41.

      pp. Declaration of Charles Cotton dated April 30, 2020, attached as Exhibit 42.

      qq. Declaration of Ian Shaw, dated April 30, 2020, attached as Exhibit 43.

      rr. Declaration of Grant Stinchfield, dated April 30, 2020, attached as Exhibit 44.

      ss. Declaration of John Frazer, dated May 1, 2020, attached as Exhibit 45.

      tt. Declaration of Andrew Arulanandam, dated May 1, 2020, attached as Exhibit

         46.

      uu. Declaration of James McCormack, dated May 3, 2020, attached as Exhibit 47.

      vv. Declaration of Wayne LaPierre, dated May 3, 2020, attached as Exhibit 48.

      ww.      Declaration of Travis Carter, dated May 4, 2020, attached as Exhibit 49.

      xx. Declaration of Nancy Moore, dated May 4, 2020, attached as Exhibit 50.

      yy. Declaration of Richard Flamm, dated May 4, 2020, attached as Exhibit 51.

      zz. Declaration of Craig Spray, dated May 4, 2020, attached as Exhibit 52.

      aaa.     Chart summarizing AMc’s waiver, dated May 4, 2020, attached as Exhibit

         53.

      bbb.     Brewer, Attorneys & Counselors Public Relations Unit electronic

         biographies (Travis Carter, Andrea Sadberry, and Katherine Leal Unmuth),

         available at: https://www.brewerattorneys.com/team-1, attached as Exhibit 54.

      ccc.     Crisis Law and Strategy Group Overview, Quinn Emmanuel Urquhart &

         Sullivan, LLP, available at: https://www.quinnemanuel.com/the-firm/news-



                                        8


                                                                                            Appendix008
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                        Page 16 of 509 PageID 7955
                       events/announcement-quinn-emanuel-launches-crisis-law-strategy/,          attached

                       as Exhibit 55.

                    ddd.   Crisis Management Overview, Akin Gump Strauss Hauer & Feld, LLP,

                       available     at:   https://www.akingump.com/en/experience/practices/litigatio

                       n/crisis-management.html, attached as Exhibit 56.

                    eee.   Defendants Answer, Plea in Bar, and Counterclaim, filed in CL19001757,

                       in the Circuit Court for the City of Alexandria, dated May 23, 2019, attached as

                       Exhibit 57.

        8.          I declare under penalty of perjury that the foregoing is true and correct.



Executed this 4th day of May 2020.

                                                          /s/ Michael J. Collins
                                                          MICHAEL J. COLLINS




                                                      9
4829-5111-6731.25



                                                                                                            Appendix009
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 17 of 509 PageID 7956




                     EXHIBIT 1




                                                                              Appendix010
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                    Page 18 of 509 PageID 7957




         At the NRA’s
                   YOUR TV
        CORONAVIRUS BRIEF     Network,
                        QUESTIONS           Guns
                                  ANSWERED WEARING    AreSHOPPING
                                                   MASKS   a Weapon
                                                                  SAFELY in the
                                                                         NEWSLETTER
                                   Culture Wars




    NRA CEO Wayne LaPierre speaks at the Conservative Political Action Conference in Oxon Hill, Md., on Feb. 24 Mark
    Peterson—Redux for TIME




                                                                  BY CHARLOTTE ALTER
                                                             NOVEMBER 16, 2017 6:21 AM EST




          E        ight concerned Americans sit around a coffee table and talk about
                   entertainment. One says he stopped paying for cable when everything
        started “turning left.” Another is upset that his young daughter watches reality
        shows about teen pregnancy. “There’s a war for our culture,” says Tim


https://time.com/5027071/nras-tv-network-guns-are-weapon-in-culture-wars/                                                 1/4


                                                                                                                       Appendix011
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 19 of 509 PageID 7958

        Clemente, a former counterterrorism expert turned TV producer. “And it’s led
        by Hollywood.”


        No one mentions guns, but they don’t have to. The coffee klatch was sponsored
        by Sig Sauer firearms, and the discussion took place in front of the National
        Rifle Association logo. This is a scene from Defending Our America, Season 2,
        Episode 5, a production of NRATV. Launched in late 2016, the online television
        platform of the powerful gun-rights lobby comprises two live news channels
        and 34 taped shows, all sponsored by gunmakers.


        The NRA’s primary tool of influence remains campaign spending: it shelled out
        more than $54 million to help lift President Donald Trump and pro-gun-rights
        lawmakers during the 2016 election cycle, according to the Center for
        Responsive Politics. But it has long sought to spread its message through
        media as well. Its magazine, the American Rifleman, dates to 1923, and in 2004
        the group started its own news company focused mostly on radio broadcasts.
        Now, with NRATV, it is trying to use viral video segments and shareable online
        content to sway ordinary Americans.


        The goal appears to be to encourage a sense of shared identity around gun
        ownership. (The NRA declined multiple requests to comment.) As NRATV’s
        programming suggests, that identity has become about more than just personal
        protection, hunting or marksmanship. In an increasingly polarized America, a
        firearm is a symbol of its owner’s cultural values. “They don’t always talk about
        gun issues,” says Robert Spitzer, an NRA member and professor at SUNY
        Cortland who has written five books about gun policy. “It’s about beliefs and
        how people view the world.”


        If NRATV is devoted to defining the gun owner’s identity, its programming
        does so in some unexpected ways. Sure, its segments are anti–Black Lives
        Matter, pro-cop, antimedia and pro-Trump. And, yes, they’ve picked fights
        with the Women’s March and the New York Times. But NRATV also features
        more welcoming content, such as stories of teenage girls gaining confidence
        through shooting and a middle-aged couple whose marriage is strengthened by
        a shared passion for hunting. In one episode, NRATV’s Colion Noir explores
https://time.com/5027071/nras-tv-network-guns-are-weapon-in-culture-wars/                                2/4


                                                                                                    Appendix012
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                        Page 20 of 509 PageID 7959

        which gun would work best against the zombies in the AMC series The Walking
        Dead.


        NRATV also makes an effort to bring more women, minorities and LGBTQ
        people into the fold, often borrowing the language of the left. After the Pulse
        nightclub shooting in Orlando, NRATV urged LGBTQ Americans to arm
        themselves against hate crimes. Commentator Dana Loesch hailed firearms
        training as a form of feminism, suggesting that armed self-defense is “what
        real empowerment looks like.” When Black Lives Matter criticized the NRA for
        failing to defend the gun rights of Philando Castile, a black man killed by a
        Minnesota police officer during a 2016 traffic stop, Noir, who is African
        American, argued that tighter gun laws would lead cops to “lock up even more
        black men” and perpetuate mass incarceration. “The NRA isn’t the one telling
        me I shouldn’t own guns because I’m black–white liberal politicians are,” says
        Noir in a July video. “That, my friends, is white supremacy.”


        The overriding message is that the NRA identity is under attack. There’s a tone
        of simmering indignation and a sense of persecution that curdles into hostility
        toward government, media and other cultural institutions. “Their hateful
        defiance of [Trump’s] legitimacy is an insult to each of us,” Loesch says in one
        video. “But the ultimate insult is that they think we’re so stupid that we’ll let
        them get away with it.”


        The same attention to populist resentments helped lift the President into
        office, a powerful sense that it’s us against them. “They’re mimicking the
        messaging content of Trump support, of Breitbart and of Steve Bannon,” says
        Spitzer. “They’re adapting themselves to the culture-war text of the moment.”


        This appears in the November 27, 2017 issue of TIME.



                                                         MOST POPULAR ON TIME

         1      This Japanese Island Became a Coronavirus Warning to the World



                                 d                f     d           l h
https://time.com/5027071/nras-tv-network-guns-are-weapon-in-culture-wars/                                    3/4


                                                                                                        Appendix013
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                             Page 21 of 509 PageID 7960
                Tyson Foods Warns of Food Supply Shortage
         2
         3      Mayor: Puerto Rico Hasn't Received Stimulus Money




                                                   Get our Politics Newsletter.
               Sign up to receive the day's most important political stories from Washington and
                                                    beyond.


            Enter your email address



                                                                        SIGN UP NOW


          You can unsubscribe at any time. By signing up you are agreeing to our Terms of Use and Privacy Policy




                            WRITE TO CHARLOTTE ALTER AT CHARLOTTE.ALTER@TIME.COM.




https://time.com/5027071/nras-tv-network-guns-are-weapon-in-culture-wars/                                             4/4


                                                                                                                   Appendix014
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 22 of 509 PageID 7961




                     EXHIBIT 2




                                                                              Appendix015
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                      Page 23 of 509 PageID 7962

       1ÿ8ÿÿÿÿ08ÿ ÿ783ÿ!"#71
   $%&'()*%'+,-./077160234503607 783313881711888 
01231ÿ5316789ÿ




 19 ÿ68ÿ:ÿ#:0022;<800!9<18 =
  8ÿ;;;9ÿ>.?&ÿAB'$C+ÿ16ÿ1ÿ8ÿ#886ÿDEFGÿIJJKÿLMNOPQGRÿ78ÿ88S8ÿT261ÿ8 9ÿÿ78
 1ÿ832#ÿ1ÿU887ÿ1<2ÿ82ÿ8ÿ11ÿ8ÿ38ÿUÿ2ÿU887ÿ1<2ÿ28771:ÿ1ÿ778ÿÿ869ÿS38ÿÿ<8839
16ÿ2ÿ91ÿ877ÿS8ÿRÿ<16ÿU3ÿS8ÿ177ÿ2ÿ789ÿ<2ÿ2ÿ177ÿ#3ÿÿU3SÿS ÿ9769ÿ6816ÿ16;ÿÿ8
U1772ÿU3Sÿ8ÿ9 7ÿ 8ÿÿV137169ÿ73619ÿ9289ÿ783ÿ869ÿS38ÿ16ÿS38ÿ<316
 18ÿ<88ÿ63##8ÿ83ÿ#1383 #ÿ1ÿ8ÿ117ÿU78ÿ91W<2ÿ8ÿ8"98#ÿ1
<88ÿ9ÿ1ÿ9 187ÿ1ÿ38S1ÿ1171<78ÿÿ381Sÿÿ6817ÿ#71U3Sÿ97268ÿ2ÿ16ÿ##78
;
    ÿ177ÿUÿ8ÿ692ÿÿ188ÿUÿ<98ÿ9ÿ18ÿ28 ÿÿS8 ÿ<8ÿ13ÿ11838ÿ8
X289ÿY 1ÿ8ÿU29ÿÿ1Rÿ783ÿ16;ÿ589128ÿ8ÿ32ÿÿ2ÿS1ÿ18ÿ192177ÿ88ÿ
<ÿUÿÿ#3831SS8ÿ12ÿ88ÿ3817Z8ÿ;
ÿU81ÿ97#ÿU3Sÿÿ18ÿ88ÿ317ÿÿ3898ÿ813W97268ÿ8ÿÿ1 9 ÿ[%&%ÿ\.C]-?ÿ113
 81839ÿ 8ÿ28ÿ83ÿS861ÿÿ1118ÿ3817ÿ81;ÿ 8ÿ28ÿ83ÿ9 7ÿÿ819 ÿ9 7638
1ÿ83ÿ#3868ÿÿ183ÿ^783;ÿ 8ÿ7ÿ11ÿ18ÿ#ÿW8ÿ7ÿ11ÿ18ÿ23ÿ923ÿ16
23ÿU3886SWÿÿU8 ÿÿ7898ÿUÿ78ÿ1ÿ8ÿ9789 86ÿUÿUÿ32;
ÿ7839ÿÿ2<ÿÿ<19177ÿ"ÿ81ÿÿ1ÿS29 ÿ7183ÿ<2688;ÿ52ÿ1ÿ8ÿ869ÿÿ68
UU83ÿ1ÿ168ÿ138ÿUÿ#3831SS89ÿ97268ÿÿU8183ÿ1ÿGQ_JJÿ`NGOabJFÿcMEdFQMeÿ9UUÿ
1 9 ÿ8ÿ#139#1ÿ88ÿ#383887ÿS38ÿ16ÿS38ÿ13286ÿ<ÿ8ÿ82ÿ8R38ÿ768;ÿ6

                                                                                                    Appendix016
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20             Page 24 of 509 PageID 7963




012ÿ455ÿ16ÿ278ÿ9102802ÿÿ4 8 ÿ42ÿ0ÿ1 ÿ8278ÿ278ÿÿÿ 40ÿ4ÿÿ 7ÿ61ÿ1 80ÿ58
  4 ÿ27ÿ88 ÿ58ÿ !"ÿ$%ÿ&'()%ÿ*+ %,ÿ4ÿ0 ÿ16ÿ-./ÿ61ÿ684 ÿ0280 8 ÿ21ÿ 48ÿ1 80ÿ 18
91 612458ÿ27ÿ278ÿ84ÿ16ÿ100ÿ40 ÿ60ÿ0 
01278ÿ854ÿ6028ÿ16ÿ1.2ÿ30  054ÿ27885ÿ4ÿ512ÿ16ÿ70206619 8 ÿ910280272
874 ÿ012ÿ278ÿ0 ÿ404108ÿ15ÿ80892ÿ8758ÿ278ÿ 45ÿ48ÿ8 92458ÿ8424ÿ712ÿ16ÿ0428
58ÿ4 ÿ278ÿ198618ÿ248 ÿ4ÿ668802ÿ427ÿÿÿÿ58 ÿ9:$;"%ÿ<$(%+ÿ40 ÿ 18ÿ=8408 ÿ58228ÿ61
4ÿ845ÿ5585
178ÿ6045ÿ8600ÿ9744928 29ÿ16ÿ278ÿ0821ÿ58ÿ4 ÿ ÿ4020ÿ4ÿ584ÿ 10ÿ16ÿ 894
27ÿ27842ÿ410 ÿ884ÿ058ÿ9108ÿ40 ÿ108ÿ15210ÿ ÿ116ÿ78ÿ1558 ÿ4ÿ95ÿ0ÿ797ÿ41
2450ÿ784 ÿ61 ÿ278ÿ0821ÿ4028 ÿ4ÿ28640ÿ928ÿ16ÿ21 445ÿ 894ÿ0120ÿ178458ÿ 0
278ÿ4 8ÿ28970>8 ÿ4 ÿ40ÿ061 8945ÿ2788?ÿ@ÿ7 40ÿ24669ÿ8220ÿ41ÿ102ÿA1ÿ41ÿ748ÿ@B@B
 4 427C8ÿ0ÿ271 8ÿ7462168497ÿ5498 2ÿ8ÿ41ÿ28 ÿ16ÿ8220ÿDEFF68 2ÿ17885ÿ12ÿ21ÿ8ÿ4
8228ÿ44Gÿ14ÿ278ÿ6FHÿ445458ÿ42ÿ44ÿ211ÿ 404ÿ218 ÿ084ÿ41ÿ1742ÿ061 8945658ÿ41497
  48 ÿ80 8ÿ58ÿ4 ÿ098ÿ 404ÿ1.ÿ88 ÿ48ÿ01ÿ 8ÿ10 18 ÿ4ÿ0ÿ40 
 ÿ58ÿ48 ÿÿ78ÿ5862ÿ88ÿ27ÿ108ÿ6045ÿ27172?ÿ178ÿ40 8ÿ21ÿ278ÿ>8 210ÿ=8742ÿ278
69ÿÿ1.25ÿÿ25ÿI 2ÿ4ÿ8 85ÿ21ÿ855ÿ 894ÿ0 ÿ17425ÿ8224ÿ 97ÿ2ÿA18 ÿ2ÿ12ÿ@25
7108 254ÿ74ÿ21ÿ44ÿ2784ÿ1052ÿ8845ÿ278ÿ420 ÿ1ÿ25ÿ54 58ÿ2742ÿ01ÿ108ÿÿ42970ÿ27 ÿÿÿ
1.ÿ 72ÿ4924554ÿ8ÿ278ÿ 8 2ÿ 1 2ÿ240 4802ÿ270ÿ2742ÿ2ÿ18 ÿ170ÿ412ÿ2ÿ27 ÿ44?ÿ6
278ÿÿÿ4ÿ68191 ÿ84ÿ9740ÿ42ÿ41ÿ1.ÿÿ2742ÿ845ÿ 951 ÿ742ÿ@ÿ2ÿ84869429702
B8ÿ2ÿÿ@ÿ2ÿ88854ÿ802824002ÿ 152854ÿ@ÿ2ÿ278ÿ 40ÿ270ÿ41ÿ715ÿ8ÿ18 ÿ4122
J1454ÿ012ÿK894 8ÿ278ÿ845ÿ227ÿ788ÿÿ742ÿ1ÿ01ÿ742ÿ2ÿÿ 8428ÿ2742ÿ884108ÿ88ÿ278
848 ÿ10ÿ2742ÿ690ÿ84




                                                                                              Appendix017
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 25 of 509 PageID 7964




                     EXHIBIT 3




                                                                              Appendix018
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                       Page 26 of 509 PageID 7965
    HOURLY NEWS
    LISTEN Play
           LIVELive Radio
    PLAYLIST

                          DONATE


    NATIONAL

   NRATV Strays Seemingly Far Afield From Gun
   Ownership
   May 7, 2018 · 4:34 PM ET
   Heard on All Things Considered


             DAVID FOLKENFLIK




                3-Minute Listen                                                                          PLAYLIST Download
                                                                                                                 Transcript


   National Rifle Association members did not have to travel to Dallas to keep up with
   activities at the recent annual convention. They could go online and tune in to NRATV
   for a live stream. NRATV isn't just for the convention. It's available to anyone with an
   internet connection, providing a steady pro-gun message, whether viewers belong to
   the NRA or not.




   MARY LOUISE KELLY, HOST:

   Members of the National Rifle Association didn't have to go to Dallas to keep up with
   the group's annual convention over the weekend. They could get the information they
   needed by going online and watching NRATV, which provides its stream for free. As
   NPR's David Folkenflik reports, NRATV programming ranges far beyond guns - a
   quick heads-up that his report includes some sound of gunfire.

   DAVID FOLKENFLIK, BYLINE: NRATV started in 2014 with a focus on guns. I mean,
   of course it would. For example, whenever there's a mass shooting, NRATV pushes
   back against critics of easy gun ownership. Here's Grant Stinchfield.


https://www.npr.org/2018/05/07/609180824/nratv-strays-seemingly-far-aﬁeld-from-gun-ownership                                  1/14


                                                                                                                         Appendix019
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                       Page 27 of 509 PageID 7966

   (SOUNDBITE OF TV SHOW, "STINCHFIELD")

   GRANT STINCHFIELD: At every step of the way, gun laws were instituted. In some
   cases, they were used. And they didn't work.

   FOLKENFLIK: Entertainment programming includes a reality show sponsored by the
   gun manufacturing consortium SIG Sauer.

   (SOUNDBITE OF TV SHOW, "EMPOWER THE PEOPLE")

   KIMBERLY CORBAN: Just over a week ago, I walked into the SIG Academy for the
   first time. I was a confident gun owner.

   (SOUNDBITE OF GUNFIRE)

   CORBAN: But I'd never done any sort of serious training. And let's just say it showed.

   FOLKENFLIK: "Empower The People" features a rape victim named Kimberly
   Corban.

   (SOUNDBITE OF TV SHOW, "EMPOWER THE PEOPLE")

   CORBAN: Drop your gun.

   FOLKENFLIK: In this, Corban heads inside a staged site.

   (SOUNDBITE OF TV SHOW, "EMPOWER THE PEOPLE")

   CORBAN: Anybody else inside?

   (SOUNDBITE OF GUNFIRE)

   UNIDENTIFIED PERSON: All right, go ahead. Holster. What did you see here?

   CORBAN: A dude with a gun.

   UNIDENTIFIED PERSON: Right. You killed Jethro for drinking a beer.



https://www.npr.org/2018/05/07/609180824/nratv-strays-seemingly-far-aﬁeld-from-gun-ownership                                2/14


                                                                                                                       Appendix020
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                       Page 28 of 509 PageID 7967

   FOLKENFLIK: The programming is consistent and all in the same direction. Shannon
   Watts is founder of the gun control advocacy group Moms Demand Action. Watts has
   campaigned for streaming services, including Apple, Amazon, Google and Roku, to
   drop NRATV without success.

   SHANNON WATTS: NRATV is the media arm of the gun lobby. It's trying to pit
   Americans against one another to ultimately further the gun lobby's agenda of guns
   anywhere for anyone, no questions asked.

   FOLKENFLIK: NRA officials did not return several calls or emails seeking comment. A
   frequent NRA guest and substitute host also did not materialize for a promised
   interview. NRATV is a gun enthusiast's dream come true.

   NICOLE HEMMER: It started off as a single-issue media outlet promoting gun rights
   messaging to the millions of NRA members across the country.

   FOLKENFLIK: Nicole Hemmer is a professor at the University of Virginia's Miller
   Center who has written widely on the history of conservative media. She says NRATV
   is evolving.

   HEMMER: It has taken a turn to become a pretty pugilistic or militaristic partisan
   outlet in the sense that it's anti-immigrant, pro-policing, anti-Muslim in some cases,
   anti-black in other cases.

   FOLKENFLIK: So programming that's not explicitly about guns at all, such as this
   from Grant Stinchfield on President Trump's shadowy enemies.

   (SOUNDBITE OF TV SHOW, "STINCHFIELD")

   STINCHFIELD: Our government is no longer ours. It's theirs. And while our president
   is trying to take it back in the name of the people, he faces the real resistance, the deep
   state.

   FOLKENFLIK: Nicole Hemmer says the NRA is seeking to unite conservatives who are
   not gun right absolutists with other Republicans in the Trump era.



https://www.npr.org/2018/05/07/609180824/nratv-strays-seemingly-far-aﬁeld-from-gun-ownership                                3/14


                                                                                                                       Appendix021
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                       Page 29 of 509 PageID 7968

   HEMMER: Support for Trump has become a kind of litmus test for the base. Loyalty
   or support for Trump has become kind of a route to power, a route to access.

   FOLKENFLIK: Part of what's built into NRATV is a constant attack on the media and
   popular culture, as in this viral ad from NRATV's Dana Loesch.

   (SOUNDBITE OF POLITICAL AD, "THE VIOLENCE OF LIES")

   DANA LOESCH: They use their schools to teach children that their president is
   another Hitler. They use their movie stars and singers and comedy shows and award
   shows to repeat their narrative over and over again.

   FOLKENFLIK: Earlier this afternoon, the NRA named retired Lieutenant Colonel
   Oliver North as its new president. North is known for his role in the Reagan White
   House as a national security aide and in the Iran-Contra scandal. He became a
   conservative radio star and a recurring figure on Fox News - another blurring of the
   lines between the NRA and the conservative media. David Folkenflik, NPR News.

   Copyright © 2018 NPR. All rights reserved. Visit our website terms of use and permissions pages at www.npr.org for
   further information.

   NPR transcripts are created on a rush deadline by Verb8tm, Inc., an NPR contractor, and produced using a proprietary
   transcription process developed with NPR. This text may not be in its final form and may be updated or revised in the
   future. Accuracy and availability may vary. The authoritative record of NPR’s programming is the audio record.




                       Sign Up For The NPR Daily Newsletter
                   Catch up on the latest headlines and unique NPR stories, sent every weekday.


                                                                  What's your email?


                                                                        SUBSCRIBE

               By subscribing, you agree to NPR's terms of use and privacy policy. NPR may share your name and email
               address with your NPR station. See Details. This site is protected by reCAPTCHA and the Google Privacy


https://www.npr.org/2018/05/07/609180824/nratv-strays-seemingly-far-aﬁeld-from-gun-ownership                                  4/14


                                                                                                                           Appendix022
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 30 of 509 PageID 7969




                     EXHIBIT 4




                                                                              Appendix023
   Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 31 of 509 PageID 7970



                                       BREWER
                                 Attorneys & Counselors
NEWS
For Immediate Release

 The NRA Sues New York Governor Andrew Cuomo, New York State Department
      of Financial Services Over Alleged Attack on First Amendment Rights

New York, NY…May 11, 2018 – The National Rifle Association of America (“NRA”) today
announced that it filed a lawsuit against the New York State Department of Financial Services (“DFS”),
New York Governor Andrew Cuomo, and DFS Superintendent Maria T. Vullo alleging violations of the
NRA’s First Amendment rights.

Filed on May 11, 2018, in the United States District Court for the Northern District of New York, the
lawsuit claims that Cuomo, Vullo, and DFS engaged in a “campaign of selective prosecution, backroom
exhortations, and public threats” designed to coerce banks and insurance companies to withhold services
from the NRA. The NRA argues that such tactics vastly overstep DFS’s regulatory mandate, and seek
to suppress the speech of Second Amendment supporters and retaliate against the NRA and others for
their political advocacy. The lawsuit seeks millions of dollars in damages to redress harms inflicted by
the DFS campaign.

“Political differences aside, our client believes the tactics employed by these public officials are aimed
to deprive the NRA of its First Amendment right to speak freely about gun-related issues and in defense
of the Second Amendment,” says William A. Brewer III, partner at Brewer, Attorneys & Counselors and
counsel to the NRA. “We believe these actions are outside the authority of DFS and fail to honor the
principles which require public officials to protect the constitutional rights of all citizens.”

Among other things, the lawsuit cites a pair of “guidance” letters issued on April 19, 2018, by the DFS
to the CEOs of banks and insurance companies doing business in New York. Styled as regulatory “risk
management” advisories, the letters encourage institutions to “take prompt actions” to manage
“reputational risk” posed by dealings with “gun promotion organizations.” The same day, Cuomo issued
a press release in which Vullo directly urged “all insurance companies and banks doing business in New
York” to “discontinue[] their arrangements with the NRA.”

The lawsuit claims that the “guidance” letters were accompanied by back-channel communications and
targeted enforcement actions, which further reinforced the Cuomo administration’s message that it is
bad business in New York to do business with the NRA.

The lawsuit explains that the DFS mandate – preceded by an “investigation” orchestrated by gun-control
activists into insurance programs sponsored by the NRA – has already caused several insurance
companies to sever relationships with the NRA and to plan to cancel the insurance policies of law-
abiding New York consumers. According to the complaint, the directive of Cuomo and Vullo has had its
intended effect – to advance Cuomo’s longstanding opposition to gun-rights supporters and to distort
insurance markets in the service of a political agenda.




                                                                                                        Appendix024
   Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 32 of 509 PageID 7971




The lawsuit says, “As a direct result of this coercion, multiple firms have succumbed to Defendants’
demands and entered into consent orders with DFS that compel them to terminate longstanding,
beneficial business relationships with the NRA both in New York and elsewhere. Tellingly, several
provisions in the orders bear no relation to any ostensible regulatory infraction. Instead, the orders
prohibit lawful commercial speech for no reason other than that it carries the NRA brand.”

On May 2, 2018 and May 7, 2018, Lockton Companies, LLC and Chubb Ltd., respectively, announced
they will pay millions of dollars in fines to DFS and cease doing business with the NRA – for no other
reason than many of the insurance programs with which they are associated carry the NRA brand. On
May 9, 2018, Lloyd’s of London announced that it is directing insurance underwriters to terminate any
existing partnerships [with the NRA].

The lawsuit explains that these outcomes are the culmination of years of political activism by Cuomo
against the NRA and gun rights organizations. As recently as April 20, 2018, Cuomo called the NRA an
“extremist organization” and urged New York companies “to revisit their ties to the NRA and consider
their reputations…”

In the face of such attacks, the NRA continues to educate the public about the Second Amendment,
defend the NRA and its members against political and media attacks, and galvanize participation in the
political process. The NRA claims that in response, Cuomo and DFS are taking actions to silence the
organization.

Citing the Supreme Court’s landmark Bantam Books, Inc. v. Sullivan case, the lawsuit argues that
“viewpoint discrimination applied through ‘threat[s] of invoking legal sanctions and other means of
coercion, persuasion, and intimidation’ violates the Constitution where, as here, such measures chill
protected First Amendment activities.”
                                                   ###

About the NRA:
Established in 1871, the National Rifle Association is America’s oldest civil rights and sportsmen’s
group. Five million members strong, NRA continues its mission to uphold Second Amendment rights
and is the leader in firearm education and training for law-abiding gun owners, law enforcement and the
military. Visit www.nra.org.

About Brewer, Attorneys & Counselors:
Founded in 1984, Brewer, Attorneys & Counselors has earned a reputation as one of the most successful
law firms in the United States practicing exclusively in the field of complex commercial litigation and
dispute resolution. With offices in New York and Dallas, the Brewer firm represents a wide spectrum of
industry leaders – from entrepreneurs to Fortune 500 corporations – facing the most challenging of legal
issues. Visit the firm at www.brewerattorneys.com.

Media Contact:
Travis J. Carter on behalf of Brewer, Attorneys & Counselors and the NRA
Phone: 214-653-4856
E-mail: tcarter@brewerattorneys.com




                                                                                                         Appendix025
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 33 of 509 PageID 7972




                     EXHIBIT 5




                                                                              Appendix026
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                          Page 34 of 509 PageID 7973



           CULTURE
           Live-Streaming the Apocalypse With NRATV
           e online-streaming service of the National Ri e Association is part lifestyle
           channel, part gun-lobby ori ce—and it wants to make you buy rearms.
           JAMES PARKER JUNE 2018 ISSUE




    JESSE LENZ


https://www.theatlantic.com/magazine/archive/2018/06/nratv-live-streaming-the-apocalypse/559139/                                1/6


                                                                                                                           Appendix027
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                          Page 35 of 509 PageID 7974




           N
                         ,     of the National Ri e
                    Association, rst impinged upon me in July of last year. ere she was one
                    morning, on my computer screen: a dark-haired woman giving oﬀ a blue-
           white afterlife aura, against a black background, chanting a strange and vehement
           rosary of disdain: “ey use their media to assassinate real news. ey use their
           schools to teach children that their president is another Hitler.” e invective
           accelerated. Scurrying violins were heard, electro doom-clangs. “ey use their
           movie stars and singers and comedy shows and award shows to repeat their
           narrative over and over again.” en a fast-cut, black-and-white montage of societal
           crisis: broken glass, street scuﬄes, someone bleeding. “All to make them march.
           Make them protest. Make them scream racism and sexism and xenophobia and
           homophobia.” ey, they, they; them, them, them. Scorn on her lips, scorn aming in
           the hollows of her throat. “To smash windows, burn cars, shut down interstates and
           airports, bully and terrorize the law-abiding … e only way we stop this, the only
           way we save our country and our freedom, is to ght this violence of lies with the
           clenched st of truth.” is was pure brimstone. Less a diatribe, or an oratorical
             ight, than “an invitation”—as the novelist Mary Gaitskill once described the voice
           of Axl Rose—“to step into an electrical stream of pure aggression.” And who was
           this swaying, sneering, smolderingly glamorous woman? She looked like the
           villainess on a daytime soap—the one who steals the baby or pretends to have
           multiple personalities. “I’m the National Ri e Association of America. And I’m
           freedom’s safest place.”

           at was Dana Loesch, an NRA national spokesperson and currently the raven-
           winged avatar of NRATV. Launched in 2016 as an expansionist reboot of NRA
           News, NRATV is a free, very well-designed, and smoothly navigable video-
           streaming website sponsored mainly by gun and ammunition manufacturers—
           Mossberg, Smith & Wesson, Sig Sauer. It oﬀers a spectrum of programming that
           runs from harmless and hobbyistic gun-nuttery at one end to face-melting
           propaganda at the other. Fifty percent lifestyle channel, 50 percent gun-lobby
           ori ce, 100 percent tone poem to the radical insecurity of modern American life, it
           aims to make you purchase rearms.

           In the days after the March for Our Lives in Washington, D.C.—at which
           Samantha Fuentes, a survivor of the school shooting in Parkland, Florida, made the
           event’s most eloquent and incontestable statement by throwing up in the middle of
           a poem named “Enough!”—I spent a little time watching NRATV. Loesch is all
https://www.theatlantic.com/magazine/archive/2018/06/nratv-live-streaming-the-apocalypse/559139/                                2/6


                                                                                                                           Appendix028
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                          Page 36 of 509 PageID 7975
           over it, either monologizing savagely to the camera or nodding in vituperative
           agreement with her fellow members of the NRATV commentariat. It’s a heavy
           crew, doing heavy work: Grant Stinch eld, Cam Edwards, Colion Noir, and others,
           all squinting into the cultural headwinds, all facing down the storm of indecency,
           all rebutting, rebutting, reframing, and rebutting. Are they entirely wrong all the
           time? Of course not. I watched the ex–Secret Service big mouth Dan Bongino, for
           example, rather neatly pop a momentary liberal outrage-bubble over Sean Hannity’s
           use of the phrase civil war. “is country is headed towards a civil war in terms of
           two sides that are just hating each other,” Hannity had said on his god-awful radio
           show, prompting the usual howls. In rebuttal, Bongino oﬀered a montage of talking
           heads from CNN and MSNBC, all blandly characterizing the current scene as a
           blah-blah “civil war.” Touché, Dan Bongino: When Hannity says it, it’s incitement;
           when Carl Bernstein says it, it’s … sociology.



           I
                  , with a show called NRA Gun Gurus: a white-
               gloved Jim Supica, from the NRA National Sporting Arms Museum, telling the
               story of the turn-of-the-century lawman Bass Reeves, “a master tracker, a deadly
           good shot, and one of the rst African-American U.S. deputy marshals west of the
           Mississippi.” is is educational stuﬀ: Reeves worked for “Hanging Judge” Isaac
           Parker out of Fort Smith, Arkansas—Rooster Cogburn territory, if I’m not
           mistaken. Reeves liked his six-gun, Supica said, but in the clutch he preferred his
           Winchester, which red an “authoritative, ght-stopping cartridge.”

           Next: Dom Raso’s Media + Lab. Raso is a pumped and aﬀable ex-seal with a
           rattling verbal style. “Now that I’m out,” he puﬀs in the show’s intro, “I get tons of
           people asking me all the time about their favorite TV shows and movies, what’s
           realistic and what isn’t. Well, there’s only one way to nd out.” Excellent premise:
           Worn down by the queries of barstool yappers and armchair Chuck Norrises, Raso
           and his martial-arts bros patiently, blow for blow and clip for clip, re ght and
           reality-test famous action moments. “at scene was completely BS,” he opines on
           some big blowout in e Rock. en he turns, brightening, to a sequence from e
           Bourne Legacy in which Jeremy Renner nimbly immobilizes three security guards at
           a dodgy pharmaceutical plant in Manila. (Verdict: “It was awesome, to show you
           that position is everything.”)

           Feeling somewhat adrift, I took in a few episodes of the rst season of Defending
           Our America. Now, this was more like it. Sort of an NRA version of e View: a
https://www.theatlantic.com/magazine/archive/2018/06/nratv-live-streaming-the-apocalypse/559139/                                3/6


                                                                                                                           Appendix029
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                          Page 37 of 509 PageID 7976
           group of men—law enforcement, former intelligence—gathered around a table in
           somebody’s basement or bunker to discuss, in grave, late-night voices, the
           imminent collapse of everything and the woeful unpreparedness of everybody.
           Zombies go unmentioned, but gangs, predators, and “criminal elements” are gruﬄy
           pondered. “If it decides to go sideways, you have to be able to take care of yourself,”
           says Tom (khaki shirt and trapper’s beard). “When the shit hits the fan, I’m going
           with my family,” says Jerry (buzz cut and boxer’s nose). Sober noddings around the
           table, grimaces of assent—these are good guys, tough guys, useful guys, dads; in
           almost any kind of sideways-going situation, you’d want these guys around. And far
           be it from me to scoﬀ at an apocalyptic intuition. You hear that thin rending note
           in the air, that doomsday thrill? Me too. It’s the poetry of Trump-time. e grid
           will fall; the router will stop blinking; the membrane of manners will dissolve.
           Pandemonium in the Amtrak quiet car. But come on. ere’s something indulgent,
           even weirdly complacent, in the basement catastrophism of these dudes. is must
           be what the author Djuna Barnes meant when she wrote that Americans are a
           “ erce sadistic race crouching behind radiators.”

           If you want a shortcut to the heart of NRATV, to the mystical, infernal core of the
           whole operation, click on the NRA Hunting channel and watch Trust the Hunter in
           Your Blood, a series of … I don’t know what to call these. Sermons? Visions? Ads?
           One-minute spots, at any rate, featuring wilderness vistas, stirring music, and some
           truly trippy spoken word. “Only one project embraces death as the absolute that it
           is,” breathes a voice like crawling lava, as the camera soars above cliﬀs and forests.
           “Only one project confronts the absurdity by its very nature.” He means hunting, I
           think. Good to be a hunter in the fresh air. Bad to be an “anti-hunter.” Bad to be
           too civilized. at geologic voice again: “Contrived emotions ood from their air-
           conditioned, glass-paneled, Wi-Fi-enabled habitats.” (Slight problem: If your
           habitat isn’t Wi-Fi enabled, you can’t watch NRATV.)

           Who writes this stuﬀ? I posed the question to a friend of mine. “Ah,” he said
           dismissively, “the same bunch of potheads who write everything else.” He was only
           speculating, but I envisioned it all. I saw the NRATV writers’ room—no true
           believers in there, just the usual gamers, bearded weirdies, post-ideological
           PowerBar nibblers in the usual atmosphere of molecular lassitude and tful static,
           dankly high- ving when an especially bananas line pops out: “Your humanity is not
           a disease to be cured by the manufactured guilt of the nonsense-stricken tortured
           souls among us, or a perversion to be purged from your DNA.” Yeah!

https://www.theatlantic.com/magazine/archive/2018/06/nratv-live-streaming-the-apocalypse/559139/                                4/6


                                                                                                                           Appendix030
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                          Page 38 of 509 PageID 7977
           True belief exists, no doubt, over at NRATV. Right alongside true cynicism.
           Because this is how you sell guns—with that old song, that American standard. You
           know how it goes: It’s a paranoid’s lullaby. Above us are the elites with their
           champagne and free jazz; below us, the suppurating underclass. Also terrorists, sex
           traﬃckers, drug cartels, and shiftless migrants. It works, this song. It makes teenage
           girls throw up in the middle of poems.


           is article appears in the June 2018 print edition with the headline “Live-Streaming the Apocalypse.”


           We want to hear what you think about this article. Submit a letter to the editor or write
           to letters@theatlantic.com.


           RELATED VIDEO


              When Gun Owners Become Hypocritical Hippies




    Make your inbox more interesting.
https://www.theatlantic.com/magazine/archive/2018/06/nratv-live-streaming-the-apocalypse/559139/                                5/6


                                                                                                                           Appendix031
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                   Page 39 of 509 PageID 7978

    Each weekday evening, get an overview of the day’s biggest news, along with fascinating
    ideas, images, and people. See more newsletters

       Enter your email                                                                                                                        Sign Up



    Ideas that matter. Since 1857.
    Subscribe and support 162 years of independent journalism. For less than $1 a
    week.
    SUBSCRIBE




    ABOUT



    CONTACT



    PODCASTS



    SUBSCRIPTION



    FOLLOW



      Privacy Policy     Do Not Sell My Personal Information        Advertising Guidelines         Terms Conditions   Responsible Disclosure    Site Map
                                     TheAtlantic.com Copyright (c) 2020 by The Atlantic Monthly Group. All Rights Reserved.




https://www.theatlantic.com/magazine/archive/2018/06/nratv-live-streaming-the-apocalypse/559139/                                                           6/6


                                                                                                                                                      Appendix032
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 40 of 509 PageID 7979




                     EXHIBIT 6




                                                                              Appendix033
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 41 of 509 PageID 7980




                                                                              Appendix034
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 42 of 509 PageID 7981




                                                                              Appendix035
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 43 of 509 PageID 7982




                                                                              Appendix036
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 44 of 509 PageID 7983




                     EXHIBIT 7




                                                                              Appendix037
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                Page 45 of 509 PageID 7984
                                                         NRA TV depicts 'Thomas & Friends' characters in KKK hoods - CNN


                                                                                                                           LIVE TV
            NRA TV depicts 'Thomas & Friends' characters in KKK hoods
  By Chloe Melas, CNN
   Updated 9:32 AM ET, Fri September 14, 2018




   Source: CNN


  NRATV host slammed over KKK reference 02:07


  (CNN) — The NRA is going after the long-time animated children's television show "Thomas & Friends."

  NRA TV host Dana Loesch appeared on the association's TV show, "Relentless" and slammed "Thomas & Friends"
  for partnering with the United Nations to increase diversity on the program.

  Last month the show introduced two new female characters, one of which was painted with an African-inspired
  face and is voiced by actress Yvonne Grundy, who is originally from Kenya.

  The UN's website says the UN partnered with the animated series to "teach children the importance of taking part
  in the global e orts to end poverty, providing girls and boys with the same opportunities, and of course doing so
  while protecting our planet."

  Loesch slammed the iconic "Thomas & Friends" characters and then showed them on screen wearing Ku Klux
  Klan hoods while on ﬂaming train tracks.




https://www.cnn.com/2018/09/13/entertainment/thomas-the-tank-engine-nra-kkk-trnd/index.html                                             1/3


                                                                                                                                     Appendix038
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                Page 46 of 509 PageID 7985
                                                         NRA TV depicts 'Thomas & Friends' characters in KKK hoods - CNN


                                                                                                                           LIVE TV




                                                       Good News Is More
                                                      Important Than Ever.
                                           Subscribe to CNN’s The Good Stu , a weekly newsletter
                                           bringing you the most fascinating, uplifting and inspiring
                                           stories from around the world. It will brighten your inbox
                                                                 every Saturday morning.


                                                                            Sign Up


                                                                         No, thanks

                                                      By subscribing, you agree to our Privacy Policy




  Related: Donations to the NRA tripled after the Parkland shooting

  "This is horrible," Loesch said of the show's additions. "That's where it gets really strange to me. Am I to understand
  this entire time that Thomas and his trains were white? Because they all have gray faces. How do you bring ethnic
  diversity? I mean, they had to paint what I guess they thought was some sort of African pattern on the side of Nia's
  engine."

  After the images aired, Mattel, the owner of the "Thomas The Tank Engine" brand, announced in a statement, "We
  are not associated with images that promote hate and denounce any images of our brands that are being used to
  convey a message not in line with the values of the company."

  "Thomas The Tank Engine" was created by the Rev. W. Awdry and was a book series. The story was turned into a
  TV series in 1984 and made its American debut on PBS in 1989.

  CNN has reached out to the NRA for comment.




     Search CNN...



                                                                               US

                                                                            World

                                                                           Politics

https://www.cnn.com/2018/09/13/entertainment/thomas-the-tank-engine-nra-kkk-trnd/index.html                                             2/3


                                                                                                                                     Appendix039
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                Page 47 of 509 PageID 7986
                                                         NRA TV depicts 'Thomas & Friends' characters in KKK hoods - CNN

                                                                          Business                                              LIVE TV
                                                                          Opinion

                                                                           Health

                                                                    Entertainment

                                                                             Tech

                                                                             Style

                                                                            Travel

                                                                           Sports

                                                                           Videos

                                                                          Coupons

                                                                             More




                                                         F O L L O W C N N E N T E R TA I N M E N T




          Terms of Use       Privacy Policy      Do Not Sell My Personal Information          AdChoices       About Us       CNN Studio Tours

                         CNN Store        Newsletters       Transcripts      License Footage     CNN Newsource             Sitemap



                            © 2020 Cable News Network. Turner Broadcasting System, Inc. All Rights Reserved.
                                                     CNN Sans ™ & © 2016 Cable News Network.




https://www.cnn.com/2018/09/13/entertainment/thomas-the-tank-engine-nra-kkk-trnd/index.html                                                        3/3


                                                                                                                                                Appendix040
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 48 of 509 PageID 7987




                     EXHIBIT 8




                                                                              Appendix041
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20    Page 49 of 509 PageID 7988




Good morning special guests and CPAC attendees and all Americans
who share in the hope and promise of our great nation, which we
celebrate here today.


As CEO and Executive Vice President of the National Rifle Association,
I have the privilege of directing one of the oldest and most successful
advocacy groups in the world. At the NRA, we are dedicated to protecting
your constitutional rights, promoting our most cherished values and carrying
the torch for the freedoms that define the greatness of America.


The NRA has grown to almost five-and-a-half million members—
the most in our history. And we represent the interests of an estimated
100 million gun owners.


Our members come from every walk of life. They represent people
of every race, religion, gender, profession and political persuasion. And
that diversity gives rise today to our plans for the future growth of the
Association and inspires us to embrace a more inclusive vision of ourselves.


The NRA is 148 years old. An advocacy group built upon the strongest
of foundations, the principles of our Founding Fathers.




                                                                               Appendix042
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 50 of 509 PageID 7989



 Our nation was founded by people in pursuit of liberty. That’s why the
 Declaration of Independence is the first document of the U.S. legal code.


 In their great wisdom, the fathers of this nation saw the need to protect
 our God-given liberties—fundamental freedoms—from being trampled
 by despots, dictators and demagogues, and from intrusion by the
 government they founded.


 And so, they left us with a list of our most cherished freedoms—the
 Bill of Rights, the first 10 amendments to our Constitution. And in our
 First and Second Amendments, our founders gave us two freedoms that
 historically belonged ONLY to the upper class.


 They gave us the freedom to speak freely, boldly and honestly. And they
 gave us the freedom to bear arms in defense of ourselves, our families
 and our nation.


 When I started at the NRA more than 40 years ago, we certainly faced
 opposition. To be sure, we engaged in full contact advocacy with those who
 challenged our point of view and we debated issues of importance to our
 nation with all of our might.


 As opponents in debates over important issues, the NRA often shared a
 seat at the table with those who opposed our values—even with those
 opposed to the Second Amendment freedoms for which we stand. The
 debates were tough. They were spirited. And they were defined by
 committed and unwavering voices.


 Political differences aside, there was recognition that the NRA and advocacy
 groups of every kind are entitled to their voice in the discussion on matters
 that speak to our safety, security and ideals.
                                        2

                                                                                 Appendix043
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20     Page 51 of 509 PageID 7990




 Boy, what a difference a couple of decades make! Today, we at the
 NRA awaken each morning to new challenges, to threats against our
 organization heated and vile, political rhetoric and new forms of opposition
 that violate the spirit and letter of the very freedoms our republic was
 founded to protect.


 Today, many of our adversaries seek to challenge not only our opinions,
 but our very right to express them. Rather than compete in the marketplace
 of ideas, they want to rig the competition or foreclose it altogether.


 Let me share an example. New York Governor Andrew Cuomo hates the
 NRA. He hates the freedoms for which we stand. And he's not shy about
 saying so. If you agree with our positions, the governor of New York says
 you have "no place"—that's a direct quote—"no place" in his state.


 No matter how much he'd like to, New York's governor can't just expel
 gun owners from the state. He can't just ban the NRA. That would overtly
 violate the Constitution.


 So instead, Governor Cuomo decided to covertly violate the Constitution
 by using his power over Wall Street to starve the NRA of funds. At the
 governor’s direction, New York's banking regulator sent letters to
 the CEOs of every bank and every insurance company doing business
 in the state.


 The letters urged those institutions to blacklist Second Amendment groups,
 especially the NRA. To deny us bank accounts. To block NRA members from
 purchasing affinity insurance, including health insurance for their families.



                                        3

                                                                                 Appendix044
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20    Page 52 of 509 PageID 7991



 To prevent us from purchasing ads on the airwaves. To suffocate Second
 Amendment speech by choking off the funds that make speech possible.
 That's Governor Cuomo’s goal.


 To achieve it, the governor didn't just threaten companies, he acted.
 New York started to punish companies that did business with the NRA.
 The state imposed multi-million-dollar penalties and forced several of
 our business partners to abandon us.


 Let me say that again. The state imposed multi-million-dollar penalties
 and forced several of our business partners to abandon us.


 Just imagine the national outcry if the governor of a red state did the same
 thing to Planned Parenthood, PETA or the Sierra Club. If a Republican
 governor forced businesses to blacklist those groups based on the viewpoint
 of their speech, the media would be going nuts.


 Fleets of constitutional scholars would descend from every political
 persuasion. Every prestige newspaper would proclaim a grave threat to
 the First Amendment. And you know what? They'd be right.


 Governor Cuomo would be wrong to try to censor Planned Parenthood,
 just like he's wrong to censor the NRA. It's morally wrong. It’s legally
 wrong. And that type of coercion and oppression of free speech is
 downright anti-American.


 As Governor Cuomo would soon discover, attempting to silence the
 voices of our five-and-a-half million NRA members won’t be tolerated.
 In New York, the NRA did what patriots have always done in the face of
 tyranny. We fought back.

                                        4

                                                                                Appendix045
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20     Page 53 of 509 PageID 7992



We took the governor to federal court under the First Amendment of the
United States Constitution. And in a great victory for principle over
partisanship, the American Civil Liberties Union joined our cause. They
stood shoulder-to-shoulder with the NRA and I'm incredibly proud to have
them as a partner in this fight.


The court has already upheld the NRA's freedom-of-speech claims against
Governor Cuomo. And let me tell you, I can't wait for our organization to get
them in front of a jury. I believe that Americans still keep faith with the
Constitution, even when politicians don't.


Against the backdrop of all this, the governor and his henchmen appear
to have gone even a step further. New York's new attorney general—
the chosen candidate of Governor Cuomo—vowed to attack the NRA as
a pillar of her campaign platform.


Even before day one in office and without a shred of evidence that
we've done anything wrong, the attorney general publicly labeled the NRA
a "criminal enterprise" like MS-13 or the mafia. She promised a fishing
expedition into the NRA's files, at taxpayer expense, to see if she could find
any crimes to substantiate her slander.


In other words, she promised to fulfill a vision quest that is little more
than a rank political vendetta. Contriving a criminal investigation to target
a political opponent is the act of a third-world petty tyrant, not a
distinguished public servant. And the America I know doesn’t tolerate
such an abuse of power.


Here’s what’s going on. In real time, before your very eyes, we are fighting
perhaps the most important piece of First Amendment constitutional
advocacy in the history of our country. This case will decide whether or
                                        5

                                                                                 Appendix046
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 54 of 509 PageID 7993



 not government can be weaponized against you if your opinion differs
 from theirs.


 True to this independent spirit, Americans have begun to notice Governor
 Cuomo’s attack on the First Amendment. And they don’t like what they see.




                                      6

                                                                              Appendix047
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20      Page 55 of 509 PageID 7994



 A Wall Street Journal columnist observes that the NRA getting its day
 in court is "welcome news for those helping to restrain the power of
 government." He commented that, "there is enormous interest for all
 Americans in making sure that a politician like Mr. Cuomo … cannot abuse
 his authority to silence law-abiding citizens with whom he disagrees."


 Closer to home for the governor, a columnist from the state capital of Albany
 wrote that the governor "has essentially weaponized the state's regulatory
 authorities" to go after the NRA, calling his conduct "tyrannical."


 And political voices from the “right” and the “left?” From the National
 Review all the all the way to the New Republic have defended NRA’s
 free speech rights.


 It is no surprise that the message from the courtroom is echoed in the court
 of public opinion. Our case is being discussed in law schools right now—it’s
 that critical to our fundamental right to speak.


 Let me say it again. In our First and Second Amendments, our Founders
 gave us two freedoms that historically belonged only to the upper class.
 They gave us the freedom to speak freely, boldly and honestly. And they
 gave us the freedom to bear arms in defense of ourselves, our families
 and our liberty.


 These rights are the cornerstone of our foundation as a free society.
 From the start, they made Americans different from the serfs and subjects
 of the old world. And centuries later, these rights continue to make America
 not just different, but better, than other countries.




                                        7

                                                                                 Appendix048
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20    Page 56 of 509 PageID 7995



 For the NRA, freedom of speech is as essential as any other liberty.
 Because you can't advocate effectively for our Second Amendment
 freedoms without the right to speak out against its enemies.


 No public official can weaponize the power of government to attack
 organizations simply because they have a different political point of view.
 Many believe that Barry Goldwater got it right when he said that extremism
 in the defense of liberty is no VICE.


 But what we're seeing today is extremism that's hostile to liberty.
 These extremists want to revoke your freedom of speech, your freedom
 of assembly and your freedom of association if you hold views the
 elites don't like.


 And leftist pundits aren't the only ones who feel this way. The oligarchs
 of Silicon Valley want progressive speech amplified and conservative
 speech suppressed.


 A whistleblower at Google leaked a PowerPoint presentation last year titled,
 "The Good Censor." The document claims that Google—which is one of the
 world's most powerful monopolies—has "shifted away" from the "American
 tradition" of free speech.


 It says Google shifted toward the quote "European tradition" of censorship.
 And wouldn't you know it, in the European tradition, Google began to censor
 firearms instructional videos this year.


 Just like the Second Amendment, the First Amendment must be defended
 absolutely, against all incursions, without compromise.



                                         8

                                                                                Appendix049
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20     Page 57 of 509 PageID 7996



 And just like the Second Amendment, we should aim to exercise our
 First Amendment rights responsibly. Not by censoring others, but by lifting
 up our own voices. By speaking out with dignity, purpose and courage in
 a way that honors the founders' gift to us. More, better speech—that's the
 way to fix America.


 George Washington said, "If the freedom of speech is taken away, then
 dumb and silent we may be led like sheep to the slaughter." My friends,
 rest assured, the NRA will never let that happen.


 There is a great saying: adversity doesn't build character, it reveals it.
 I can tell you that in times like this, the character and identity of the NRA
 will reveal itself in the most visible of ways.


 We will fight back against anyone who attempts to silence us. Understand
 this, we will advocate, as loudly and boldly as ever, for our First and
 Second Amendment freedoms.


 My call today is for each one of us to embrace and respect the constitutional
 freedoms that are afforded to all of us. This is our moment of truth.


 To our members, I thank you for standing with us and holding tightly to the
 freedoms for which we stand. To those of you just learning of our cause,
 I invite you to become part of the future of the NRA, inspired by the
 constant belief in the spirit of America.


 Come join the NRA—the unabashed, unapologetic fighter for the freedoms
 that have always made America the greatest nation on earth. America, the
 home of the free and the land of the brave.


 God Bless all of you and God bless the United States of America.
                                          9

                                                                                 Appendix050
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 58 of 509 PageID 7997




                     EXHIBIT 9




                                                                              Appendix051
        Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                 Page 59 of 509 PageID 7998
                        0112345567189 35 1

yz{|z}~ÿÿ~}|ÿ~z}ÿ|ÿ~~{ÿÿ|}|
ÿÿ
0ÿ !ÿ "
#$%ÿ'()$ÿ*+,-.ÿ/()ÿ#$+0()ÿ.$%ÿ#(-1ÿ2-3,-%4
5().ÿ6%*.%07%89ÿ.$%ÿ:(.,+-(;ÿ<,'%ÿ=))+>,(.,+-?)ÿ@(0+A);Bÿ>+07(.,C%ÿ)*+1%)/+0(-9ÿD(-(ÿ5+%)>$9ÿ*8+C+1%Eÿ/,E%)*8%(Eÿ+A.8(3%ÿ/$%-ÿ)$%
.++1ÿ.+ÿ.$%ÿ3A-ÿ38+A*?)ÿ).8%(0,-3ÿ)%8C,>%ÿ.+ÿ0+>1ÿ%.$-,>ÿE,C%8),.Bÿ+-ÿ.$%ÿ*+*A;(8ÿ>$,;E8%-?)ÿ*8+38(0ÿF#$+0()ÿGÿH8,%-E)9Iÿ*+8.8(B,-3ÿ.$%
)$+/?)ÿ.(;1,-3ÿ.8(,-)ÿ,-ÿJAÿJ;AKÿJ;(-ÿ$++E)4ÿ:+/9ÿ38+/,-3ÿA-%()%ÿ+C%8ÿ.$%ÿ),.%?)ÿ,-'(00(.+8Bÿ8$%.+8,>9ÿ(-Eÿ/$%.$%8ÿ,.ÿ$()ÿ).8(B%Eÿ.++ÿ@(8
@8+0ÿ.$%ÿ:4<4=4?)ÿ>+8%ÿ3A-L8,3$.)ÿ0,)),+-9ÿ$()ÿ*A.ÿ,.)ÿ@A.A8%ÿ,-ÿE+A7.4
#$%ÿ),.%9ÿ:<=#M9ÿ,)ÿ(ÿ>%-.8(;ÿ*(8.ÿ+@ÿ.$%ÿ+83(-,N(.,+-?)ÿ0%))(3,-3ÿ(**(8(.A)4ÿ6,->%ÿ,.)ÿ>8%(.,+-ÿ,-ÿOPQR9ÿ,.ÿ$()ÿ(E+*.%Eÿ(-ÿ,->8%(),-3;B
(*+>(;B*.,>9ÿ$(8EL8,3$.ÿ.+-%9ÿ/(8-,-3ÿ+@ÿ8(>%ÿ/(8)9ÿE%)>8,7,-3ÿS(8(>1ÿT7(0(ÿ()ÿ(ÿF@8%)$L@(>%Eÿ'+/%8L>$,;Eÿ*8%),E%-.9Iÿ>(;;,-3ÿ@+8ÿ(ÿ0(8>$
+-ÿ.$%ÿH%E%8(;ÿSA8%(Aÿ+@ÿU-C%).,3(.,+-ÿ(-Eÿ>+0*(8,-3ÿV+A8-(;,).)ÿ.+ÿ8+E%-.)4
U-ÿ8%>%-.ÿ/%%1)9ÿ,-ÿ(ÿ8(8%ÿ(,8,-3ÿ+@ÿ,-.%8-(;ÿE%7(.%ÿ(.ÿ.$%ÿ:4<4=49ÿ./+ÿ*8+0,-%-.ÿ7+(8Eÿ0%07%8)ÿ%K*8%))%Eÿ>+->%8-)ÿ(7+A.ÿ:<=#Mÿ.+ÿ#$%
:%/ÿW+81ÿ#,0%)4ÿ#$%,8ÿ).(.%0%-.)ÿ/%8%ÿ8%;%()%Eÿ.$8+A3$ÿ.$%ÿ:4<4=4ÿ,.)%;@9ÿ(0,Eÿ/$(.ÿ/()ÿE%)>8,7%Eÿ()ÿ(-ÿ,-.%8-(;ÿ8%C,%/ÿ+@ÿ:<=#Mÿ(-E
,.)ÿ@A.A8%4
F6,->%ÿ.$%ÿ@+A-E,-3ÿ+@ÿ:<=#M9ÿ)+0%9ÿ,->;AE,-3ÿ0B)%;@ÿ(-Eÿ+.$%8ÿ7+(8Eÿ0%07%8)9ÿ$(C%ÿXA%).,+-%Eÿ.$%ÿC(;A%ÿ+@ÿ,.9IÿY(8,+-ÿZ(00%89ÿ.$%
38+A*?)ÿ0+).ÿ@+80,E(7;%ÿ;+77B,).ÿ(-Eÿ(ÿ1%Bÿ(EC,)%8ÿ.+ÿ,.)ÿ>$,%@ÿ%K%>A.,C%9ÿ[(B-%ÿ5(\,%88%9ÿ)(,Eÿ,-ÿ(ÿ).(.%0%-.4ÿF[(B-%ÿ$()ÿ.+;Eÿ0%ÿ(-E
+.$%8)ÿ.$(.ÿ:<=#Mÿ,)ÿ7%,-3ÿ>+-).(-.;Bÿ%C(;A(.%Eÿ]ÿ.+ÿ0(1%ÿ)A8%ÿ,.ÿ/+81)ÿ,-ÿ.$%ÿ7%).ÿ,-.%8%).ÿ+@ÿ.$%ÿ+83(-,N(.,+-ÿ(-Eÿ*8+C,E%)ÿ(-
(**8+*8,(.%ÿ8%.A8-ÿ+-ÿ,-C%).0%-.4I
#$%ÿ8%())%))0%-.ÿA-E%8)>+8%)ÿ(ÿE%7(.%ÿ/,.$,-ÿ.$%ÿ:4<4=4ÿ+C%8ÿ$+/ÿ78+(Eÿ,.)ÿ(>.,C,)0ÿ)$+A;Eÿ7%4ÿ=-Eÿ,.ÿ>+0%)ÿ()ÿ.$%ÿ+83(-,N(.,+-ÿ@(>%)ÿ(
).+80ÿ+@ÿ>$(;;%-3%)9ÿ,->;AE,-3ÿ(ÿ)%8,%)ÿ+@ÿ0())ÿ)$++.,-3)ÿ.$(.ÿ$()ÿ>8%(.%Eÿ(ÿ-%/ÿ3%-%8(.,+-ÿ+@ÿ3A-L>+-.8+;ÿ(>.,C,).)4
^+-38%)),+-(;ÿ,-C%).,3(.,+-)ÿ,-.+ÿ.$%ÿ:4<4=4?)ÿ*+)),7;%ÿ<A)),(ÿ.,%)ÿ/%8%ÿ%-%83,N%Eÿ(@.%8ÿY(8,(ÿSA.,-(9ÿ(ÿ)A)*%>.%Eÿ<A)),(-ÿ(3%-.9ÿ*;%(E%E
3A,;.Bÿ,-ÿD%>%07%8ÿ.+ÿA),-3ÿ.$%ÿ:4<4=4ÿ,-ÿ(ÿ*+;,.,>(;ÿ,-'A%->%ÿ+*%8(.,+-4ÿ=-Eÿ.$%ÿ+83(-,N(.,+-9ÿ,->+8*+8(.%Eÿ,-ÿ:%/ÿW+819ÿ0(Bÿ$(C%ÿ(ÿ*+.%-.
@+%ÿ,-ÿ5%.,.,(ÿ_(0%)9ÿ.$%ÿ).(.%?)ÿ8%>%-.;Bÿ%;%>.%Eÿ(..+8-%Bÿ3%-%8(;9ÿ/$+ÿ$()ÿC+/%Eÿ.+ÿ,-C%).,3(.%ÿ.$%ÿ:4<4=4?)ÿ.(KL%K%0*.ÿ).(.A)4
=)ÿ@(;;,-3ÿ0%07%8)$,*ÿEA%)ÿ*A.ÿ.$%ÿ:4<4=4ÿA-E%8ÿ@A8.$%8ÿ).8(,-9ÿ7+(8Eÿ0%07%8)ÿ$(C%ÿ(;)+ÿ%K*8%))%Eÿ>+->%8-ÿ(7+A.ÿ.$%ÿ),N%ÿ+@ÿ*(B0%-.)ÿ.+
.$%ÿ(Eÿ̀80ÿ.$(.ÿ*8+EA>%)ÿ:<=#M9ÿ=>1%80(-ÿY>aA%%-4ÿ#$%ÿ̀80ÿ(-Eÿ,.)ÿ(@`;,(.%)ÿ*+>1%.%EÿbcPÿ0,;;,+-ÿ@8+0ÿ.$%ÿ:4<4=4ÿ,-ÿOPQdeÿ7,;;,-3)
E,8%>.;Bÿ.+ÿ=>1%80(-ÿ$(C%ÿ,->8%()%Eÿ-%(8;BÿfPÿ*%8>%-.ÿ),->%ÿOPQf4ÿT-%ÿ*8+0,-%-.ÿ$+).9ÿD(-ÿS+-3,-+9ÿ;%@.ÿ(0,Eÿ>A.7(>1)ÿ(.ÿ:<=#M9ÿ7A.ÿ$%
)(,Eÿ.$%ÿ),.%ÿ$(Eÿ.8,%Eÿ.+ÿ8%.(,-ÿ$,04
=>1%80(-9ÿ(ÿ*(8.-%8ÿ.+ÿ.$%ÿ3A-ÿ38+A*ÿ),->%ÿ.$%ÿFU?0ÿ.$%ÿ:4<4=4Iÿ>(0*(,3-ÿ+@ÿ.$%ÿQghP)9ÿ8A-)ÿ.$%ÿ:<=#Mÿ#/,..%8ÿ(>>+A-.9ÿ$()ÿE+-%ÿ*+;;,-3
/+81ÿ@+8ÿ.$%ÿ+83(-,N(.,+-ÿ(-Eÿ8%C(0*%Eÿ,.)ÿ3A-ÿ)(@%.Bÿ*8+38(0ÿ@+8ÿ>$,;E8%-4ÿU.ÿ$()ÿ(;)+ÿ7%%-ÿ>8%E,.%Eÿ/,.$ÿ(ÿ);,>1ÿ0(1%+C%8ÿ+@ÿY84ÿ5(\,%88%
]ÿ/$+9ÿ,-ÿ.$%ÿ/+8E)ÿ+@ÿ+-%ÿ@+80%8ÿ:4<4=4ÿ;+77B,).9ÿ*8%C,+A);Bÿ8%)%07;%Eÿ(-ÿF,-.8+C%8.%Eÿ>$%))ÿ>$(0*,+-4I
Y84ÿ5(\,%88%?)ÿ/,@%9ÿ6A)(-9ÿ$()ÿ/+81%Eÿ@+8ÿ(-ÿ=>1%80(-ÿ)A7),E,(8B9ÿ(-Eÿ.$%8%ÿ$()ÿ>+0%ÿ.+ÿ7%ÿ(ÿ8%C+;C,-3ÿE++8ÿ7%./%%-ÿ.$%ÿ./+ÿ>+0*(-,%)9
/,.$ÿ0(-Bÿ%0*;+B%%)ÿ$(C,-3ÿ/+81%Eÿ7Bÿ.A8-)ÿ@+8ÿ7+.$ÿ:<=#Mÿ(-Eÿ=>1%80(-4
T;,C%8ÿ54ÿ:+8.$9ÿ.$%ÿ:4<4=4ÿ*8%),E%-.9ÿ$()ÿ(ÿ>+-.8(>.ÿ/,.$ÿ=>1%80(-9ÿ.$+A3$ÿ.$%ÿ:4<4=4ÿ/+A;Eÿ-+.ÿE,)>;+)%ÿ,.)ÿ),N%4ÿ=)ÿ*(8.ÿ+@ÿ.$%ÿ8%;(.,+-)$,*9
Y84ÿ:+8.$9ÿ(ÿ@+80%8ÿH+Kÿ:%/)ÿ*A-E,.9ÿ$+).)ÿ0%E,(ÿ*8+38(00,-3ÿ(-Eÿ)*%>,(;ÿ%C%-.)9ÿ;,1%ÿ.$%ÿ)$+/ÿF=0%8,>(-ÿZ%8+%)9Iÿ/$,>$ÿ8%>%-.;B
7%3(-ÿ(,8,-3ÿ+-ÿ:<=#M4
#$%ÿ:4<4=49ÿ(ÿ-+-*8+`.9ÿ$()ÿ(;)+ÿE,8%>.%EÿbQhÿ0,;;,+-ÿ),->%ÿOPQPÿ.+ÿ(ÿ*8,C(.%ÿ>+0*(-BÿV+,-.;Bÿ+/-%Eÿ7Bÿ%K%>A.,C%)ÿ+@ÿ=>1%80(-ÿ(-Eÿ.$%
:4<4=49ÿ(>>+8E,-3ÿ.+ÿ8%>+8E)ÿ(-Eÿ,-.%8C,%/)4
FU.ÿ,)ÿ>;%(8ÿ.+ÿ0%ÿ.$(.ÿ:<=#Mÿ,)ÿ(-ÿ%K*%8,0%-.ÿ(-Eÿ[(B-%ÿ,)ÿ%C(;A(.,-3ÿ.$%ÿ@A.A8%ÿ+@ÿ.$%ÿ%-.%8*8,)%9Iÿ[,;;%)ÿJ4ÿ5%%9ÿ(ÿ7+(8Eÿ0%07%8ÿ/$+
;%(E)ÿ.$%ÿ:4<4=4ÿTA.8%(>$ÿ^+00,..%%9ÿ)(,Eÿ,-ÿ(ÿ).(.%0%-.ÿ.+ÿ#$%ÿ#,0%)4
=@.%8ÿ.$%ÿ#$+0()ÿ.$%ÿ#(-1ÿ2-3,-%ÿC,E%+9ÿ$%ÿ)(,E9ÿY84ÿ5(\,%88%ÿ(**%(8%EÿF;,C,Eÿ(-Eÿ%07(88())%EIÿ,-ÿ(ÿ0%%.,-3ÿ/,.$ÿ.$%ÿ+A.8%(>$ÿ38+A*4
FZ%ÿ(*+;+3,N%Eÿ.+ÿ.$%ÿ%-.,8%ÿ>+00,..%%ÿ(-Eÿ)*%-.ÿ$+A8)ÿ;,).%-,-3ÿ.+ÿ+A8ÿ>+->%8-)4I
ijklÿnkopÿqrsÿptkÿuoslÿjvwtpx

                                                                                                                                    Appendix052
012ÿ4561Case
          78ÿ891ÿ63:19-cv-02074-G-BK
                    6 6ÿ91ÿ1ÿ 51ÿ1Document
                                               6ÿ851ÿ6122
                                                               ÿFiled
                                                                    75505/04/20
                                                                             ÿ9 57961ÿ91ÿPage
                                                                                            9 660
                                                                                                  of8509
                                                                                                           ÿPageID
                                                                                                                8561!ÿ97999
                                                                                                                           ÿ5  ÿ5
75 9ÿ86ÿ6"ÿ8ÿ89ÿ186ÿ796ÿ86ÿ76786ÿ#1ÿ5"ÿ8!ÿ$ÿ9ÿ5ÿ9ÿ89ÿ86ÿ75 69ÿ%58ÿ&6ÿ19ÿ91ÿ5796ÿ9ÿ6ÿ91
86ÿ6ÿ65 ÿ5"ÿ516162!ÿ'ÿ56ÿ65ÿ186ÿ96ÿ86ÿ 61ÿ(66ÿ75  ÿ"5ÿ5!)ÿÿ9586ÿ186ÿ86966ÿ5ÿÿ9ÿ75ÿ5"ÿ86
6 1962
*87+ÿ,55ÿ9ÿÿ75 615 6ÿ96ÿ6 51ÿ97ÿÿ-56ÿ5ÿ86ÿ59 6ÿ56 ÿ5"ÿ 791 ÿ9 ÿ15791 !
9 ÿ5ÿ6 66  2!ÿ,6ÿ915ÿ79 6ÿ89ÿ6"  ÿ 51ÿ86ÿ596ÿ.65 6ÿ/551ÿ9 ÿ86ÿ66069ÿ56 6ÿ66ÿ ÿ5
1676ÿ86ÿ2345ÿ 6 1ÿÿ16  ÿ,5 9ÿ  91ÿ58ÿÿ86ÿ8519 12!
. 9ÿ/78#6ÿ9ÿ851ÿ79 6ÿ89ÿ9ÿ9 7906ÿ6 511ÿ96ÿ01 1!ÿ5655+ ÿ 911ÿ185561ÿ+6ÿ69ÿ55"ÿ85ÿ+6ÿ6
97+ÿ7878 561ÿÿ*89615ÿ/2*2ÿÿ23472
/78ÿ"99  ÿ75 69ÿ891ÿ916ÿ86151ÿ9 5 ÿ15 6ÿ222ÿ 6 61ÿ95ÿ86ÿ1756ÿ5"ÿ86ÿ5 90951ÿ 6119  2
86ÿ222ÿ185ÿ6ÿ ÿ81ÿ5!ÿ19ÿ%6""ÿ95:ÿ9ÿ222ÿ 6 6ÿ85ÿ1ÿ86ÿ;69 1ÿ*595ÿ9ÿ1 96ÿ9 5797
5 90952ÿ'1ÿ5ÿÿ81)ÿ1ÿ6ÿ 69ÿ"5ÿ86ÿ89 ÿ82!
0 2ÿ95:1ÿ"986ÿ69ÿ91ÿ9ÿ222ÿ59 ÿ 6 6ÿ85ÿ96ÿ9ÿ69  ÿ56ÿÿ9ÿ6""5ÿ5ÿ#6ÿ7+6 9ÿÿ86ÿ4<<31ÿ9 ÿ1756
56ÿ1ÿ 5  ÿ16762ÿÿ"975ÿ59ÿ5ÿ0 2ÿ49=6 6ÿ 96ÿ696ÿ69  ÿ5ÿ9ÿ 6ÿ5"ÿ86ÿ59 ÿ9 ÿ95  ÿ86ÿ 5
5 90951ÿ5ÿ675 6ÿ 56ÿ66ÿ6 62
(8ÿ96ÿ6ÿ6 ÿ15ÿ56ÿÿ6"8ÿ571ÿ169 ÿ5"ÿ17+ ÿ7516ÿ5ÿ5ÿ116ÿ86ÿ/675 ÿ 6 6>!ÿ86ÿ5 6ÿ0 2ÿ95:
91+62
7+6 9ÿ676ÿ5ÿ75 6ÿÿÿ9ÿ676ÿ66 ÿÿ86ÿ&+985 9ÿ69ÿ07?66ÿ86ÿ# 1ÿ786"ÿ6:676ÿ19ÿ81
75 91ÿ95978ÿ91ÿ65 ÿ"5 ÿ6ÿ9 61 ÿ5ÿ9ÿ85158ÿ5"ÿ9 6ÿ6 12!ÿ1ÿ7+6 91ÿ616ÿ1ÿÿ-6ÿ9
  1ÿ6ÿ1ÿ5 ÿ 69ÿ75 92!
5ÿ89ÿ6 ÿ86ÿ# ÿ891ÿ7696ÿ65ÿ6 5+1ÿ"5ÿ86ÿ*87+919 ÿ95ÿ9 ÿ86ÿ'6 1ÿ8698ÿ796ÿ116 ÿ5"ÿ&+985 9ÿ85 8ÿ86
756ÿ1ÿ696ÿ62ÿÿ676ÿ6156ÿ5"ÿ*87+919 ÿ"5ÿ6:9 6ÿ"696ÿ9ÿ1ÿ5ÿ9ÿ9ÿ962ÿ&6ÿ5ÿÿ9ÿ851ÿ91
79 ÿ691 ÿ9ÿ 69ÿ15 62!
@65 ÿÿ86ÿ222ÿ97+6ÿ7+6 91ÿ6"5 9762
(86ÿ7+6 9ÿ07?66ÿ69ÿ5+ ÿ8ÿ86ÿ222ÿ86ÿ9115795ÿ91ÿ6ÿ 56ÿ89ÿ9ÿ16  ÿ 911551ÿ5695!ÿ 6
 99 9 ÿ9ÿ222ÿ15+61 9ÿ19ÿÿ9ÿ196 62
86ÿ222ÿ1ÿ5 ÿ86ÿ 51ÿ6""676ÿ9 5797ÿ5 9095ÿ5"ÿ1ÿ+ !ÿ86ÿ19ÿ9  ÿ89ÿ86ÿ# ÿ89 ÿ7696ÿ9ÿ959ÿ9"5 ÿ"5
86ÿ222!ÿ9 ÿ89ÿÿ91ÿ9ÿ 59ÿ962!
ABCDEFÿHIJKLDMEK
6 ÿ86ÿ222ÿ5 6ÿ1 6ÿÿ86ÿ4<<31ÿ9ÿ59 ÿ 6 6ÿ#6ÿ9ÿ75 9ÿ8ÿ86ÿ;669ÿ-675ÿ*5 115ÿ79  ÿ89ÿ9
222ÿ7597ÿ8ÿ9ÿ7+6 9ÿ119ÿ 91ÿ56ÿ85ÿ9ÿN6861ÿ"5ÿ55191)ÿ9ÿ  ÿ57611)ÿ9 ÿ5ÿ75 66
  2!
86ÿ75 115ÿ676ÿÿ9ÿO3ÿ56ÿ5ÿ5ÿ9+6ÿ975ÿÿ771 1ÿ896ÿ61162
86ÿ222ÿ1ÿ ÿ5ÿ9ÿ"91ÿ9 ÿ5516ÿ8ÿ9:ÿ6951!ÿ19ÿ0971ÿ/2ÿ& 61ÿ9ÿ96ÿ9ÿ456ÿPÿ456ÿ85ÿ166ÿ"5ÿ9ÿ679 6
91ÿ675ÿ5"ÿ86ÿ-:6 ÿ& 90951ÿ615ÿ5"ÿ86ÿ'69ÿ666ÿ/6762
012ÿ%9 61ÿ86ÿ6 ÿQ5+ÿ956ÿ669ÿ6161ÿ9ÿ6 ÿ8692ÿ491ÿ69ÿ186ÿ5ÿ-5ÿ 9 906ÿ89ÿ86ÿ222ÿ86ÿ16"ÿ5ÿ91ÿ9
78996ÿ5 9095!ÿÿ91ÿ979ÿ9ÿ6 51ÿ5 90952!
(9 ÿ2ÿ@ 6 6ÿ'''ÿ86ÿ2221ÿ516ÿ7516ÿ19ÿ012ÿ%9 61ÿ89 ÿ6ÿ5ÿ 795ÿ86ÿ186ÿ91ÿ9ÿ79 96ÿ89ÿ86ÿ222ÿ89
 56ÿ98 ÿ 56!ÿ9  ÿ89ÿ186ÿ89 ÿ169 ÿ5 16ÿ9ÿ9:96" 6ÿ#18 ÿ6:652!
ÿ 6ÿ5"ÿ919751ÿ75ÿ 9 ÿ172ÿ/76ÿ2343ÿ86ÿ222ÿ891ÿ9ÿR45ÿ 5ÿ5ÿ9ÿ75 9ÿ89ÿ5761ÿS 6ÿ(ÿ/+61!ÿ9
8 ÿ185 ÿ5ÿ2ÿ6ÿ/785ÿ86ÿ2221ÿ9 976 6ÿ675ÿ79 6ÿ5ÿ86ÿ5 9095ÿÿ2343ÿ"5 ÿ7+6 9ÿ9 ÿ89 ÿ9
19+6ÿÿ86ÿ575ÿ75 9ÿÿ9ÿ691ÿ234Tÿÿ5ÿ5 6ÿ851ÿ9ÿ661!ÿ0 2ÿ@ 6 6ÿ192
;669ÿ61ÿ617ÿ919751ÿ89ÿ75"6ÿ6755 7ÿ66#1ÿ5ÿ+6ÿ6:6761ÿ5"ÿ9:6:6 ÿ5 909512
0 2ÿ@ 6 6ÿ6176ÿ0 2ÿ/7851ÿ19+6ÿ91ÿ9ÿ 176ÿ661!ÿ89ÿ86ÿ222ÿ"5 ÿ5ÿ5ÿ6ÿ5U675962ÿ=9 61ÿ696ÿ5
S 6ÿ(ÿ/+61!ÿ6 6 6ÿ5ÿ676ÿÿ222ÿ9:ÿ# 12
                                                                                                                          Appendix053
       Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                      Page 61 of 509 PageID 8000




01234ÿ677837ÿ8943 13ÿ1ÿ34 9ÿ8 ÿ7ÿ7843ÿ23ÿÿ2 7ÿ14973443ÿ 43ÿ12 9ÿÿ669ÿ7693ÿÿ4ÿ9ÿ613
2 461ÿ12 1ÿ7ÿ391ÿ123ÿÿÿ669ÿ69ÿÿ 9 1697ÿ1ÿ123ÿ2 461ÿ123ÿÿ! 89 169ÿ43ÿ1"#3816$3ÿ%263ÿ1273ÿ1ÿ123
ÿ43ÿ91
&'ÿ8(43ÿ 69)ÿÿ*4)4ÿ12 1(7ÿ2 461$3ÿ8ÿ489ÿ61ÿ1248)2ÿ123ÿ2 461+ÿ76ÿ ,6ÿ-ÿ. 837ÿÿ* 41934ÿ1ÿ8, ÿ/ÿ.12393 ÿ%2
734,3ÿ69ÿ123ÿ2 461637ÿ$8438ÿÿ123ÿ3%ÿ0 4ÿ11493ÿ-3934 (7ÿ03ÿ%262ÿ,347337ÿ1"#3"3*1ÿ4) 9611697ÿ.82ÿ*41637ÿ4673
&43ÿ2 )7+ÿ23ÿ76
363ÿ73ÿ99*417ÿ123ÿÿ2 7ÿ$339ÿ8416,3ÿ4ÿ617ÿ1*ÿ3"3816,37ÿ44ÿ3 563443(7ÿ*397169ÿ473ÿ4ÿ377ÿ12 9ÿÿ69ÿ123
6#667ÿ1ÿ934ÿÿ669ÿ69ÿÿ'1ÿ7*63ÿ1ÿ 43ÿ12 9ÿÿ669ÿ69ÿÿ4)3ÿ$3873ÿÿÿ431643391ÿ* 9ÿ* 81
ÿ43,63%ÿÿ*8$6ÿ4347ÿ89 ÿ12 1ÿ123ÿÿ%262ÿ2 7ÿ$81ÿÿ3* 337ÿ2 7ÿ67 73ÿ12 1ÿ7ÿ3* 337ÿ914147ÿ,39 47ÿ4
9781917ÿ2 ,3ÿ433, 91ÿ6ÿ43 169726*7ÿ1ÿ12347ÿ99313ÿ1ÿ123ÿ4) 961169ÿ698 69)ÿÿ&9633#69# %+ÿÿ44ÿ3 563443ÿ%2ÿ% 7
2643ÿ7ÿÿ978191
&23ÿÿ7146,37ÿ1ÿ*ÿ%612ÿ ÿ**6$3ÿ43)8 1697+ÿ44ÿ843%34ÿ76ÿ 69)ÿ12 1ÿ123ÿ4) 961169ÿ2 7ÿÿ&9261#ÿ69134371#
* 6+ÿ9 ÿ12 1ÿ&,39 4ÿ)4333917ÿ43ÿ43,63%3ÿ9 ÿ**4,3+ÿ$ÿ123ÿ$ 4(7ÿ8 61ÿ61133ÿ%239ÿ**4*4613
9612ÿ3%ÿ0 4ÿ43)8 147ÿ6469)ÿ61(7ÿ9ÿ784*4673ÿ12 1ÿ123ÿ7113(7ÿ* 616697ÿ2 ,3ÿ$33ÿ 34ÿ4ÿ:ÿ;ÿ* 4168 4ÿ123ÿ),3494
9 43%ÿ4ÿ<8 ÿ%273ÿ 696714169ÿ67ÿ43 ÿ39) )3ÿ69ÿÿ3) ÿ)21ÿ%612ÿ123ÿ)89ÿ)48*ÿ3391ÿ123ÿ7613ÿ3,39ÿ14)313ÿ$ 9
 3746$69)ÿ61ÿ7ÿ&-41ÿ<61+
92 13,34ÿ2 **397ÿ1ÿ:ÿ3%ÿ3"*31ÿ123ÿÿ1ÿ$33ÿ82ÿ377ÿ$ 16,3ÿ44ÿ3 563443ÿ69ÿÿ7*332ÿ1267ÿ 912ÿ3746$3ÿ123
 4) 961169(7ÿ**4 2ÿ7ÿ&8 #911ÿ ,+ÿ 69)ÿ&93ÿ43ÿ)69)ÿ1ÿ)21ÿ$ ÿ) 6971ÿ993ÿ%2ÿ113*17ÿ1ÿ76393ÿ87+




                                                                                                                   Appendix054
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 62 of 509 PageID 8001




                    EXHIBIT 10




                                                                              Appendix055
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                             Page 63 of 509 PageID 8002
 . ~ DORSEY'~
     a lw a y s a h ea d
                                                                                                 Jay J. Madrid, Esq.
                                                                                                          Of Counsel
                                                                                           214-981-9932 - Direct Dial

                                                                                     Board Certified, Oivil Trial Law
                                                                                  Texas Board of Legal t:lpecialization
      March 12, 2019

      Via E-mail: john.frazer@nrahq.org
      John Frazer, Esq.
      General Counsel
      National Rifle Association of America
      11250 Waples Mill Road
      Fairfax, Virginia 22030

              Re:      New York Times Article, Monday March 11, 2019

     Dear Mr. Frazer:

            I direct this letter to you in your capacity as General Counsel to th~ National
     Rifle Association ("NRA"). As you are aware, my firm, along with Stephen Ryan of
     the McDermott Will & Emery LLP firm, represents Ackerman MGQueen ("AMc") in
     its recent dealings with the NRA.

           I informed you on January 4th, 2019 that my client would hav~ no more
     dealings with Brewer Attorneys and Counselors ("Brewer"). Over th~ past few
     weeks it has become clear that Brewer has been relying upon informatio:n provided
     by NRA persons and entities, including the FRA firm and you, to interact with and
     conduct reviews of AMc.

            As I have advised NRA in the past, AMc has encountered a growing number
     of disputes with the demands made and positions_taken by the NM. Theee disputes
     have coincided with the emergence of the Brewer firm as the NRA's lead outside
     counsel and, it appears, its official spokesman.

           The latest and most serious episode bringing harm to my cli~nt is Mr.
    Brewer's role _in a New York Times article published March 11. We confirmed
    yesterday from Mr. Hakim that the NRA's primary provider of information to Mr.
    Hakim was Mr. Brewer. We have begun to receive inquiries from ~mploy~es and the
    press and we anticipate inquiries from clients, vendors and financial institutions.
    The article focused on NRA TV, the entity managed on behalf of the           by AMc.             NRA
    The article contains a number of factual errors, which are likely due to the source of
    NRA information, Mr. Brewer. Aside from those factual inaccuracies, the article
    reveals a much more troubling and fundamental issue, that dealing with the
    leakage of and unauthorized use of confidential information that has been gained by
    NRA representatives from AMc. An example is the reference to the contract with



   D~ftl~1~f-~gp~ LLP I 300 Crescent Court I Suite 400 I Dallas, TX I 75201 I T 214.981.9900 I F 214.981.9901 I dorsey.com




                                                                                                                     Appendix056
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 64 of 509 PageID 8003



    Lt. Colonel Oliver North, which appears for the first time in the article. This is the
    first time that information has been reported and comes less thar two weeks after
    you were permitted to review the contract. It comes less than ·a week after Mr.
    Hakim asked AMc about the North contract. The existence of the contrEJ.ct and Lt.
    Colonel North's relationship with AMc is one of the many items that th~-NRA well
    understood was to be kept in strictest confidence. We learned yesterday, twice from
    Mr. Hakim, that the NRA source of information regarding two Board me'°bers who
    allegedly had critical remarks about NRA TV were provided to the New 'fork Times
    by Mr. Brewer. A judge 01· jury would likely view such disclosures as cqnstituting
    clear intent to disrupt and irreparably harm AMc's contract with the NRJ\.

          Equally disturbing is the fact that Wayne LaPierre, NRA EVP/CEO, has
    purportedly acknowledged that he authorized. Mr. Brewer to communica~e with the
    New York Times, which is in direct contradiction of my January 4th lett~r, and the
    assurances we subsequently received that Mr. Brewer's conflict of interest with
    regard to AMc was understood by NRA leadership .

           The NYT article also quotes two NRA Board members, Marion Hammer and
    Willes K. Lee. The implication created of Ms. Hammer's and Mr. JAe's comments is
    that they don't really like NRA TV and that they had knowledge that ·they were
    participating with this article. AMc has been told by one of thes~ Board members
    that it was the NRA itself that asked for a comment from him, not the -New York
    Times. He further stated he did not know he was providing comments 4> The New
    York Times and that he would not have don~ so, ·and that he is a supporter of NRA
    TV                                                                                      .

           Mr. LaPierre's statement to the board states that "an article in the New York
    Times confirmed what our outside counsel has advised for the p~st year: the New
    York State Attorney General is investigating the NRA." No $·u ch coim.rmation
    appears anywhere in the article. Instead the article is filled ~ith inappropriate
    disclosures of confidential information about .Afv.lc and it is riddled with innuendo
    implying AMc is failing to perform while reaping the financial b~nefits ·o f the role
    they play. Given Mr. LaPierre's purported written admission tliat he ~uthorized
    Brewer to speak with Danny Hakim, the only conclusion to be drawn is that the
    NRA is using AMc as a scapegoat, thereby deflecting attention_. from itself. Mr.
    LaPierre's statement to the Board that his intent is to do "wh~tever we must to
    defend the NRA" translates to casting AMc and its management and oversight of
    NRA TV as a pariah threatening the financial health of the organization.

           The damaging content provided by the NRA to the New York Times was
    selectively reported to craft a story that conveniently omitted the fpllowing:
                       '                                                                '

                  •        The truth about the AMc budget, the structuring of contracts
                           and the increase in billings from 2015 to 2017. This· specifi~ally



                                                       2
    4845-1338-5610\2


                                                                                                Appendix057
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20    Page 65 of 509 PageID 8004


             relates to the sentence in the story that "the firm AMc
             pocketed $40 million from the N.R.A in 2017 ." The implic&tion
             here is false.                                            ·

        •    The truth about Mr. Lapierre's role in the North contraQt in
             the face of the incomplete and illegal disclosure in the article
             after it was reviewed by John Frazer.

        •    The truth about Brewer's relationship with AMc and why he is
             an unreliable, conflicted source on any subject regarding AMc.

        •    The truth about the successful fundraising and DlOnetization
             efforts connected to NRA TV.

        ■    The truth about Mr. LaPierre's brand and his d~cades long
             approval of and ~ssoGiation with "incendiary'' messf;\ges.

        •    The truth about AMc's efforts to promote outreach to div13rse
             communities and the client requested changes , to diverse
             personnel and the decision by NRA to shut down specific
             outreach programs dealing with minorities, military and
             police.

        ■    The truth about the history and diversity of NRA TV in light of
             the incomplete way it was reported by only mentioning Dana,
             Chuck and Grant, but failing to mention the diV<~:r sity of its
             current staff, including Colian Noir.

        •    The truth that NRA TV originated in 1997 and de.buted on a
             digital platform in 2004.

        •    The truth about NRA TV's "Return on Inve~tment" . as
             addressed by Ms. Hammer and the precise me.asurement
             methods spearheaded by AMc.

        •    The truth about the NRA's budget cutbacks and tp.eir impact
             on negotiations with talent like Dan Bongino a·n d others.
             Cutbacks at NRA may have bee.n generated by the $~.Sm
             average monthly fees of the Brewer firm and · the
             approximately $19m paid to that fi1·m with millionf, more that
             we have been told are on the horizon.

         •   The truth about the outreach committee's failing to ever once
             reach out to NRA TV to discuss his concerns or to ieach out to



                                                                                Appendix058
  Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20      Page 66 of 509 PageID 8005



               NRA TV to discuss the many ways in which the channel is
               tackling issues of diversity.

          •    The truth about Thomas the Tank Engine video and the t:ruth
               about the aftermath. The last substantive press report on this
               segment was from a "mom blog" on September 22, 2018. If this
               segment is so damaging to the NRA, why would the NRA take
               it to the New York Times ensuring that it is going to be
               brought up all over again? It would seem that m~re dalllage
               was intentionally sought. To be clear, the New York Times had
               previously reported on this segment on September 12, 2018.

          •   The truth about Under Wild Skies and the NRA's agreement
              with that company that had nothing to do with AMo.

          •   The truth about Susan LaPierre's Employment with AMc,
              including the years she worked there and the projects on wpich
              she worked.

       The New York Times article seriously damaged AMc', reputation and
potentially its ability to service its clients effectively, maintall} critic~l banking
relationships, vendor relationships, employee confidence in their future and much
more potential, harmful consequence. The · negative effect to AMc's ability to
generate new business is undeniable. The article casts AMc in an extremely
unfavorable light, with selective, incorrect and out-of-context statements that
demand retraction or at the very least, correction and completion. Accordingly, on
behalf of AMc, demand is here by made that NRA immediately retract the ·references
made throughout the article to AMc or alternatively, correct the statetnents and
negative implications made about AMc therein. If the NRA refus~s or fails to do so,
AMc will have no alternative but to undertake corrective action by assuring that
facts are accurately reported.

       I invite any questions you may have and Mr. Ryan and myself are prepared
to discuss these matters more fully in person at your convenience.

                                             Yours very truly,

                                             rv;
                                             ~a~
                                                 A~
cc: Steve Hart (jstevenhart@gmail.com)
    Steve Ryan (sryan@mwe.com)




                                                                                     Appendix059
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 67 of 509 PageID 8006




                    EXHIBIT 11




                                                                              Appendix060
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                         Page 68 of 509 PageID 8007


                                                                                              NOT FOR REPRINT


 Click to print or Select 'Print' in your browser menu to print this document.

Page printed from: https://www.law.com/americanlawyer/2019/03/28/meet-the-lawyers-who-clean-up-clients-worst-
messes/




Meet the Lawyers Who Clean
Up Clients' Worst Messes
Crisis management lawyers are ready to do the dirty work when clients
need it most.
By Dan Packel | March 28, 2019



When litigator Karen Dunn started to
think about joining Boies Schiller Flexner
in 2013, the rising star ran into a minor
sticking point with rm co-founder
Jonathan Schiller. After a career that
involved stops as communications
director for Sen. Hillary Clinton, associate
counsel to President Barack Obama and
assistant U.S. attorney in the Eastern                       Karen Dunn, partner with Boies Schiller
                                                             Flexner, left, and Jamie Gorelick, partner
District of Virginia, she wanted to do two
                                                             with Wilmer Cutler Pickering Hale and
things in private practice: try cases and                    Dorr, in Washington, D.C. Photo: Diego M.
put out res.                                                 Radzinschi/ALM.

When Dunn told other rms that she
wanted to specialize in crisis management, many had no idea what she meant. Even
after she explained that she wanted to handle the types of multifaceted legal problems



                                                                                                          Appendix061
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20     Page 69 of 509 PageID 8008


that put companies and individuals squarely in the public eye, some still struggled to
understand.

Not so at Boies Schiller, where she met a welcome response from Schiller: “Of course,
this is what we’ve been doing for years.” But when Dunn suggested that the rm label
the work crisis management and list it on its website, Schiller was skeptical.

“People don’t like to think that they’re in crisis,” he told Dunn.

Ultimately, Schiller conceded. Clearly, Dunn’s lengthy resume helped her bargaining
position. And, in the years since, his perspective has changed, she reports. Now, clients
are telling him, “I’m so glad you have crisis management, because we have a crisis that
needs to be solved,” she says.

Dunn has another shorthand label for the work she does—work that, in recent years,
has included defending Uber against a lawsuit over its driverless car technology while it
faced multiple federal investigations and intense media spotlight, and advising the
owner of Washington, D.C.’s Comet Ping Pong on how to talk to the press the night a
North Carolina man walked into the restaurant and red o three rounds with a semi-
automatic ri e in response to a debunked internet conspiracy theory.

“I sometimes think of this as the ‘big mess’ practice,” Dunn says. As in, “this is just going
to be a big mess.”

“She stole that phrase from me!” interjects Dunn’s close friend Jamie Gorelick, seated
across from her at a window-lit conference table at Boies Schiller’s D.C. o ces. The pair
can’t remember the rst time they met, but Gorelick recalls hearing from her own
longtime friend and protégé Merrick Garland about Dunn’s promise as his clerk on the
Court of Appeals for the D.C. Circuit.

“People say to me, ‘What is your practice?’” continues Gorelick, the co-chair of the crisis
management and strategic response group at Wilmer Cutler Pickering Hale and Dorr
and the former deputy U.S. attorney general in the Clinton administration. “I say, ‘Well,



                                                                                       Appendix062
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20      Page 70 of 509 PageID 8009


if I could put ‘big messes’ on my business card, I would.’”


No law rm is printing out “big mess” business cards, but more and more are adding
the concept to their roster. To do so, they’re zeroing in on attorneys like Gorelick and
Dunn who have gained invaluable experience in the upper echelons of the federal
government to complement their skills as litigators.

When Debevoise & Plimpton announced in early 2017 that Mary Jo White was returning
to the rm after chairing the U.S. Securities and Exchange Commission, the rm said
crisis management would be part of her brief. In January, Willkie Farr & Gallagher hired
Dunn’s former Boies Schiller colleague Michael Gottlieb, who also spent time in the
Obama White House counsel’s o ce, to helm its new crisis management practice.
Quinn Emanuel Urquhart & Sullivan launched its own crisis management practice in
September 2017 with Crystal Nix-Hines, a former litigator at the rm who had left to
serve as U.S. ambassador to the United Nations Educational, Scienti c and Cultural
Organization. And earlier that year, Morrison & Foerster brought on John Carlin,
previously the top o cial for national security at the U.S. Department of Justice, for its
new global risk and crisis management practice.

Credit the 24-hour news cycle and the ubiquity of social media for pushing rms in a
new direction. Dunn says her work on behalf of Uber is a prime example of the change.

“I’m not sure that 10 or 20 years ago a case like that would have had, on an almost daily
basis, a new di culty to deal with,” she says. “Maybe on a weekly basis, or maybe it
would have evolved over time. This felt much more frequent and much more acute.”

Gorelick says the foundation for her work was laid by a lawyer who was born in 1917
and served as White House counsel for both Jimmy Carter and Bill Clinton: Lloyd Cutler,
a co-founder of the predecessor to Wilmer in 1962. When Gorelick joined the rm, in
2003, after her time at the DOJ and later Fannie Mae, she wanted to follow Cutler’s lead
in handling existential crises for businesses and individuals.



                                                                                      Appendix063
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20       Page 71 of 509 PageID 8010


“It didn’t have the name of crisis management, but if you look at what he did and a
good part of what the rm did, it was handling these issues that traverse the branches
of government,” she says.

Gorelick inherited Cutler’s practice, gave it a name and has led it ever since.

Her client list includes companies with sizable legal teams that have nonetheless been
set up by the political climate for their “time in the barrel,” as she calls it. That’s recently
involved preparing leaders of tech giants Google and Facebook for congressional
investigations. She also handled BP’s legal response to the 2010 Deepwater Horizon oil
spill and, more recently, the response from Columbia Gas of Massachusetts, whose gas
distribution system su ered an overpressurization event, prompting a series of
explosions across a 45-mile stretch of pipeline.

In addition to addressing the resulting physical injuries, which included one death, and
the economic damage dealt to 30,000 residents displaced from their homes, Columbia
Gas also had to respond to concerned local, state and federal politicians making
inquiries on behalf of their constituents. The utility faced two federal regulators and a
state regulator. Congress held a eld hearing, and the U.S. Attorney’s O ce made an
inquiry. And every step was closely covered by the press.

“That’s a lot to say grace over, particularly for a company which is very well run but has
no standing army,” Gorelick says. “And that’s where we try to be of help.”

Plenty of other times, the work stays under wraps due to the sensitivity of a matter.
Asked about the rst time they worked together on a shared project, both attorneys
laughed.

“It’s very interesting,” Gorelick says, “but it’s not something we can discuss.”




                                                                                          Appendix064
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20    Page 72 of 509 PageID 8011


While both Gorelick and Dunn have ties to the two most recent Democratic
administrations, the eld of crisis management includes accomplished names from
both parties. Gorelick relies on the judgment of her practice vice chair, Reginald Brown,
a special assistant and associate White House counsel to George W. Bush, to anticipate
how gures on the other side of the aisle will respond.

And Gibson, Dunn & Crutcher’s Ted Olson, who served
as solicitor general for Bush, identi es his work in
Tallahassee, Florida, facing o against David Boies in
the 2000 presidential election recount, as one of the
earliest crises he handled. Prior to his time in the Bush
administration, Olson handled a few other client
matters that required an immediate, multidisciplinary
response, including a petroleum industry disaster. They
helped plant the seed for launching a crisis
management practice at Gibson Dunn after he returned
in 2004.

“I knew I was an appellate lawyer, but I also thought we,
as a major rm, needed to be practicing law in the 21st       Ted Olson of Gibson, Dunn
century,” he says.                                           & Crutcher in Washington,
                                                             D.C. Photo: Diego M.
That meant harnessing experts across the rm’s                Radzinschi/ALM.
practices to spring into action in the event of
emergencies and to prepare clients for contingencies.

Reed Brodsky, the former Southern District of New York prosecutor who now co-chairs
Gibson Dunn’s crisis management practice, points to the importance of companies
having a game plan: which employees are involved, from managers to the general
counsel’s o ce; who coordinates; which outside advisers and vendors are to be
brought in.




                                                                                    Appendix065
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20    Page 73 of 509 PageID 8012


“If you have that lined up, it makes it a lot easier than if the company is scrambling,” he
says. “That will lead to mistakes and problems.”

Regardless of how a rm prepares, the job requires attorneys to adapt to rapidly
changing conditions. And their pre-existing political commitments, whether they spent
time in a Republican or Democratic administration, are going to be irrelevant in that
moment.

“It’s triage,” Olson says, “and you have to have the right doctor standing by with the
right instruments and the right procedures and the right experience to deal with
someone who’s bleeding to death, and that’s your client.”


Gorelick and Dunn insist that crisis management, as they conceive it, can’t be done
outside of Washington.

“You have to have the underlying regulatory expertise. You have to have deep
familiarity with Capitol Hill. You have to understand the news cycle, for issues that are
in public policy. And you have to be able to surge—you really do need a substantial
number of people who have had that sort of government experience,” Gorelick says. “If
you don’t have those things, you’re unlikely to be able to do this. You could be a
fabulous litigator, and not be able to do this. You could be a fabulous regulatory lawyer
and not be able to do this.”

That hasn’t stopped traditional Wall Street rms, including Debevoise, Willkie, Sullivan &
Cromwell and Simpson Thacher & Bartlett, from advertising their crisis capabilities.
Some of this work clearly corresponds with the increased demand from companies and
institutions touched by the #MeToo movement. And it covers terrain that also falls
under the ambit of internal investigations. Witness how the NFL, Ohio State University
and CBS all turned to White and Debevoise to lead investigations after they were
blemished in the public eye: the NFL, by inappropriate sexual and racial comments by a




                                                                                     Appendix066
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 74 of 509 PageID 8013


former franchise owner; OSU, by the head football coach’s handling of domestic
violence accusations against a top assistant; and CBS, by the sexual misconduct
allegations against former CEO Les Moonves.

No company or institution wants to be in any of those predicaments. But an internal
investigation alone doesn’t necessarily make for a full-scale, hair-on- re big mess.

Dunn has had time to think about what turns a matter into a crisis that needs to be
managed.

“At the heart of it, there is generally some sort of big legal problem, and that can be
litigation, but it doesn’t have to be, and the outgrowth can be something that is
government-facing, like a governmental inquiry that requires high-level executives at a
company to have to go before Congress or regulators,” she says. “Another facet could
be media scrutiny or public outcry of some variety.”

And time is of the essence, Gorelick adds.

“That time intensity can be driven by a congressional hearing, a subpoena, or by a story
that pops up in a major news outlet,” she says, “but whatever it is, it’s something that
really puts pressure on the company or the individual not to handle it as business as
usual.”

Olson emphasizes that synergies among regulatory agencies, the press and the
plainti s bar mean that more and more of these matters have the ability to snowball.

“I pick up the Wall Street Journal or The New York Times every day and see one of these
problems,” he says. And yet Gibson Dunn, where he has sat on the executive
committee for years, has come to a di erent conclusion on the question of geography.
While Olson remains a Beltway stalwart, the leadership of the rm’s crisis practice is
now in the hands of Brodsky in New York and another former federal prosecutor,
Debra Wong Yang in Los Angeles.




                                                                                       Appendix067
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 75 of 509 PageID 8014


Neither Boies Schiller, Wilmer nor Gibson Dunn can take credit for being the rst large
 rm to pin the label “crisis management” on a practice. That likely goes to Patton Boggs,
the D.C. rm that had already helped to invent the modern lobbying practice. In the
early 2000s, after former White House special counsel Lanny Davis
(https://www.law.com/americanlawyer/2019/03/28/for-lanny-davis-silence-is-not-an-
option-when-crisis-hits/) returned to the rm where he spent the rst two decades of
his career, his work gradually evolved into guiding business leaders in how to respond
publicly to emergencies. Then, in 2003, Davis and several colleagues moved the
practice to Orrick Herrington & Sutcli e under the label “crisis communications.”

Davis is now at his own rm, alongside two partners who worked with him at those
earlier Big Law stops. Meanwhile, Orrick and Squire Patton Boggs have both wiped the
slate clean: neither rm now highlights its crisis management capabilities, at least not
under the banner of a standalone practice.

That might owe to an emerging distinction between the work Davis pioneered and the
multiple hats worn by attorneys like Gorelick, Dunn and Olson, who continue to spend
ample time either in the courtroom, directing businesses’ and individuals’ responses to
regulators, or both. For large rms, it makes sense to go beyond communications and
to build—or attempt to build—a crisis practice that takes advantage of the expertise of
other attorneys already on the roster.

Gorelick, for example, leans on colleagues in Wilmer’s nancial institutions regulatory
practice, its energy and environmental practice, its tech practice, and its privacy
practice. It only works if there’s an integrated team.

“We’re preparing a telecom company executive right now for a hearing,” she says.
“Knowing and understanding the telecom, privacy, antitrust and national security
underlying issues makes you more e cient and also much more e ective at guring
out what the questions are and what the answers should be.”




                                                                                      Appendix068
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20    Page 76 of 509 PageID 8015


But that shouldn’t undersell the importance of media savvy. Experience dealing with
the press is critical, not just for advising clients on how to respond to reporters, but also
for suggesting how they should speak to regulators, Congress and, yes, juries.

“The communications skills that I got even before I knew I wanted to become a lawyer
are so embedded that it helps me communicate to people, whether it’s on a jury or
whether I’m preparing an executive to testify for anybody watching on a TV at home,”
says Dunn, who spoke to the media on a near-constant basis when handling
communications for Clinton before starting law school.

Part of that work involves disabusing clients of their notions of what will y.

“You just have to be in a position to say, ‘I don’t think that works and this is why. Here’s
what will work and why,’” says Gorelick, who emphasizes that as deputy attorney
general she spent half of her time on substantive legal questions and the other half
sorting out their intergovernmental and public a airs rami cations. “Unless you’ve
done that … you can’t really persuade a client to do the thing that will be most helpful
to them.”

Olson comes to a similar conclusion.

“If you have to tell a company that their CEO is not very good on television and should
stay away from it,” he says, “you have to have someone who’s knowledgeable and
mature and respected enough that they will listen to you. People who are at the top of
major companies have substantial egos—otherwise, they wouldn’t get there. They have
an instinct to react the way their judgment tells them to react.”


If social media has rendered an already fragmented media landscape even more
complex, amplifying the intensity of a crisis through its in nite stream of news, it’s also
provided clients with a new tool.




                                                                                      Appendix069
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20     Page 77 of 509 PageID 8016


In 2018, Dunn represented The Wing, a feminist co-working space, in response to an
anti-discrimination investigation from the New York City Commission on Human Rights.

The traditional side of the response involved interviews with the commission. But after
the press reported on the investigation, the company was able to quickly orchestrate a
social media campaign on its own behalf.

“We were able to mobilize the most incredible outpouring of membership support I
have ever seen over social media, which had an enormous e ect on the public
perception of the wisdom of such an inquiry—whether or not that’s where the city
ought to be putting its human rights resources at that time,” Dunn says.

Gorelick often likens the position of clients in crisis to landing a plane.

“You’re in ight, you have a decision to make,” she says. “You generally do not have
time to look up the manual, consult broadly, turn the plane around, do a bunch of
loops. You have to land the plane.”

In that analogy, social media is just another instrument in the cockpit. But regardless of
which levers the crisis manager elects to pull, time is of the essence, and there’s no
room for worrying about the prospect of being second-guessed.

“For many lawyers, that’s a very uncomfortable place,” Gorelick says.

Dunn agrees with the analogy, with an addition: “You have to remain calm.”

“You can’t land the plane if you are not calm!” Gorelick inserts.

“In this circumstance, are we air tra c control?” Dunn asks, putting a spotlight on a
crucial ambiguity in her friend’s initial formulation: Whose hands are on the controls?
The lawyer or the client?

“No,” Gorelick answers. “You’re the pilot!”

Email: dpackel@alm.com



                                                                                     Appendix070
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20         Page 78 of 509 PageID 8017




Read More:

For Lanny Davis, Silence Is Not an Option When Crisis Hits
(https://www.law.com/americanlawyer/2019/03/28/for-lanny-davis-silence-is-not-an-
option-when-crisis-hits/)

Lifetime Achiever: Jamie Gorelick, Wilmer Cutler Pickering Hale and Dorr
(https://www.law.com/americanlawyer/2018/08/22/lifetime-achiever-jamie-gorelick-
wilmer-cutler-pickering-hale-and-dorr/)



Copyright 2019. ALM Media Properties, LLC. All rights reserved.




                                                                                          Appendix071
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 79 of 509 PageID 8018




                    EXHIBIT 12




                                                                              Appendix072
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20           Page 80 of 509 PageID 8019




 Statement from Ackerman McQueen
 April 15, 2019




 During a three-week review, an NRA forensic auditing firm received every single piece of
 information they [the NRA] requested.

 Further, the NRA has had consistent access to any and all documents regarding NRATV
 analytics.

 Despite the representation set forth in their lawsuit, the NRA had the personnel contract they
 claim AM withheld last week before they filed their lawsuit. It was provided by the Williams &
 Connolly law firm. The transfer occurred as a result of a process for delivery of such highly
 confidential information.

 This flagrant misrepresentation, along with other false claims, serve as the foundation of
 malicious intent exemplified by this lawsuit.

 Months ago, legal counsel informed the NRA that “Mr. Brewer himself has an irreconcilable
 conflict of interest. Mr. Brewer is the son-in-law of Angus McQueen and brother-in-law of
 Ackerman McQueen’s CEO, Revan McQueen. Mr. Brewer has demonstrated, in words and
 deeds, his animus for Ackerman McQueen and these family members and that animus
 pervades the Brewer firm’s dealings with Ackerman McQueen, whether dealing directly with
 Ackerman McQueen or through other members of his firm.”

 Ackerman McQueen has served the NRA and its members with great pride and dedication for
 the last 38 years. The NRA’s action is frivolous, inaccurate and intended to cause harm to the
 reputation of our company and the future of that 38-year relationship.

 This lawsuit affects not only Ackerman McQueen, but the members of the organization whose
 dedication to the Second Amendment is shared equally with the defendants in this case. Much
 like we have done for the NRA and the Second Amendment over the past 38 years, we too will
 defend our position and performance aggressively.




                                                                                              Appendix073
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 81 of 509 PageID 8020




                    EXHIBIT 13




                                                                              Appendix074
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 82 of 509 PageID 8021




                                                                              Appendix075
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 83 of 509 PageID 8022




                                                                              Appendix076
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 84 of 509 PageID 8023




                                                                              Appendix077
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 85 of 509 PageID 8024




                    EXHIBIT 14




                                                                              Appendix078
       Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                       Page 86 of 509 PageID 8025



 This copy is for your personal, non-commercial use only. To order presentation-ready copies for distribution to your colleagues, clients or customers visit
 https://www.djreprints.com.

 https://www.wsj.com/articles/nras-wayne-lapierre-says-he-is-being-extorted-pressured-to-resign-11556314763


U.S.

NRA’s Wayne LaPierre Says He Is Being
Extorted, Pressured to Resign
Group’s longtime leader says Oliver North, president of the NRA, wants him out




Wayne LaPierre, who spoke Friday at an annual meeting of the National Ri le Association, has
been at the top of the organization for three decades.
PHOTO: DANIEL ACKER BLOOMBERG NEWS


By Mark Maremont
April 26, 2019 5 39 pm ET

Longtime National Riﬂe Association leader Wayne LaPierre has told the group’s board he is
being extorted and pressured to resign by the organization’s president, Oliver North, over
allegations of ﬁnancial improprieties, in a battle stirring up one of the nation’s most powerful
nonproﬁt political groups.

In a letter sent to NRA board members late Thursday afternoon, Mr. LaPierre, the group’s CEO
and executive vice president, said he refused the demand. Instead he called on board members
to “see this for what it is: a threat meant to intimidate and divide us.”




https://www.wsj.com/articles/nras-wayne-lapierre-says-he-is-being-extorted-pressured-to-resign-11556314763                                                        1/4


                                                                                                                                                               Appendix079
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                            Page 87 of 509 PageID 8026

READ THE LETTER

•      “Dear Members of the Board:...”




Mr. North sent his own letter to the board late Thursday evening, in which he said his actions
were for the good of the NRA and that he was forming a crisis committee to examine ﬁnancial
matters inside the organization, according to people familiar with its contents.

                                                                Advertisement




                                              Work virtually —
                                              anywhere.
                                              Create, edit, sign, and share
                                              PDFs in Google Drive and
                                              Microsoft apps, and on any
                                              device.


                                                     Get started



Mr. North previously had sent a longer letter to the board’s executive committee detailing new
allegations of ﬁnancial improprieties involving more than $200,000 of wardrobe purchases by
Mr. LaPierre that were charged to a vendor, according to the people. One of those people
described Mr. LaPierre’s letter as an “angry reaction” to Mr. North’s longer letter.

The behind-the-scenes brawl is taking place amid the gun-rights group’s big annual meeting, at
which President Trump spoke Friday.

Insiders say matters will come to a head by Monday, when the NRA’s full 76-member board is
set to meet.

The ﬁght stems in part from a dispute between the NRA and its longtime advertising ﬁrm,
Ackerman McQueen Inc., which resulted in a lawsuit ﬁled by the NRA earlier this month. In the
suit, the group claimed Ackerman McQueen had refused to provide records justifying its
billings. Ackerman McQueen has called the lawsuit “frivolous” and “inaccurate.”

One of the NRA’s claims was that for months it had been stymied in attempts to get details of
the ad ﬁrm’s contract with Mr. North, a former Marine Corps oﬃcer and Iran-Contra ﬁgure who
hosts a documentary program on NRATV produced by Ackerman McQueen.




https://www.wsj.com/articles/nras-wayne-lapierre-says-he-is-being-extorted-pressured-to-resign-11556314763                       2/4


                                                                                                                            Appendix080
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                            Page 88 of 509 PageID 8027

According to Mr. LaPierre’s letter to board members, which the The Wall Street Journal has
reviewed, Mr. North called an NRA senior staﬀer Wednesday to convey a message to the NRA
chief. In the call, according to the letter, Mr. North said that unless Mr. LaPierre resigned,
Ackerman McQueen was prepared to send a letter to the NRA board that would be “bad for me,
two other members of my executive team and the Association.”

SHARE YOUR THOUGHTS


Is the NRA in need of a new leadership or is the status quo better for its advocacy of Second
Amendment rights? Join the conversation below.



The letter, Mr. LaPierre wrote the board, “would contain a devastating account of our ﬁnancial
status, sexual harassment charges against a staﬀ member, accusations of wardrobe expenses
and excessive staﬀ travel expenses.”

Mr. LaPierre added that after the call “others informed me that I needed to withdraw the NRA
lawsuit against [Ackerman McQueen] or be smeared.”



A spokesman for Ackerman McQueen said it would have no comment.

William A. Brewer III, an outside attorney for the NRA, said, “many of the issues raised by Col.
North have been the subject of review and investigation by the NRA since early last year. In our
view, the items involving Mr. LaPierre may reﬂect a misinformed view of his and the NRA’s
commitment to good governance.”

As for the wardrobe costs, NRA second Vice President Carolyn Meadows said the expenses
dated back 15 years and “a wardrobe allowance is not that extraordinary” for the NRA chief,
who has “participated in literally thousands of speeches and hundreds of television
appearances during that time.”

The letter also claims that Mr. North told the NRA staﬀer the letter wouldn’t be sent if Mr.
LaPierre promptly resigned. If Mr. LaPierre supported Mr. North’s continued tenure as NRA
president, the letter claimed, Mr. North stated he could negotiate an “excellent retirement”
package for the NRA chief.

Mr. LaPierre wrote that the threat was couched, “in the parlance of extortionists, as an oﬀer I
couldn’t refuse. I refused it.”

In the letter, Mr. LaPierre said Mr. North was paid “millions of dollars annually” by Ackerman
McQueen, for a dozen episodes of his series, “Oliver North’s American Heroes.” But only three

https://www.wsj.com/articles/nras-wayne-lapierre-says-he-is-being-extorted-pressured-to-resign-11556314763                       3/4


                                                                                                                            Appendix081
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                         Page 89 of 509 PageID 8028

episodes have been delivered thus far, Mr. LaPierre wrote, and the NRA has demanded to know
what it is paying for “in light of these production shortfalls.”

Ackerman McQueen “appears to have responded indirectly by trying to oust me,” Mr. LaPierre
wrote.

The dispute pits two high-proﬁle conservative ﬁgures against each other. Mr. LaPierre has
headed the NRA for close to 30 years. During his tenure, the group shifted from being a grass-
roots organization to a nationally powerful advocacy organization with strong political sway
when it comes to its core gun-rights message.

Mr. North is a conservative folk hero from his tenure in the 1980s on the National Security
Council and his role in the Iran-Contra scandal. He became NRA president a year ago as the
group searched for a higher-proﬁle ﬁgure as its ﬁnances sagged after Mr. Trump’s election
eased concerns about more gun regulations under another Democratic administration.

                                                                        Advertisement




The NRA president must stand for reelection every year, but in recent years most presidents
have served for two years. Mr. North’s ﬁrst term is scheduled to end Monday.

—Zusha Elinson contributed to this article.

Write to Mark Maremont at mark.maremont@wsj.com

Appeared in the April 27, 2019, print edition as 'Extortion Allegation Riles Top NRA Ranks.'



 Copyright © 2020 Dow Jones & Company, Inc. All Rights Reserved

 This copy is for your personal, non-commercial use only. To order presentation-ready copies for distribution to your colleagues, clients or customers visit
 https://www.djreprints.com.




https://www.wsj.com/articles/nras-wayne-lapierre-says-he-is-being-extorted-pressured-to-resign-11556314763                                                        4/4


                                                                                                                                                               Appendix082
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 90 of 509 PageID 8029




                    EXHIBIT 15




                                                                              Appendix083
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                         Page 91 of 509 PageID 8030


                                                                                              NOT FOR REPRINT


 Click to print or Select 'Print' in your browser menu to print this document.

Page printed from: https://www.law.com/texaslawyer/2019/05/06/advocacy-as-art-lawyers-must-engage-in-issues-and-
crisis-management/




Advocacy as Art: Lawyers
Must Engage in Issues and
Crisis Management
When public relations is stitched into the fabric of the advocacy, the
practice can e ciently in uence and improve the development of each
case or crisis.
By William A. Brewer III | May 06, 2019



                                                                In today’s world of high-stakes litigation,
                                                                it is not often that the need for e ective
                                                                advocacy is con ned to the courtroom. It
                                                                typically requires advocacy in the court
                                                                of public opinion.

                                                                It is no surprise that businesses, public
                                                                interest groups and leading

Crisis management                                               entrepreneurs increasingly look to law
                                                                  rms to create multi-dimensional, multi-
                                                                layered strategies that advocate for them
in the public square. Many law rms engineer carefully crafted plans to advance their
clients’ interests and protect their most valued asset, their brand.



                                                                                                          Appendix084
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 92 of 509 PageID 8031


The regulatory arena, legislative environment and news media are all touchstones of
e ective advocacy in bet-the-business litigation, working in coordination with one
another to help clients achieve successful outcomes.

As many clients realize, crafting a public narrative can no longer fall solely under the
purview of public relations agencies or a corporation’s in-house communications
department.

According to recent press reports, the legal community has awakened to the “new”
normal: issues and crisis management should be a fundamental component of any
high-stakes advocacy plan. There are many advantages for clients when that function is
managed by law rms.

The fusion of legal and communications resources can produce more compelling,
e ective advocacy—enabling clients to favorably posture themselves, mitigate
reputational damage and have a voice in the telling of the stories that de ne them.

What’s more, lawyers who manage issues and crisis management are able to help
clients gain strategic advantages in their advocacy and recognize improvements in
operational e ciencies, including cost-savings.

When communications professionals are deployed within law rms, the resources are
more quickly and readily available. They are unencumbered by the drag of expensive
“ramp up” periods often required by PR rms—which often renders the messaging
“late” and diminishes its e ectiveness.

There is also an inherent advantage in having law, media and politics all directed under
the umbrella of the attorney-client relationship. The advocacy can be coordinated and
responsive— working in alignment with a client’s legal objectives, elements of which
might not be fully appreciated by a siloed PR rm.

Seeing the Vision




                                                                                     Appendix085
    Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 93 of 509 PageID 8032


A handful of law rms that were early entrants in the world of crisis management
practices—specialized work groups that help clients navigate the media landscape,
engage in the regulatory arena and advocate in public forums.

In 2001, we launched our practice group—after outsourcing certain elements of the
public relations function during much of our rm’s formative years. We often explain
that we made the decision because we were driven to do so by the demands of our
commercial litigation practice.

In short, we realized that the most signi cant cases on our docket not only generated
media attention, but invited regulatory scrutiny, sparked shareholder inquiries, and
were a catalyst for stakeholder engagement. Our clients facing the “all-or-nothing”
proposition of bet-the-business litigation often turned to us to navigate them through
treacherous waters of news cycle advocacy.

The truth is many CEOs and GCs of major Lone Star corporations—or those from
companies with a signi cant footprint in Texas—know that e ective issues and crisis
management is key to advancing their interests, managing exposure and positioning
their companies for success. They appreciate the importance of public opinion in
shaping outcomes, including litigation.

More Than a Call Center

E ective crisis management is about more than media relations. It centers on the
ability to assess and manage a client’s most critical elements of public exposure. How
do clients protect and advance their position, posture themselves for success, and
protect their reputational interests? The answer lies in courtroom and public advocacy
that works in concert, not con ict.

Public relations is about more than press engagement. It involves projecting your
external voice as a gateway into informing and in uencing key audiences. That includes
customers, employees, shareholders and other in uencers who can impact long-term
success.


                                                                                    Appendix086
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 94 of 509 PageID 8033


The aim of the lawyers who operate in high-pro le cases is to provide advocacy in all
forums.

Advocacy is made more successful by ensuring the legal strategy and messaging are
consistent. Crisis experts should manage the immediate issue or concern but with a
forward-looking vision that helps clients anticipate challenges, leverage long-term
opportunities and protect against reputational harm. They need to see the forest and
the trees.

With this in mind, we employ former news reporters, crisis experts and lobbyists to
help understand the landscapes in which our clients are involved. These professionals
can provide strategic counsel not only in connection with high-pro le litigation, but also
in anticipating and responding to a wide range of reputational concerns.

They understand that the news cycle is in perpetual motion—with websites and social
media driving the need for “rapid response” advocacy that is best understood by those
who have rsthand experience confronting its demands.

From Competitive Advantage to Competitive Necessity

Having crisis communications skill sets in-house provides law rms with invaluable
expertise, perspective, and insight into the analysis of each client’s circumstances.

When public relations is stitched into the fabric of the advocacy, the practice can
e ciently in uence and improve the development of each case or crisis.

Put another way, law rms that operate as issues and crisis managers o er an added
level of advocacy—one that is uniquely creative, responsive and in uential.

What was once a competitive advantage for rms and their clients is quickly becoming
a competitive necessity, as valuable as any other weapon in the attorney’s arsenal.




                                                                                        Appendix087
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20         Page 95 of 509 PageID 8034




William A. Brewer III is managing partner at Brewer, Attorneys & Counselors, with
o ces in Dallas. His practice operates at the intersection of law, business and
communications. In 2001, Brewer pioneered the development of an Issues & Crisis
Management group that specializes in managing reputational issues for a broad range
of clients.



Copyright 2019. ALM Media Properties, LLC. All rights reserved.




                                                                                          Appendix088
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 96 of 509 PageID 8035




                    EXHIBIT 16




                                                                              Appendix089
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 97 of 509 PageID 8036




                                                                              Appendix090
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 98 of 509 PageID 8037




                    EXHIBIT 17




                                                                              Appendix091
       Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                        Page 99 of 509 PageID 8038




Politics

Ad Firm Cuts Ties With NRA, Says ‘Chaos Led Us to Lose Faith’ After 38
Years
By Neil Weinberg and David Voreacos
May 29, 2019, 2:44 PM CDT
Updated on May 29, 2019, 3:48 PM CDT

  Ackerman McQueen move leaves questions about future of NRATV
  Gun-rights group had used PR ﬁrm for nearly four decades


The National Riﬂe Association’s longtime advertising and public relations ﬁrm ended its relationship with the group amid a legal battle that has cast
a harsh light on spending and governance at the gun-rights lobby.


The ﬁrm, Ackerman McQueen Inc., said Wednesday that it would cease working with the NRA after 38 years because “the NRA’s chaos led us to lose
faith” in the group.


The breakup comes after the NRA sued Ackerman McQueen in April, claiming it refused to provide details of its employment contract with Oliver
North, who also served as the unpaid NRA president. North had previously raised questions about spending by the NRA’s executive vice president
and chief executive oﬃcer, Wayne LaPierre. North was then ousted during the NRA’s annual meeting. The ad agency has denied withholding
information about North’s contract and counter-sued.


“We were attacked in frivolous lawsuits and defamed with made-up stories that were then cowardly peddled to the media,” the Oklahoma City ﬁrm
said in a written statement. “The intent was to make us afraid. We will never fear the truth.”


Previously: NRA Says Ad Firm Stole Its Legal Secrets as Duel Escalates


Ackerman McQueen added: “The turmoil the NRA faces today was self-inﬂicted. It could have been avoided. We deeply regret that it wasn’t.”




It wasn’t immediately clear how the termination of the ﬁrm’s service agreement will aﬀect the operation of NRATV, which it produced to promote
gun rights and other conservative causes. The NRA paid the ﬁrm and a subsidiary nearly $40 million for its work in 2017, according to court ﬁlings.


“It is not surprising that Ackerman now attempts to escape the consequences of its own conduct,” William A. Brewer III, a lawyer for the NRA, said
in a statement. “When confronted with inquiries about its services and billing records, Ackerman not only failed to cooperate -- it sponsored a failed
coup attempt to unseat Wayne LaPierre. The NRA alleges that Ackerman not only attempted to derail an investigation into its conduct, but
unleashed a smear campaign against any who dared to hold the agency accountable.”


NRA spokesman Andrew Arulanandam said the group would begin shifting its communications work. “We have an opportunity to elevate our
brand, communicate with a broader community of gun owners and press the advantage in the upcoming 2020 elections,” he said in a statement.




                                                                                                                                              Appendix092
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                Page 100 of 509 PageID 8039




Before the announcement on Wednesday, the ad agency continued to work for the NRA even as the parties battled in state court in Alexandria,
Virginia. Last week, the NRA ﬁled an emergency motion to halt litigation after accusing an Ackerman McQueen employee of stealing a PowerPoint
presentation detailing its courtroom strate y. Ackerman McQueen’s statement was reported earlier by the Wall Street Journal.


(Updates with NRA statement.)


In this article
  0117133D
  ACKERMAN MCQUEEN INC
  Private Company




                                                                     Terms of Service
                                                                 Trademarks Privacy Policy
                                                         ©2019 Bloomberg L.P. All Rights Reserved
                                                Careers Made in NYC Advertise Ad Choices    Contact Us Help




                                                                                                                                       Appendix093
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 101 of 509 PageID 8040




                    EXHIBIT 18




                                                                               Appendix094
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                         Page 102 of 509 PageID 8041




                   dmaiJ

       I
           ,/ct: NRA laws_uit against Ack~rman McQueen [CONFIDENTIAL]
                        .
    ,/Dan Boren <Dan.Boren@chickasaw.net>                                                           Thu, May 30, 2019 at 12:36 PM
   / To: "danboren1@gmaH.com" <danboren1@gmall.com>
  -/




           Hon. Dan Boren
           President
           Corporate Development
           Chickasaw Nation
           Department of Commerce
           4001 N. Lincoln Blvd.
           Oklahoma City, OK 73105
           405- 767-8921
           Dan.Boren@Chlckasaw.net<mailto:Dan .Boren@Chlckasaw.net>

           Begin forwarded msssage:

           From: Dan Boren <Dan.Boren@chickasaw.net<mailto:Dan.Boren@chickasaw.net»
           Date: April 15, 2019 at 8:35:29 PM CDT
           To: BILL LANCE <BIII.Lance@chickasaw.net<mallto:BIII.Lance@chiclcasaw.net»
           Subject: Fwd: NRA lawsuit against Ackerman McQueen [CONFIDENTIAL]

           f reread this again. I bet Ackerman is in trouble on this one. They can't produce the backup to the invoices and were
           allocating full salary to these employees that may have been working on our accounts

           Hon. Dan Boren
           President
           Corporate Development
           Chickasaw Nation
           Department of Commerce
           4001 N. Lincoln Blvd.
           Oklahoma City, OK73105
           405-767-8921
           Dan.Boren@Chlckasaw.net<mailto:Dan.Boren@Chlckasaw.net>

           Begin forwarded message;

           From: "Frazer, John" <John.Frazer@nrahq.org<mailto:John.Frazer@nrahq.org>>
           Date: April 15, 2019 at 10:11 :42 AM CDT
           To: "Frazer, John" <John.Frazer@nrahq.org<mailto:John.Frazer@nrahq.org»
           Subject: NRA lawsuit against Ackerman McQueen [CONFIDENTIAL)

           Dear Board and Executive Council members:

           Please see \/Vayne LaPlerre's note below regarding the attached complaint filed this past Friday. Beneath Wayne's
           note Is a Wall Street Journal article that appeared online today.

           Sincerely,

           John Frazer
           Secretary and General Counsel
           National Rifle Association of America
           11250 Waples Mill Rd.



                                                                                                                     D8_0216



                                                                                                                                    Appendix095
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                        Page 103 of 509 PageID 8042




       Fairfax, VA 22030
       (703) 267-1254
     . jol'lnJraz~r@nrahq.org<mailto:john.frazer@nrahq.org>

      This e-mail and any files transmitted wlth it are confidential and intended solely for the use of the individual or entity to
      whom they are addressed, and may be privileged. If you have received this e-mail in error, please notify the sender
      immediately, delete the message from your computer, and do not disseminate, distribute, or copy it.



      Dear NRA Board of Directors:

      Today, an article in The Wall Street Journal reported on a business dispute between the NRA and one of our vendors,
      Ackerman McQueen. Ackennan has been a longtime partner and valued advisor to the NRA. And, although we
      appreciate the many years of successful partnership we have shared with Ackerman, this actron was necessary
      because of a failure to comply with multiple requests for documents and information relating to its work for our
      Association. We hope to get this matter resolved In the best Interest of all parties Involved.

      As most of you know, the NRA requested that all of our vendors commit to providing detailed reports and records
      relating to their work for our organization. This is part of the NRA's Compliance Review Process and our determination
      to adopt best prm;tices in the areas of accounting and governance.

      Today's reporting also touched upon other concerns, including efforts undertaken by the Office of the Executive Vice
      President to protect the NRA's legal, regulatory and reputational interests. As was reported, I have supported the work
      of lha firm Brewer, Attorneys & Counselors, to represent our interests on several related fronts. Centralizing these
      services allows us to gain strategic advantages, operational efficiencies, recognize cost savings, and improve our
      advocacy on these many fronts.

      I look forward to working closely with an of our vendors - in advertising, marketing, and other areas -to maximize
      their value to our Association. I also look fmward to continuing my work with all of you - our board of directors.

      Our goal is to ensure we are doing everything possible to protect our Second Amendment, further the interests of the
      NRA, drive brand awareness and membership, and operate in full compliance with all applfcable regulations. The NRA
      will also continue our advocacy at every level - and we will not make any apologies for that. Our members and our
      mission come first - always.

      Wayne



      https://www.wsj.com/articles/nra-filas-sult-against-ad-agency-in-rift-with-key-partner-11555320601
      NRA Files Suit Against Ad Agency in Rift With Key Partner
      Gun-r!ghts group accuses AckeITTlan McQueen of refusing to comply with requests to Justify its billrngs
      By
      Mark Maremont
      April 15, 2019 5:30 a.m. ET
      The National Rifle Association filed a lawsuit accusing Its longtime advertising agency Ackerman McQueen Inc. of
      refusing to comply with demands to justify rts billings, an extraordinary public break Vvith the gun-rights group's largest
      outside partner.
      The lawsuit, filed late Friday, comes amid an unusual batue unfolding behind the scenes at the NRA's 76-member
      board, which some say pits a small group of pro-Ackerman McQu~en directors against other board members and an
      outside NRA attorney.
      The dispute in part is about how the NRA, with an annual budget of more than $300 million, Is spending money during
      a period when its finances have been Ught, The NRA ran at a deficit in its two most recently reported years.
      Oklahoma City-based Ackerman McQueen has been the NRA'.s ad agency since the 1980s and has been widely
      credited with helping to transform the NRA from a grass-roots operation to a powerful national advocacy group. In
      recent years the ad firm has also produced the organization's NRATV<https://www.nratv.com/?mod=article_inline>, a
      video outlet that mafnly focuses on conservative and pro-gun rights commentary.
      NRA filings show it paid Ackarman McQueen $42.6 million in 2017, the most recent year available, making it by far the
      group's largest vendor.
      The lawsuit ls ''frivolous, inaccurate and lntended to cause hann to the reputation of our company," Ackerman



                                                                                                                     DB 0217



                                                                                                                                      Appendix096
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                       Page 104 of 509 PageID 8043




        McQueen said In a statement. "We will defend our position and performance aggressively and look forward to
        continuin.g to serve the NRA's membership.·
     , Ari Aokerman McQueen spokeswoman added that an NRA-hired forensic auditing firm spent three weeks reviewing
        the firm's records and was "given every single thing they requested."
        In the lawsuit, filed in Circuit Court In Alexandria, Va., the NRA said Ackerman McQueen was obliged to provide
        access to records underlying its bills. But since the middle of 2018, it said the NRA's requests for such documents had
        been met with partial compliance or "rebuffed or baldly ignored ... This situation cannot continue."
        The NRA is concerned the ad firm may be overcharging for certain items, the lawsuit said, such as invoicing for the foll
        salaries of Ackerman McQueen employees who were "allocating substantial lime to non-NRA clients."
        The NRA also alleged It hadn't received complete Information about an NRATV contract between Ackerman McQueen
        and retired Lt. Col. Oliver North, the Iran-Contra figure who became NRA president in May 2018.
        Though the NRA president's post is largely ceremonial, the lawsuit said, Mr. North was hired last year by Ackerman
        McQueen to host a documentary program on NRAlV-"Oliver North's American Heroes."
        As a nonprofit, the NRA said it must approve and disclose its top officials' pay. The NRA lnlHally agreed to reimburse
        the ad firm for costs related to Mr. North's TV contract, but when the organization later sought contract details,
       Ackerman McQueen balked and Mr. North for months wouldn't provide documents without the ad firm's approval, the
        NRA alleged.
                                                                                                                                       I
       Attempts to reach Mr. North through his assistant and his attorneys were unsuccessful.
        "It's stunning that a trusted partner for all these years is just refusing to cooperate," said William A. Brewer Ill, an       t
        outside NRA lawyer. He said Ackerman McQueen is the only vendor resisting the NAAs push for such records.                      r
        Some NRA board members have publicly raised questions<https:/lwww,nytimes.com/2019/03111 /us/nra-video-
        streaming-nratv.html?mod=article_inline> about whether the NRA should cut back spending on Ackerman McQueen's                  I
       NRATV platform, concerned that much of its content reflects conservative political views not directly related to the            I
       group's core Second Amendment message.
       The NRA said In the lawsuit it had sought Information on how well NRA'TV was faring, but claimed Ackerman
       McQueen refused to provide the NRA with certain requested data in wriUng, such as unique visitors, "that enable the
       NRA [to] analyze the return on Its Investment in NRAT\f."
                                                                                                                                    .I
       The Ackennan McQueen spokeswoman said, "The NRA has had consistent access to any document regarding
       NRATV analytics."
       In a Shakespearean twist, the outside NRA lawyer spearheading the lawsuit, Mr. Brewer, Is related to Ackerman
                                                                                                                                       li
       McQueen's two top officials, who are his brother-in-law and father-in-law.                                                      I
       Ackerman McQueen said It told the NRA three months ago that the family relationship meant that Mr. Brewer had an                'j
       "irreconcilable conflict of Interest" and that he had "demonstrated, in words and deeds, his animus• for the company            1
       and Hlose family members.
       The pro-Ackerman board faction also is blaming some of the discord on Mr. Brewer, whose firm., Brewer Attorneys &
       Counselors, started working for the NRA last year and has since become a major NRA vendor, according to people
       famlllar wlth the matter.
       Mr. Brewer's finn is representing the NRA in federal litigation against New York Gov. Andrew Cuomo and other New
       York slate officials. The NRA accuses New York of violating its First Amendment rights<https://www.wsj.com/
       articles/nra-sues-new.york-after-insurance-crackdown-1526075373?mod"'article_inline> by warning financial-services
       firms regulated by the state to avoid doing business<https://www.wsj.com/artlcles/new-york-bans-nra-lnsurance-
       program-and-flnes-broker-1525273379?mod:=article_inline&mod:e:article_inline> with the gun-rights group. The
       defendants deny the allegations.
      The pro-Ackerman McQueen faction, which people said Includes Mr. North, has clrculated complaints Inside the NRA
       board that Mr. Brewer's firm is charging unusually high fees-about $1.2 million a month by some internal estimates-
       and is justifying those in part by exaggerating the risks that New York officials pose to the group, according to the
       people familiar with the matter.
       "I've never seen this rnuch agitation on the board," said Todd Rathner, an NRA board member for 20 years, who said
      he thinks the dissidents are attacking Mr. Brewer as a way to undermine NRA CEO Wayne LaPierre and "I'm                   ·
       disgusted by it.•
      Mr. LaPierre backed Mr. Brewer in a statement released through an NRA spokesman, saying: "I am proud of the
      essential work the Brewer legal team Is doing for the NRA." He added that all of the law firm's invoices are closely
      reviewed by the NRA's legal and finance departments.
      Mr. Brewer defended his fees in an interview, saying ·we're a premium law firm, we make no bones about that." He
      also said his firm is doing work for the NRA well beyond the New York liUgatlon. Among its tasks, he safd, ls helping
      the NRA respond to numerous congressional demands for records related to its dealings with
      Russia<https://www.wsj.com/artrcles/maria-butina-pleads-guilty-to-conspiracy-to-influence-u-s-politlcs-11544719313?
      mod=article lnlJne>.
      As for Mr. Brewer's family relationships, his law firm in a statement said that has "no bearing whatsoever on the NRA's
      litigation strategy," calling that argument a red herring.
      Tom King, an NRA board member who heads a New York state gun organization, said he backs Mr. Brewer's legal



                                                                                                                   D8_0218


                                                                                                                                    Appendix097
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                     Page 105 of 509 PageID 8044




       effort in New York: "However rnucil money it takes is well spent, because it's for the survival of the NRA"
       Mr. King , spe.akin~ before the lawsuit was flied, said Ackerman McQueen has long been "very Important to the NRA"
     . arid h,e expects the subject of the firm's budget to come up at the group's annual meeting later thrs month. As for lhe
       ad firm's NRATV content, Mr. King said, "If you took a poll of most boa~d members, they'll tell you they like NRATV."



      -------
       2 attachments
                     -----,~-....-~-.a..                                                                                          I   :


       11:') 2157_001.pdf
           725K

       ~ ATT00001.htm
           1K




                                                                                                                  D8_0219



                                                                                                                                 Appendix098
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 106 of 509 PageID 8045




            VIRGINIA:
                                       IN THE CTRCUIT COURT FOR THE
                                            CITY OF ALEXANDRIA


              NATIONAL RIFLE ASSOCIATION OF                         )
              AMERICA,                                              }
                                                                    )
                      Plaintiff,                                    )
                                                                   )
                                                                   )
              v,                                                   )      Civil Case No.       CL( C,. LJ O f 7 S')
                                                                   )
                                                                   )
            ACKERMAN MCQUEEN, INC.,                                )
                                                                   )
            and                                                    )
                                                                                               1"!
                                                                   )                    C,"J   ~--:     I   ,I
           MERCURY GROUP, INC.                                     )                    --: :::·        (, )



                                                                   )
                     Defendants.                                   )                           r..• ·

                                                                   )
                                                                   )                           ::•          0


                                                        COMPLAINT

                   COMES NOW the Plaintiff, the National Rifle Association of America (the "NRA"), and

           files this Complaint against Defendants Ackerman McQueen, Inc. ("Ackerman") and Mercury

           Group, Inc. ("Mercury" and, collectively with Acke1'man, "AMc"), based on personal information

           as to its own actions and on information and beHef as to all other matters, as follows:


                                           ,PRELIMINARY STATEMENT

                   The NRA seeks specific perfotmance of an unambiguous books-and-records inspection

           right contained in a longstanding contract with one of its most important third-party vendors: the

           advertising agency Ackerman McQueen.




                                                        Pagel



                                                                                                                 DB 0220



                                                                                                                           Appendix099
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                              Page 107 of 509 PageID 8046




                    The NRA and Ackerman have collaborated fruitfully for decades. Together, the parties

            crafted iconic, impactful Second Amendment messaging that feahlred Charlton Heston ("from rny

            cold, dead hands") and other important constill.ltional rights advocates. The impasse between them

            which gives rise to this lawsuit is simple, and bafiling: the NRA requested access to material,

            readily available records that Ackerman and Mercury are contractually obligated to provide.

            Defendants refused to provide them.

                   For the better part of a year, the NRA has negotiated with AMc and appeased its demands

            in an effort to coax compliance with the parties' contract. However, the NRA's patience has run

            out. Confronting escalating concerns about AMc' s activities and accounting practices, the NRA

            seeks access to basic business records-including budgets purportedly approved by the NRA ,

           copies of material contracts Jot which the NRA is purpm1edly liable, and readily available

           pe,formance data-all to inform the judgment of its fiduciaries. The NRA has an undisputed

           contractual right to examine these documents. Indeed, its contract with AMc entitles the NRA,

           upon "reasonable notice," to examine any and all "files, books, and records" of both Ackerman

           and Mercury which pertain to matters covered by the parties' contract. Since July 2018, the NRA

           has provided more-than-reasonable notice of its desire to view key items. In some instances, AMc

           has affected partial compliance with the NRA' s requests-in other cases, it has rebuffed or baldly

           ignored the NRA' s letters, This situation cannot continue.

                  There is no adequate remedy at law which would compensate the NRA for the risk.9 and

           burdens posed by AMc's concealment of material business records. Fortunately, there is a

           straightforward remedy at equity: specific performance by Ackerman and Mercury of their

           obligation to furnish documents. This is the relief the NRA seeks.




                                                       Page:2




                                                                                                           08_0221



                                                                                                                     Appendix100
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 108 of 509 PageID 8047




                                                         PARTIES

                       1,    Plaintiff NRA is a not-for-profit corporation organized under the laws of the State

            of New York with its principal place of business located in Fairfax, Virginia. The NRA is

            America's leading provider of gun-safety and marksma11ship education for civilians and law

            enforcement. It is also the foremost defender of the Second Amendment of the United States

            Constitution. A 50l(c)(4) tax-ex.empt organization, the NRA has over five million members-

            and its programs :r;each many millions more.

                    2.      Defendant Ackerman is a nonresident for-profit business corporation organized

            under the laws of the State of Oklahoma with its principal place of business in Oklahoma City,

            Oklahoma. Ackerman is an advertising and public relations agency that has counted the NRA

            among its largest clients for more than thirty years,

                   3,       Defendant Mercury Group, Inc. ("Mercury" and, collectively with Ackerman

           pursuant to the Services Agreement, "AMc") is a nonresident for-profit business corporation

           organized under the laws of the State of Oklahoma with its principal place of business in

           Alexandria, Virginia. Mercury is a wholly owned subsidiary of Ackerman which specializes in

           public•communications strategy, including on behalf of advocacy groups such as the NRA. At all

           relevant times, Ackerman has acted on behalf of both itself and Mercury pursuant to the Services

           Agreement (defined below) between Ackerman and the NRA


                                              REL~VANTNONPARY.IE~
                  4.        The NRA Foundation, Inc. (the "NRA Foundation") is a 50l(c)(3) tax-exempt

           organization that raises tax-deductible contributions in support of a wide range of firearm-related

           public interest activities of the NRA and other organizations that defend and foster the Second



                                                         Page3



                                                                                                             D8_0222



                                                                                                                       Appendix101
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                  Page 109 of 509 PageID 8048




                                                                                                                           I

                                                                                                                           I   I




             Amendment rights of law-abiding Americans. Over the course of its contractual relationship with
                                                                                                                           II I.
                                                                                                                           '
             the NRA, Ackerman has occasionally performed services for the benefit of the NRA Foundation

             and issued corresponding invoices to the NRA.Foundation. Because of its 50l(c)(3) designation,

             the NRA Foundation is permitted to engage in, and fund, a narrower range of activities and

            communications than the NRA.


                                              JURISDICTION AN]) VE.t\11J,E

                    5,      The Court has jurisdiction over the NRA's claims in this matter as the claims are

            subject to a court of general jurisdictioIL
                                                                                                                              I
                    6.      This Court has jurisdiction over Ackerman and Mercury pursuant to Virginia Code

            § 8. 0 1-3 28. l because Ackerman and Mercury have both transacted business in the Commonwealth
                                                                                                                           .I l;
            of Virginia and contracted to supply services 1n the Commonwealth of Virginia.

                    7.      Venue is proper in this Court pursuant to Virginia Code § 8.01-262 because

            Mercury's principle place of business is located in Alexandria, there exists a practical nexus to this

            forum, and/or a part of this cause of action arose in Alexandria.

                   8.      Additionally, jurisdiction and venue are proper in this Court because Ackerman and

           Mercury have both contractually consented with the NRA to excluslve jurisdiction and venue of

           courts sitting within Virginia and waived any objection to venue in Alexandria, Virginia regarding

           the matters presented herein.


                                              FAC'I'UAL .BACKGROUND

           A.      For More Than l"hirtv.Y..eal's, the.NRA ll'as Relied ouAMc to Provide .Publk-Affnks
                   A,lyice ltnd ifotvices Under O.trefully Negotilitcd Contracts.

                   9.     For decades, AMc and the NRA have collaborated closely regarding public affairs

           and messaging. Over that time, the NRA vested extensive trust and confidence in AMc, relying


                                                          Page4



                                                                                                                D8_0223



                                                                                                                          Appendix102
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                      Page 110 of 509 PageID 8049




            upon the agency to perform work including: public relations and strategic marketing; planning

            and placement of media; management of digital media and websites; and, the operation of

            NRATV, a digital-media platform managed by AMc but frequently perceived by the public as the

            "voice" of the NRA. 1

                    10.     Since at least 1999, AMc's work on behalf of the NRA has been governed by                           I   l


            successive incarnations ofa Services Agreement containing detailed specifications for how various

            types of work performed by AMc for the NRA should be budgeted and billed. The Services

            Agreement between the NRA and AMc dated May 1, 1999 (the "Previous Services Agreement")

            as well as the ctUTent, operative Services Agreement dated April 30, 2017 (as amended May 6,

            2018, the "Services Agreement") provide that certain categories of services, such as Owned Media

            and Internet Services, are compensated with an agreed annual fee, while others are required to be

           invoiced on an ad hoc basis based on estimates :furnished by AMc and approved by the NRA

                    11.     Both the Previous Services Agreement and the current Services Agreement have

           obligated _AMc        to    adjust    its   pricing   based     on    the   "fair    market    value"     or

           "fair market price" of the services performed. For example, the Previous Services Agreement

           contained the straightforward assurance by AMc, "we will charge you a fair market price for the

           work performed." Similarly, the Previous Services Agreement and the current Services Agreement

           require AMc to provide cost quotations for art concepts, design layouts, and similar items "based

           on the fair market price of the work as determined by AMc."

                   12,     Anticipating that Al\,1c would, from titne to time, incur out-of-pocket expenses in

           the course ofits work, but mindful of the NRA's mandate to steward its funds in the interest of its



                  1 See, e.g,, Jeremy W. Peters & Katie Benner, Where The N.R.A. Speaks First and Loudest, THE NEW YoRK
          TIMES, February 21, 2018, https://www.nytimes.com/2018/02/21/us/politics/nratv•nra•news-media-operation.html.


                                                            PageS



                                                                                                                      DB_0224



                                                                                                                                Appendix103
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                        Page 111 of 509 PageID 8050




               public mission, the parties bargained for an expense-reimbursement protocol whereby travel and

               related expenses incurred by AMc could be paid by the NRA-but only upon prior written

               approval from the NRA in accordance with the NRA's expense-reimbursement procedures.

                       13.     The NRA' s collaboration with AMc has generated important, iconic Second

               Amendment advocacy. In recent years, the trust and confidence it placed in A.Mc led the NRA to

               invest in an expanding suite of services which werE7--according to AMc' s assurances-fairly

               priced. For example, the NRA agreed to experiment with an "owned media company," NRATV,

               a concept fervently pitched by AMc. By 2017, the NRA's aggregate payments to Ackerman and

              Mercury totaled nearly $40 mi11ion annually.

                       14.     As the scope of AMc' s work for the NRA grew, AMc represented to the NRA that

              it was required to hire a substantial number ofpersonnei as well as incur obligations to third-party

              contractors, for the exclusive purpose of servicing the NRA' s accoW1t. Accordingly, when the

              parties renegotiated a new services agreement in 2017, AMc insisted upon-and the NRA agreed

              to provide-certain financial assurances in the event that the NRA terminated the Services

              Agreement. Among other things, upon the NRA' s termination, the Services Agreement requires

          .
              that  the NRA compensate AMc for outstanding
                - · . - - . - . - . - - - ·•·· -··· . - ---
                                                                     liabilities_ t(?_ b9.th_tlru.'d:.P.~Y _c:~~tr~ctprs @d_
                                                            ... .,. --· -· - ·

              employees. Specifically, the NRA must: (i) pay AMc the balance of any compensation owed under

              "non-cancellable contracts entered into between AMc and third parties for the benefit of the NRA"

              (as defined under the Services Agreement, the "AMc-Third Party NRA Contracts"); and (ii) pay

              AMc a termination fee to cover severance payments owed to AMc employees who are "dedicat[ed]

              . . . to provide services [to the NRA]" and need to be laid off if the Services Agreement is

          terminated (the "NRA-Dedicated Perso11.nel").




                                                               Page6

                                                                                                                       DB 0225



                                                                                                                                 Appendix104
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                  Page 112 of 509 PageID 8051




            B.      7he Nlli Bargained for Trnnsruu·entlnstght Into AMe's Books ,and Records.

                     15.    The NRA bargained for transparency into AMc's files, books and records to ensure

            that the NRA, a not-for-profit, could appropriately monitor the use of its funds. Both the Previous

            Services Agreement and the current Services Agreement incorporate records-examination clauses

            that require AMc to open its files for the NRA' s inspection upon reasonable notice. The full text

            of the Records-Examination Clause in the Services Agreement appears below:




                 VIII. EXAMINATION OF RECORDS
                 Duringthe trum of this Services Agreement, Ai\.1c authorizes NRA, upou reasonable notice,
                 to examine AMc and Mercury's files, bouks and records, with respect to matters covered
                 under this Services Agreement.


                   16.     For years, the NRA conducted am1ual audits of certain AMc files pursuant to the

           Records-Examination Clause. Frequently, the audited records consisted of"samples" assembled

           in advance by AMc. During 2018, the NRA sought to expand its insight into AMc' s activities and

           its spending- including full access to certain categories of records rather than sample subsets

           gathered by AMc. Surprisingly and unfortunately, that effort ignited the patties' current dispute.

           C.      lo Response to Concerns From NRA Employees 'Rnd Stakeholders, the NRA Attempts
                   ,to Etc-1·cise lts Gonlptdual R!}cord-Exam1nation Uigbt-.But Ts ~ebuffod.
                   17.     In late 2016, the State of New York amended its Not-for-Profit Corpo1'ation Law

           (the "NPCL") to clarify requirements for director independence and the ratification of related-

           party contracts, among other items. After updating its internal policies aud controls to comply

           with the New York amendments, the NRA decided to strengthen its procedures for documentation

           and verification of compliance with vendor contracts. Beginning in August 2018, the NRA sent

           letters to hundreds of vendors-including AMc-that set forth updated invoice-support


                                                          Page7



                                                                                                             DB 0226



                                                                                                                       Appendix105
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                         Page 113 of 509 PageID 8052




             requirements and provided detailed guidance regarding, for example, expense reimbursement

             procedures.

                      IB.        During the course of this process, the NRA developed concerns that AMc's

             expenses and activities required closer oversight. Specific concerns that the NRA sought to

             investigate included:

                            o    "Out of pocket" expenses that lacked meaningful documentation of NRA
                                 approvals, receipts, or other support, despite the requirements set forth in the
                                 Services Agreement;

                            •    Lack of transparency regarding AMc' s annual budgets under the Services
                                 Agreement, as well as its adherence to those budgets;

                            •    Lack of transparency regarding "fair market value" determinations;

                            11   Concerns that AMc was invoicing the NRA for the entire salaries attributable to
                                 NRA-Dedicated Personnel, despite certain NRA_..Dedicated Personnel allocating
                                 substantial time to non-NRA clients;

                            •    Refu al to provide certain requested data "in writing" (such as unique visitors,
                                 viewership n'umbers, clickthrough rates, or related performance metrics) that enable
                                 the NRA analyze the return on its investment in NRATV. 2

                    19.          During early- and mid-2018, the NRA sought information from AMc pursuant to

            the Records-Examination Clause on a common-interest basis to advance the parties' mutual

            interests in connection with an ongoing lawsuit. However, after tlie NRA began to request access

            to records that would shed light on the above topics, AMc' s responses became evasive and hostile.

           In fact, in September 2018, for the first time in the parties' decades-long course of dealing, AMc

           demanded that its outside counsel supervise any document review conducted wider the Records-

           Examination Clause, then demanded payment of outside counsel's legal fees as a precondition for

           delivery of video footage for which AMc had already invoiced the NRA During a telephone call


                    2 In additioo, certain NRA stakeholders were also concerned that NRATV' s messaging-on topics far afield
           of the Second Amendmem--devi.ated from the NRA' s core mission and values.


                                                              Page8




                                                                                                                         DB 0227



                                                                                                                                   Appendix106
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                              Page 114 of 509 PageID 8053




            on September 19, 2018, after AMc's counsel insisted that the NRA pay AMc's legal fees without

            any insight into why tho fees had been incurred, the NRA' s counsel observed that AMc' s posture

            seemed more consistent with an adverse than a common-interest relationship. AMc's counsel

            replied: "Ackerman views the relationship as adverse."

                     20.    Thereafter, AMc strenuously resisted the NRA's efforts to enforce the Services

            Agreement, induding embarking on a campaign to "kill the messenger" when the NRA sought

            ai;cess to documents or proposed reductions in AMc' s budget. At first, AMc scapegoated the

            NRA' s outside counsel. However, over ensuing months, AMc also refused to respond to basic

           information requests from NRA executives.        Aft.er the NRA retained a third-party forensic

           accounting firm to interface with AMc in an effort to appease AMc and gain its compliance in

           January 2019, AMc indicated it would cooperate. Unfortunately, that pledge of cooperation was

           short-lived as AMc forbid the accountants from disclosing simple, material information to the

           NRA-including copies of annual budgets that the NRA allegedly approved. When the NRA's

           General Coullllel sought additional information in follow-up to the forensic audit, AMc ignored

           his letters.

           D.      AMc Tu Concealing Material.fuforg111.tion From, the NRA,.lncluding aLru'ge Related~
                   Pru:tv Contt•act.
                   21.     The NRA brings this action not only because AMc has flagrantly disregarded its

           contractual obligations, but because the NRA has recently grown concerned that the records AMc            ;   \
                                                                                                                     i
           is withholding include infonnation material to the NRA's not-for-pro.flt governance and its               i

           stewardship of its members' donations.                                                                    l
                                                                                                                     I   •
                   22.     Lieutenant Colonel Oliver North (Ret.) ("Col. North") is a veteran of the United          1   I

                                                                                                                     I
          States Marine Corps and the Reagan administration, a longstanding advocate for the Second

          Amendment, and a member of the NRA Board of Directors. During May 2018, the NRA



                                                       Page9



                                                                                                          D8_0228



                                                                                                                    Appendix107
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                          Page 115 of 509 PageID 8054




             announced that Col. North was slated to serve as its next President-a largely ceremonial but high-

             profile position famously occupied by Charlton Heston during the late 1990s. As Col. North

             prepared to assume the presidency of the NRA, he separately discussed a potential engagement by

             AMc as the host ofanNRATV documentary series. On May 6, 2018, the NRA and AMc amended

             the Services Agreement to affum that any contract between AMc and Col. North would be

             considered an AMc-Third Party NRA Contract, for which outstanding compensation would be

             owed by the NRA to AMc if the Services Agreement was tenninated. Importantly, the amendment

            treated Col No_rth as a thfrd-party contractor-but not, necessarily, an employee----of AMc.

                       23.    New York law requires that the NRA Board of Directors, or an authorized

            committee thereof, review and approve "any transaction, agreement, or any other arrangement in

            which [a director or officer of the NRA] has a .financial interest and in which the [NRA or an

            affiliate] is a participant."3 Guidance published by the New York Attorney General notes that a

            board of directors may define additional restrictions on t'ransactions giving r/se to potential

            conflicts ofinterest; 4 and, consistent with best practices, the NRA's Conflict of Interest Policy

            requires disclosure of contracts between NRA leadership and vendors, like AMc, that receive funds

            from the NRA.

                   24.        Aware that Col. North entered into a contract with AMc (the "North Contract"), the

           NRA diligently sought to comply with its obligati.o.os concerning analysis and approval of the

           North Contract. During September 2018, the Audit Committee of the NRA Board of Directors

           (the "Audit Committee") reviewed a purported summary of the material terms of the North



                   3
                       Sse N.Y. N,PCL § 715.
                   4 Conflicts ofInterest Policfes Under the Not-jbr--P1·ojlt Corporation f,m~. CHARITIES BUREAU, N. Y. STATE
           OFFrcE OF TflE ATTORNEY GENERAL     (2<J 18), https://www.o.bari1iesnys.coni/pdfs/Charjtiea_ContlioLof_fntotest:pdf,
           at 3.


                                                              Page10




                                                                                                                             DB 0229



                                                                                                                                       Appendix108
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                 Page 116 of 509 PageID 8055




             Contract and ratified the relationship pursuant to New York law-subject to carefully drawn

             provisos designed to avoid any conflicts of interest

                    25.     At the time it ratified Col. North's continued service as an NRA director and

            President given his relationship with AMc, the Audit Committee was assured that the NRA' s

            counsel would review the North Contract in full. But thereafter, AMc continued to refuse to

            provide the North Contract pursuant to the Records-Examination Clause. Meanwhile, Col. North

            indicated via counsel that he could only disclose a copy of the contract to the NRA subject to

            AMc's consent. This back-and-forth persisted for nearly six months.

                   26.     Eventually, in February 2019, AMc acceded to a brief, circumscribed, "live" review

            of the North Contract (but no retention of any copies) by the General Counsel of the NRA. This

            review raised concerns about whether the previous summary of the North Contract which was

            provided to the Audit Committee had been complete and accurate, Among other things, the NRA' s

            brief, limited review of the North Contract gave rise to questions regarding: (i) whether Col. North

           was a third-party contractor of AMc or, conversely, a full-time employee with fiduciary duties to

           AMc that supersede his dutieis to the NRA; (ii) whether the previously disclosed costs borne by

           the NRA in connection with the North Contract were complete and accurate; and (iii) whether the

           contract imposed obligations on Col North that prevent him from communicating fully and

           honestly with other NRA fiduciaries about AMc. Against the backdrop of escalating concerns

           about AMc's compliance with the Services Agreement and applicable law, the NRA became

           determined to resolve these issues.

                  27.     Dy letters dated March 25-26, 2019, the NRA's General Counsel again sought

           visibility regarding the North Contract and other material business records pursuant to the Services

           Agreement. Specifically, the NRA requested:




                                                        Pagell



                                                                                                              DB 0230



                                                                                                                        Appendix109
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                      Page 117 of 509 PageID 8056




                            •    Information about any additional costs relatillg to AMc' s engagement of Col,
                                 North, to the extent that such costs were being "passed tlu·ough" to the NRA;

                            o    Copies of any additional AMc-Third Party NRA Contracts currently in existence;

                            •    Information about which AMc personnel purportedly constituted «NRA-Dedicated
                                 Personnel," such that their salaries br severance were alleged to be reimbursable by
                                 the NRA, aml business records sufficient to show whether these person:nel were in
                                 fact dedicated to NRA projects; and

                            o    Copies of the annual budget documents provided to the NRA's forensic:
                                 accountants.

                      28.        The NRA made clear that it sought the above information "in whatever fonn [wa]s

            most convenient" for AMc and hoped to obtain access to ordinary-course business records as

            contemplated under the Records-Examination C1a.use. AMc immediately acknowledged receipt

            of the letters and promised to respond. AMc has not done so. Put simply, the NRA is at the end

            of its rope.

           E.         AMc'.s Disregard of Its C~mlrattual ObHga6ons Will Continue to Diunag'e the NRA.

                      29.       AMc's breach of the SetYices Agreement has damaged-and threatens to

           imminently and irreparably harm-the NRA's legitimate operational interests as a not-for-profit

           organization. By denying the NRA access to basic information regarding the nature of the services

           being performed, the putative budgets for these services, and the material temis of third-party

           contracts for which. the NRA is purportedly liable, AMc is interfering with the NRA's ability to

           steward its funds in pursuit of its public mission. Moreover, AMc's baseless refusal to permit a

           fulsome review of the North Contract threatens to impede the NRA's corporate governance

           process.

                   30.          If the NRA is denied access to material business records regarding its largest vendor

           relationshlp---records which it specifically bargained to access, under the Services Agreement-

           the NRA's fiduciaries will be forced either to exercise their business judgment based on



                                                              Page 12



                                                                                                                   D8_0231



                                                                                                                             Appendix110
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                   Page 118 of 509 PageID 8057




            incomplete information or defer resolution of pressing matters. There is no adequate remedy at

            law for the risks that would arise in either scenario. The NRA is America's oldest civil rights

            organization and an advocate for millions of law-abiding gun owners. Its compliance with not-

            for-profit law cannot be permitted to be held hostage by a recalcitrant advertising agency.


                                              DEMAND FO~ .TTJR'V TfilAl,

                    31.     Plaintiff hereby demands a trial by jury regarding all issues of fact in this case .


                                              .FIRST CAUSE OF ACTIO

                 BREACH OF CONTRACT AND REQUEST FOR SPECIFIC PERFORMANCE
                                                 (Against All Defendants)

                   31.     Plaintiff incorporates by reference and realleges each and every allegation in the

            foregoing paragraphs as if fully set forth herein.

                   32,     The Services Agreement is a legally enforceable contract.                The Records-

           Examination Clause is unambiguous.

                   33,     The NRA has performed all of its obligations under the Services Agreement,

           including its obligation to provide reasonable notice pursuant to the Records-Examination Clause.

                   34.     Ackerman and Mercury have breached the Records-Examination Clause of the

           Services Agreement. Specifically, Ackerman-acting at all times on behalf of both itself and

           Mercury, pursuant to the Services Agreement-has repeatedly failed or refused to permit the NRA

           to examine specified categories of books and records with respect to matters covered under the

           Services Agreement.

                  35.       There is no adequate remedy at law for AMc's refusal to permit examination of

           records (whether they reside at Ackerman or Mercury) pursuant to the Services Agreement. The

           information sought by the NRA pursuant to the Records-Examination Clause resides uniquely


                                                          Pnge 13



                                                                                                                   DB 0232



                                                                                                                             Appendix111
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 119 of 509 PageID 8058




             within the possession of Ackerman and/or Mercury, and cannot be acquired by the NRA on the

             open market for any sum of money.

                    36.        The nature of the obligation imposed by the Records-Examination Clause makes

             specific performance equitable and practical because the Court need only order AMc to furnish to

            the NRA: (i) copies ofany AMc-Third Party NRA Contracts; and (ii) business records, in whatever

            form they were generated in the ordinary course of AMc's business, which are sufficient to convey

            the infonnation sought by the NRA as described in Paragraph 27 hereof

                   37,     Defendants' breaches of the Services Agreement have damaged-and threaten to

            itnminently, irreparably harm-the NRA's legitimate operational interests as a not-for-profit

            organization. By denying the NRA access to basic information regarding the nature of the services

            being performed, the putative budgets for these services, and the material terms of third-party

            contracts for which the NRA is purportedly liable, Defendants have jeopardized the NRA' s ability

            to steward its funds in pursuit of its public mission. Moreover, AMc's continued and baseless

            refusal to permit a fulsome review of the North Contract threatens to impede the NRA' s corporate

            governance.

                   38.     By reason of the foregoing, the NRA requests that this Court order specific

           perlormance by Defendants of their obligations pursuant to the Records-Examination Clause of

           the Services Agreement.


                                                REQUEST FOR Iy;LIE1''

                  Wherefore, for all the foregoing reasons, Plaintiff requests relief as follows:


                          a,        A judgment against each of Ackerman and Mercury for breach of contract;

                          b,        An award of specific performance to the NRA requiring that:




                                                         Puge14



                                                                                                          DB 0233



                                                                                                                    Appendix112
    Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 120 of 509 PageID 8059



.




                               a. AMc famish copies of all AMc-Third Patty NRA. Contracts to the
                                  NRA with.in three (3) business days of the entry of such order; and

                               b. Witlrin ten (10} business days of the entry of such order, AMc
                                  furnish to the NRA

                                    1.    Copies of annual budgets for the years 2016-2018, which
                                         AMc alleges were approved by the NRA and were
                                         previously provided to the "NRA's forensic accountants;

                                   ii.   A list of all current NRA-Dedicated Personnel (as defined in
                                         the NRA's letter correspondence) and, for each such
                                         employee, copies ofbusiness records sufficient to show the
                                         amount or percentage of tl1e employee's time that was
                                         dedicated to NRA project8 during the period from January 1,
                                         2018, to present;

                                  BL     Copies business of records sufficient to show the eKtent of
                                         any costs invoiced to the NRA or the NRA Foundation,
                                         during the perlod from January 1, :?'°18, to April 1 2019,
                                         which costs were incurred by reason of:

                                             (1) The production of the NRATV documentary series
                                                "AmericanHeroes;" or

                                             (2) Cash or non~cash compensation to Col. North or
                                                 North-related Staff; or

                                             (3) Office space or other perquisites provided to Col.
                                                 North or North-related ~ nnd

                                            (4) Whether each item was billed specificaUy to the
                                                NRA, the NRA Fotmdation, or both entities; and




                                               Page 15


                                                                                                   DB 0234



                                                                                                             Appendix113
    Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                       Page 121 of 509 PageID 8060
.

•




                         c.   Such other and further relief to which the NRA may be entitled at la.w or in
                              equity.



                                                    Respectfully submitted,




                                                    James W. Hundley (VA Bar No. 30723)
                                                    lwbert H. Cox (VA Bar No. 33118)
                                                    Amy L. Bradley (VA Bar No. 80155)
                                                    BRIGLIA HUNDLEY, P.C.
                                                    1921 Gallows Road, Suite 750
                                                    Tysons Comer, VA22182
                                                    jhundley@brigliahundley.com
                                                    rcox@brigliahundley.com
                                                    abradley@brigUahundley.com
                                                    Phone: 703-883-0880
                                                    Fax: 703-883-0899

                                                    ATTORNEYS FOR THE NATIONAL RIFLE
                                                    ASSOCIATION




                                                                                                                  I
                                                   Page 16                                                        I .
                                                                                                                  !

                                                                                                       D8_0235



                                                                                                                 Appendix114
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 122 of 509 PageID 8061




                    EXHIBIT 19




                                                                               Appendix115
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                        Page 123 of 509 PageID 8062




      VIRGINIA:

                    IN THE CIRCUIT COURT FOR THE CITY OF ALEXANDRIA

      NATIONAL RIFLE ASSOCIATION OF AMERICA                         )
                                                                    )
                                             Plaintiff              )
                                                                    )
             v.                                                     )      Case No. CL19001757
                                                                    )
      ACKERMAN MCQUEEN, INC.                                        )
                                                                    )
             and                                                    )
                                                                    )
      MERCURY GROUP, INC.                                           )
                                                                    )
                                            Defend ants.            )


     NATIONAL RIFLE ASSOCIATION OF AMERICA                         )
                                                                   )
                                            Plaintiff              )
                                                                   )
             ~                                                     )       Case No. CL19002067
                                                                   )
     ACKERMAN MCQUEEN, INC.                                        )
                                                                   )
             and                                                   )
                                                                   )
     MERCURY GROUP, INC.                                           )
                                                                   )
                                            Defendants.            )

                          OPPOSITION TO PLAINTIFF'S MOTIONS
                   FOR PRO HAC VICE ADMISSION OF BREWER ATTORNEYS


             Defendants, Ackerman McQueen, Inc. and Mercury Group, Inc. hereby oppose the

      Motions for Pro Hae Vice Admission for additional attorneys in the above-captioned cases.

      The attorneys, Michael Collins and Paul B. Maslo, are partners in the law firm of Brewer

      Attorneys & Counselors who seek to be allowed to serve as counsel of record in this case and

      to enjoy access to all confidential information generated and produced in this litigation.


                                                         1




                                                                                                     Appendix116
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                        Page 124 of 509 PageID 8063




              The Defendants' opposition is based on the following grounds:

              1.      Brewer Attorneys & Counselors and/or their founding partner, William A

      Brewer III, were identified 26 times in the Defendants' Counterclaim in the first NRA v. AMc

      case and 23 times in the Defendants' Counterclaim in the second NRA v. AMc case. The

      attorneys seeking admission pro hac vice are very likely to become witnesses in the case based

      upon the involvement of their law firm in the underlying claims and their status as partners in

      the law firm. Pursuant to the Virginia Rules of Professional Conduct, Rule 3. 7, a lawyer shall

      not act as an advocate in an adversarial proceeding in which the lawyer is likely to be a

      necessary witness. None of the exceptions to Rule 3. 7 apply to this situation. Moreover, it is

      believed that the testimony of these two attorneys will be adverse to the position of their client,

      the NRA, and therefore will create a disqualifying conflict for the attorneys.

             2.      The Brewer law firm partners are not only witnesses in the litigation, but they

      stand to benefit personally from the litigation. Brewer Attorneys and Counselors has an "in-

      house strategic communications practice" that has already poached substantial portions of the

      NRA business that Defendant AMc has handled for over 3 8 years. As partners in the competing

      entity, Collins and Maslo stand to benefit financially from litigation intended to attack and

      undermine their competitor, AMc.

             3.      Serving as counsel against a competitor not only has financial benefits for

      Collins and Maslo, but it will also extend to the Brewer law firm partners the extraordinary

      right to browse through the privileged and proprietary information of AMc under the guise of

      serving as counsel for the NRA.

             4.      The two Brewer law firm attorneys who seek admission pro hac v;ce are stand-

     ins for the head of the firm- William Brewer. William Brewer has already boasted to the Wall



                                                       2




                                                                                                            Appendix117
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                         Page 125 of 509 PageID 8064




      Street Journal that he is "spearheading" this litigation in an article published on April 15, 2019.

      As detailed in AMc's Abuse of Process claims, Brewer's litigation strategy- which began with

      a frivolous suit to obtain information for the NRA that the NRA already had and continues to

      the current practice of subpoenaing the NRA' sown board members to intimidate them not to

      cooperate with AMc -- is an abuse of the process of this Court. By allowing Brewer to work

      through his own proxies, Collins and Maslo, Brewer will continue to have an abusive impact on

      the litigation.

              5.        Brewer must work through proxies because he has cannot credibly appear on a

      pro hac vice motion. Brewer was sanctioned with a fine exceeding $100,000 in West Texas for

      misusing public relations tactics in an effort to taint a jury pool in a high-profile case in West

      Texas. Mr. Brewer then compounded his problem by failing to disclose this West Texas

      sanction when he sought pro hac vice status in a case representing the NRA in the Eastern

      District of Virginia. Mr. Brewer was admonished and removed as counsel when the false pro

      hac vice application was discovered by Federal Judge Liam O'Grady. Brewer recognized that

      he faces insurmountable hurdles to convincing this Court that he should be admitted pro hac

      vice when the federal court in this very city of Alexandria revoked his pro hac vice status for

     providing a falsified pro hac vice application.

              6.        The admission of the two Brewer law firm partners would be superfluous. The

     NRA already has three attorneys with the law firm Briglia & Hundley who are capable of

     litigating this case. Adding attorneys who brag about using aggressive litigation tactics "from

     beginning to end" 1 of each case will result in the overlitigation of these cases and impose a

     burden on the Court as well as the parties.



             See Brewer Attorneys & Counselors web page at: https://www.brewerattorneys.com
                                                        3




                                                                                                            Appendix118
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                       Page 126 of 509 PageID 8065




             As described in the Counterclaim advanced by AMc in the second law suit, Mr. Brewer

      has spearheaded the litigation tactics of the NRA in the two suits against AMc in a way that

      abuses the process of this Court to gain a public relations advantage, smear AMc, and intimidate

      witnesses supportive of AMc. Mr. Brewer should not be allowed to insert his proxies into this

      litigation in order to create further harm to AMc.

             WHEREFORE, the Defendants respectfully request that the Court deny the motions of

      the Brewer law firm partners to participate pro hac vice in these two cases.

                                                           Respectfully submitted,
                                                           ACKERMAN MCQUEEN, INC. and
                                                           MERCURY GROUP, INC.
                                                           By Couns

      Dated: June 24, 2019

                                                           David H. Dickieson (VA Bar #31768)
                                                           David Schertler (Pro hac vice pending)
                                                           SCHERTLER & ONORATO, LLP
                                                           901 New York Avenue, NW, Suite 500
                                                           Washington, DC 20001
                                                           Telephone: 202-628-4199
                                                           Facsimile: 202-628-4177
                                                           dJu::kie ·on(~i)..s ·he1 LI rlc1w.com
                                                           else hc1tl er@schertler Inw.com




                                                      4




                                                                                                         Appendix119
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 127 of 509 PageID 8066




                                       CERTIFICATE OF SERVICE

             I hereby certify that on June 24, 2019, the foregoing pleading was served on the following

      counsel via electronic mail addressed to:

                            James W. Hundley
                            Robert H Cox
                            BRIGLIA HUNDLEY, PC
                            1921 Gallows Road, Suite 750
                            Tysons Comer, VA 22182
                            jhundley@brigliahundley.com
                            rcox@brigliahundley.co i..--.-



                                                                 David H Dickieson.




                                                     5




                                                                                                          Appendix120
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 128 of 509 PageID 8067




                    EXHIBIT 20




                                                                               Appendix121
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20          Page 129 of 509 PageID 8068




  June 26, 2019 Statement from Ackerman McQueen




  The NRA is attempting to avoid the strict financial obligations it undertook when it
  outsourced its work to Ackerman McQueen. NRA has the obligation to pay several millions of
  dollars of delinquent payments for work already completed that has benefitted the NRA. They
  are refusing to pay, in part to harm AMc, but also because the NRA probably is having trouble
  meeting its financial obligations in large measure due to massive unbudgeted legal costs. The
  NRA’s decision to smear Ackerman McQueen with false allegations to excuse their non-
  payment is no different than their behavior with Lt. Col. Oliver North; the head of the NRA-
  ILA; the NRA Board’s long term legal counsel and the intimidation tactics used to make
  people fear the current leadership.

  Ackerman McQueen is not surprised that the NRA is unwilling to honor its agreement to end
  our contract and our long-standing relationship in an orderly and amicable manner, as
  Ackerman McQueen proposed because we believed it was in the best interest of the members
  of the NRA. When given the opportunity to do the right thing, the NRA once again has taken
  action that we believe is intended to harm our company even at the expense of the NRA
  itself. For Ackerman McQueen, it is time to move on to a new chapter without the chaos that
  has enveloped the NRA. Ackerman McQueen will continue to fight against the NRA’s repeated
  violations of its agreement with our company with every legal remedy available to us, but we
  will always be proud of the work that we completed during our 38-year relationship on behalf
  of the individual citizens that are the NRA.




                                                                                          Appendix122
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 130 of 509 PageID 8069




                    EXHIBIT 21




                                                                               Appendix123
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 131 of 509 PageID 8070




                            In the Matter of:

             National Rifle Association of America
                               v.
                   Ackerman McQueen, Inc.
                               &
                     Mercury Group, Inc.

                                  Motion

                              June 26, 2019




                                                                               Appendix124
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20     Page 132 of 509 PageID 8071
                                                                            1 (1)
                                       Motion                           6/26/2019


    1    COMMONWEALTH OF VIRGINIA

    2    IN THE ALEXANDRIA CIRCUIT COURT

    3    ------------------------------------

    4    NATIONAL RIFLE ASSOCIATION OF AMERICA,

    5                               Plaintiff,

    6                   -vs-                    Case Nos. CL 19001757
                                                              and
    7                                                     CL 19002067

    8    ACKERMAN MCQUEEN, INC.

    9    and

   10    MERCURY GROUP, INC.

   11                               Defendants.

   12    ------------------------------------

   13                          HEARING in the above-entitled matter,

   14                   held in Alexandria Circuit Court in

   15                   Alexandria, Virginia on June 26, 2019, before

   16                   the HON. NOLAN DAWKINS, Presiding Circuit

   17                   Court Judge.

   18

   19

   20

   21    Reported by:

   22    Jacqueline N. Hagen


  Casamo & Associates               703 837 0076                   www.casamo.com


                                                                                    Appendix125
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 133 of 509 PageID 8072
                                                                          2 (2)
                                    Motion                            6/26/2019


    1
                             A P P E A R A N C E S
    2

    3    ON BEHALF OF PLAINTIFF:

    4            BRIGLIA HUNDLEY, P.C.
                      1921 Gallows Road
    5                 Suite 750
                      Tysons Corner, Virginia 22182
    6            BY: ROBERT H. COX. Esq.
                      rcox@brigliahundley.com
    7                 (703) 883-0880

    8            BREWER ATTORNEYS & COUNSELORS
                      1717 Main Street
    9                 Suite 5900
                      Dallas, Texas 75201
   10            BY:   MICHAEL J. COLLINS
                      mjc@brewerattorneys.com
   11                 (214) 653-4875

   12    ON BEHALF OF DEFENDANT:

   13            SCHERTLER & ONORATO, LLP
                      901 New York Avenue, N.W.
   14                 Suite 500
                      Washington, DC 20001
   15            BY: DAVID DICKIESON, Esq.
                      ddickieson@schertlerlaw.com
   16
           ALSO PRESENT:
   17
                 ACKERMAN MCQUEEN, INC. and MERCURY GROUP, INC.
   18                 1601 Northwest Expressway
                      Suite 1100
   19                 Oklahoma City, Oklahoma 73118
                 BY: BILL WINKLER
   20                 (703) 299-9470

   21

   22


  Casamo & Associates             703 837 0076                   www.casamo.com


                                                                                  Appendix126
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                              Page 134 of 509 PageID 8073
                                                                                                            3 (3 - 6)
                                                        Motion                                              6/26/2019
                                                       Page 3                                                       Page 5
   1        PROCEEDINGS                                          1      THE COURT: That's him.
   2       (Whereupon the proceedings began at                   2      MR. DICKIESON: We'll take whatever the
   3    10:57 a.m. )                                             3   time the Court will give us, but this is the
   4       MR. COX: Your Honor, Bob Cox                          4   most important issue that needs to be
   5    representing the National Rifle Association.             5   addressed today. The other issues can wait
   6       THE COURT: Okay.                                      6   until another day, but we need to deal with
   7       MR. COX: And with me is Michael                       7   the irreparable harm that will befall AMc
   8    Collins, who's the subject of the motion for             8   within the week. That's why we have -- I
   9    pro hac vice. It's one of the motions that's             9   have with me the CFO of AMc, who came here
  10    contested today.                                        10   from Oklahoma City. He's prepared -- he's
  11       THE COURT: Again, let the record                     11   submitted a declaration. He's prepared to
  12    reflect this is the matter of Commonwealth              12   testify, if necessary. But we understand
  13    vs. Ackerman McQueen, Inc., and Mercury Inc.            13   that the Court is not going to have
  14    The matter comes on cross motion for pro hac            14   evidentiary hearing on this, but he's here to
  15    vice; is that correct?                                  15   provide me with the information about the
  16       MR. DICKIESON: There's a number of                   16   irreparable harm that will befall to AMc if
  17    other motions, your Honor. There's a motion             17   we cannot get this matter relief from the
  18    for preliminary injunction.                             18   Court today.
  19       THE COURT: That's not going to happen,               19      So we'd ask that the 30 minutes be
  20    sir. It just can't. I can't do that. I                  20   devoted to the preliminary injunction. If we
  21    don't understand how it's possible that I can           21   don't finish, then we'll set it for some
  22    do a preliminary injunction in this matter in           22   matter, but we believe that we need the
                                                       Page 4                                                       Page 6
   1    30 minutes. It can't happen.                             1   relief this week for this matter.
   2        MR. DICKIESON: Your Honor, if I                      2       MR. COX: Your Honor, our position,
   3    could --                                                 3   first, that we would like to find out today
   4        THE COURT: Can't happen.                             4   whether Mr. Collins is in or out of the case,
   5        MR. DICKIESON: If I could address the                5   also to determine whether the Brewer firm is
   6    Court on that issue, that -- this is a matter            6   or in out of the case, potentially. We'd
   7    that there's going to be 40 five to 60                   7   like that motion heard first. We -- we've --
   8    employees laid off within the week if we                 8   Mr. Dickieson and I have communicated with
   9    cannot get the relief that we're requesting              9   the clerk. Our position is that we don't
  10    the Court. We've asked the supervisor of the            10   believe that there is sufficient time for a
  11    -- the court schedule if we could get one               11   preliminary injunction hearing and -- but we
  12    specially set later this week or even early             12   think that the -- if the Court is willing to
  13    next week. Nothing is available until after             13   entertain this motion today, that we feel
  14    the Fourth of July when these people will be            14   that they're -- they have not met their
  15    furloughed, terminated, and their -- their              15   burden as a matter of law to prove the
  16    lives will be disrupted. The AMc, Ackerman              16   relief. This is a mandatory preliminary
  17    McQueen business will -- will suffer good               17   injunction.
  18    will, harm, and substantial loss of the                 18       And, secondly, if the Court is not
  19    employees that it needs. So that's why we --            19   inclined to rule in favor, we think it's
  20    we talked with the law clerk, the -- the                20   appropriate for an evidentiary hearing, and
  21    Court's law clerk, and we said we'd take                21   that should be set down for a date certain
  22    whatever time we got. We --                             22   that would give the parties time to issue

 Casamo & Associates                              703 837 0076                                     www.casamo.com


                                                                                                                             Appendix127
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 135 of 509 PageID 8074
                                                                                            4 (7 - 10)
                                                 Motion                                      6/26/2019
                                               Page 7                                              Page 9
  1     some limited written discovery, just getting     1   New York office.
  2     factual information. They have a declaration     2       THE COURT: And Mr. Collins is willing
  3     they've submitted, no documents, no financial    3   to, essentially, expose himself to the
  4     statements, no back-up about the financial       4   potential for malpractice and other claims
  5     and irreparable harm here. We feel we should     5   that may result if -- if, in fact, he is
  6     conduct limited written discovery and take       6   associated to the extent that he has inside
  7     two to three depositions.                        7   knowledge as it relates to the plaintiff. It
  8         THE COURT: And I understand that the         8   seems to me that's -- that's a major risk
  9     alleged irreparable harm is that you're going    9   he's taking, you know. You're saying that --
 10     to lose -- you're going to lose 40 employees;   10   that partner A can be here, and partner B can
 11     is that correct?                                11   be on the other side. You can't serve two
 12         MR. DICKIESON: 45 to 60 employees           12   masters. How's that's possible?
 13     within the week, your Honor.                    13       MR. COX: Your Honor, under Rule 3.7(c),
 14         THE COURT: But that means they won't        14   the allegation here is that Mr. Brewer is a
 15     get paid. You won't lose them.                  15   potential witness.
 16         MR. DICKIESON: Your Honor, they're          16       THE COURT: A potential witness, that's
 17     going to be looking for other work.             17   right.
 18         THE COURT: That may be so, but that's       18       MR. COX: And so because the fact that
 19     speculative, at best. But I just don't know     19   Mr. Brewer is a witness doesn't impute
 20     how I can do it. I don't have to do it -- I     20   disqualification under Rule 1.10 or
 21     don't have to do it today, based on what I --   21   Rule 3.7(c) to the entire firm. So our
 22     what I read so far, and let me -- let me        22   position is the fact that Mr. Brewer might be
                                               Page 8                                             Page 10
  1     advise counsel, too. I'm going to -- I'm         1   a witnesses in this case -- only that 3.7
  2     going to probably give you a little more than    2   would impute disqualification to the firm is
  3     30 minutes. I'm going to give everyone,          3   if there's an actual conflict of interest
  4     since we got outside counsel, a copy of the      4   under Rule 1.7 or Rule 1.9, and our position
  5     local rules since I've been -- we've been        5   is that is that there's no actual conflict of
  6     receiving -- receiving documents as early --     6   interest here.
  7     as late as yesterday for the Court's             7       First, there's a matter of law. We
  8     consideration, and that's just not the           8   dispute the allegations in the counterclaim
  9     appropriate way to do it in this court.          9   that somehow the -- the firm is benefitting
 10         Can I just hand each of you a copy of       10   financially from -- from media relations.
 11     the local rules so you know what the            11   They have a staff of four people. They
 12     timelines are in the future with regard to      12   cannot undertake the work that Ackerman
 13     filing the pleadings?                           13   performs for the NRA as a media relations
 14         MR. DICKIESON: Thank you.                   14   department that they use strictly for pending
 15         MR. COX: Thank you, your Honor.             15   cases. So we dispute the factual allegations
 16         THE COURT: All right. Now, with regard      16   that Mr. Collins would be financially
 17     to Mr. Cox, I hear -- I hear the motion. As     17   benefitting from any diversion of -- of
 18     I understand it, the motion is that Mr.         18   marketing from business from Ackerman.
 19     Collins is associated with Mr. Brewer; is       19       And our position is that all they've
 20     that correct?                                   20   alleged is that Mr. Brewer, right now, is a
 21         MR. COX: He is partner with the Brewer      21   potential witness in the case. At that
 22     firm. He's in the Dallas office, not in the     22   point, under my reading of the -- the case

 Casamo & Associates                         703 837 0076                             www.casamo.com


                                                                                                             Appendix128
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 136 of 509 PageID 8075
                                                                                                           5 (11 - 14)
                                                         Motion                                              6/26/2019
                                                       Page 11                                                       Page 13
  1     law, there's not much in Virginia, your                   1      THE COURT: Somebody explain to me how
  2     Honor. We've cited to some Fourth Circuit                 2   you can -- how can you represent both sides?
  3     and EDVA law that that's not enough to                    3   I'm -- I guess I'm -- I'm not following this.
  4     disqualify the firm.                                      4   Yes, sir?
  5        Our feeling is that on a motion for                    5      MR. COX: Your Honor --
  6     pro hac vice, the Court is looking primarily              6      THE COURT: And I recognize that for
  7     at the fitness and character of the attorney,             7   purposes of the pro hac vice, that -- that I
  8     and this is more appropriate for a motion for             8   think that I'm limited to what the rules
  9     disqualification. If they discover facts                  9   require, but I'm -- but that's -- that's
 10     during the course of the discovery or they               10   expanded further. How -- how does one
 11     take Mr. Brewer's deposition and there does              11   represent both sides of -- of the action?
 12     appear to be an actual conflict under                    12      MR. COX: Well, I guess, your Honor,
 13     Rule 1.7 and 1.9, I think, at that point, it             13   it's our position Mr. Brewer is not
 14     would be appropriate for a motion to                     14   representing both sides of the action. He's
 15     disqualify or, on our own, we may withdraw.              15   not seeking to be litigation counsel or trial
 16     If there becomes an actual ethical conflict              16   counsel in this case. He's -- he is a
 17     here, at that point, the Brewer firm will                17   partner in the Brewer law firm, but my
 18     consider withdrawing.                                    18   reading of the ethical rules and obligations
 19        THE COURT: Yes, sir.                                  19   are that just because he may be a witness
 20        MR. DICKIESON: Your Honor, it's not our               20   does not disqualify the firm again. And then
 21     position that Mr. Brewer is going to be the              21   I, I guess -- there's no actual conflict
 22     only witness in that firm, but that the other            22   that's been demonstrated at this point. I
                                                       Page 12                                                       Page 14
  1     partners in the firm are also going to be                 1   mean, the only conflict -- 1.9 deals with
  2     witnesses. They're intricately linked.                    2   former clients. 1.7 deals with an actual
  3     They're billing $20-some million a year for               3   client. So the only conflict would be if it
  4     the NRA for litigation strategies when we                 4   was demonstrated Mr. Brewer was going to be
  5     have an abuse of process as a counterclaim,               5   called as a witness and testified adversely
  6     and, therefore, we believe that Mr. Collins               6   to the National Rifle Association.
  7     will be a key witness in the case. And that               7       And at this point, I -- I -- Mr. Brewer
  8     not only disqualifies him as for counsel, but             8   has not identified that he would have
  9     we believe he will have evidence -- he will               9   information that would be in conflict with
 10     testify contrary to the interests of the NRA,            10   the NRA's positions in this litigation, and,
 11     and that disqualifies not only him, but the              11   your Honor, if you want to hear from Mr.
 12     entire firm.                                             12   Collins, Mr. Collins has not had a direct
 13        THE COURT: Is Mr. Brewer still                        13   role in the dispute between the NRA and
 14     associated with the firm with NRA?                       14   Ackerman with regard to invoices and the
 15        MR. DICKIESON: Mr. Brewer is the -- the               15   factual matter.
 16     founding and -- it's called Brewer Attorneys             16       So I don't know where Mr. Dickieson is
 17     and Associates or something.                             17   coming from that he's a factual witness in
 18        MR. COLLINS: That's incorrect.                        18   this case, and -- and Mr. Brewer and his firm
 19        MR. DICKIESON: Attorneys and                          19   has never represented Ackerman or Mercury
 20     Counselors. So yes, he's still associated                20   Group, and so I don't see how they're on both
 21     with the firm. He's still counsel for the                21   sides. They've always represented the
 22     NRA, as well.                                            22   National Rifle Association.

 Casamo & Associates                                   703 837 0076                                   www.casamo.com


                                                                                                                               Appendix129
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 137 of 509 PageID 8076
                                                                                                             6 (15 - 18)
                                                          Motion                                               6/26/2019
                                                        Page 15                                                       Page 17
   1       MR. DICKIESON: Your Honor, my client is                 1   entire term but -- the entire term, but he's
   2    reminding me that the Brewer law firm is                   2   going to put up a wall, and Mr. Brewer -- I
   3    actual a client of Ackerman McQueen and has                3   mean, Mr. Collins will never have access to
   4    been a long-term client of the firm. But                   4   any information that relates to the NRA? Is
   5    it's not just that they are witnesses in this              5   that correct? We have --
   6    case. They financially benefit. They have                  6      MR. DICKIESON: I think you mean AMc, my
   7    an in-house public relations unit in the firm              7   client, AMc.
   8    that is siphoning away business from Ackerman              8      THE COURT: AMc. I'm sorry. Yes.
   9    McQueen for the NRA work, and that's --                    9      MR. COX: I mean, Mr. Collins is in a
  10    that's a key factor in this case, what's                  10   different office. He's in the Dallas office.
  11    happening to the work that's being taken away             11   Mr. Brewer is in the New York office, and I'm
  12    from AMc.                                                 12   -- I'm not disputing it's a small firm.
  13       This is about abuse of process. This is                13   Sixty lawyers --
  14    a small law firm, Brewer and Associates and               14      THE COURT: This is the 21st century.
  15    Counselors. There's not that many attorneys               15      MR. COX: Yeah, and -- and -- but, you
  16    there. I assume -- I think he's the number                16   know, I can -- if the Court wants to hear
  17    two person there. To say he knows nothing                 17   from Mr. Collins about that, I'm unfamiliar
  18    about the $21 million that the NRA is -- is               18   with what exact work the -- the Ackerman
  19    -- is billing -- that he's billing the NRA is             19   group does for the Brewer law firm.
  20    not believable.                                           20      THE COURT: Yes, Mr. Collins.
  21       THE COURT: And not withstanding the                    21      MR. COLLINS: Yes, your Honor. I,
  22    potential conflict that exists if he                      22   obviously, represent the NRA in connection
                                                        Page 16                                                       Page 18
   1    continues to represent the NRA, Mr. Brewer                 1   with this case and a number of matters. I
   2    does, or the Brewer firm.                                  2   myself am not the client contact. I've
   3        MR. DICKIESON: The Brewer firm does.                   3   actually never had a substantive discussion
   4        THE COURT: Is that correct?                            4   with any client representative from the NRA.
   5        MR. COX: Your Honor, yes, yes, they do.                5   I've never done any work for Ackerman
   6    Not in this case, I mean, the Brewer firm                  6   McQueen.
   7    would be representing -- or Mr. Collins would              7      Now, I think it is correct they had done
   8    be coming in as litigation counsel. But,                   8   some website service and things for the
   9    yes, the NRA is a client of the Brewer firm,               9   firm -- Ackerman McQueen has -- but we've
  10    but again --                                              10   never done any legal work, to my
  11        THE COURT: Does Mr. Collins have,                     11   understanding. I know I've never done any
  12    necessarily, information that is provided to              12   legal work for Ackerman McQueen, ever. So,
  13    the Brewer firm that would be a detriment to              13   your Honor, as far as being on both sides,
  14    the NRA?                                                  14   I'm not on both sides. The firm is not on
  15        MR. COX: Your Honor --                                15   both sides. I'm not aware of any unique
  16        THE COURT: Is there a wall? You know,                 16   knowledge I have with respect to any claims
  17    the old -- the old -- the old saying? It's                17   or defenses they are serving other than what
  18    "I'm going to put up a wall." I'm not going               18   litigation counsel would have that -- like
  19    to use the first part, but I'm going to put               19   Mr. Cox has.
  20    -- saying that I'm going to put up a wall.                20      I've never spoken, I don't think, to any
  21    You know what the old saying is -- is that --             21   employee of Ackerman Mercury group. Maybe
  22    that's a little racist to say, to use the                 22   years ago about the work they were doing for


 Casamo & Associates                                    703 837 0076                                   www.casamo.com


                                                                                                                                Appendix130
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 138 of 509 PageID 8077
                                                                                                               7 (19 - 22)
                                                          Motion                                                 6/26/2019
                                                        Page 19                                                        Page 21
   1    the firm, but nothing to do with this matter,              1   gets close to 3.7. And as far as me being a
   2    your Honor, against Ackerman McQueen and                   2   witness, they can speculate. We had the same
   3    Mercury Group. So also, your Honor, whatever               3   issue that their attorneys are trying to
   4    knowledge I would have, I wouldn't be the one              4   pro hac about whether they're involved in the
   5    with the most unique knowledge. At least,                  5   underlying facts, you know. We just think
   6    that's my understanding. One of the elements               6   the best way is for both sides to get
   7    of 3.7 is --                                               7   admitted, and then, if someone has got a
   8       THE COURT: But isn't the case if he has                 8   disqualification issue, they can raise it.
   9    any knowledge, that could -- that could                    9   And yes, we'll take it seriously, your Honor.
  10    potentially be a conflict?                                10   If they've got grounds for us and they
  11       MR. COLLINS: Well, it could be a                       11   explain those grounds for us, we'll take them
  12    conflict with the NRA, your Honor? Or a                   12   very seriously. But, as I say, your Honor,
  13    conflict with them?                                       13   pretty much the rule is until you actually
  14       THE COURT: I would say with both.                      14   hold a jury trial, that attorney can take the
  15       MR. COLLINS: Okay. Well, your Honor,                   15   depositions, can do the hearings before the
  16    with respect to them, the attorney always                 16   judge. And I'll answer any other questions
  17    gains knowledge during the case. I'm not                  17   you may have, your Honor.
  18    sure of any unique knowledge I have outside               18      THE COURT: The motion is granted. The
  19    of this case, at all. With respect to the                 19   motion is granted.
  20    NRA, your Honor, the issue is -- for the                  20      MR. COX: Okay. Thank you, your Honor.
  21    attorney is the attorney's always going to                21      THE COURT: What's that?
  22    know something. So what the Court said is                 22      MR. DICKIESON: Your Honor? There was a
                                                        Page 20                                                        Page 22
   1    since we want to be careful because                        1   pro hac vice motion for the attorneys on our
   2    disqualifications and related-type                         2   side that was not contested.
   3    proceedings could be used as a key to motive               3      THE COURT: That was -- that was by
   4    that, unless the attorney is essential to the              4   consent?
   5    case, it's a fact they can't get otherwise,                5      MR. DICKIESON: Right. Yes, sir.
   6    you don't lock out the attorney.                           6      THE COURT: That, likewise, is granted.
   7       And, your Honor, at least I know in                     7      MR. DICKIESON: And the motion to
   8    Texas and in many other jurisdictions -- I                 8   consolidate is --
   9    don't know if it's any different in Virginia               9      THE COURT: That motion is granted.
  10    -- that the attorney -- if it's a bench                   10      MR. DICKIESON: All right. So that
  11    trial, the attorney could still do this whole             11   leaves us getting to the heart of the matter
  12    case. If it's a jury trial, they could do                 12   of preliminary injunction. If I could begin
  13    the case up to the jury trial. This Court is              13   on that, your Honor, in the time we have
  14    sophisticated enough to know the difference               14   left?
  15    between attorney testimony and other                      15      THE COURT: I'll allow you 15 minutes.
  16    testimony and not to be unduly swayed. It's               16      MR. DICKIESON: All right. What we are
  17    only when a jury gets involved that we're                 17   witnessing here, your Honor, is the implosion
  18    concerned. And my understanding, your Honor,              18   of the NRA. Let me -- let me correct this.
  19    is the NRA knows all about the potential                  19   It's not an implosion. It's an explosion
  20    conflict and has no problem, whatsoever.                  20   because it's not simply harming the NRA, it's
  21       So you put all those things together,                  21   harming those people that are in proximity to
  22    your Honor, I'm just not sure if this even                22   the NRA. And AMc happens to be one of those


 Casamo & Associates                                  703 837 0076                                     www.casamo.com


                                                                                                                                 Appendix131
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 139 of 509 PageID 8078
                                                                                                              8 (23 - 26)
                                                          Motion                                                6/26/2019
                                                        Page 23                                                        Page 25
   1     people in the proximity that is now being                 1   pay them. It's all written out there. It's
   2     harmed by the NRA's actions. They have                    2   all clear. They can't contest those facts.
   3     stopped making payments on millions of                    3   They have to post a $3 million letter of
   4     dollars of invoices that they routinely paid              4   credit in that situation. This Court has the
   5     for 38 years to AMc.                                      5   power to prevent the irreparable harm that's
   6         THE COURT: Let me -- that's a                         6   about to fall to AMc.
   7     collection matter. As I understand it, this               7       Now, what we are seeing -- they filed a
   8     is a breach of contract, collection. I think              8   breach -- as I say, a rather pedestrian brief
   9     there's an issue with past due accounts                   9   -- on Monday laying out the -- the four
  10     and --                                                   10   elements. What they didn't tell the Court
  11         MR. DICKIESON: Abuse of process.                     11   and what they didn't tell us on Monday is
  12         THE COURT: Abuse of process. That's                  12   that on Tuesday, they're sending out a notice
  13     right.                                                   13   to terminate the entire contract. And he
  14         MR. DICKIESON: Counterclaim.                         14   hasn't mentioned that yet. It wasn't
  15         THE COURT: So -- so to a much higher                 15   mentioned in the brief, and we think that
  16     sense, this is a collection matter. You --               16   what this is is that we have already issued a
  17     you -- you haven't been paid, and want to be             17   90-day notice to wind down the contract and
  18     paid. So you come to court and you ask the               18   orderly end this relationship that has turned
  19     Court to rule against one party or the other             19   sour. That's the logical, rational,
  20     to be -- to be paid; is that correct?                    20   reasonable business thing to do. The day
  21         MR. DICKIESON: Yes, your Honor, but                  21   before -- the night before, 7 o'clock last
  22     what we're also trying to do is enforce the              22   night, we get a letter that says, "We are
                                                        Page 24                                                        Page 26
   1    contract. And the Court has the equitable                  1   terminating the contract entirely. We're not
   2    power to enforce the contract, and here,                   2   paying anything more."
   3    where there's an irreparable injury, 40 five               3      THE COURT: And that contract amounts to
   4    to 60 employees who will be forced to be                   4   $40 million a year; is that correct?
   5    terminated or furloughed if the NRA does not               5      MR. DICKIESON: I think the last year
   6    follow through on their obligations, which is              6   that that was the total amount that was paid
   7    clear in -- in the contract that they have to              7   but that -- a number of that goes to
   8    pay the invoices within 30 days. If they                   8   expenses, for example, paying talent, such as
   9    don't pay within 30 days, they have to post a              9   Oliver North, who's paid several million
  10    $3 million letter of credit.                              10   dollars a year for his role in the NRA TV,
  11       They haven't paid within 30 days. They                 11   which is produced and managed by Ackerman
  12    haven't posted a letter of credit. This                   12   McQueen. Ackerman McQueen has served as the
  13    Court has the power to enforce that contract.             13   voice of the NRA for -- for decades, and they
  14    Now, what they responded with on Monday was a             14   are intertwined in the NRA business. So what
  15    rather pedestrian brief that says, "Well, we              15   -- what the situation is here: We have a
  16    -- we have the likelihood of success on our               16   very complex relationship that has to be
  17    side because there's issues that they                     17   pulled apart, and what they did last night
  18    breached first." But the likelihood of                    18   was saying "Take an axe and just cut it right
  19    success -- when you look at this issue, they              19   in half, and don't worry about any of the
  20    have the invoices. They have 10 days to                   20   consequences."
  21    contest the invoices. They didn't contest                 21      Now, we don't think that notice is valid
  22    them within 10 days. They have 30 days to                 22   because before they can terminate, they got


  Casamo & Associates                                   703 837 0076                                  www.casamo.com


                                                                                                                                 Appendix132
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                               Page 140 of 509 PageID 8079
                                                                                                       9 (27 - 30)
                                                        Motion                                           6/26/2019
                                                     Page 27                                                      Page 29
  1     to pay everything that they owe, but they               1      MR. DICKIESON: So I have more stuff,
  2     haven't done that. So we're still in a                  2   but I'll let them respond to that argument at
  3     situation where we're trying to do a 90-day             3   this point.
  4     termination period, gradually and with, as it           4      THE COURT: I'm still not understanding
  5     says in the contract, good faith                        5   how I can do this without setting for
  6     negotiations. They're not interested in good            6   testimony.
  7     faith negotiations. They're interested in,              7      MR. DICKIESON: Your Honor, we provided
  8     before this hearing, disrupting the process             8   a declaration for the Court that lays out the
  9     by saying, "We're terminating."                         9   irreparable injury. We've provided the
 10        THE COURT: But correct me if I'm wrong.             10   services agreement where the terms are
 11     The invoice that we're talking about is a              11   concrete and clear that the -- if you don't
 12     $1.6 million invoice; is it not?                       12   pay within 30 days, you must post the $3
 13        MR. DICKIESON: That's the -- the sum of             13   million letter of credit. All we're asking
 14     the -- these eight invoices.                           14   is that -- that one clause be enforced.
 15        THE COURT: But the -- the -- the credit             15      THE COURT: Okay. All right. Yes, sir.
 16     would be 1.6 million?                                  16      MR. COX: Thank you, your Honor. I just
 17        MR. DICKIESON: Correct.                             17   want to note that -- and I won't go into
 18        THE COURT: And if you lose a                        18   detail because we have a shorter period
 19     $40 million contract, you're going to lose             19   amount of time, but the grant of interim
 20     those 65 clients -- 65 employees, anyway,              20   injunctive relief is an extraordinary remedy
 21     aren't you?                                            21   involving a very far-reaching power of this
 22        MR. DICKIESON: They're going to be                  22   Court. And the standard is ever higher for
                                                     Page 28                                                      Page 30
  1     transitioned away, not -- not severed                   1   preliminary mandatory injunction relief, is
  2     immediately, your Honor, and that's -- that's           2   what they're seeking here. They're not
  3     when you -- when you talk about people's                3   seeking to have the NRA restrained or stopped
  4     lives and whether or not you give them 90               4   from some activity. They're asking them
  5     days to transition or to transition tomorrow,           5   actually to take steps and put up a line of
  6     that's -- that's -- that's a concrete harm.             6   credit in this case. So just -- we cited
  7     This Court deals with harms that are much               7   these in our brief, and in Ray v. Microsoft
  8     less significant than that and --                       8   (phonetic), Tiffany v. Forbes, those have
  9        THE COURT: This is more about the 1.6                9   established that there is a higher, clear,
 10     as opposed to the 40 million?                          10   and convincing probability standard that they
 11        MR. DICKIESON: 1.6 plus we've been                  11   need to meet as to irreparable harm,
 12     required to do work since that May 1st                 12   substantial likelihood of success, and the
 13     invoice was issued, and I believe that                 13   two other standards.
 14     there's another equivalent amount that's               14       Again, the Court has correctly noted
 15     already due since that last invoice.                   15   that this is a breach of contract case. And
 16        THE COURT: All right. Yes, sir.                     16   as many courts have held, including the
 17        MR. DICKIESON: And that's why the $3                17   Supreme Court in Samson v. Murray, mere
 18     million letter of credit is the logical thing          18   injuries, however substantial, in terms of
 19     that this Court can do within its equitable            19   money, time, and energy necessarily expended
 20     powers to enforce the $3 million letter of             20   in the absence of a stay are not enough. The
 21     credit to be issued.                                   21   possibility that adequate compensatory or
 22        THE COURT: Yes, sir.                                22   other corrective relief will be available at

 Casamo & Associates                                 703 837 0076                                 www.casamo.com


                                                                                                                            Appendix133
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 141 of 509 PageID 8080
                                                                                          10 (31 - 34)
                                                 Motion                                      6/26/2019
                                              Page 31                                              Page 33
  1     a later date in the ordinary course of the       1   listening.
  2     litigation weighs heavily against a claim of     2       MR. COX: So -- and they haven't
  3     irreparable harm. We think this is the exact     3   indicated, your Honor, that what this
  4     case here, your Honor.                           4   $1.6 million -- they -- they get $4 million
  5         As your Honor has pointed out in             5   dollars a year from the NRA alone. It -- it
  6     questions with Mr. Dickieson, what we're         6   seems strange per duly for this court that
  7     talking about here is that they've already       7   $1.6 million, which may be going to
  8     sent us a letter of termination on May 29th.     8   celebrities, such as Colonel North's
  9     They're terminating the contract. Now,           9   contract, Dana Loesch's contracts, and
 10     they've said that "We're going to do it over    10   others. They haven't broken down whether
 11     a 90-day period," but what they're here         11   this is actual salaries for line employees
 12     arguing is that they are entitled to            12   they're going to have to furlough verus money
 13     preliminary injunctive relief because they're   13   they're going to have to pay out to people,
 14     going to have to lay off employees or start     14   celebrities, they have contracts with.
 15     furloughing employees within the next week,     15       So I don't think that they -- they could
 16     as opposed to 60 days from now, which they're   16   have submitted financial statements in
 17     still -- the Court correctly pointed out        17   support of their declaration, and they
 18     they're still going to have to do.              18   haven't. I think that if the Court as a --
 19         So either way, they are going to have to    19   as a basis for today's hearing, I don't think
 20     furlough these employees. And I would           20   they've set a legal -- they haven't met the
 21     submit, your Honor, and you pointed to this,    21   legal standard for proving irreparable harm
 22     that the declaration submitted by Mr. Winkler   22   in this instance. But even as the Court has
                                              Page 32                                              Page 34
  1     doesn't provide an adequate evidentiary          1   noted, I don't think that they have adequate
  2     record for the Court to rule on this motion.     2   evidentiary support, and we would need to
  3     We pointed out to several instances where the    3   proceed with an evidentiary hearing at a date
  4     conclusory statements of law as to whether       4   certain. I think this is something the Court
  5     the NRA has breached the contract and, in        5   could set very soon, later in July or the
  6     addition, they have all of the financial         6   first week of August. Give us an opportunity
  7     information. They have not set forth either      7   to, perhaps, take Mr. Winkler's deposition,
  8     in their -- in Mr. Winkler's declaration or      8   obtain some additional financial information
  9     in the brief what steps they've taken to         9   to see whether -- what their support is for
 10     mitigate the damages.                           10   the irreparable harm. I think there's an
 11         I mean, this is $1.6 million that's in      11   insufficient record as it stands before the
 12     dispute. I will note for the Court, your        12   Court.
 13     Honor, that we haven't said we're not going     13       And as to the letter that was sent last
 14     to pay the invoices. The NRA has sent           14   night, I became aware of a letter last night
 15     multiple letters and emails to the Ackerman     15   around 7. I mean, that's why I didn't have
 16     firm asking for evidence and details. In        16   it in our brief that we filed on Monday. But
 17     addition, Mr. Winkler and in their brief --     17   I believe that the NRA is taking the position
 18         THE COURT: That's what I'm saying. It       18   that Ackerman has already said they're
 19     renders this matter moot. If you're going to    19   terminating the contract, and they sent that
 20     pay it, doesn't it render this matter moot?     20   letter of termination on May the 29th, and
 21         MR. COX: Yes, your Honor.                   21   the NRA has stated, "Well, at this point, we
 22         THE COURT: All right. Go ahead. I'm         22   -- we agree. Let's -- we're terminating it,

 Casamo & Associates                         703 837 0076                              www.casamo.com


                                                                                                             Appendix134
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 142 of 509 PageID 8081
                                                                                                       11 (35 - 38)
                                                        Motion                                            6/26/2019
                                                      Page 35                                                       Page 37
  1     but rather than this wind-down period, let's             1   salaries; is that correct?
  2     terminate it at this point."                             2      MR. DICKIESON: Yes, your Honor, and the
  3        Again, I think that there are numerous                3   $40 million reflects the prior year. But
  4     questions of fact about their financial                  4   there's also been some effort in the
  5     condition, also about how much cash they need            5   intervening months to wind down, which is why
  6     to make their obligations that just aren't               6   1.6 million for the last month is not one-
  7     known, and what steps, if any, they've taken             7   twelfth of the 40 million. The parties have
  8     to mitigate or find other sources. Perhaps,              8   been working to reduce the scope of services,
  9     they have a line of credit already that they             9   but this is not like we've got a stockpile of
 10     can borrow on to pay employees. I know my               10   some $40 million we can live off of for the
 11     law firm does. Thank you, your Honor.                   11   time being.
 12        MR. DICKIESON: Your Honor, we have a                 12      THE COURT: But I assume this is not the
 13     copy of the termination letter that we                  13   only client?
 14     received last night, if I can hand it up to             14      MR. DICKIESON: It's not, but it's
 15     the Court to submit it as Exhibit A for us.             15   approximately 35 percent of the business,
 16        (Whereupon Exhibit A was submitted for               16   35 percent of the employees of the firm.
 17     evidence.)                                              17      THE COURT: All right. Counsel, I'm --
 18        MR. DICKIESON: And for the record, we                18   I'm -- at this stage, unwilling to grant your
 19     received that after 7 o'clock Eastern time              19   motion, but I'll say this is that if you
 20     last night. Obviously, it was intended to be            20   desire an evidentiary hearing, I will grant
 21     issued prior to this hearing because they               21   you to get a date certain, and we can hear
 22     don't want to pay the -- what -- their                  22   matters at a later date, and you can put in
                                                      Page 36                                                       Page 38
  1     obligations. They want to delay it. They                 1   evidence in support of your -- your -- your
  2     want to postpone the payment. They want --               2   request for an injunction. However, I
  3     until after the damage is done. That's part              3   understand that you have 65 employees that
  4     of the abuse of process that we're alleging              4   may be either out of work or being -- work
  5     in this case, that they want to take legal               5   without pay, but that's not something I can
  6     actions, use the process of this Court, to               6   deal with at this time. I believe that this
  7     harm Ackerman McQueen.                                   7   is a breach of contract case, a collection
  8         THE COURT: I just don't know how it's                8   case, and I guess, at some point, issues
  9     feasible for me to grant your motion for                 9   regarding third party contracts. But, still,
 10     injunction in this matter without the benefit           10   it remains a contract case. We can go to
 11     of an evidentiary hearing. However, I think             11   chambers and get a date. So at this time,
 12     that the real, great important factor is that           12   I'm preliminary denying the motion for
 13     I think in with regards to the injunction               13   injunction without prejudice.
 14     you've got -- you have to establish                     14      MR. DICKIESON: Thank you, your Honor.
 15     irreparable harm, and I'm hearing that you've           15      THE COURT: All right. Do you all have
 16     got a firm that has historically had income             16   orders?
 17     of million -- $40 million, and they're                  17      MR. COX: For the denial of the motion
 18     potentially going to be unable, currently, to           18   for preliminary injunction, your Honor?
 19     collect 1.6 million on this account. And                19      THE COURT: Yes.
 20     that 1.6 million will ultimately result in, I           20      MR. COX: I didn't bring one with me for
 21     guess, a harm to the -- to the company                  21   that.
 22     because of the failure in ability to pay                22      THE COURT: And that's without


 Casamo & Associates                                  703 837 0076                                  www.casamo.com


                                                                                                                              Appendix135
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 143 of 509 PageID 8082
                                                                                                        12 (39 - 42)
                                                        Motion                                             6/26/2019
                                                      Page 39                                                       Page 41
  1     prejudice?                                               1   hearing that -- that Mr. Dickieson and I are
  2        MR. COX: Yes, your Honor, but I can                   2   heading down, do I raise issues with regard
  3     draft an order and submit it to Mr. Dickieson            3   to -- I had indicated to the Court that we
  4     and get it to the Court.                                 4   would like to take limited discovery,
  5        THE COURT: And we have all the                        5   including Mr. Winkler's deposition and some
  6     necessary documents with regards to the                  6   limited document requests. Is that something
  7     pro hac vice; is that correct?                           7   we raise with the calendar control when we go
  8        MR. COX: Yes, your Honor.                             8   downstairs?
  9        MR. DICKIESON: Yes, sir.                              9      THE COURT: Yes.
 10        MR. COX: Your Honor, one -- one other                10      MR. COX: Thank you, your Honor.
 11     -- two -- two questions. One is we were                 11      MR. DICKIESON: One last matter, your
 12     before the Court two weeks ago on a motion to           12   Honor. I wanted to let you know that we have
 13     seal, and your Honor ruled on that motion.              13   two of the pro hac vice attorneys on our side
 14     And we have a prepared order that just allows           14   that have been admitted. Mr. David Schertler
 15     for filing of a revised answer on behalf of             15   and Mr. Joseph González are in the courtroom.
 16     Ackerman. I believe Mr. Dickieson has signed            16      UNIDENTIFIED ATTORNEY: Good morning,
 17     off on that order. We would just like to                17   your Honor.
 18     pass it up for the Court's signature.                   18      THE COURT: Welcome. Welcome.
 19        THE COURT: Okay.                                     19      UNIDENTIFIED ATTORNEY: Thank you, sir.
 20        MR. DICKIESON: Yes, your Honor, we                   20      THE COURT: Do we have any idea when we
 21     defer to them on their selection.                       21   are likely to try this matter? And I guess
 22        THE COURT: All right.                                22   my question is how many days do you think
                                                      Page 40                                                       Page 42
  1         MR. COX: And then -- oh, do you have                 1   you're going to need to try it,
  2     the original order? I gave it to you, but I              2   approximately?
  3     have Jim's -- Jim's signature if you want to             3      MR. DICKIESON: Your Honor, my position
  4     sign it. That's it. Thank you. The only                  4   is that the parties are obligated under the
  5     one, I believe, and this is -- I'll take this            5   contract to have good faith effort to try to
  6     down and file it with the clerk, and then                6   resolve this. I think we should try
  7     your Honor, one final, just -- I had two                 7   mediation first.
  8     questions, one related to the pro hac vice --            8      THE COURT: Okay. All right.
  9     and this came from a discussion Mr. Dickieson            9      MR. DICKIESON: And I think that's the
 10     and I had. Now that Mr. Collins is admitted             10   appropriate way to go before we start trying
 11     in the case, is the court's procedurally -- I           11   to schedule an expedited trial.
 12     know that I have to be present with Mr.                 12      THE COURT: All right.
 13     Collin any time for a court hearing. Is he              13      MR. COX: Your Honor, just so you have
 14     able to conduct depositions without local               14   our position, we think that it's -- we think
 15     counsel being present? Or does the local                15   it's, by estimate, a five to six-day trial.
 16     counsel need to be present for depositions              16      THE COURT: Okay.
 17     that --                                                 17      MR. COX: And we're prepared, if your
 18         THE COURT: I would prefer local counsel             18   Honor would like us to, to go -- I was
 19     be present.                                             19   waiting to receive a notice to come to
 20         MR. COX: Prefer -- present?                         20   calendar control to set a schedule, but if
 21         THE COURT: Yes.                                     21   your Honor would like us to come in on a
 22         MR. COX: And then for the evidentiary               22   return date --


 Casamo & Associates                               703 837 0076                                      www.casamo.com


                                                                                                                              Appendix136
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                       Page 144 of 509 PageID 8083
                                                                                                                    13 (43 - 45)
                                                         Motion                                                        6/26/2019
                                                       Page 43                                                                  Page 45
   1       THE COURT: No.                                         1             REPORTER CERTIFICATE
   2       MR. COX: -- and set it, we can do it.                  2
   3    We're -- we're moving forward with discovery.             3 I, JACQUELINE N. HAGEN, Court Reporter and Notary Public,
   4       THE COURT: Do it at your pleasure.                     4 certify:
   5       MR. COX: Thank you, your Honor.                        5 That the foregoing proceedings were taken before me at
   6       THE COURT: Again, I strongly urge you                  6 the time and place herein set forth, at which time the
   7    to familiarize yourself with the local rules              7 witness was put under oath for me;
   8    with regards to pleadings and everything.                 8 That the testimony of the witness and all objections made
   9    You -- you worked my law clerk to death in                9 at the time of the examination were recorded
  10    the last -- how -- how many days?                        10 stenographically by me and were thereafter transcribed;
  11       THE CLERK: I would say around seven.                  11 That the foregoing is a true and correct transcript of my
  12       THE COURT: Seven. Okay. Give him a                    12 shorthand notes so taken;
  13    break, okay?                                             13 I further certify that I am not a relative or employee of
  14       MR. COX: Your Honor -- your Honor, I                  14 any attorney or of any of the parties not financially
  15    apologize, and I just -- perhaps it was                  15 interested in this action.
  16    unfamiliarity. I didn't realize that I                   16
  17    wasn't permitted a reply brief. So that's --             17
  18    I apologize for submitting that. One other               18
  19    thing. I -- I did -- I do have an order with             19               ___________________________________
  20    regard to Mr. Collins --                                 20              JACQUELINE N. HAGEN
  21       THE COURT: How many times are you going               21
  22    to say "one other thing"?                                22 Dated: June 26, 2019
                                                       Page 44
   1       MR. COX: I'm sorry. But I did -- I do
   2    have the order. I don't -- now that these
   3    matters are consolidated, I don't know
   4    whether you need two orders or just the one.
   5       THE COURT: Why don't we do two to be
   6    safe?
   7       MR. COX: Okay.
   8       THE COURT: Okay.
   9       MR. COX: Thank you.
  10       THE COURT: All right. Thank you,
  11    gentlemen.
  12       MR. COX: Thank you, your Honor.
  13
  14       (Whereupon the proceedings concluded at
  15    11:36 a.m.)
  16
  17
  18
  19
  20
  21
  22



 Casamo & Associates                                   703 837 0076                                             www.casamo.com


                                                                                                                                          Appendix137
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 145 of 509 PageID 8084




                    EXHIBIT 22




                                                                               Appendix138
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20          Page 146 of 509 PageID 8085




   July 3, 2019 Statement from Ackerman McQueen




   What the NRA has done by pursuing groundless litigation against the company and by
   creating a shamelessly false narrative against Ackerman McQueen, is to threaten our people
   with the loss of their employment and benefits. AMc has continued to try to negotiate a
   solution to these issues but the NRA has not been willing to do so. Ackerman McQueen is
   taking every step it can to minimize the adverse effect the NRA’s actions are having on the
   well-being of our people.

   The NRA is contractually obligated to cover severance in the scenario that some of our
   employees are facing. However, the NRA is not indicating they will honor their agreement.
   Ackerman McQueen is determined to fight on behalf of our employees. The NRA has treated
   this company in a defamatory and damaging manner for months and the next phase of their
   destructive plan appears to be to hurt as many people as they can.




                                                                                          Appendix139
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 147 of 509 PageID 8086




                    EXHIBIT 23




                                                                               Appendix140
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20               Page 148 of 509 PageID 8087

02ÿÿÿ1 ÿ1ÿ1ÿÿ1!ÿÿ"#3
$ 2ÿÿ$%2&
  '()*+,-./+,'0121/34/1516#6 5#78 7# 8#6 #891 
                                                                                    0123ÿ56ÿ789




 :#3 ÿ;#$ 6ÿ<= 1 7ÿ ÿ$ ÿ#ÿ>? ÿ<= 1 7ÿ ÿÿ? ÿ6ÿ#7ÿÿÿ#ÿ ?ÿ%3
 @Aÿ$ ÿB#2ÿ1ÿ#ÿ? ÿ# #2ÿ2ÿ# ÿCDÿ1#2ÿ" !ÿ#ÿ;1#ÿ2ÿA#1ÿÿEFFF
                                           "<
G3ÿ0?ÿH763
I
0123ÿ56ÿ789 ÿ7J8KÿFF
LMNOPQRSÿUPOLVÿ$"ÿÿ#6!ÿ1ÿ>EB89 ÿ7#! ÿ ÿÿ#22ÿ# ÿ1!ÿ?ÿ##2
? #2?ÿFÿEÿ31&ÿ26ÿÿ1ÿ$"Wÿ 6ÿÿ#ÿ#6ÿ? ÿ% ÿX#3ÿÿÿÿÿ
%  ÿ#ÿ % F
? ÿ 2ÿX?ÿ%1!?ÿ31ÿÿ#ÿ>?#2ÿ ÿ?#7ÿ?#ÿÿX ?ÿ? ÿ##2ÿ2
#6ÿ1!ÿ#ÿ#  ÿÿ:  #3ÿ#1!ÿ? ÿ!1ÿ!1ÿÿ3!ÿYÿ?1ÿ#ÿ#3
 2ÿ#ÿ? 3ÿ#FZ

                                                                                             Appendix141
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20              Page 149 of 509 PageID 8088


012ÿ456527285ÿ9672ÿ82ÿ22ÿ652ÿ512ÿ6ÿ7ÿ92768ÿ9228ÿ64ÿ 92ÿ5ÿ415ÿ 8
0ÿ652ÿÿ22952ÿ92ÿ24285ÿ682ÿ622ÿ22ÿ28ÿ28ÿ5ÿ512ÿ8ÿ4ÿ0
6778!
"892ÿ5128#ÿ92768ÿ68ÿ54ÿ$8572ÿ9$285ÿ162ÿ 8ÿ512742$24ÿ8ÿ6ÿ%655$2ÿ2ÿ4226892ÿ6
   ÿ0ÿ 24#ÿ699 8ÿ5ÿ92768ÿ9228!
&165ÿ512ÿÿ164ÿ 82ÿ%ÿ48ÿ8$244ÿ$5658ÿ66845ÿ512ÿ9 768ÿ68ÿ%ÿ92658ÿ6
41672$244$ÿ6$42ÿ86652ÿ66845ÿ92768ÿ9228#ÿ4ÿ5ÿ5126528ÿÿ2 $2ÿ51ÿ512ÿ$44ÿ
512ÿ27$7285ÿ68ÿ%28254#'ÿ92768ÿ46ÿ8ÿ6ÿ456527285ÿ5ÿ0!ÿ&(92768)ÿ164ÿ9 8582ÿ5
5ÿ5ÿ82 5652ÿ6ÿ4 $58ÿ5ÿ51242ÿ4424ÿ%5ÿ512ÿÿ164ÿ8 5ÿ%228ÿ$$8ÿ5ÿ ÿ4 !'
012ÿ* $61 76ÿ+5,%642ÿ7ÿ285ÿ8ÿ5ÿ9$67ÿ5165ÿ&512ÿÿ164ÿ52652ÿ514ÿ9 768ÿ8ÿ6
26765ÿ68ÿ6768ÿ76882ÿ ÿ7 8514ÿ68ÿ512ÿ825ÿ1642ÿ ÿ512ÿ245952ÿ$68ÿ6264ÿ5
%2ÿ5ÿ15ÿ64ÿ768ÿ2 $2ÿ64ÿ512ÿ968!'
92768ÿ4ÿ58ÿ5ÿ25ÿ512ÿÿ5ÿ6ÿ4226892ÿ5ÿ27$224ÿ1 ÿ22ÿ5278652ÿ2ÿ5ÿ512
2651ÿ ÿ0#ÿ468ÿ512ÿ8ÿ$%%ÿ4ÿ&9 856956$$ÿ%$652'ÿ5ÿ9 2ÿ512ÿ9 454!
0165ÿ442ÿ4ÿ82ÿ ÿ512ÿ768ÿ8$24ÿ5165ÿ$2ÿ5ÿ927684ÿ4$5ÿ51ÿ512ÿÿ7 8514ÿ6 !ÿ-8ÿ54
 45ÿ$ÿ$6 45ÿ66845ÿ92768#ÿ512ÿÿ42452ÿ5165ÿ5ÿ16ÿ%228ÿ2ÿ85ÿ488ÿ6ÿ42924
9 85695ÿ51ÿ512ÿ* $61 76ÿ+5,%642ÿ6ÿ7ÿ191#ÿ8ÿ65#ÿ $ÿ 92ÿ512ÿÿ5ÿ9 2
4226892ÿ6ÿ ÿ92768ÿ27$224!
.22ÿ/269 8ÿ456 ÿ52ÿ"52128ÿ05 4ÿ52252ÿ$645ÿ22ÿ5165ÿ92768ÿ64ÿ 28ÿ5ÿ9 2
+*/ÿ ÿ54ÿ27$224ÿ8$ÿÿ512ÿ482ÿ6ÿ8 8,49$42ÿ6227285ÿ64ÿ2$$ÿ64ÿ68ÿ6227285
8 5ÿ5ÿ42ÿ512ÿ* $61 76ÿ+5,%642ÿ6ÿ7!
92768ÿ442ÿ6ÿ456527285ÿ8ÿ514ÿ8ÿ28246#ÿ249%8ÿ54ÿ2 54ÿ&5ÿ64445ÿ27$224ÿ1
162ÿ%228ÿ$12ÿ8ÿ514ÿ9$5ÿ2'ÿ64ÿ512ÿ $$ 81ÿ&92768ÿ164ÿ 22ÿ5ÿ6ÿ512ÿ$$
9 454ÿ ÿ+*/ÿ9 262ÿ ÿ2$%$2ÿ27$224ÿ8ÿ512ÿ$1ÿ8ÿ291682ÿ ÿ512ÿ27$22
488ÿ6ÿ45686ÿ2$2642ÿ ÿ9$674!'
-8ÿ6ÿ456527285ÿ5ÿ0#ÿ68ÿ65582ÿ ÿ512ÿÿ96$$2ÿ927684ÿ69946584ÿ&41672$#ÿ%5
8 58652$ÿ8448!'
&-5ÿ6264ÿ5165ÿ92768ÿ4ÿ48ÿ54ÿ27$224ÿ64ÿ6 84ÿ8ÿ6ÿ256586$ÿ96768ÿ66845ÿ512
ÿ2ÿ8ÿ68ÿ2 5ÿ5ÿ2$295ÿ7ÿ54ÿ6$2ÿ5ÿ7225ÿ54ÿ9 856956$ÿ68ÿ96ÿ%$6584ÿ5ÿ512
44 9658ÿ68ÿ54ÿ727%24#'ÿ9162$ÿ3!ÿ+ $$84#ÿ6582ÿ65ÿ/2 2#ÿ55824ÿ4ÿ+ 842$4ÿ68
9 842$ÿ5ÿ512ÿ#ÿ5$ÿ0ÿ8ÿ512ÿ456527285!
92768ÿ68ÿ512ÿÿ4285ÿ29624ÿ 8ÿ9$42$ÿ51ÿ2691ÿ512!ÿ92768ÿ4ÿ9252ÿ51
22$8ÿ512ÿ&-ÿ67ÿ512ÿ'ÿ96768#ÿ64ÿ2$$ÿ64ÿ+16$58ÿ524584ÿ&ÿ5ÿ7ÿ7ÿ9 $ÿ26
1684'ÿ682ÿ191ÿ27684ÿ86%$2ÿ7ÿ512ÿ784ÿ ÿ768!

                                                                                                Appendix142
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20      Page 150 of 509 PageID 8089




 01234ÿ1261789127ÿ47 2ÿ49442ÿ984ÿ9 ÿ34 2ÿ8 ÿ14ÿ1ÿ4 2ÿ6ÿ 24ÿ 4
 444ÿ6ÿ984ÿÿ61ÿ8 4ÿ9ÿÿ98 9ÿ984ÿ ÿ33 294ÿ6ÿ2ÿ8 6ÿ6ÿ9841ÿ 




                                                                                     Appendix143
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 151 of 509 PageID 8090




                    EXHIBIT 24




                                                                               Appendix144
    Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                                                                  ££¤ ¥
                                                                                                                                Page 152 of 509 PageID 8091
                                                                   ÿÿcÿÿÿÿÿ¡¢¢¢

      &'()*+,-ÿ/'01))-ÿ,''1<)<ÿBC&ÿ6Aÿ95*),9)-8-=ÿ)+D46:))<
             bcÿefghgÿjklmngogp
             qrstuvwxyzÿ{wr|ÿ}rt~ÿ|ÿÿzÿ ÿ yxyzÿ{wr|ÿ}rt~ÿ|ÿÿzÿ




      12345ÿ78394 ÿ ÿ25ÿ 3ÿ ÿ2 ÿ3945ÿ5ÿ2ÿ83ÿ2ÿ5ÿ2ÿ454ÿ44ÿ2ÿ 25ÿ8 5ÿ25ÿ2 35ÿ2 5ÿ5ÿ2942
       !ÿ"1ÿ7  #$9 ÿ29425%


      &'()*+,-ÿ/'01))-2ÿ3(4,56+,ÿ789:;<ÿ4,*=)<9ÿ,->ÿ64>)<9ÿ,>?)*98<8-=ÿ,=)-':2ÿ,44)=)>ÿ@)>-)<>,:ÿ89<ÿA6*+)*ÿ'48)-92ÿ95)ÿB,986-,4ÿC8A4)
      &<<6'986-2ÿ8<ÿ95*),9)-8-=ÿ95)ÿ'6+D,-:;<ÿ)+D46:))<ÿE895ÿ,ÿ46<<ÿ6AÿF6G<ÿ,->ÿG)-)A89<H
      I5)ÿA8*+ÿ,->ÿ95)ÿBC&ÿ,*)ÿ<18-=ÿ),'5ÿ695)*ÿA6*ÿ+6*)ÿ95,-ÿJKLLÿ+84486-ÿA6446E8-=ÿ95)ÿ'644,D<)ÿ6AÿMNÿ:),*<ÿ6Aÿ<)*?8')<ÿA6*ÿ95)ÿ-6-D*6A89ÿ95,9
      8-'41>)ÿ6D)*,98-=ÿBC&IOÿ,->ÿD,:8-=ÿ+84486-P>644,*ÿ,--1,4ÿ<,4,*8)<ÿ96ÿ95)ÿ6-48-)ÿ-)9E6*(;<ÿ4),>8-=ÿD)*<6-,4898)<2ÿQ,-,ÿR6)<'5ÿ,->ÿ348?)*
      B6*95H
      I5)ÿ-)9E6*(;<ÿD*6=*,++8-=ÿE,<ÿ',-')4)>ÿ4,<9ÿE))(ÿA6446E8-=ÿ4)=,4ÿA848-=<ÿG:ÿ&'()*+,-ÿ/'01))-ÿ<9,98-=ÿ95)ÿBC&ÿE,<ÿ>)48-S1)-9ÿ8-
      D,:8-=ÿG844<ÿ,->ÿE895619ÿ,ÿ*)S1)<9)>ÿJTÿ+84486-ÿ48-)ÿ6Aÿ'*)>89ÿA*6+ÿ95)ÿBC&2ÿ95)ÿ'6+D,-:ÿA,')>ÿ4,:8-=ÿ6AAÿ1Dÿ96ÿULVÿ6Aÿ89<ÿ)+D46:))<H
      I5)ÿA8*+ÿ5,<ÿ:)9ÿ96ÿ>8<'46<)ÿE5)95)*ÿ)+D46:))<ÿ,*)ÿG)8-=ÿ4,8>ÿ6AAÿ6*ÿA1*461=5)>H
      W844ÿX6E)*<2ÿ)Y)'198?)ÿ?8')ÿD*)<8>)-9ÿE895ÿ/)*'1*:ÿZ*61D2ÿ95)ÿ&4)Y,->*8,2ÿO8*=8-8,2ÿ6AA8')ÿ6Aÿ&'()*+,-ÿ/'01))-2ÿ<,8>ÿ@)>-)<>,:ÿ95)ÿA8*+
      E844ÿD*6?8>)ÿA)>)*,44:ÿ*)S18*)>ÿ73WC&ÿ8-<1*,-')ÿ*)=,*>4)<<ÿ6AÿE5)95)*ÿ)+D46:))<ÿ<8=-ÿ,-ÿ,=*))+)-9Hÿ[)ÿ<,8>ÿ95)ÿA8*+ÿ8<ÿ6AA)*8-=ÿ96ÿD,:ÿ,44
      73WC&ÿ8-<1*,-')ÿ'6<9<ÿ8-ÿ)Y'5,-=)ÿA6*ÿ,ÿ\<9,->,*>ÿ*)4),<)ÿ6Aÿ'4,8+<H]
      \@5,9ÿ95)ÿBC&ÿ5,<ÿ>6-)ÿG:ÿD1*<18-=ÿ=*61->4)<<ÿ4898=,986-ÿ,=,8-<9ÿ95)ÿ'6+D,-:ÿ,->ÿG:ÿ'*),98-=ÿ,ÿ<5,+)4)<<4:ÿA,4<)ÿ-,**,98?)ÿ,=,8-<9
      &'()*+,-ÿ/'01))-ÿ8<ÿ96ÿ95*),9)-ÿ61*ÿD)6D4)ÿE895ÿ95)ÿ46<<ÿ6Aÿ95)8*ÿ)+D46:+)-9ÿ,->ÿG)-)A89<2]ÿX6E)*<ÿ<,8>ÿ8-ÿ95)ÿ<9,9)+)-9Hÿ\&'()*+,-
      /'01))-ÿ5,<ÿ'6-98-1)>ÿ96ÿ9*:ÿ96ÿ-)=698,9)ÿ,ÿ<641986-ÿ96ÿ95)<)ÿ8<<1)<2ÿG19ÿ95)ÿBC&ÿ5,<ÿ-69ÿG))-ÿE8448-=ÿ96ÿ>6ÿ<6Hÿ&'()*+,-ÿ/'01))-ÿ8<
      9,(8-=ÿ)?)*:ÿ<9)Dÿ89ÿ',-ÿ96ÿ+8-8+8^)ÿ95)ÿ,>?)*<)ÿ)AA)'9ÿ95)ÿBC&;<ÿ,'986-<ÿ,*)ÿ5,?8-=ÿ6-ÿ95)ÿE)44PG)8-=ÿ6Aÿ61*ÿD)6D4)H]
      R)=,4ÿA848-=<ÿ<56Eÿ95)ÿBC&ÿ,''61-9)>ÿA6*ÿTLVÿ6Aÿ95)ÿA8*+;<ÿE6*(Hÿ_6*ÿ>)',>)<2ÿ95)ÿBC&ÿ,->ÿ&'()*+,-ÿ/'01))-ÿE)*)ÿ8-ÿE5,9ÿ)YD)*9<
      >)<'*8G)>ÿ,<ÿ6-)ÿ6Aÿ95)ÿ<9*6-=)<92ÿ+6<9ÿ)->1*8-=ÿ*)4,986-<58D<ÿ8-ÿ95)ÿ58<96*:ÿ6Aÿ,>?)*98<8-=HÿW8448-=<ÿ8-ÿ̀LKaÿ96DD)>ÿJULÿ+84486-ÿ,<ÿ95)
      '6-9*,'9ÿE895ÿ&'()*+,-ÿ/'01))-ÿ=*)Eÿ96ÿ8-'41>)ÿD*6=*,++8-=ÿ6Aÿ-6-<96Dÿ<9*),+8-=ÿA6*ÿBC&IOH
      W19ÿE895ÿ+)+G)*<58D<ÿ,->ÿ>6-,986-<ÿD41-=8-=2ÿ95)ÿBC&ÿ<9,*9)>ÿ,-ÿ)Y,+8-,986-ÿ6Aÿ'6-9*,'9<2ÿ,->ÿ,ÿ>8<D19)ÿ)+)*=)>ÿ8-ÿ&D*84ÿ,<ÿ96ÿE5)95)*
      95)ÿA8*+ÿE,<ÿ'6+D4:8-=ÿE895ÿ*)S1)<9<ÿ96ÿ*)?8)Eÿ89<ÿG8448-=<ÿ,->ÿ+6*)ÿ-69,G4:2ÿ89;<ÿ'6-9*,'9ÿE895ÿB6*952ÿE56ÿE,<ÿ,4<6ÿD*)<8>)-9ÿ6Aÿ95)ÿBC&H
ÿ
                                                                                                                                                           Appendix145
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                                 Page 153 of 509 PageID 8092




  01234ÿ678ÿ1983 ÿ73ÿ34 ÿ 2ÿ0 ÿ131ÿ732ÿÿ7 ÿ722ÿ7 ÿ01234ÿ7ÿ27ÿ 9 ÿ 1 ÿ47
  1973 ÿ34 ÿ2ÿ678ÿ83ÿ31ÿ278ÿ!722788"ÿ 378ÿ7!193ÿ722ÿ7 ÿ34 ÿ1 213ÿÿ4 ÿ#3ÿ28"ÿ7 ÿ21 ÿ78ÿ7"783
  34 ÿ2$
  47ÿ%$ÿ18ÿ723 2ÿ73ÿ&26 2ÿ3312 8ÿ'ÿ198128ÿ7 ÿ198ÿ31ÿ34 ÿ0 ÿ281 ÿ  87ÿ3ÿ47ÿ134"ÿ31ÿ1ÿ634
  34 ÿ2#8ÿ889 8ÿ634ÿ38ÿ 1 8$
  ()3ÿ8ÿ847 9ÿ!93ÿ9123973ÿ13ÿ89228"ÿ3473ÿ27ÿ 9 ÿ478ÿ28123 ÿ31ÿ!7"ÿ34 ÿ7881731ÿ12ÿ38ÿ1!198ÿ792ÿ31
  2818!ÿ128 ÿ34 ÿ783273ÿ7 ÿ77ÿ13 38ÿ3ÿ7ÿ16 ÿ31ÿ38ÿ 1 8*ÿ18ÿ87$ÿ()3ÿ7 728ÿ3473ÿ27ÿ8
  98"ÿ38ÿ 1 8ÿ78ÿ768ÿÿ7ÿ2 937317ÿ7 7"ÿ7"783ÿ34 ÿ0 ÿ+ÿÿ7ÿ123ÿ31ÿ 3ÿ21ÿ38ÿ792ÿ31ÿ 3ÿ38ÿ1327397
  7 ÿ972ÿ1!"7318ÿ31ÿ34 ÿ881731ÿ7 ÿ38ÿ !28$*
    8ÿ1ÿ%7972ÿ27ÿ 9 ÿ 1 ÿ7!193ÿ,-.ÿ 1 ÿÿ7417ÿ3ÿ634ÿ34 ÿ27 2ÿ612"ÿ73ÿ18ÿÿ/7780
  784"31ÿ/$$0ÿ7 ÿ11271ÿ1 2"8ÿ11271$ÿ24 ÿ0 23ÿ1 2731ÿ678ÿ!78 ÿÿ34 ÿ248ÿ/778ÿ1$ÿ16 28ÿ87ÿ34 ÿ0 ÿ8
  1327397ÿ1!"73 ÿ31ÿ12ÿ827ÿÿ34 ÿ8721ÿ1ÿ7ÿ72ÿ ÿ1ÿ34 2ÿ7"2  3$

  (516 2ÿ34 ÿ0 ÿ8ÿ13ÿ 73"ÿ34 ÿ6ÿ4112ÿ34 2ÿ7"2  3*ÿ16 28ÿ87$ÿ(27ÿ 9 ÿ8ÿ 32 ÿ31ÿ"43ÿ1ÿ!47
  1ÿ192ÿ 1 8$ÿ24 ÿ0 ÿ478ÿ3273 ÿ348ÿ1 7ÿÿ7ÿ 77312ÿ7 ÿ77""ÿ7 2ÿ12ÿ1348ÿ7 ÿ34 ÿ 63ÿ478ÿ1ÿ34 2
     83293ÿ7ÿ7 728ÿ31ÿ!ÿ31ÿ4923ÿ78ÿ7ÿ 1 ÿ78ÿ34 ÿ7$*
             89:;:ÿ=>?@A:B:C                                                                                                                                              7
             DEFGFÿIJKLMFNFOÿPQÿJÿOFRSOEFOTÿKSUVMWPQEÿJWXÿJVEYSOÿZYSÿQEJOEFXÿYPQÿKJOFFOÿJEÿ[YFÿ\LUJYSMJWÿPWÿ]^^_ÿ̀DPWKFÿEYFWTÿYFÿYJQÿZSWÿWVMFOSVQÿJZJOXQÿaSOÿYPQÿKSGFOJbFT
             ZYPKYÿPWKUVXFXÿEYFÿ]^^cÿdSMdPWbÿSaÿEYFÿeUaOFXÿfÿ̀gVOOJYÿhFXFOJUÿiVPUXPWbTÿEYFÿKPENjQ```
             kFJXÿMSOFÿl

                                              vwxyvxz{|ÿ~xy{y
                                             ÿÿÿBÿÿÿ9ÿ:ÿ
                                             iÿtnkÿgÿÿ[SRÿSKESOÿJWXÿJVEYSOÿSaÿEYFÿdFQEÿQFUUPWbÿdSSLÿOÿ̀tVWXONjQÿPFEÿGSUVEPSWÿPQÿdFbbPWbÿEYJEÿZFÿJUUÿVPEÿEYFQFÿ
                                             aSSXQ`




                                        mSWEJKEÿnQ [FOMQÿSaÿnQF                      oÿp__qrp_p_ÿtJEFuSVQFÿgFXPJTÿIImÿ̀eUUÿOPbYEQÿOFQFOGFX




                                                                                                                                                                               Appendix146
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 154 of 509 PageID 8093




                    EXHIBIT 25




                                                                               Appendix147
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20             Page 155 of 509 PageID 8094




  August 30, 2019 Statement from Ackerman McQueen



  This latest meritless filing represents a new low in the NRA’s ceaseless waste of its members’
  dues. The NRA stopped fighting for any aspect of their members’ agenda over a year ago.
  Instead, they became a factory for frivolous lawsuits.

  With all the smart people that saw this foolish strategy and left, the NRA’s understanding of
  the Second Amendment, and now apparently the First, seems to be nearing an all-time low.

  In light of its continual “shooting itself in the proverbial foot”, one can only conclude that the
  people who are supposedly running this apparently failing organization did not ever believe in
  the Constitution in the first place.

  The NRA continues to spend its members’ money on useless fights in an obvious attempt to
  deflect attention from its dwindling influence across the country.




                                                                                               Appendix148
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 156 of 509 PageID 8095




                    EXHIBIT 26




                                                                               Appendix149
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20             Page 157 of 509 PageID 8096




  September 13, 2019 Statement from Ackerman McQueen




  When Ackerman McQueen refused to participate in suspicious actions and spending by the
  NRA, Mr. Brewer helped lead a campaign of retaliation.

  His false narrative is now strangling the NRA, destroying relationships with former NRA
  President Lt. Col. Oliver North, longtime outside counsel Steve Hart, constitutional counsel
  Chuck Cooper, chief lobbyist Chris Cox and countless more advocates for the 2nd Amendment.
  Contrary to his narrative, Mr. Brewer is orchestrating a purge of every person who disagrees
  with his flawed strategy.

  Ackerman McQueen cooperated with every single audit NRA requested. Ackerman McQueen
  never overcharged the NRA and retains records of all the work to prove it. Every expense
  incurred on behalf of the organization was directed by the NRA at the highest level, always
  with the personal knowledge and approval of Wayne LaPierre.

  Mr. Brewer unwisely pursues these frivolous lawsuits for PR purposes and to serve as a
  distraction from the failure of NRA executives and its board to properly fulfill its oversight
  duties and responsibilities to NRA members who fund the organization.

  Ultimately, all NRA claims will be proven false, before a court and jury.

  Morally troubling is Mr. Brewer’s failure to recuse himself from the clear conflict of interest in
  pursuing a personal vendetta against his own family and their business.




                                                                                               Appendix150
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 158 of 509 PageID 8097




                    EXHIBIT 27




                                                                               Appendix151
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 159 of 509 PageID 8098




    VIRGINIA:

                 IN THE CIRCUIT COURT FOR THE CITY OF ALEXANDRIA


    NATIONAL RIFLE ASSOCIATION OF AMERICA,                      )
                                                                )
                                  Plaintiff,                    )
                                                                )
           v.                                                   )       Case Nos. CL19001757
                                                                )                 CL19002067
    ACKERMAN MCQUEEN, INC.,                                     )             CONSOLIDATED
                                                                )
           md                                                   )
                                                                )
    MERCURY GROUP, INC.                                         )
                                                                )
                                  Defendants.                   )


                MEMORANDUM IN SUPPORT OF DEFENDANTS' PLEA IN BAR

           In responding to the Plaintiffs two Complaints, Defendants twice lodged a Plea in Bar.

    The Plea in Bar asserted "upon information and belief, the NRA Board never approved or

    authorized the filing of this Lawsuit." The Plea in Bar referenced New York law that governs

    the NRA and places the responsibility to manage the not-for-profit entity on its Board of

    Directors. Thereafter, Defendants' pursued discovery into the whether the suit was properly

    authorized by the NRA Board of Directors. In response to Interrogatory No. 19, the NRA's

    authorized designee, Chief of Staff Josh Powell, declared under penalty of perjury that

           "Subject to the foregoing objections and General Objections, the NRA responds
           to this Interrogatory by stating that to date, the Board has not adopted any formal
           resolution with respect to the NRA/ AMc Services Agreement or litigation against
           AMc."

    See Exhibit 1, NRA Responses to Interrogatories, No. 19, attached hereto. Consequently,

    the Plea in Bar's assertion "upon information and belief' has been confirmed under oath.




                                                    1




                                                                                                    Appendix152
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 160 of 509 PageID 8099




    The two NRA above-captioned lawsuits and two additional lawsuits 1 filed against AMc

    subsequent to the Plea in Bar are not legally and properly authorized by the NRA Board

    as required under the New York law governing not-for-profit corporations. As discussed

    below, NRA's four cases against AMc should be dismissed as unauthorized actions.

          1. The New York law governing nonprofit organizations requires that an
             organization's board must authorize any substantial corporate action.

           As admitted by NRA Chief of Staff Josh Powell, this lawsuit was not authorized by the

    NRA board of directors. This violates New York law governing Not-For Profit entities such as

    the NRA. N-PCL § 701 provides the general mandate that "[e]xcept as otherwise provided in the

    certificate of incorporation, a corporation shall be managed by its board of directors .... " The

    NRA's certificate of incorporation (Exhibit 2) and its many amendments do not contain

    language that would alter this general rule. Moreover, the certificate contains no delegation of

    authority provision that would permit an officer to bring litigation or terminate a vendor's multi-

    million contract. To the contrary, the NRA bylaws reserves the broad powers to manage and

    govern the organization to the NRA Board of Directors. The bylaws state, in relevant part, that

    "The Board of Directors shall formulate the policies and govern and have general oversight of

    the affairs and property of the Association, in accordance with applicable law and these Bylaws."

    Exhibit 3A and 3B, Section IV. 2 More to the point, the NRA Board of Directors has not




            Subsequent to the filing of the Plea in Bar, the NRA filed on August 30, 2019, a third
    suit against AMc in United States District Court in Dallas, Texas, Case No. Civil Action No. 3:
    19-cv-02074-G. A fourth suit was filed by the NRA against AMc here in Alexandria Circuit
    Court on September 5, 2019.

    2      The NRA amended its bylaws on April 29, 2019- after the first suit was filed against the
    NRA, but before the second suit was filed. Exhibit 3A provides the pertinent bylaws from the
    bylaws in place at the time the first suit was filed and Exhibit 3B provides the pertinent bylaws
    relevant to the filing of the second law suit. The operative language is identical.
                                                     2




                                                                                                          Appendix153
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                       Page 161 of 509 PageID 8100




    delegated authority to make decisions related to "adopt[ing] ... a fundamental change of view or

    basic policy ... of the Association ... or ... perform[ing] corporate activities of such major

    significance as to warrant action by the full Board of Directors." Exhibit 3A and 3B, Section

    IV.

            The language from the section that defines the powers of the board's Executive

    Committee reinforces the absence of delegation. It states that the Executive Committee of the

    Board is not empowered to engage in "corporate activities of ... major significance" and that

    such decisions can only be made by the full board supports the general proposition that the board

    of directors have retained and not delegated the power to decide major issues. The obvious

    intent is that the Board must authorize the commencement of a major lawsuit like the four

    lawsuits against AMc or the termination of a vendor contract for tens of millions of dollars per

    year.

            The NRA cannot argue that the actions taken against AMc do not constitute a "corporate

    activity of such major significance as to warrant action by the full Board of Directors." NRA's

    decision to sue AMc, to terminate the AMc Services Agreement, and pull the plug on NRATV

    have been reported as national news for much of the summer of 2019. The NRA has itself set up

    a webpage to track selected news reports of the NRA v. AMc litigation. See

    https://www.nralegalfacts.org/ackerman-news-reports. The NRA webpage lists articles

    published in the New York Times, The Daily Beast, and AdWeek 40. Numerous other articles

    from the Washington Post, Newsweek, CNN and other national news organizations are omitted.

    By suing and terminating AMc's contract, the NRA has terminated NRATV, the video platform

    created by AMc, owned by AMc, but often called the "Voice of the NRA." NRA has ripped out

    its own tongue and left its members without the benefit ofNRATV - a decision that merits a full



                                                       3




                                                                                                        Appendix154
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 162 of 509 PageID 8101




    consideration and authorization by the full Board of Directors. Yet, as admitted in the

    interrogatory response, the Board has not approved these actions.


           This conclusion is also reinforced by an article that the Wall Street Journal reported

    yesterday, entitled "NRA Board Retroactively Approved Transactions Benefiting Insiders." See

    Exhibit 4, attached hereto. It explains that the Board thought it was necessary to go back and

    retroactively approve a whole raft of financial arrangements benefiting top officials of the NRA.

    The Board addressed issues as small as a $5,500 payment to the son of an NRA official and as

    large as the multi-million contract for former NRA President Oliver North. In so doing, the

    NRA Board tacitly acknowledges that approving the North contract requires board approval. Yet,

    the NRA Board has taken no steps to approve this much more significant litigation.


               2. Who authorized the lawsuits against AMc?


           If the Board of Directors did not authorize the litigation against AMc, who did authorize

    the litigation? The Complaint was not verified, so there is no officer signing to confirm the truth

    of the allegations and thus no officer claiming responsibility for authorizing the litigation. There

    are no allegations relating to authorization of the litigation at all. Although AMc requested in

    July 2019 and anticipated receiving documents relating to the authorization of the lawsuit in

    August 2019, no such documents have been provided in discovery to date.

           One might assume that Wayne LaPierre, Executive Director and Vice President of the

    NRA authorized the litigation, but he has yet to acknowledge that it was his decision. If it were

    his decision, it was a decision lacking authority and clouded by Mr. LaPierre's personal interest

    and conflicts. The bylaws do not delegate Mr. LaPierre authorization to file major law suits, and




                                                     4




                                                                                                           Appendix155
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 163 of 509 PageID 8102




    terminate a multi-million-dollar vendor and end NRATV. 3 Even ifwe assume that Mr. LaPierre

    has been delegated authority to sue AMc, Mr. LaPierre is in a highly conflicted position vis-a-vis

    AMc and would be conflicted from making such a major decision on his own. Mr. LaPierre's

    finances are intermeshed with AMc. Mr. LaPierre has demanded and received hundreds of

    thousands of dollars of personal benefits through AMc. He has had access to an AMc credit card

    and he has arranged for AMc to pay his expenses which are then billed to the NRA. It has been

    widely reported in the national news that Mr. LaPierre sought to have AMc help him obtain a

    $6.5 million mansion on a Dallas golf course through a scheme to bill the NRA for the purchase

    funds without NRA board approval. 4 Wayne LaPierre has acute personal motives for litigating

    against AMc, but such self-serving litigation motivation begs for oversight by the NRA Board. 5

    Wayne LaPierre should have been removed from the decision-making process due to his



    3 The NRA bylaws provide "The Executive Vice President shall direct all the affairs of the

    Association in accordance with the programs and policies established by the Board of Directors.
    Among his authorities, the Executive Vice President shall be empowered to (1) appoint, suspend
    with or without pay, or remove the Executive Director of the National Rifle Association General
    Operations or the Executive Director of the National Rifle Association Institute for Legislative
    Action; (2) suspend with pay the Secretary or the Treasurer until the next meeting of the
    Executive Committee or the Board of Directors, whichever occurs first; and (3) employ, suspend
    with or without pay, or dismiss any employee."

    4     See the attached Washington Post article, Exhibit 5. The plan was ultimately rejected by
    AMc - a move that appears to have poisoned the relationship between Wayne LaPierre and
    AMc. Mr. LaPierre is using the NRA litigation for personal benefit by scapegoating AMc for
    Mr. LaPierre's own actions.

    5       The NRA bylaws defer to Robert's Rules of Order: §45 (Voting Procedure) with respect
    to board decision-making. See Exhibit 3A and 3B, Bylaws, Article XIII, Section 2. Robert's
    Rules §45 advocates against decision-making by persons with personal interests in the decision -
    - "No member should vote on a question in which he has a direct personal or pecuniary interest
    not common to other members of the organization. For example, if a motion proposes that the
    organization enter into a contract with a commercial firm of which a member of the organization
    is an officer and from which contract he would derive personal pecuniary profit, the members
    should abstain from voting on the motion."


                                                    5




                                                                                                         Appendix156
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 164 of 509 PageID 8103




    conflicts of interest and personal motivations. 6 Moreover, if Wayne LaPierre is responsible for

    authorizing the litigation, he has tried to keep his actions shrouded in secrecy by having Josh

    Powell sign the Interrogatory responses. Based on his conflict of interest, and the lack of a

    delegation of authority to him from the NRA Board, Wayne LaPierre cannot authorize the filing

    of the law suits against AMc.

           Other persons have speculated that attorney William Brewer of the law firm Brewer,

    Attorneys and Counselors, is the decision maker on litigation. However, there is no delegation

    of authority to Mr. Brewer from the NRA Board. Mr. Brewer also has his own personal conflicts

    of interest that warrant NRA Board oversight and management. Brewer has been reported to be

    billing $100,000 a day to the NRA for his law firm's services and he has massive economic

    incentives to push for more litigation to continue the flow of funds from the NRA to his law firm

    and himself. See Washington Post article attached as Exhibit 6. He has inserted members of his

    law firm into the litigation on a pro hac vice basis, even though Brewer himself is not an attorney

    of record - as he has been sanctioned for misconduct in Texas and his pro hac vice status has


    6       New York law applies to governance of the NRA, as a New York not-for-profit
    corporation. In_People by Attorney Gen. of State v. Lutheran Care Network, Inc., 167 A.D.3d
    1281, 1286, 92 N.Y.S.3d 154, 159 (N.Y. App. Div. 2018), the court refused to accept that an
    officer's decision was protected by the business judgment rule:

            "the business judgment rule has no place where corporate officers or directors
           take actions that exceed their authority under the relevant corporate bylaws
           (see Fe Bland v. Two Trees Mgt. Co., 66 N.Y.2d 556,565,498 N.Y.S.2d 336,489
           N.E.2d 223 [1985]; Brantley v. Municipal Credit Union, 60 A.D.3d 551,552,879
           N.Y.S.2d 395 [2009] ), or where they make decisions affected by an inherent
           conflict of interest (see Matter ofKenneth Cole Prods., Inc., Shareholder
           Litig., 27 N.Y.3d at 274-275, 32 N.Y.S.3d 551, 52 N.E.3d 214; Auerbach v.
           Bennett, 47 N.Y.2d 619,631,419 N.Y.S.2d 920, 393 N.E.2d 994 [1979]; Wolf v.
           Rand, 258 A.D.2d 401,404,685 N.Y.S.2d 708 [1999] )."

    Here, a decision to sue AMc by Mr. LaPierre would be both (i) beyond his delegated
    authority; and (ii) affected by an inherent conflict of interest.

                                                     6




                                                                                                          Appendix157
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                      Page 165 of 509 PageID 8104




    been revoked by the Eastern District of Virginia for filing misleading pro hac vice papers. Other

    than pure attorney avarice, can there be a valid litigation strategy to file four lawsuits against

    AMc - three in Alexandria, Virginia and one in Dallas, Texas? But Brewer also has non-

    economic reasons to litigate irrationally against AMc - his estranged brother-in-law, Revan

    McQueen, is the CEO of AMc and the well-publicized animus between Brewer and the

    McQueen Family provides a powerful incentive for Brewer to push for more and more

    litigation. 7 With such rampant conflicts of interest and personal motivations, Brewer cannot be

    the person authorizing the litigation for the NRA. Such conflicts call out for supervision and

    approval by the NRA Board.

           In light of the NRA's statement that the NRA Board has not approved the litigation and

    the NRA's failure to identify how the suits were authorized, it is incumbent upon the NRA to

    explain who authorized the four suits and whether the authorization was valid or whether it came

    from persons with conflicting motivations.

           The fact that the NRA has filed four suits against AMc is a sign of the sort of impulsive

    litigation strategy that would likely have been restrained if the litigation were being authorized

    by the NRA Board. But the Board has been removed from the decision-making process. Thus,

    the filing of the lawsuits is beyond of the authority of the lawyers for the NRA who signed the

    Complaints and the pleadings.

          3. No individual director or officer, acting alone, could legally authorize the action.

           As a legal matter under New York law, no individual director or officer, acting alone,

    could authorize the action. Individual officers lack the authority to exercise the board's




    7      Brewer's estranged father-in-law, Angus McQueen was also a co-CEO of AMc until his
    untimely death in July 2019 during the early stressful stages of this litigation.
                                                      7




                                                                                                         Appendix158
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                        Page 166 of 509 PageID 8105




    management responsibilities. For example, in Matter ofPaglia v. Staten Is. Little League, 38

    A.D.2d 575, (2 nd Dept. 1971), a seemingly trivial decision involving a child's suspension from

    participation in a little league baseball program was found to be unlawful because the suspension

    was imposed by the organization's president, not its board, and the organization's "constitution

    and by-laws vest[s] the power of suspension in respondent's board of directors." Similarly, in

    Claim ofMasferer, 197 A.D.2d 763 (3 rd Dept. 1993), the Appellate Division held that the

    "corporation acts by a majority vote of its directors (N-PCL 701, 708) and not by the unilateral

    act of its president."

            Generally, a court considering the validity of actions taken by an individual acting on

    behalf of an entity must determine whether said actions are authorized under the entity's

    constitution or bylaws (Allen, l 09 Misc.2d 178 at 184, 439 N.Y.S.2d 811 ). In so doing, the court

    must assess the official's claim that his or her actions are authorized under the constitution or

    bylaws by (1) independently reviewing the constitution or bylaws "in accordance with the

    general rules of construction appertaining to contracts" and (2) determining whether the officer's

    interpretation is a reasonable interpretation of the constitution or bylaws. See e.g., LaSonde v.

    Seabrook, 89 A.D.3d 132, 137-38, 933 N.Y.S.2d 195, 199 (2011). The NRA's certificate of

    incorporation and by-laws are available to the public and provide no indication of any delegation

    of authority from the Board to file lawsuits that initiate litigation that threatens the financial

    stability of the NRA and silence the "voice of the NRA." Without such delegation and in light of

    the admission by Chief of Staff Josh Powell that the Board did not approve the litigation, the

    Plea in Bar should be granted and the instant claims against AMc must be dismissed.




                                                       8




                                                                                                         Appendix159
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 167 of 509 PageID 8106




           WHEREFORE, the Defendants request that the Court dismiss the NRA's claims against

    AMc based on the lack of authority to bring forth the Complaints on behalf of Plaintiff NRA and

    to litigate all proceedings subsequent to the Complaints.



                                                         ACKERMAN MCQUEEN, INC. and
                                                         MERCURY GROUP, INC.
                                                         By Counsel


    Dated: September 24, 2019

                                                     ~ ~ },-_
                                                     ~            i ickieson (VA Bar #31768)
                                                         SCHERTLER & ONORATO, LLP
                                                         901 New York Avenue, NW, Suite 500
                                                         Washington, DC 20001
                                                         Telephone: 202-628-4199
                                                         Facsimile: 202-628-4177
                                                         ddickieson@schertlerlaw.com




                                                    9




                                                                                                      Appendix160
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 168 of 509 PageID 8107




                                    CERTIFICATE OF SERVICE

             I hereby certify that the foregoing Defendants' Memorandum in Support of the Plea in

    Bar was served on September 24, 2019, on the following counsel for Plaintiff by agreement via

    email:

                           James W. Hundley
                           Robert H. Cox
                           BRIGLIA HUNDLEY, PC
                           1921 Gallows Road, Suite 750
                           Tysons Comer, VA 22182
                           jhundley@brigliahundley.com
                           rcox@brigliahundley.com

                           Michael J. Collins
                           Brewer Attorneys & Counselors
                           1717 Main Street, Suite 5900
                           Dallas, Texas 75201
                           MJC@brewerattomeys.com
                           Admitted Pro Hae Vice

                                                          I




                                                    10




                                                                                                    Appendix161
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 169 of 509 PageID 8108




                    EXHIBIT 28




                                                                               Appendix162
     Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 170 of 509 PageID 8109
... .,



         VIRG INIA :

                     IN THE CIRC UIT COUR T OF THE CITY OF ALEX ANDR IA


         NATIONAL RIFLE ASSOC IATIO N
         OF AMER ICA,

                    Plaintiff,

         v.
                                                               Case No. CL190017S7,
         ACKERMAN MCQU EEN, INC.                               CL190 02067

              And

         MERC URY GROU P, INC.

                Defendants.


                                                    ORDE R

               On October 8, 2019 this matter came before the Court for hearing on Defendants
                                                                                                Ackerman
       McQueen, Inc. and Mercury Group, Inc.'s Plea in Bar. After reviewing the motion
                                                                                       and hearing
       the arguments of all parties, the Court hereby DENIES the Defendants' Plea in
                                                                                     Bar in its entirety.
               So ORDERED this£. _ day of October, 2019.

               This matter continues.




                                                 11~rs.o ~~Circuit Court Judge




                                                                                                            Appendix163
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 171 of 509 PageID 8110




      WE ASK FOR THIS:




     Jmn ls~~ -3i;3 )
      Robert H. Cox (VA Bar No. 33118)
      Amy L. Bradley (VA Bar No. 80155)
      BRIGLIA HUNDLEY , P.C.
      1921 Gallows Road, Suite 750
     Tysons Comer, VA 22182
     jhundley@brigliahundley.com
     rcox@brigliahundley.com
     abradley@brigliahundley.com
     Phone:703- 883-0880F ax:703-883 -0899

    Michael J. Collins
    Brewer Attorneys & Counselors
    1717 Main Street, Suite 5900
    Dallas, TX 75201
    Admitted Pro Hae Vice

     Counsel for the Plaintiff


    sEEN AND      t>:B;Tt- celt))   r a.-


      avid Dicki ·son (VA Bar No. 31768)
    Schertler & Onorato, LLP
    901 New York Avenue, N.W;
    Suite 500
    Washington, DC 20001
    ddickieson@schertlerlaw.com

    Counsel for the Defendants




                                                                               Appendix164
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 172 of 509 PageID 8111




                    EXHIBIT 29




                                                                               Appendix165
    Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                                            Page 173 of 509 PageID 8112
01213434       567897 ÿ 6ÿ ÿ667ÿÿ6677 6ÿ7 ÿ7ÿÿ7 7ÿ!ÿ76"ÿ!7ÿ8 6ÿ ÿ6#7ÿ6ÿÿ7$%
                                     +597TYÿp3,4457                                                                                         wDJÿFK        IFJKÿLM
                                IC@Mb@KÿcLCDAdeF a+451Y5.Z04238`,q~T4ÿlÿlm
                                pY5ÿÿY98ÿU,:5<ÿ9ÿ.53ÿ80,4ÿ,.ÿp598ÿ9-9,.84ÿ,48ÿU27=57ÿ=5<,9ÿT2.479T427ÿ
                                T`57=9.ÿ}T055.WÿpY56ÿT:9,=ÿ4Y56ÿ3575ÿ:,5<ÿ42ÿ9t204ÿpWÿpY5ÿÿ
                                8968ÿ4Y5ÿTY9..5:ÿt5T9=5ÿ8=2`5ÿ9.<ÿ=,77278ÿ9.<ÿ398ÿ085<ÿ42ÿ̀551ÿ
                                t7,.-,.-ÿ=2.56ÿ42ÿT`57=9.Wÿ5758ÿ4Y5ÿU0::ÿ80,4]ÿ
                                8T7,t<WT2=^<2T0=5.4^nlm_




                                    m                                          nm
                                IC@Mb@KÿcLCDAdeF a+451Y5.Z04238`,q~T4ÿlÿlm
                                X2775T4,2.]ÿ4Y,8ÿ,8.4ÿ9ÿ.53ÿ80,4Wÿ\48ÿ9ÿ.53ÿU,:,.-ÿ,.ÿ9ÿ75T5.4ÿ80,4ÿU,:5<ÿ94ÿ4Y5ÿ
                                5.<ÿ2Uÿ0-084W
                                    l                      l                     mn
                                IC@Mb@KÿcLCDAdeF a+451Y5.Z04238`,q~T4ÿlÿlm
                                575ÿ,8ÿT`57=9.ÿ}T055.8ÿT20.457T:9,=ÿ42ÿ4Y5ÿ8ÿ27,-,.9:ÿU,:,.-8ÿ,.ÿ
                                4Y5ÿT985WÿpY56ÿ<5.6ÿ4Y5ÿ8ÿT:9,=8ÿ98ÿ4Y56ÿY95ÿ9::ÿ9:2.-WÿpY565ÿ42:<ÿ=5ÿ
                                4Y56ÿ3,::ÿ85.<ÿ9ÿ84945=5.4ÿ8Y274:6ÿ98ÿ35::W
                                                      T`57=9.ÿ}T055.ÿp598ÿX20.457T:9,=
                                                      T`57=9.ÿ}T055.8ÿT20.457T:9,=ÿ42ÿ4Y5ÿ8ÿp598ÿ
                                                      80,4W
                                                         8T7,t<WT2=
                                    m                                           m                                   ?@AÿCDÿEAFCC@GH
                                IC@Mb@KÿcLCDAdeF                                                                      +,-.ÿ01ÿ.23ÿ42ÿ-54ÿ6207ÿ23.ÿ15782.9:,;5<ÿ4,=5:,.5>
                                a+451Y5.Z04238`,
                                                                                                                                             IFJKÿLM
                        \.ÿ84945=5.4ÿT`57=9.ÿ9TT0858ÿÿ:59<578ÿ2Uÿ
                        =97`54,.-ÿU9:85ÿ172<0T48ÿ9.<ÿ.97794,58ÿ42ÿÿ                                              N@O@PQKCÿM@DMO@
                        =5=t578ÿT257,.-ÿ01ÿ8509:ÿY97988=5.4ÿ9445=14,.-ÿ
                        42ÿ,.4,=,<945ÿ10t:,Tÿ2UU,T,9:8ÿ<,87014,.-ÿ,.457.9:ÿ                                                    IC@Mb@KÿcLCDAdeF               fDOODA
                        ,.584,-94,2.8ÿ9t204ÿ088,9ÿ815.<,.-ÿ=5=t57ÿ=2.56ÿ                                                     a+451Y5.Z04238`,
                                                                                                                                R755ÿS59T2.ÿU,7597=8V12:,T6ÿ75127457W
                        U27ÿ15782.9:ÿt5.5U,4ÿ9.<ÿ=275W                                                                         XY7,84,9.WÿZ0.V89U546ÿ,.8470T427Wÿ[Y,::6
                                                                                                                                U9.Wÿ\Z]
                                                                                                                                ,.849-79=WT2=^8451Y5.W-04238_
                                                                                                                                X2.49T4]Z04238`,aR755S59T2.T2=
                                                                                                                      EG@KgdÿhDGÿiDL
                                                                                                                      [2:,4,T8ÿqÿp75.<,.-
                                                                                                                      jFPDGk@
                                                                                                                      lmWnoÿp35548
                                                                                                                      rsFOOFDKd
                                                                                                                      S,::,2.8ÿ,8ÿt9T`WÿuY285ÿ8,<5ÿ975ÿ620ÿ2.v
                                                                                                                         [72=245<ÿt6ÿ+Y234,=5
                                                                                                                      p75.<,.-ÿ,.ÿz.,45<ÿ+49458
                                                                                                                      sOL@ÿwFP@dÿxQCC@G
                                                                                                                      mlyoÿp35548
                                                                                                                      [2:,4,T8ÿqÿp75.<,.-
                                                                                                                      {D|M@D
                                                                                                                      p75.<,.-ÿ3,4Y]ÿ},̀5ÿ[2=152
                                                                                                                        X~\Vm
                                                                                                                        },̀5ÿ[2=152ÿ<20t:58ÿ<23.ÿ2.ÿ
                                                                                                                        0.1725.ÿ4Y5276ÿ4Y94ÿX~\V_
                        m]lnÿ[}ÿqÿ~T4ÿlÿlmqp3,4457ÿu5tÿ11
                                                                                                                      p75.<,.-ÿ,.ÿz.,45<ÿ+49458
                        ÿ5435548 ÿ,̀58                                                                          wDGFÿQGP@i
                                                                                                                      ly yÿp35548
                                                                                                                      +Y23ÿ=275
                                IC@Mb@KÿcLCDAdeF a+451Y5.Z04238`,q~T4ÿlÿlm
                                51:6,.-ÿ42ÿa+451Y5.Z04238`,                                                          p57=8[7,9T6ÿ12:,T6 X22`,58<8ÿ,.U2 }275
                                \ÿ320:<ÿ.24ÿY95ÿ4Y20-Y4ÿ4Y5ÿÿ8ÿT`57=9.ÿ397ÿ2Uÿ327<8ÿT20:<ÿY594ÿ01ÿ              ÿllÿp3,4457ÿ\.TW
                                9.6ÿU074Y57ÿt04ÿY575ÿ35ÿ975W
                                    m                      l                     m
                                IC@Mb@KcLCDAdeF a+451Y5.Z04238`,q~T4llm
9668116667&1567897 61661''(((()4'33)33'*44*                                                                                                                   '12
                                                                                                                                                                           Appendix166
    Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                            Page 174 of 509 PageID 8113
01213434       567897 ÿ 64ÿ56786ÿ9ÿ
                                           667ÿÿ6677 6ÿ7 ÿ7ÿÿ7 7ÿ!ÿ76"ÿ!7ÿ8 6ÿ ÿ6#7ÿ6ÿÿ7$%
                                          ;<5=>?@A BC-DEFDGHI-JKLMN +,-ÿ/01ÿ/230
                               O,MDPCQR   G,ÿFFÿRZLKN
                                                   ÿR-ÿ-GDDPKÿL-R-DQDG-ÿPDLEJGSNGTÿ-Jÿ-FDÿUVOWLÿ,XRNQÿ-FR-ÿ-FDYÿ     =ÿA9   4A9ÿ<7
                               -FJITFD-RÿPUV   OZ[ÿ     ,JG-DG-ÿKRLÿ\PR,NL-]\ÿÿ
                               ÿ
                               \^JKD_DP1ÿǸÿ-FDÿUVOÿKRG-Lÿ-Jÿ,JGSI,-ÿRÿEIaXN,ÿ,JG_DPLR-NJGÿRaJI-ÿ
                               SNL-RL-D`IXÿRGSÿPR,NL-1ÿ-FDYÿLFJIXSÿ,JGLNSDPÿ-FDNPÿLYL-DQN,ÿaDFR_NJP1\ÿ
                               O,MDPQRGÿLRNS]




                                   b                      3c                    /d
                               4567869ÿ;<5=>?@A BC-DEFDGHI-JKLMNe+,-ÿ/01ÿ/230
                               +-FDPÿ-FRGÿDL,RXR-NGTÿ-FDÿKRPÿJ`ÿKJPSL1ÿfWQÿGJ-ÿLIPDÿQI,FÿFRLÿR,-IRXXYÿ
                               ,FRGTDSÿNGÿ-FDÿUVOgO,MDPQRGÿ̀NTF-]
                                   h                      3                     c
                               4567869ÿ;<5=>?@A BC-DEFDGHI-JKLMNe+,-ÿc21ÿ/230
                               HIGÿ,JG-PJXÿTPJIEÿiPRSYÿNLÿGJKÿ̀IGSPRNLNGTÿJ``ÿJ`ÿ-FDÿUVOgO,MDPQRGÿXDTRXÿ
                               aR--XD]ÿZFDNPÿLIajD,-ÿXNGDÿNLÿ\-FDYÿMGDKÿN-ÿKRLÿPR,NL-ÿ-FDÿKFJXDÿ-NQD]\




                                   3                      3                     /
                               lm6n86opmqp5BrJEDFR-e+,-ÿ/k1ÿ/230
                               VDEXYNGTÿ-JÿBC-DEFDGHI-JKLMN




                                   3                                            3c
                               s=5ÿltAp9ÿutp9v6BUJ-wiPNRGxPRG,De+,-ÿ/k1ÿ/230




                                                                                d
                               y8pAtzp9ÿ{Ap=ÿ| }BrJXN-N~R-HPIQEe+,-ÿ/k1ÿ/230
                               VDEXYNGTÿ-JÿBC-DEFDGHI-JKLMN
                               BwRXDwjJLFIRBC
                                            ÿ DGFJPVREJLRÿBVDRXZDSSQJGLJG
                                   3                                            /
9668116667&1567897 61661''(((()4'33)33'*44*                                                                                      312
                                                                                                                                            Appendix167
    Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                  Page 175 of 509 PageID 8114
01213434       567897 ÿ 6ÿ+ÿ667ÿÿ6677 6ÿ,7 ÿ7ÿÿ7 7ÿ!ÿ76"ÿ!7ÿ8 6ÿ ÿ6#7ÿ6ÿÿ7$%
                              6789ÿBC;I<G=/>E?ÿ@T>AB
                                                 UL00CCGDEFGHIJFKI-./0ÿ,23ÿ,4+5               NOPÿ>Q   ;>PQÿRS
                              FFE3ÿ0ELKÿLKÿLD0CGCK0LDM
                                                                             ,




9668116667&1567897 61661''(((()4'33)33'*44*                                                                            212
                                                                                                                                   Appendix168
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 176 of 509 PageID 8115




                    EXHIBIT 30




                                                                               Appendix169
    Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 177 of 509 PageID 8116




 7#"7'# 8982 ÿ26 #"2ÿ6 0 2ÿ76 ÿ869ÿ( 0ÿ)#82ÿ$ÿ627
 2) 2 98*ÿ&(ÿ89*+68
 2,,ÿ%-.,
                                                                           2#"ÿ#20&2 9#&8
     ÿÿEEF*B44B7GÿHÿÿ

/0123
0121
+-.45
&6789,77
 ,:;ÿ<ÿ2:8,9:,
 64=6.,
,>7?,,@
2A-.=7
7,B4=;
 ;,ÿ*,CB=,
 B9=B?,
+,B=;,.
 0121
 9869ÿ!$ÿ6&998#669#ÿ2
                     79!86 82ÿ!8"6ÿ6 #!ÿ6"6#2 ÿ$9%89ÿ7 2
 34ÿ62789ÿ2 89ÿÿÿÿÿÿ




                                                                                   Appendix170
   Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20      Page 178 of 509 PageID 8117




 1 2 3 4 5 6 7
  899           ÿ          8ÿ        ÿ ÿ    




0
  

       ÿ!"#$ÿ%!&$ÿ'((")!!"#*(ÿ&"+,+ÿ-%ÿ&!+,ÿ.$#(ÿ"ÿ/ÿ$0$ÿ)!"#ÿ0!#(ÿÿ&"+,+
       %'12ÿ"(ÿ!#ÿÿ$(ÿ($3"ÿ!#ÿ!(ÿ"#0"!#0ÿ4!(.5ÿ6!ÿÿ05#7+!0(ÿ0+"5.ÿÿ(
5#+3$4ÿÿ.!+*(ÿ#+$8ÿ&"5+74)4(7$"#0ÿ+$!"#(!.9
1ÿ:/$",7;(4ÿ&!+,<ÿ')/+,#ÿ=)>5#<ÿ"$4ÿ?@ABA@@Cÿ15(48ÿÿ!ÿ6"5$4ÿ)"5#+
$0!"#(ÿ&+",ÿD+#ÿE!#)&!$4<ÿÿ&"+,+ÿ"(ÿ"&ÿÿ($&7!$4ÿ%'12ÿ.+"0+,<ÿ6!ÿ!(ÿ"6#
F$0$ÿ)!"#Fÿ0!#(ÿ!,9
')/+,#ÿ)$!,(ÿÿE!#)&!$4<ÿ6"ÿ(+34ÿ(ÿ"(ÿ&+",ÿGHIJÿ5#!$ÿK5$8<ÿ.+"3!44ÿF!#))5+
!#&"+,!"#ÿ5#4+ÿ"Fÿ!#ÿ#ÿ&&!43!ÿÿ6(ÿ&!$4ÿ+$!+ÿ!(ÿ,"#ÿ!#ÿÿ%'*(ÿ&4+$ÿ$6(5!
0!#(ÿÿ&!+,9ÿE!#)&!$4ÿ)$!,4ÿ!#ÿÿ(6"+#ÿ(,#ÿÿ')/+,#ÿ!++(."#(!;$8ÿ,#04
 ÿ#"674&5#)ÿE)"#4ÿ',#4,#ÿ(+,!#0ÿ.$&"+,ÿ%'129
')/+,#*(ÿ(,#ÿ4!4ÿ#"ÿ(.)!&8ÿ6ÿÿ&"+)",!#0ÿ$0$ÿ)!"#ÿ6(9ÿLÿ4#!4ÿ
$0!"#(ÿ,4ÿ!#ÿ!(ÿ&&!43!ÿ#4ÿ+&++4ÿ"ÿÿ.!+ÿ"&ÿ,ÿ(ÿF&;+!)!"#(9F
E!#)&!$4ÿ.+"3!44ÿÿ&"$"6!#0ÿ(,#ÿ"ÿ?@ABA@@CM
F1ÿ&)ÿÿ')/+,#ÿ!(ÿ3#ÿ+(."#4!#0ÿ"ÿÿ$!;+$ÿ"5$ÿ$!/ÿ?@ABA@@Cÿ!(ÿ68ÿLÿ,ÿ("ÿ(4
&"+ÿÿ)",.#8ÿLÿ6(ÿ"#)ÿ..8ÿ"ÿ6"+/ÿ&"+9ÿ1"50ÿLÿ,ÿ#"ÿ,.$"84ÿ;8ÿÿ%'<ÿLÿ,ÿ
                                                                                       Appendix171
0123Case
     4567ÿ67 697ÿ2ÿÿ6ÿ1ÿ41ÿ7ÿ47ÿ44ÿ12ÿ54ÿ970ÿ76 2ÿ7127ÿ41ÿ6
          3:19-cv-02074-G-BK Document 122 Filed 05/04/20 Page 179 of 509 PageID 8118

  5 54ÿ6 7ÿ54ÿ07 ÿ214523ÿ45337ÿ057ÿ44ÿ7ÿ5
ÿ5ÿ ÿ17ÿ9ÿ76 2ÿ12ÿ47ÿÿ970ÿ ÿ0456 470ÿ5927ÿ52ÿ!27
  65ÿ704523ÿ0730ÿ547ÿ44ÿ77ÿ544523ÿ47ÿÿ2ÿ76 2ÿ01234567ÿ1091 41
  3524ÿ7ÿ147ÿ7ÿ12054ÿ507ÿ17ÿ5241ÿ77 0ÿ14ÿ52ÿ34ÿ72ÿ47ÿ32"534
1325#4512ÿ507ÿ54ÿ45 ÿ0 54ÿ3524ÿ76 2ÿ7047ÿ41ÿ47ÿ56ÿ1ÿ12ÿ47ÿÿ124
$14ÿ47ÿÿ2ÿ76 2ÿ7ÿ5427ÿ476707ÿ16ÿ1241757ÿ 12523ÿ
94ÿ4512ÿ17ÿ47ÿ0416ÿ7657ÿ7ÿ9772ÿ4 7ÿ413ÿ47ÿ675ÿ2 ÿ14ÿ50523
 2ÿ%4197ÿ47ÿÿ7ÿ3524ÿ76 2ÿ411ÿÿ 6 45ÿ42ÿ72ÿ47ÿÿ6727ÿ54
160524ÿ073523ÿ44ÿ47ÿ56ÿ77247ÿ9547ÿ2ÿ52047ÿ1215ÿ2ÿ57 75
6745ÿ914ÿÿ4ÿ ÿ413ÿ45ÿ50523ÿ44ÿ&452570ÿ157ÿÿ 12ÿ5 54ÿ523
76 2ÿ1ÿ337570ÿ'77523(ÿ41ÿ05654ÿ5247 4512ÿ974772ÿÿ40724ÿ2ÿ07 75
     7ÿD547ÿE17ÿ1657 ÿFGÿ6500512ÿ112 5ÿ474ÿ9ÿ72 ÿ1ÿH ÿ94ÿIJ
                                                                            KLM
            01ÿ345ÿ67859:;5:3ÿ<7=:6ÿ5:7>64ÿ37
                   ?7713ÿ@78=<ABÿ3513=:6C
  ÿ N7
  ÿ 1
  ÿ ÿ124ÿ21
                                                                    /1 77 ÿ9ÿ



                   OPQÿSPÿTUSÿVPUWÿXPYZÿ[\SPÿ]^S_P\
                   `abc`bdefÿhijÿcekÿibdlÿmnoe

76 2ÿÿ47 40ÿ7727ÿ54ÿ777244512ÿ41ÿ47ÿÿ914ÿÿ57 75ÿ2
  7
7ÿ2045ÿ 7ÿ214ÿ120ÿ0735456 47ÿ47ÿ 7ÿ56757ÿ1ÿ0ÿ1ÿ47ÿ67ÿ0416ÿ44
675ÿ16257ÿ77 77ÿ7ÿ41ÿ)37ÿ7ÿ52ÿ723376724ÿ2ÿ7ÿ47ÿ56ÿ5ÿ52
54ÿ4476724ÿ41ÿ*+,-,++.
                                                                                  Appendix172
0123Case
     4562783:19-cv-02074-G-BK
           9ÿ6 157ÿ8779ÿ151ÿ3   ÿ4 773157ÿÿ62ÿ3974779ÿÿ39ÿ615723
                                Document 122 Filed 05/04/20 Page 180 of 509 PageID 8119

8ÿ1ÿ157ÿÿ1297ÿ4378738ÿ2317!7379ÿ1ÿ231 41ÿ52ÿ151ÿ157ÿ62"ÿ39ÿ31ÿ157
"ÿ89ÿ4318ÿ#$ÿ9274123%
01234562789ÿ48279ÿ151ÿ4 773ÿ189ÿ52ÿ1ÿ37ÿ231&ÿ'#57ÿÿ2ÿ31ÿ ÿ(%ÿ)ÿ%'
4*7 3ÿ189ÿ+,-.-,,/ÿ151ÿ01234562789ÿ'282337ÿ1ÿ23!731ÿ017ÿ6ÿÿ974779ÿ 3
5ÿ231ÿ577ÿ1ÿ1741ÿ52786ÿ2ÿ92123%'
'%ÿ01234562789ÿ2ÿÿ67ÿ4*7 3ÿ4 773ÿ7877ÿ39ÿ ÿ37ÿ6ÿ157ÿ1ÿ7432179
7382127ÿ6ÿ#$"'ÿ2282ÿ%ÿ377ÿ)))"ÿ157ÿÿ1297ÿ4378"ÿ29ÿ23ÿÿ21173
117731ÿ1ÿ+,-.-,,/%ÿ'42ÿ6629!21ÿ2ÿ1(823ÿ6ÿ4*7 3"ÿÿ21ÿ!82917ÿ 3ÿ6ÿ157ÿ
482ÿ39ÿ87123ÿ231ÿ157ÿ734%ÿ#57ÿÿ(7827!7ÿ152ÿ62823ÿ39747ÿ51"ÿ23ÿ157
739"ÿ ÿ92!23ÿ4*7 3ÿ 37731ÿ6ÿ#$ÿ5ÿ21ÿ3ÿ6233428ÿ786231771ÿ39ÿ9727ÿ1
(289ÿÿ82!7ÿ#$ÿ816ÿ3ÿ157ÿ(4*ÿ6ÿÿ7(7%'
)3ÿ52ÿ6629!21"ÿ01234562789ÿ8ÿ29ÿ57ÿ0712379ÿ57157ÿ#$ÿ39ÿ21ÿ82!7ÿ(941ÿ77
'157ÿ1ÿ417667412!7ÿ7159ÿ1ÿ17ÿ157ÿ07439ÿ739731%'ÿ47ÿ29ÿ57ÿ59ÿ6173
76779ÿ157ÿ2323ÿ151ÿ'1577ÿ928"ÿ781 7179ÿ!297'ÿ3ÿ428ÿ792ÿ89ÿ!297ÿ6
717ÿ!87ÿ6ÿ157ÿÿ22392!73ÿ(971%
7277731ÿ(1ÿ57157ÿ#$ÿ39ÿ21ÿ42179ÿ41ÿ77ÿ12879ÿ1ÿ157ÿ
 7ÿÿÿ33621ÿ321123ÿ6423ÿ3ÿ3ÿ251ÿ5!7ÿ671 79ÿ1551ÿ157
8212123%
'2573ÿ)ÿ773179ÿ1577ÿ297"ÿ4*7 3ÿ767412!7"ÿ 12488ÿ3ÿ4 773"ÿ5 58
92279ÿ157"'ÿ01234562789ÿ29%ÿ')ÿ 2!79ÿ1ÿ157ÿ!27ÿ151ÿ4*7 3ÿ ÿ231731ÿ3
1 3623ÿ21786ÿ6ÿ3ÿ9ÿ734ÿ231ÿÿ82!7ÿ1787!223ÿ37"ÿ39ÿ23ÿ157ÿÿ1
623347ÿ152ÿ8%'
8ÿ21ÿ 1"ÿ4*7 3ÿ1251ÿ7974179ÿ01234562789ÿ45 41721123ÿ6ÿ157ÿ62ÿ*ÿ39ÿ6
157ÿ(75!2ÿ6ÿ21ÿ817ÿ767412!7%
'3ÿ4 773ÿ37!7ÿ7 179ÿ23ÿ157ÿ ÿ9742(79ÿ23ÿ157ÿ6629!21"'ÿ21ÿ29%
4*7 3ÿ4731ÿ(1ÿ273923ÿ878ÿ4123ÿ6479ÿ3ÿ01234562789ÿ2392!29 8"ÿ31ÿ157
%

 :ÿ<=>?ÿ@ABC=?>ÿDEF:Dÿ=<ÿG=<=HIAÿJ?ÿ:K@=IÿLMNÿOMLPQÿRSAÿ>T?U@=>SV<ÿ>@JTKW<ÿXJ@YA@ÿZFÿ[@YNÿ\S=]SÿK@JCT]ACÿVSAÿEF:R^
 ?AV\J@_ÿJ?ÿVSAÿEF:W<ÿHASBIXNÿ<B`<ÿ=Vÿ\=IIÿVB_AÿIA>BIÿB]V=J?ÿB>B=?<VÿBÿXJ@YA@ÿ<SJ\ÿSJ<VQÿRSAÿSJ<VÿSB<ÿCA?=AC
                                                                                                                Appendix173
 3:19-cv-02074-G-BK
  Case                    Document 122 Filed 05/04/20   Page 181 of 509 PageID 8120
 !"#$%ÿ'($)$#*+$,,-
0123145ÿ0170895ÿ ÿ8 19489 ÿ4385ÿ001 589ÿÿ81ÿ18508 ÿ 381 8914

 ./01.0234ÿ6017317

                                                            89:9;<ÿ>?@AÿB9C
                                                             D9EA@FÿGHIF@EA<
                                                           J?KLFMÿNK<AÿOKLÿGE
                                                                       D@FF@<




     PQÿO:ÿRFMÿS:@EMH@ÿJALEE9M
     DKTAK:<UÿBKÿV@WEXLF                        D@M<ÿ[:9ÿS9AAWE\ÿJLI9:
     Y:9@AH9EA<ZÿDKÿY?W<                        ]WII9MÿREÿY?W<ÿJAL^U

     BKÿV:9<T:WIAWKE
     B99M9Mÿ[EMÿGA;<
     JA:KE\9:ÿY?@E
     [MM9:@FF

                                                                                    Appendix174
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 182 of 509 PageID 8121




                     EXHIBIT 31



                CONFIDENTIAL

          FILED UNDER SEAL




                                                                               Appendix175
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 183 of 509 PageID 8122




                     EXHIBIT 32



                CONFIDENTIAL

          FILED UNDER SEAL




                                                                               Appendix176
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 184 of 509 PageID 8123




                     EXHIBIT 33



                CONFIDENTIAL

          FILED UNDER SEAL




                                                                               Appendix177
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 185 of 509 PageID 8124




                     EXHIBIT 34



                CONFIDENTIAL

          FILED UNDER SEAL




                                                                               Appendix178
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 186 of 509 PageID 8125




                    EXHIBIT 35




                                                                               Appendix179
      Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                     Page 187 of 509 PageID 8126
0123ÿ5678ÿ23ÿ96ÿ86 ÿ7 36 ÿ6 56 52ÿ3ÿ6 8ÿ06ÿ6 ÿ7 3 26  8ÿ56723ÿ96ÿ232 26 ÿ6ÿ86 ÿ56 3ÿ52 3ÿ6ÿ5 36 3ÿ232
173 72356
173356253 923636796  58965667 221 8676  !" ##


      RSTÿVWXYZÿ
               [\ÿ][
                   \ ^ÿV\_
                         `a _ÿ
                             T bÿTcade
                                     fÿV
                                       _\`
      OPQP

      g\\^a_W[XdcÿhX[iÿRajÿk\_lÿm_\na
      opqrsÿupvswÿrpxyuzr{|wÿru}p~ÿx|ÿ~ussx|ÿsu xÿpssxÿu} ÿxwsuzxrÿwp~}sx




      ÿ{zsÿsp|zsÿxsÿzsuus
      0ÿÿÿ
      ¦§ÿ̈©ª«ÿ̈©ª­®¯°±
      ~q|sqÿsÿ¡¢£ÿ¡¤¡¤ÿ¢¥¢¢ÿ~ ÿ
      $%ÿ'ÿ()*'(ÿ+(,-ÿ.,ÿ./)ÿ0'.1,%'(ÿ213)ÿ455,61'.1,%7ÿ'ÿ0)-ÿ8,9:ÿ5.'.)ÿ;<=*)ÿ9<()=ÿ./'.ÿ./)ÿ*<%>91*/.5
      *9,<?ÿ6'%@.ÿ5.,?ÿ1.5ÿA,9B)9ÿ'=ÿ'*)%6CÿA9,Bÿ6,,?)9'.1%*ÿ-1./ÿ'ÿ5.'.)ÿ9)*<('.,9Cÿ?9,+)ÿ1%.,ÿ./)
      024@5ÿD%'%61'(ÿ=)'(1%*5ÿ-1./ÿ1.5ÿ,-%ÿ.,?ÿ,E61'(5F
      G/)ÿ9<(1%*ÿH,%='Cÿ6'B)ÿ1%ÿ9)5?,%5)ÿ.,ÿ'ÿ('-5<1.ÿD()=ÿ1%ÿI)?.)B+)9ÿ+Cÿ0)-ÿ8,9:ÿ4..,9%)C
      J)%)9'(ÿK).1.1'ÿL'B)57ÿ-/,5)ÿ,E6)ÿ/'5ÿ+))%ÿ1%M)5.1*'.1%*ÿ./)ÿ024@5ÿ6,B?(1'%6)ÿ-1./ÿ9<()5
      *,M)9%1%*ÿ%,%?9,D.5F
      G/)ÿ024ÿ/'5ÿ5'1=ÿ1.ÿ-1((ÿA<((Cÿ6,,?)9'.)ÿ-1./ÿ'%Cÿ?9,+)ÿ1%.,ÿ1.5ÿD%'%6)5F
      G/)ÿ'..,9%)Cÿ*)%)9'(@5ÿ,E6)ÿ/'=ÿ5,<*/.ÿ'ÿ6,<9.ÿ,9=)9ÿ.,ÿ)%A,96)ÿ'ÿ5<+?,)%'ÿ1.ÿ/'=ÿ155<)=ÿ('5.
      C)'9ÿ.,ÿ46:)9B'%ÿH6N<))%7ÿ-/16/ÿA,9ÿ=)6'=)5ÿ/'=ÿ+))%ÿ./)ÿ024@5ÿ'=ÿ'*)%6Cÿ<%.1(ÿ'ÿ+1..)9ÿ5?(1.
      ('5.ÿC)'9ÿ./'.ÿ/'5ÿ5?'9:)=ÿ(1.1*'.1,%ÿ+).-))%ÿ./)ÿ.-,ÿA,9B)9ÿ6(,5)ÿ?'9.%)95F
                                                                                                                                         Appendix180
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20         Page 188 of 509 PageID 8127




9:;ÿ=>?@ÿABB>?C:DÿE:C:?FGÿH:BIBIFÿJFK:LMLÿ>NOIP:ÿQFLÿR::CÿICS:LBITFBICTÿBQ:ÿ9UAMLÿP>KVGIFCP:
;IBQÿ?WG:LÿT>S:?CICTÿC>CV?>OIBLX
YZ[\[]ÿ_`a9baUÿ̀HAccdEacc=ÿefAEa_




012ÿ456ÿ789ÿ6 2 78ÿ 29ÿ2ÿ2ÿ212ÿ22ÿ12ÿÿ789ÿ6 2 78ÿ17ÿ
7 8ÿÿ8 78ÿ8ÿ12ÿ456ÿ878 7ÿ7 782 28ÿ1ÿÿÿ 7
 2729ÿ456ÿ22ÿÿ2!7 2ÿ1ÿ17ÿ12ÿ79ÿ728 ÿ28ÿ 2ÿ178ÿ"#$%&&&ÿ8ÿ!
 18ÿ789ÿ72ÿÿ456ÿ'12ÿ(!22ÿ)782ÿ7*2 2ÿ2ÿ 2ÿ178ÿ7ÿ92792ÿ012ÿ728 
7ÿ7ÿ2ÿ829ÿ8ÿ78ÿ72ÿ%&+,ÿ456ÿ78ÿÿÿ- ÿ7*2 2ÿ7ÿ".ÿ 8ÿ0771
727ÿ 788ÿ012ÿ456ÿ17ÿ79ÿ12ÿ 788ÿ 172ÿ822ÿ172829ÿ789ÿ12ÿ2!282ÿ22
229ÿÿ82ÿ2
012ÿ456ÿ729ÿ8ÿÿ17ÿ7ÿ877ÿ8892ÿ722 28ÿÿ179ÿ1ÿ6 2 78
22829ÿ12ÿ79ÿ728 ÿ ÿ2898ÿÿ12ÿ63ÿ287ÿ1ÿ78ÿ12ÿ456ÿÿ2
9  28ÿ28ÿ178929ÿ2ÿÿ12ÿ63ÿ 2ÿ789ÿ287ÿ119ÿ 2ÿ2 
492ÿ-27ÿ6ÿ' 782ÿÿ42ÿ5 ÿ62 2ÿ'ÿ8ÿ-781778ÿ29ÿ17ÿ12ÿ456ÿ78 2ÿ
2 29ÿ9ÿ7ÿ88ÿ282ÿÿ2ÿ72ÿ8892ÿ722 28ÿÿ72
12ÿ63ÿ27ÿ789ÿ7128 2 28ÿ92ÿ76 98ÿ12ÿ456ÿ788ÿ2ÿ12ÿ406
 ÿÿ622ÿ622 28ÿ7ÿ7ÿ1298ÿÿ228ÿ6 2 78ÿ ÿ7828ÿ12ÿ287ÿ12
 2
                                                                                          Appendix181
       012ÿ4567ÿ89 2ÿ7ÿ 8ÿ22ÿ787ÿ222ÿPage
       Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20
                                                                 12ÿ4ÿ
                                                                        ÿ7ÿ8ÿ227
                                                                      189 of 509 PageID 8128

       18 2ÿ8 ÿÿÿ82ÿ72ÿ8ÿ 72ÿ28ÿ78727
        8ÿ8ÿÿ8 2 2728ÿ8 2ÿ12ÿ4567ÿ89 2ÿ72ÿ8ÿ12ÿ4ÿÿ4 ÿ!"#ÿ
       2ÿ$2ÿÿ8%
       &ÿÿ722ÿ'7%ÿ(27ÿ7)ÿ*+ 2ÿÿ12ÿ8ÿ,2ÿ4778 8ÿ17ÿ22ÿ12ÿ
        7ÿ2 ÿ8ÿ7,2ÿÿ222ÿ 1ÿÿ8$2ÿÿ28 22ÿ278%-
       . ÿ4%ÿ/ 22ÿ&&&ÿÿ872ÿ82ÿ8ÿ12ÿ4ÿ7ÿ*2ÿ2ÿ20 8 ÿ8ÿ8 87ÿ
        27872ÿ8ÿÿ2 20ÿ8 8%-ÿ12ÿ78ÿ82ÿ1ÿ12ÿ22ÿ22ÿ 1ÿ12ÿ4ÿ8ÿ82ÿ772
       31ÿ2ÿ* 22ÿ2 7-ÿ718ÿ2ÿ222ÿÿ12ÿ8ÿ8ÿ22 2ÿÿ12ÿ718
       2ÿ2ÿ82ÿ8ÿ12ÿ4567ÿ89 2%
       &ÿÿ722ÿ4 42ÿ' 522ÿ7ÿÿ7ÿ*8 2ÿ8ÿ777ÿÿ8ÿ12ÿ ÿ88
       822ÿ2787ÿ8ÿ12ÿ4%ÿ0867ÿÿ ÿ777ÿÿ12ÿ 8 277ÿ8ÿ
       4 42ÿ' 522ÿ8ÿ12ÿ467ÿ2277ÿ27 87ÿ8ÿ88 28ÿ 1ÿ12ÿ18 27%-
       6789:ÿ9<ÿ'4ÿ'28ÿÿ4%28=72%8




>?@ABCDEFÿHÿIJIJÿK?LÿM?NOPÿQÿ>?R@SNATÿUNVWÿXYYÿZCDEFPÿZOPOB[O\
]ECPÿV?@AÿCPÿ^?BÿA?_Bÿ@OBP?NSYTÿN?N`V?RROBVCSYÿ_POÿ?NYAWÿ]?ÿ?B\OBÿ@BOPONFSFC?N`BOS\AÿV?@COPÿ^?Bÿ\CPFBCa_FC?NÿF?ÿA?_BÿV?YYOSD_OPTÿVYCONFPÿ?BÿV_PF?ROBPÿ[CPCF
EFF@PbccLLLW\dBO@BCNFPWV?RW




                                                                                                                                                              Appendix182
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 190 of 509 PageID 8129




                    EXHIBIT 36




                                                                               Appendix183
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 191 of 509 PageID 8130




                                                                               Appendix184
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 192 of 509 PageID 8131




                                                                               Appendix185
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 193 of 509 PageID 8132




                                                                               Appendix186
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 194 of 509 PageID 8133




                    EXHIBIT 37




                                                                               Appendix187
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                          Page 195 of 509 PageID 8134




        VIRGIN IA:

                     IN THE CIRCUIT COURT FOR THE CITY OF ALEXANDRIA
           - - - -- -- - - - - - - - - --··· ----
                                                                    )
        NATIONAL RIFLE ASSOCIATION OF AMERICA, )
                                                                    )
                                     Plaintiff,                     )
                                                                    )
               v.                                                   )       Case No. CL19001757
                                                                    )                CL19002067
        ACKERMAN MCQUEEN, INC.,                                     )                CL19002886
            and                                                     )                Consolidated
        MERCURY GROUP, INC.                                         )
                                                                    )
                                     Defeodants.                    )


              ORDER GRANTING DEFENDANTS' MOTION TO STAY PROCEEDINGS

               This matter comes before the Court on the Defendants' Motion to Stay Proceedings in
                                                                                                        I'
        this Court Pending Resolution of Parallel Federal District Court Litigation: Upon conside~tio4

        of the Defendants' Motion, the opposition by the National Rifle Association of Amerita, arf~ th~

        entire record of this case, it is hereby ORDERED that the Motion to Stay is GRAN1:tED. ;ft is

        hereby further ORDERED that:

               (i)    All proceedings in the above-captioned consolidated cases are hereby stayed

                     ·pending resolution of National Rifle Association of America v. Ackerman

                      McQueen, Inc., et al., Civil Action No. 3:19-cv-02074-G now pending in the

                      Northern District of Texas. or until such time as the Court orders the stay lifted or

                      otherwise modified.

              (ii)    Defendants' obligation to respond to the Plaintiff's Consolidated and Supplemental

                      Amended Complaint is stayed until further order of the Court.




                                                        1




                                                                                                              Appendix188
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                             Page 196 of 509 PageID 8135




               (iii)   Count III of the Defendants' Amended and Supplemental Counterclaim against the

                       NRA in CL19001757 and CL19002067 filed on October 1, 2019 and Count III of

                       the Defendants' Counterclaim against the NRA in CL19002886, filed on October

                       2, 2019, namely, Abuse of Process, are hereby nonsuited without prejudice to

                       refiling the claim if the stay is lifted.

               (iv)    The parties shall file a joint status report upon the resolution of the litigation in the

                       District Court for the Northern District of Texas.

               (v)     Should the Court require any additional pleadings, the Court will notify the counsel

                       of record.

                                                        SO ORDERED.


                                                       ~      -8. ~ -------·
                                                       The Honorable Nolan B. Dawkins
                                                        Judge, Alexandria Circuit Court




    ~~✓ ---'----
        David H. ~{(VA Bar #31768)
        David Schertler (Pro hac vice pending)
        SCHERTLER & ONORATO, LLP
        901 New York Avenue, NW. Suite 500
        Washington. DC 20001
        Telephone: 202-628-4199
        Facsimile: 202-628-4177
        ddickiesonl11_schertlerlaw.com
        Counsel for Movants


        SEEN AND WITH OBJECTIONS NOTED IN RECORD:




                                                            l




                                                                                                                   Appendix189
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 197 of 509 PageID 8136




        Robert Cox
        BRIGLIA HUNDLEY, P.C.
        1921 Gallows Road, Suite 750
        Tysons Comer, Virginia 22182
        703.883.0880
        703.883.0204 [direct]
        703.883.0899 [facsimile]
        ihundley@brigliahundley.com
        Counsel for Plaintiff




                                       1




                                                                               Appendix190
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 198 of 509 PageID 8137




                    EXHIBIT 38




                                                                               Appendix191
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 199 of 509 PageID 8138



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

NATIONAL RIFLE ASSOCIATION OF                    §
AMERICA,                                         §
                                                 §
       Plaintiff and Counter-Defendant           §
                                                 §
and                                              §
                                                 §
WAYNE LAPIERRE,                                  §
                                                 §
       Third-Party Defendant,                    §
                                                 §
v.                                               § Civil Action No. 3:19-cv-02074-G
                                                 §
ACKERMAN MCQUEEN, INC.,                          §
                                                 §
       Defendant and Counter-Plaintiff,          §
                                                 §
and                                              §
                                                 §
MERCURY GROUP, INC., HENRY                       §
MARTIN, WILLIAM WINKLER,                         §
MELANIE MONTGOMERY, and JESSE                    §
GREENBERG,                                       §
                                                 §
       Defendants.                               §


                     DECLARATION OF ANDREW ARULANANDAM

       1.      My name is Andrew Arulanandam, and I declare under penalty of perjury

pursuant to 28 U.S.C. § 1746 that the following declaration is true and correct.

       2.       I am over twenty-one years old and am fully competent to make this declaration.

Unless otherwise noted, I have personal knowledge of all matters stated herein. I submit this

declaration in support of the NRA’s Motion to Disqualify the Law Firm of Dorsey & Whitney

LLP as Counsel for the Defendants and For Other Appropriate Sanctions and Relief.




                                                 1


                                                                                                  Appendix192
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 200 of 509 PageID 8139



        3.     I serve as the Managing Director of Public Affairs of the National Rifle

Association (the “NRA”). I have worked for the NRA for more than 19 years. As part of my job

responsibilities, I have attended many NRA board meetings and often coordinate with NRA

officers, employees, or professionals who make presentations at those meetings.

        4.     On January 4, 2019, Brewer, Attorneys & Counselor’s (“BAC”) Managing

Director of Public Affairs, Travis Carter, delivered a presentation to the NRA Public Affairs

Committee. Mr. Carter shared a presentation at the request of the NRA which covered public-

facing communications efforts concerning legal and regulatory matters being handled by his

firm.

        5.     As a long-time advertising, branding, networks and communications advisor to

the NRA, Defendant Ackerman McQueen, Inc. (“AMc”) had representatives in attendance

during the presentation of Mr. Carter. Such “committee meetings” are typically attended by a

range of NRA board members, members, special guests, and vendor representatives. It is my

understanding that AMc’s lawyers made reference to this presentation in a legal filing in the

above-captioned proceeding, purportedly to advance an argument that the BAC law firm at

which Mr. Carter works was seeking to replace AMc as the NRA’s advertising and public

relations firm. This argument is disingenuous and without factual basis. Although the NRA

looks to BAC to provide limited public relations advice and services that directly relate to legal

matters being handled by the firm—e.g., fielding press inquiries about regulatory investigations

and lawsuits—the NRA has never viewed the two entities as competitors for the expansive suite

of services provided by AMc.

        6.     In any event, the document filed by AMc with this Court was not the January 4,

2019, Public Affairs Committee presentation to which AMc refers in its brief. Instead, they



                                                2


                                                                                                     Appendix193
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 201 of 509 PageID 8140



attached a highly confidential, attorney-client privileged presentation (the “Privileged

Presentation”) delivered to a closed executive session of the NRA Board of Directors by BAC

partner William A. Brewer III on January 5, 2019.

       7.      I was shocked when I learned AMc not only had possession of the Privileged

Presentation, but also had shared it with others. Not only were AMc representatives asked to

leave the room before the start of the executive meeting and presentation by Mr. Brewer, AMc

had been previously confronted by these types of issues in 2019. When AMc’s Virginia counsel,

Schertler & Onorato, became aware that AMc was in possession of another confidential

presentation by Mr. Brewer, dated April 29, 2019, it promptly notified NRA’s Virginia counsel,

Briglia Hundley, and provided assurances that all copies of that presentation would be destroyed

or returned to NRA counsel. AMc’s counsel further advised that it had not reviewed the

presentation

       8.      Historically, the NRA utilizes third-party audiovisual (“AV”) technicians,

including technicians employed by AMc, to assist with digital media containing privileged

material—for example, to insert the media into a drive and configure it for “setup” purposes. As

part of this process, the technician is not ordinarily able to view the content of the presentation he

or she was “setting up” (except, on certain occasions, the technician would be able to view a

cover slide that appeared on the screen preceding the substance of the presentation). Although a

disloyal technician could in theory have made affirmative, covert efforts to copy a presentation, I

would never have expected AMc to do so. AMc was a trusted agent and fiduciary of the NRA for

many years, including for purposes of assisting us with AV technology at meetings. In fact, its

contract (Services Agreement dated April 2017) explicitly forbade it from copying the NRA’s

confidential information without the NRA’s consent.



                                                  3


                                                                                                         Appendix194
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20 Page 202 of 509 PageID 8141
        9.    Over the historic course of the NRA's relationship with AMc, it is likely that

  AMc employees were included in at least some privileged meetings, including meetings that

  featured privileged PowerPoint presentations to the Board. As Managing Director of Public

  Affairs, I jointly sought advice from the NRA's legal and public-relations professionals in

  connection with crisis communications on occasion.

           10.        However, this was not the case with respect to the Privileged Presentation on

  January 5, 2019. Except for a very short list of NRA staff and outside counsel, all employees

  and vendors, including AMc, were directed to leave the room before the Privileged Presentation

  began.

           11.        I declare under penalty of perjury that the foregoing is true and correct.

  Executed this        14.f'hday of April 2020.



                                                     ~
                                                     Andrew Arulanandam




                                                        4

  4819-3208-3383. 7
  2277-08




                                                                                                      Appendix195
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 203 of 509 PageID 8142




                    EXHIBIT 39




                                                                               Appendix196
           Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20
                                         88° Dallas, TX                                                                                                                 Page 204 of 509 PageID 8143
                                   Sun, May 03, 2020                                                                                                                                          SIGN IN    SUBSCRIBE


                                 U.S.          World      Business       Tech & Science         Culture       Newsgeek           Sports       Health       The Debate   Vantage       Weather Search



                                   U.S.                                                                                                                                 OPINION

                                   LONGTIME NRA ATTORNEY SAYS GROUP'S OWN                                                                                                           Justin Amash Is No Anti-Trump
                                                                                                                                                                                    Hero
                                   LAWYER EMBARKED ON 'HIGHLY DESTRUCTIVE                                                                                                           BY ABDUL EL-SAYED


                                   PATH,' COURT DOCUMENTS SHOW                                                                                                                      China Must Be Made to Pay
                                                                                                                                                                                    Reparations—and Only Trump
                                   BY ASHER STOCKLER ON 4/17/20 AT 6:04 PM EDT                                                                                                      Can Win This Fight
                                                                                                                                                                                    BY NIGEL FARAGE


                                                                                                                                                                                    Why Georgia Governor Brian
                                                                                                                                                                                    Kemp Loves Playing Dumb
                                                                                                                                                                                    BY WENDY JACOBSON


                                                                                                                                                                                    In a Bid to Weaken America,
                                                                                                                                                                                    China Extends a Hand to the
                                                                                                                                                                                    States
                                                                                                                                                                                    BY CHUCK DEVORE



                                                                                                                                                                        THE DEBATE


                                                                                                                                                                                          Trump's Right. The WHO Is
                                                                                                                                                                                          Not Fit for Purpose



                                                                                                                                                                        BY NIGEL FARAGE



                                                                                                                                                                                              VS
                                   SHARE                                          

                                                                                                                                                                                          Defunding the WHO Mid-
                                        U.S.           NATIONAL RIFLE ASSOCIATION           GUN RIGHTS           SECOND AMENDMENT                                                         Pandemic Is Lunacy



                                                                                                                                                                        BY JAMIE METZL




                                                                                                                                                                                  SIGN UP FOR OUR
                                                                                                                                                                                  NEWSLETTER

                                                                                                                                                                            SIGN UP

                                                                                                                                                                           Update your preferences »




                                     The logo of the National Rifle Association is seen at an outdoor sports trade show on February 10, 2017, in Harrisburg,
                                     Pennsylvania. Court filings between the group and its former PR firm, who are embroiled in multiple lawsuits, commonly reference
                                     “extortion” attempts and Shakespeare-style intrafamily quarrels.
                                     DOMINICK REUTER/AFP/GETTY




                                   A           top attorney at the National Rifle Association—who was let go from the organization
                                               last April amid an internal power-struggle and a state attorney general's investigation
                                   —appears to have accused the group's outside counsel of wrongdoing in a conflict that
                                   has pitted the NRA against its longtime PR firm.

                                   J. Steven Hart, who until last year served as general counsel to the NRA's board of
                                   directors, named William A. Brewer III, an aggressive litigator and the NRA's current
                                   outside counsel, as the driving force behind many of the accusations that have resulted in
                                   at least four lawsuits currently playing out from Virginia to Texas.

                                   The information was revealed in a redacted filing submitted to the U.S. District Court for
                                   the Northern District of Texas, where the NRA and its former PR firm, Ackerman
                                   McQueen, are airing a series of grievances about their decades-long relationship.


                                   READ MORE
                                         NRA Furloughing All Employees Unable to Work Because of COVID-19 Closures
                                         The National Rifle Association is Laying Off Staff Amid COVID-19 Outbreak
                                         California Latest State to Be Hit With Lawsuit Over COVID-19 Gun Crackdown


                                   That lawsuit chiefly concerns a dispute about Ackerman's citations to the NRA in its
                                   portfolio, but wrangling over discovery materials has quickly exposed the underlying
                                   hostility between the two parties. Court filings now commonly reference "extortion"
                                   attempts and Shakespeare-style intrafamily quarrels.


Source: https://www.newsweek.com/national-rifle-association-lawsuit-1498670                                                                                                                                           Created 2020/05/04 at 00:02 GMT

                                                                                                                                                                                                                                      Appendix197
                         The relevant filing, submitted by Ackerman on Wednesday, seeks to disqualify Brewer's
           Case 3:19-cv-02074-G-BK                    Document 122 Filed 05/04/20 Page 205 of 509 PageID 8144
                         namesake firm, Brewer, Attorneys and Counselors, over allegations that it is "leaking false
                                   and disparaging information" about the PR firm and "side-stepping the attorney-client
                                   privilege."

                                   The document appears to have been improperly redacted when filed, allowing Newsweek
                                   to view material beneath the redactions, including testimony about Brewer that Ackerman
                                   attributes to Hart.

                                         Trump says FDA emergency approval of remdesivir for COVID-19 treatment is because it's "the hot thing" in the

                                                                                                                                                                  233K




                                                   Do you think Tara Reade is lying about being sexually assaulted by Joe Biden?




                                                                                                                                                          Powered by
                                                          Yes




                                   In response to a request for comment, an Ackerman spokesperson told Newsweek that
                                   its comments "are the filing."

                                   Among the most significant revelations, Hart has testified, according to Ackerman, that
                                   there was in place a "coordinated effort to try to deal with Bill Brewer," reframing the
                                   NRA's prior allegation of a "coup."

                                   "This has been reconstructed as a conspiracy against" Wayne LaPierre, the group's CEO,
                                   Hart is said to have testified, according to the document.

                                   Additionally, Ackerman claims that "high-ranking NRA officials" have testified that
                                   "Brewer's actions were improper given his clear conflict of interest."

                                   Not only are Brewer and Ackerman on opposing ends of the lawsuits, but Brewer is the
                                   son-in-law of the firm's late CEO, Angus McQueen, and brother-in-law to its current CEO,
                                   Revan McQueen.

                                   "The narrative is contrived," Andrew Arulanandam, a spokesperson for the NRA, told
                                   Newsweek. "Ackerman is so desperate to distract from the agency's alleged improper
                                   actions that it is resorting to unhinged rants. This latest rant bases much of its attack on a
                                   communication that does not even exist. The rest of the diatribe is based on claims and
                                   allegations from former advisors who were terminated."

                                   "In any event, this is the same stale and desperate narrative Ackerman has tried to peddle
                                   all along," Arulanandam added. "It does nothing to diminish the confidence the NRA has in
                                   Bill or his law firm – or our commitment to hold this former vendor accountable."

                                   Hart is the NRA official who first brought Brewer on to the gun-rights group, for the
                                   purposes of dealing with a New York state investigation into Carry Guard, its now-defunct
                                   gun-owners' insurance product.

                                   After Hart was dismissed, the New York Times reported he communicated with another
                                   NRA-affiliated attorney, calling Brewer a "moron" or "Manchurian candidate."

                                   These communications, among others, are seized on by defenders of LaPierre, who
                                   accuse Hart of participating in a conspiracy to overthrow him.

                                   Hart did not respond to multiple requests for comment.




                                    A picture of Executive Vice President Wayne LaPierre is seen at the National Rifle Association (NRA) booth during CPAC 2019
                                    February 28, 2019, in National Harbor, Maryland. “This has been reconstructed as a conspiracy against Wayne,” a former NRA
                                    attorney is said to have testified, referring to a purported attempt to hold another NRA lawyer accountable.
                                    ALEX WONG/GETTY


                                   The NRA has fiercely contested related allegations made by Ackerman over the course of
                                   the litigation. In their own brief, the group said Ackerman "cannot cite to any" evidence of
                                   misdeeds by Brewer.

Source: https://www.newsweek.com/national-rifle-association-lawsuit-1498670                                                                                              Created 2020/05/04 at 00:02 GMT

                                                                                                                                                                                         Appendix198
           Case 3:19-cv-02074-G-BK                Document
                         "Argument and innuendo are                       122
                                                    not 'evidence,'" the brief says. Filed 05/04/20                                                        Page 206 of 509 PageID 8145
                                   At least one legal scholar cited by the NRA believes the effort to oust Brewer from the
                                   litigation lacks merit.

                                   "It is my initial opinion that this request for disqualification provides no legal basis for the
                                   relief sought," Linda Eads, a professor at SMU Dedman School of Law who reviewed the
                                   material on the NRA's behalf, concluded, according to the group. "It is based on
                                   allegations that have not been factually established."

                                   Hart believes, according to Wednesday's filing, that Brewer embarked on a "highly
                                   destructive path" when he pressed Ackerman to open its books and that "it was stupidity
                                   on Brewer's part" that led him to do so.

                                   This key allegation, that Ackerman was insufficiently providing access to billing records,
                                   led to the parties' first lawsuit last April. Hart is said to have testified that Brewer
                                   manufactured the stand-off by requesting documents "no reasonable person would
                                   produce."

                                   Ackerman says that Hart also directly implicated Brewer in another claim of leaking
                                   information to the media, further dismantling the pair's working relationship in recent
                                   months. "You would have to be an idiot not to know Bill Brewer was doing this," Hart
                                   testified, according to the document.

                                   Ackerman says that it was not just Hart, but "numerous witnesses" who testified "that
                                   Brewer was leaking."

                                   The NRA has, in turn, accused Ackerman of leaking damaging materials to the press. That
                                   allegation, in addition to an allegation of working to foment a coup at the NRA, formed the
                                   basis for the NRA's second lawsuit against Ackerman in Virginia last year.

                                   Brewer has sustained criticism from some, even within the NRA, for the exorbitant cost of
                                   his legal fees. Former NRA President Lt. Col. Oliver North wrote in an internal memo last
                                   year that his firm was "draining NRA cash at mindboggling speed." Wednesday's filing
                                   says that the firm was paid $54 million for legal services over the past two years.

                                   According to Ackerman, Hart, in his testimony, discussed how expensive litigation on
                                   behalf of the NRA was "taking over" the business plan and said Brewer was "getting inside
                                   of LaPierre's head."

                                   Brewer's defenders argue that he has provided invaluable legal services to a group
                                   besieged by anti-Second Amendment politicians and external scrutiny. Moreover, the NRA
                                   has cited its many courtroom wins, such as against the City of San Francisco, as
                                   vindication for its overarching legal strategy.

                                   The NRA has previously objected to Ackerman's allegedly improper disclosure of
                                   confidential material in court documents. The group is now seeking to disqualify
                                   Ackerman's attorneys over an incident where material subject to attorney-client privilege
                                   was apparently filed multiple times, even after the NRA said it raised the issue with
                                   Ackerman.

                                   The fallout spilled into the public last April, when North was ousted as president at the
                                   annual meeting of members in Indianapolis, Indiana. Reports subsequently revealed that in
                                   the days preceding the development, North had called LaPierre's office to convince him to
                                   retire.

                                   The NRA has long referred to this as an "extortion" attempt perpetrated by North on behalf
                                   of Ackerman, who was paying North's salary. But Ackerman is now alleging that two
                                   senior officials, LaPierre's assistant and the group's current president, "confirmed" North
                                   was not acting at the behest of Ackerman, a key part of the "extortion" allegation.

                                   REQUEST REPRINT & LICENSING, SUBMIT CORRECTION OR VIEW EDITORIAL GUIDELINES


                                   Loading...


                                   Popular in the Community




                                                                               Navy kicks out alleged              Police issue citation for yard
                                                                               recruiter for neo-Nazi grou…        sale after repeated warnin

                                                                                    GreenPaw      18 Apr                 Merlin Douglas …
                                                                               The FBI should be on point          I have no respect for people who
                                                                               investigating these groups. They…   deliberately lie to the police. So, t
                                                                                                   Top                                         Top
                                                                                                   Comment2                                    Comment
                                   AdChoices                       Sponsored




                                    Conversation (1)


                                    Sort by Best                                                                                            Log In



                                                Add a comment...


Source: https://www.newsweek.com/national-rifle-association-lawsuit-1498670                                                                                                Created 2020/05/04 at 00:02 GMT

                                                                                                                                                                                           Appendix199
           Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20
                                               SemperFidelis     Leader · 17 Apr                                                                                          Page 207 of 509 PageID 8146
                                               The NRA corrupt??NO. Can't be. They are as clean as the laundered money from Russia funneled into the
                                               GOP.
                                               Reply · Share · 2 Likes ·



                                    Terms · Privacy                                                                                          Add Spot.IM to your site




                                   MORE IN U.S.                                                                                                                                 LATEST NEWS


                                                                                                                                                                                Kobe Bryant to be Honored in 'The
                                                                                                                                                                                Last Dance' Episode Sunday Night

                                                                                                                                                                                Warren Leads as Potential Biden VP
                                                                                                                                                                                Candidate: Poll

                                                                                                                                                                                DNC Chairman References 'Hillary's
                                                                                                                                                                                Emails' Amid Biden Accusations
                                   China Hid Severity of                           Illinois Church Holds Service in            Local Authorities in Oklahoma
                                   Coronavirus Outbreak to Hoard                   Defiance of Pritzker's Stay-at-             Face Backlash for Reopening                      Johnson Says Doctors Prepared for
                                   Supplies: DHS Report                            Home Order                                  Guidelines                                       the Worst During COVID-19
                                                                                                                                                                                Hospitalization

                                                                                                                                                                                Whitmer Says Anti-Lockdown
                                                                                                                                                                                Protests 'Depicted Some of the Worst
                                                                                                                                                                                Racism'

                                                                                                                                                                                Pompeo: 'Enormous Evidence' COVID-
                                                                                                                                                                                19 Originated in China's Wuhan Lab

                                                                                                                                                                                'The Last Dance' Schedule: Where to
                                                                                                                                                                                Watch ESPN's Michael Jordan
                                   Maryland's Republican                           Justin Amash Argues                         Cuomo Announces Northeast                        Documentary
                                   Governor Dismisses 'Crazy                       Republicans and Democrats Are               Coalition to Acquire PPE With
                                   Things' Said By GOP Rep                         'Destroying Our System'                     Joint Resources

                                                                                                                        EDITOR'S PICK




                                     U.S.                                            WORLD                                       U.S.                                             HEALTH

                                   Congressional Candidate Files                   Kim Jong Un Thanks North                    Robert Hyde Drops                                How Can We Create a
                                   Recall Petition for Arizona                     Korean Propaganda Units for                 Congressional Race After                         Coronavirus Vaccine When We
                                   Governor                                        'Powerful Work'                             Ukrainian Surveillance Claims                    Know Little About Immunity?
                                   According to the Friday petition,               Kim has not been seen in public since       "I'm withdrawing from the race," Hyde            "The fate of vaccine trials has several
                                   Governor Ducey "committed a violation           April 11, prompting speculation that he     said on Friday. But other state                  hurdles to cross and nothing is
                                   of his oath by issuing an                       may be dead or otherwise                    Republicans had publicly called on him           guaranteed, but that should not stop us
                                   unconstitutional executive order."              incapacitated, or that he is trying to      to drop out long before.                         from trying," Sanjay Mishra of Vanderbilt
                                                                                   avoid the coronavirus pandemic.                                                              University Medical Center told
                                                                                                                                                                                Newsweek.




                                                                                                  CHOOSE A MEMBERSHIP THAT'S PERFECT FOR YOU!




                                             PRINT ONLY                                                    PRINT & DIGITAL                                                DIGITAL ONLY
                                             Weekly  magazine, delivered
                                                                                                          Weekly  magazine, delivered
                                                                                                                                                                          Free  access to 40+ digital editions
                                             Daily Newsletter
                                                                                                          Daily Newsletter
                                                                                                                                                                          Daily
                                                                                                                                                                           Website access
                                             Website access                                              Website access                                                       Newsletter


                                         SUBSCRIBE                                                      SUBSCRIBE                                                       SUBSCRIBE




                                                                             © 2020 NEWSWEEK                                                                                                                     
                                   Editions:    U.S. Edition   日本      Pakistan     Polska    România
                                   About Us     Corrections    Contact Us      Editorial Guidelines   Advertise   Copyright   Terms & Conditions     Privacy Policy      Cookie Policy   Terms of Sale    Archive
                                   Announcements        Consent preferences




Source: https://www.newsweek.com/national-rifle-association-lawsuit-1498670                                                                                                                                                 Created 2020/05/04 at 00:02 GMT

                                                                                                                                                                                                                                            Appendix200
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 208 of 509 PageID 8147




                    EXHIBIT 40




                                                                               Appendix201
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                           Page 209 of 509 PageID 8148




                   IN THE SUPREME COURT OF TEXAS
                                                444444444444
                                                   No. 18-0426
                                                444444444444

                                WILLIAM A. BREWER III, PETITIONER,

                                                        V.

   LENNOX HEARTH PRODUCTS, LLC; TURNER & WITT PLUMBING, INC.; STRONG
   CUSTOM BUILDERS, LLC; THERMO DYNAMIC INSULATION, LLC; STATE FARM
  LLOYDS INSURANCE COMPANY; KEN AND BECKY TEEL; ROSS AND MEG RUSHING,
                             RESPONDENTS


               4444444444444444444444444444444444444444444444444444
                                  ON PETITION FOR REVIEW FROM THE
                              COURT OF APPEALS FOR THE SEVENTH DISTRICT
               4444444444444444444444444444444444444444444444444444


                                          Argued October 10, 2019


         JUSTICE GUZMAN delivered the opinion of the Court, in which CHIEF JUSTICE HECHT,
 JUSTICE GREEN, JUSTICE LEHRMANN, JUSTICE DEVINE, JUSTICE BLACKLOCK, and JUSTICE BUSBY
 joined.

        JUSTICE BOYD filed an opinion concurring in part and dissenting in part.

        JUSTICE BLAND did not participate in the decision.


        Lawyers are under a professional obligation to act with commitment and dedication to their

 clients’ interests, but they are neither duty-bound nor permitted to press for every possible advantage

 under the imprimatur of zealous advocacy.1 The discretion to determine the trial tactics and



        1
            Nath v. Tex. Children’s Hosp., 446 S.W.3d 355, 367 (Tex. 2014).




                                                                                                           Appendix202
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                 Page 210 of 509 PageID 8149



 litigation strategies to employ, while considerable, is cabined by ethical standards memorialized in

 sundry rules and statutes and is subject to the inherent authority of courts to preserve the integrity

 of our judicial system.2

          In this products-liability and wrongful-death suit, the trial court sanctioned an attorney for

 commissioning a pretrial survey that commenced in the county of suit shortly before trial. No rule,

 statute, or applicable court order categorically prohibited or specifically constrained the use of a

 pretrial survey in this case or otherwise, and as far as we can discern, this is the only reported case

 imposing sanctions on a lawyer for conducting such a survey. We hold that the sanctions order,

 issued under the court’s inherent authority, cannot stand because evidence of bad faith is lacking.

 Inherent authority has been likened to an“imperial”3 power with intrinsic “potency” that necessitates

 “restraint,” “discretion,” and “great caution”;4 accordingly, sanctions issued pursuant to a court’s

 inherent powers are permissible only to the extent necessary to deter, alleviate, and counteract

 bad-faith abuse of the judicial process.5 Certain attributes of the pretrial survey may have been


          2
             See TEX. CIV. PRAC. & REM. CODE §§ 9.001–.014; 10.001–.006 (sanctions for frivolous pleadings and
 motions); TEX. GOV’T CODE § 21.002 (statutory contempt power); In re Bennett, 960 S.W.2d 35, 40 (Tex. 1997) (“Courts
 possess inherent power to discipline an attorney’s behavior.”); Remington Arms Co., Inc. v. Caldwell, 850 S.W.2d 167,
 172 (Tex. 1993) (observing courts have inherent and statutory contempt power); TEX. R. CIV. P. 13 (sanctions for
 groundless and bad faith or harassing court filings), 18a(h) (sanctions for groundless and bad faith or harassing recusal
 motion), 215 (sanctions for discovery abuses); TEX. DISCIPLINARY RULES PROF’L CONDUCT, reprinted in TEX. GOV’T
 CODE, tit. 2, subtit. G, app. A [TEX. DISCIPLINARY RULES PROF’L CONDUCT]; TEX. CODE JUD. CONDUCT, CANON 3(d)(2),
 reprinted in TEX. GOV’T CODE, tit. 2, subtit. G, app. B (disciplinary responsibilities of judges).
          3
           NASCO, Inc. v. Calcasieu Television & Radio, Inc., 894 F.2d 696, 702 (5th Cir. 1990) (observing that inherent
 power “is not a broad reservoir of power, ready at an imperial hand, but a limited source; an implied power squeezed
 from the need to make the court function”).
          4
              Chambers v. NASCO, Inc., 501 U.S. 32, 43-44 (1991).
           5
             See, e.g., Onwuteaka v. Gill, 908 S.W.2d 276, 280 (Tex. App.—Houston [1st Dist.] 1995, no writ) (“A trial
 court has inherent power to sanction bad faith conduct during the course of litigation that interferes with administration
 of justice or the preservation of the court’s dignity and integrity.”); see also Chambers, 501 U.S. at 48-49 (attorney’s
 fees awarded as a sanction under the court’s inherent authority must be causally connected to bad faith conduct).

                                                             2




                                                                                                                              Appendix203
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 211 of 509 PageID 8150



 reasonably disconcerting to the trial court, but the record bears no evidence of bad faith in the

 attorney’s choice to conduct a pretrial survey or in the manner and means of its execution. We

 therefore vacate the sanctions order.

                                                    I. Background

          The underlying products-liability and wrongful-death suit settled on the eve of trial amid a

 host of pending motions seeking sanctions against the product manufacturer’s trial counsel, William

 H. Brewer III and his law firm, Bickel & Brewer (collectively, Brewer).6 The sanctions motions

 complained that Brewer and his firm had improperly commissioned a telephone survey to be

 conducted in the county of suit mere weeks before the scheduled jury trial without ensuring

 witnesses, represented parties, judges, and court personnel were excluded from the survey database

 and without voluntarily disclosing the survey to the trial court or the litigants. The movants

 characterized the survey as a “push poll” that was designed to influence or change public opinion

 and taint the jury pool rather than a legitimate effort to conduct community-attitude research.7 In




          6
              While the sanctions motions were pending, the law firm changed its name to Brewer, Attorneys & Counselors.
          7
            The parties have not identified a universal or generally accepted definition of a “push poll” other than
 describing it as a method of polling that seeks to influence or persuade rather than to legitimately conduct research. In
 1995, the National Council on Public Polls issued a warning about push polls, describing them as a telephone campaign
 “used to canvass vast numbers of potential voters, feeding them false and damaging ‘information’ . . . under the guise
 of taking a poll to see how this ‘information’ effects [sic] voter preferences” without a genuine “intent to conduct
 research.” A Press WARNING from the National Council on Public Polls, NATIONAL COUNCIL ON PUBLIC POLLS (May
 22, 1995), http://www ncpp.org/drupal57/files/Push%20Polls.pdf. In 2007, the American Association for Public Opinion
 Research (AAPOR) published a clarification defining a “push poll” as telephone “calls disguised as research that are
 designed to persuade large numbers of voters—not to measure opinion.” AAPOR Provides Clarification on “Push Poll”
 Issue, AMERICAN ASSOCIATION FOR PUBLIC OPINION RESEARCH, (Nov. 16, 2007),
 https://www.aapor.org/Publications-Media/Press-Releases/Archived-Press-Releases/AAPOR-Provides-Clarification-
 on-Push-Poll-Issue.aspx. According to AAPOR’s guidance, push polls usually employ few questions that are either
 uniformly negative or uniformly positive, large numbers of people are contacted, and the identity of the organization
 conducting the poll is either undisclosed or fraudulent. Id.

                                                             3




                                                                                                                             Appendix204
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 212 of 509 PageID 8151



 addition to compensatory sanctions, the movants requested total forfeiture of all fees the

 manufacturer had paid to Bickel & Brewer for the litigation.

        The tragic facts and allegations in the underlying lawsuit set the context for the telephone

 survey and the trial court’s sanction order. Suit was filed shortly after a residential home in the City

 of Lubbock caught fire during a lightning storm in August 2012. The fire ignited gas seeping from

 pipes that had been perforated by lightning-induced electrical arcs. The ensuing explosion resulted

 in the death of a house guest by thermal insult and significant personal-injury and property losses

 to the homeowners. The following month, the City of Lubbock issued a moratorium on the use of

 yellow-jacketed corrugated stainless steel tubing (CSST), the type of gas plumbing pipe used in the

 home’s construction.

        Within weeks, the homeowners and the decedent’s parents sued the CSST manufacturer, the

 pipe supply company, and the pipe installer. Among other allegations, the plaintiffs asserted the

 CSST product used in the home’s construction was defectively designed because it was too thin to

 withstand the effects of a lightning strike; the plumbing company was negligent in selecting and

 installing a defective product, but had installed the CSST in accordance with the manufacturer’s

 instructions; and the pipe supplier was negligent in selling a product known in the industry to be

 prone to failure in lightning events.

        After answering with a general denial, the pipe manufacturer, Titeflex Corporation, filed

 third-party claims against (1) the installer of the spray-foam insulation in the attic, (2) the home

 builder, and (3) the manufacturer of the fireplace that had been installed in the home. Titeflex’s

 litigation position was that CSST is safe when properly installed and that other conditions, including

 improper installation, caused or contributed to the explosion. To that end, Titeflex disputed a

                                                    4




                                                                                                            Appendix205
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                   Page 213 of 509 PageID 8152



 determination by the City’s fire marshal and chief building inspector that the CSST piping in the

 homeowner’s residence had been installed properly even though it was in contact with electrical

 wires.

          Trial was eventually scheduled to commence in June 2014, and the subject telephone survey

 was conducted on Titeflex’s behalf in late May of that year. Several noteworthy events occurred

 in advance of the survey.

          In December 2013, the City extended the moratorium to include a CSST product not

 involved in this litigation (black-jacketed CSST); the media covered both the initial and expanded

 moratoriums; and one of the plaintiffs’ attorneys provided a responsive comment in at least one

 televised news story. Plaintiffs’ counsel also:

          •         set up a website touting the dangers of CSST piping;8

          •         conducted a telephone poll to gauge the community’s familiarity with CSST products
                    and whether those products were used in the survey respondents’ homes;9 and

          •         hosted Lubbock’s assistant fire marshal, Bob Bailey, and chief building official,
                    Steve O’Neal, on a trip to Massachusetts to view a demonstration involving CSST
                    lightning impacts, which the Lightning Institute conducted shortly before the City
                    announced the expanded moratorium.10

 Titeflex viewed these events as detrimental to its business and as negatively impacting its litigation

 strategy.


          8
            The plaintiffs’ website included pretrial discovery; unauthenticated statements, pictures, and videos; and
 references to other litigation involving Titeflex. Plaintiff’s counsel publicized this website to several regulatory bodies,
 including the National Fire Protection Association and the Texas House of Representatives, in connection with efforts
 seeking further bans on use of CSST.
          9
          The plaintiffs disclosed the existence of that poll to the other parties and the trial court no later than two
 months before trial.
          10
             During the same time period, the City of Lubbock’s municipal board had invited Titeflex to submit its own
 testing results, but Titeflex evidently declined to do so because of confidentiality concerns.

                                                              5




                                                                                                                                Appendix206
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 214 of 509 PageID 8153



        A few months before the December 2013 moratorium expansion, Brewer and his law firm

 joined Titeflex’s litigation team. According to Brewer, the moratoriums, extensive press coverage,

 and plaintiffs’ counsel’s media activities impelled the law firm to commission a pretrial survey to

 gauge community attitudes toward Titeflex’s legal position and defensive theories. Travis Carter,

 Bickel & Brewer’s director of community and media relations, spearheaded the survey project for

 the law firm. Carter selected Public Opinion Strategies, a nationally recognized public opinion

 research firm, to develop and conduct “a random independent poll in regard to certain attitudes and

 opinions that would likely be prevalent among homeowners in Lubbock, Texas.” According to

 Brewer and his staff, the scope of the poll was to include community attitudes and opinions about

 CSST, the moratoriums, and potential litigation themes.

        Public Opinion Strategies was tasked with drafting the survey questions, and to assist with

 that endeavor, Carter gave the survey company a background sheet on CSST that he had prepared

 along with links to state and national media coverage and newspaper articles reporting on the

 explosion and moratoriums. After receiving a draft of the survey from Public Opinion Strategies,

 Carter edited the survey to add questions adverse to Titeflex’s litigation position “to balance the

 poll” and ensure “there were statements in there that were both favorable toward and opposed to the

 view of the Defendants.” Brewer reviewed the revised draft, suggested some tweaks, and gave the

 go-ahead to move forward. The final version of the survey, which is attached as Appendix A, was

 composed of 42 questions, more than a third of which were introductory and demographic questions.

 Some questions presented information in a static order while others were randomized to prevent

 order bias. The second half of the survey specifically referenced this lawsuit in connection with

 questions testing litigation themes.

                                                 6




                                                                                                       Appendix207
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 215 of 509 PageID 8154



        Public Opinion Strategies recommended producing either 300 or 500 completed surveys, and

 Brewer and Carter chose the lesser. The only client-selected parameters for the survey respondents

 was that all participants be Lubbock County residents over the age of 18. To ensure the completion

 of 300 surveys, Public Opinion Strategies procured a database of contact information for 20,000

 individuals meeting that criteria from a third-party vendor, i360. Public Opinion Strategies then

 provided the survey questions to another third-party vendor, Survey Sampling International (SSI),

 to conduct the survey using the database i360 had compiled. SSI, a consumer research firm,

 conducted the approved survey on May 21 and 22 using computer-assisted telephone interviewing

 (CATI). CATI is a telephone surveying technique in which the interviewer follows a script guided

 by a software application that randomly selects respondents from the survey database.

        Brewer did not inform the court or the other parties about the survey before, during, or after

 the May 21 and 22 survey period, but no discovery request, rule, statute, or court order required him

 to do so. The plaintiffs’ attorneys nonetheless caught wind of the survey efforts and, several days

 after it was completed, began making inquiries to the other parties to determine the source. When

 asked about a telephone poll being conducted by a company called SSI, Brewer disclaimed

 knowledge. Other Titeflex legal representatives did the same. Days later, Brewer informed counsel

 for all parties that he had commissioned the telephone survey. At that time, and depending on which

 side is recounting the events, Brewer either confessed or made the connection between Public

 Opinion Strategies (which he had hired) and SSI (which he had not).

        The plaintiffs immediately requested a protective order and sought sanctions against Titeflex,

 Brewer, and Brewer’s law firm. The other parties followed suit. The movants alleged the pretrial

 survey was sanctionable because (1) the content of the poll was designed to intimidate witnesses and

                                                  7




                                                                                                         Appendix208
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                    Page 216 of 509 PageID 8155



 tamper with the jury pool and (2) the survey violated disciplinary rules constraining pretrial publicity

 and contact with represented parties and jury pool members.11 The sanctions motions described the

 survey as an “overt attempt to convince [survey respondents] who [was] to blame for CSST failures

 in homes, in and around Lubbock, Texas.”

          With the trial date looming, the trial court initially heard evidence and argument related to

 the sanctions motions over the course of three days in early June. Titeflex produced evidence that

 it was in the dark about the survey, which created a conflict of interest with Brewer’s continued

 representation. Titeflex discharged Brewer days before the trial setting, and the case settled the

 weekend before trial. A jury venire was never empaneled.

          A four-day sanctions hearing was later scheduled to take place in September. Brewer was

 informally notified about the hearing about a month prior. Shortly thereafter, the parties filed

 amended sanctions motions focusing on Brewer and his law firm and dropping complaints about

 Titeflex. Brewer requested a continuance, citing lack of proper notice, the necessity of obtaining

 discovery from Public Opinion Strategies and its third-party vendors, and the recently filed amended

 motions. The trial court denied Brewer’s motion.

          All told, the trial court heard argument and evidence about the telephone survey over the

 course of seven days in June, September, and October 2014, including one full day when Brewer

 was in the hot seat under questioning from lawyers for five adverse parties. Uncontroverted

 testimony at the sanctions hearings established that no one at Brewer’s firm had contact with or prior



          11
             See TEX. DISCIPLINARY RULES PROF’L CONDUCT R. 3.06 (“Maintaining Integrity of Jury System”), 3.07
 (“Trial Publicity”), 4.02 (“Communication with One Represented by Counsel”); see also TEX. PENAL CODE
 § 36.06(a)(l)(A) (intentionally or knowingly harming or threatening to harm another by an unlawful act in retaliation for
 or on account of the service or status of another as a public servant, witness, or prospective witness is a criminal offense).

                                                               8




                                                                                                                                  Appendix209
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                        Page 217 of 509 PageID 8156



 knowledge of i360’s or SSI’s involvement in the survey. Moreover, no one at Bickel & Brewer had

 any input in selecting any name or phone number included in the survey database. Nor did anyone

 provide a list to Public Opinion Strategies or the third-party vendors identifying people to exclude

 from the database due to their association with or participation in the ongoing litigation.

        According to the hearing testimony, Public Opinion Strategies took the laboring oar in

 drafting the survey questions. Carter materially contributed to the survey’s contents, but his edits

 added questions unfavorable to Titeflex’s position to help ensure the survey “was not in any way

 biased against one party or the other.” Brewer’s actual participation in developing the survey was

 described as minimal, and those knowledgeable about the survey’s procurement repeatedly stressed

 that it was randomly administered by third-party professionals and intentionally balanced to both

 favor and disfavor Titeflex so opinions and attitudes about CSST and Titeflex’s legal messages

 could be tested.

        Expert testimony was a mixed bag. An attorney offered as an expert on ethical standards

 testified the survey was inconsistent with the Texas Disciplinary Rules of Professional Conduct

 because the survey might influence a person who could potentially end up in the venire and be

 seated on a jury if the survey’s existence was undisclosed and the juror’s participation in it was not

 elicited in voir dire questioning. Disciplinary Rule 3.06(a) prohibits attorneys from “seek[ing] to

 influence a venireman or juror concerning the merits of a pending matter by means prohibited by

 law or applicable rules of practice or procedure.”12 That prohibition extends to relatives of jurors




        12
             TEX. DISCIPLINARY RULES PROF’L CONDUCT R. 3.06(a)(2) (emphasis added).

                                                       9




                                                                                                          Appendix210
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 218 of 509 PageID 8157



 and members of the venire.13 The expert did not identify any rule or law that prohibits a pretrial

 survey or contact with community members merely because they could conceivably end up in the

 venire.

           However, the expert opined that Brewer inadequately supervised the independent contractors

 conducting the survey by not ensuring witnesses and represented parties connected with the

 litigation were excluded from the survey database. Disciplinary Rule 4.02 prohibits lawyers from

 communicating with a represented party about the subject of the litigation without the consent of

 the represented party’s counsel, except as authorized by law.14 And a lawyer having direct

 supervisory authority over a nonlawyer has a duty to make “reasonable efforts to ensure that the

 person’s conduct is compatible with the professional obligations of the lawyer.”15 A supervisory

 lawyer may be subject to discipline by the State Bar if “the lawyer orders, encourages, or permits

 the conduct involved” or “with knowledge of such misconduct” “knowingly” fails to take reasonable

 remedial or mitigating measures.16

           Brewer’s and Carter’s testimony that they had no hand in assembling the survey database

 was unrefuted, and Brewer took the position that securing a third-party professional to design and

 implement the survey was a reasonable effort to ensure it was conducted appropriately. He

 acknowledged, however, that not taking a more active role in providing limiting parameters was a

 lapse of judgment.


           13
                Id. R. 3.06(e).
           14
                Id. R. 4.02(a).
           15
                Id. R. 5.03(a).
           16
                Id. R. 5.03(b).

                                                  10




                                                                                                        Appendix211
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 219 of 509 PageID 8158



        An expert on surveys testified about the manner and means of executing the survey. He

 described the survey as attempting to persuade (a “push poll”) in certain respects and relatively

 balanced message testing in others.

        Collectively, the two experts expressed generalized concerns about:

        •       a litigant conducting a pretrial poll in the county of suit, from which the jury
                would be drawn;

        •       the failure to ensure persons connected with the case were not excluded from
                the survey database;

        •       the lack of randomization of some questions that painted adverse parties in
                a negative light;

        •       the relative strength of statements adverse to Titeflex compared to the
                negative statements about other potentially responsible parties;

        •       whether some statements were false and misleading or merely relied on
                disputed facts to be litigated, for example, whether the CSST pipe had been
                installed improperly;

        •       the survey’s efforts to compare the respondents’ initial impressions about
                legal responsibility with the respondents’ impressions after hearing variously
                formulated “statements”; and

        •       the inclusion of specific references to the underlying lawsuit without
                identifying the survey’s sponsor in any manner.

        A third expert also testified about professional ethics. He opined that (1) pretrial surveys are

 not specifically prohibited by any governing authority, (2) neither the survey nor Brewer violated

 any disciplinary rule, and (3) Brewer reasonably relied on an independent third-party professional

 to design and execute the survey.




                                                  11




                                                                                                           Appendix212
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 220 of 509 PageID 8159



        All 20,000 names included in the survey database were produced,17 but the record includes

 no evidence or testimony about how many of those individuals were contacted to secure

 300 completed survey responses. Nor were the identities of those who completed the survey

 disclosed. However, review of the survey database revealed that several city employees and

 government officials associated with the lawsuit or moratoriums had been included as potential

 contacts, leading the City Attorney to conclude the poll was “targeting” particular government

 servants. Sitting judges, city council members, other government officials, and members of the trial

 judge’s staff and family were also on the list. Brewer testified these “unfortunate” and “horrible

 coincidence[s]” were the by-product of random selection and confessed that he had not thought to

 provide guidance to Public Opinion Strategies about exclusions from a randomly generated survey

 sample.

        The trial court also heard evidence that, in conducting the survey, SSI had in fact spoken

 with immediate family members of three previously deposed witnesses, two of whom were

 government employees ostensibly represented by the City Attorney. During the survey window, SSI

 called (1) mobile and landline numbers assigned to Chris Beeson, co-owner of Fireplaces Unlimited,

 which Titeflex had designated as a potentially responsible third party; (2) the home number for Steve

 O’Neal, the City of Lubbock’s Chief Building Official; and (3) a mobile number associated with

 Tommy Jeter, a city building inspector and subordinate of Steve O’Neal. The spouse of each of

 these witnesses answered one or more of SSI’s calls. Two spouses participated in the survey long

 enough to determine the calls were about this lawsuit, but none of them completed the survey.



        17
             Lubbock County has a population of nearly 300,000 and a jury pool of a little more than half its population.

                                                           12




                                                                                                                            Appendix213
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                      Page 221 of 509 PageID 8160



          Notably, the record bears no evidence that a survey participant could not be contacted

 multiple times or through multiple telephone numbers in a randomly conducted survey using CATI

 software. And no expert testified that anyone connected with the case was more likely than not

 “targeted.” Indeed no expert witness impugned—statistically or even anecdotally—the randomness

 of either the survey database or the selections from the database. At most, the survey expert testified

 the 20,000 name survey database was not “completely” random because it resulted from at least

 some defined parameters (in this case, Lubbock County residents over age 18) and was “likely”

 drawn from public records, which would include registered voters who might be called to serve on

 a jury; he acknowledged, however, that CATI software would have randomly selected respondents

 from the survey database.

          Finally, the court heard evidence that the week after the survey concluded, Brewer filed an

 ethics complaint against Steve O’Neal and the assistant fire marshal, calling on the City to

 investigate whether their “free trip” to Massachusetts for the product-testing demonstration violated

 the city charter.          The complaint was hand-delivered to the Lubbock City Council and

 contemporaneously released to the media.                      The sanctions movants characterized this as a

 witness-intimidation tactic.18

          At the conclusion of the sanctions hearing, the trial court took the matter under advisement.

 The court expressed uncertainty about whether the requested sanctions were warranted but stated

 that “what was done . . . was [not] right.” The court requested supplemental briefing from the




          18
             TEX. DISCIPLINARY RULES PROF’L CONDUCT R. 4.04(b) (“A lawyer shall not present, participate in
 presenting, or threaten to present: (1) criminal or disciplinary charges solely to gain an advantage in a civil matter . . . .”).

                                                               13




                                                                                                                                     Appendix214
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                          Page 222 of 509 PageID 8161



 parties addressed to whether sanctions were justified as a legal matter and affidavits to support the

 attorneys’ fees requested as sanctions.

        Fifteen months later, the trial court issued a lengthy letter ruling imposing sanctions against

 Brewer individually but not the law firm. The court ordered Brewer to complete ten hours of

 legal-ethics education and pay the movants a total of $133,415.27 in attorneys fees and expenses,

 plus $43,590 in contingent fees and expenses.19 The letter ruling generally addressed the content

 and execution of the survey, Brewer’s errors and omissions in undertaking the pretrial survey, and

 Brewer’s demeanor at the sanctions hearing. The court did not find that Brewer violated any

 disciplinary rules or other applicable authority, but instead concluded that Brewer’s conduct “taken


        19
             The breakdown of fees and expenses awarded is as follows:

        To third-party defendant Lennox Hearth Products, LLC:
                 • Attorney’s Fees: $29,500.00
                 • Expenses: $3,500.00
                 • Contingent Attorney’s Fees and Expenses: $17,300

        To co-defendant Turner & Witt Plumbing:
                • Attorney’s Fees: $11,032.00
                • Expenses: $1,919.76
                • Contingent Attorney’s Fees & Expenses: $7,190

        To third-party defendant Strong Custom Builders, LLC:
                 • Attorney’s Fees: $8,170.00
                 • Expenses: $554.83
                 • Contingent Attorney’s Fees: $3,000.00

        To third-party defendant Thermo Dynamic Insulation, LLC:
                 • Attorney’s Fees: $16,038.00
                 • Expenses: $3,738.68
                 • Contingent Attorney’s Fees: $6,600

        To the subrogee insurance company, State Farm Lloyds Insurance Company:
                 • Attorney’s Fees: $27,312.00
                 • Contingent Attorney’s Fees: $5,000.00

        To plaintiffs Ken Teel, Becky Teel, Ross Rushing, and Meg Rushing:
                 • Attorney’s Fees: $31,650.00
                 • Contingent Attorney’s Fees: $4,500.00

                                                        14




                                                                                                          Appendix215
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 223 of 509 PageID 8162



 in its entirety,” including actions of his agents and subordinates, was “an abusive litigation practice

 that harms the integrity of the justice system and the jury trial process” and was “intentional[,] in

 bad faith[,] and abusive of the legal system and the judicial process specifically.”

        With regard to the survey’s execution, the court disbelieved testimony that the polling efforts

 were random and coincidental and found Brewer was “grossly negligent” in failing to provide a

 no-contact list of parties and witnesses to the third-party vendor. In support of these findings, the

 court noted that (1) the pollster had actually made contact with represented and unrepresented parties

 and witnesses and (2) the survey database included members of the trial judge’s family and staff,

 several government employees and officials, designated third parties, and spouses of the foregoing

 without regard to whether they were represented by counsel.

        As to the survey’s contents, the trial court determined it was “designed to improperly

 influence a jury pool” by disseminating information “without regard to it[s] truthfulness or

 accuracy” and by including “several questions . . . designed to influence or alter the opinion or

 attitude of the person being polled . . . .” Rejecting Brewer’s argument that “he bears clean hands

 because the poll was a blind study conducted by a third party vendor,” the court cited Brewer’s

 testimony that he (1) bore supervisory responsibility for his employees and consultants, (2) reviewed

 and approved the poll questions, and (3) “instruct[ed] and guid[ed] the pollster on the purpose and

 composition of the poll.”

        The letter ruling does not identify the portions of the survey’s contents that were

 objectionable, improper, or inaccurate. However, the court noted that four federal district courts in

 Texas have standing orders regulating the manner of conducting community attitude studies (mock

 trials, focus groups, and the like) when the survey is conducted in the division where the case is

                                                   15




                                                                                                           Appendix216
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                      Page 224 of 509 PageID 8163



 pending, noting one of the orders “discourages” the practice and the orders collectively “serve as

 an excellent blueprint for the manner by which a proper survey/poll should be conducted.” Though

 no similar order was in place for the underlying litigation, the trial court faulted Brewer for failing

 to adhere to similar parameters.

         Finally, the court found Brewer’s attitude in response to the sanctions motion “concerning”

 due to his (1) “nonchalant and uncaring” demeanor and (2) “repeatedly evasive” responses to

 questioning, which during a day of questioning, had prompted the court to sustain a total of four

 objections to responsiveness and twice instruct Brewer to answer the question asked.

         Brewer appealed the sanctions order and denial of his motion for continuance. The court of

 appeals affirmed, holding the trial court had authority to sanction Brewer’s conduct, the sanctions

 award was appropriate and not excessive, and any error in denying Brewer’s request for a

 continuance was harmless.20 As to the propriety of sanctions, the court found no abuse of discretion

 because the record supported the trial court’s “perce[ption] [that] Brewer’s ‘intentional and bad

 faith’ conduct in connection with the telephone survey” imperiled the court’s core judicial functions

 of “empanel[ing] an impartial jury and try[ing] a case with unintimidated witnesses.”21

         Brewer’s petition for review to this Court argues the sanctions award must be vacated

 because the record does not support the trial court’s finding that he acted in bad faith or significantly

 interfered with a core judicial function in commissioning a public opinion poll or otherwise. He

 contends both findings are necessary prerequisites to the exercise of a court’s inherent power to

 sanction. In the alternative, he urges the Court to remand for a new sanctions hearing because he


         20
              546 S.W.3d 866, 885-86 (Tex. App.—Amarillo Mar. 2018).
         21
              Id. at 881.

                                                       16




                                                                                                             Appendix217
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                          Page 225 of 509 PageID 8164



 was not properly notified about the hearing and had inadequate time to conduct discovery and

 prepare an appropriate defense.

                                                II. Discussion

         The decision to impose sanctions involves two distinct determinations: (1) whether conduct

 is sanctionable and (2) what sanction to impose.22 Both decisions are subject to appellate review,

 but Brewer challenges only the former in this case. The dispositive issue on appeal is whether the

 trial court properly exercised its inherent authority to sanction Brewer based on the manner in which

 a pretrial survey was conducted on his client’s behalf in connection with complex, high-profile

 litigation. No litigant claims the trial court acted pursuant to a rule or statute authorizing sanctions

 in this instance. Nor does any litigant contend that a rule, statute, order, or any other authority

 proscribed or conscribed the use of a pretrial survey in the underlying litigation. The dispute is

 whether the latter circumstance necessarily precludes the court from imposing sanctions under its

 inherent authority or whether sanctions were permitted—with or without evidence of bad

 faith—because the trial court could have concluded that certain aspects of the survey crossed ethical

 lines and threatened the integrity of the jury system.

         We agree with the court of appeals that (1) bad faith is required to support sanctions imposed

 under a court’s inherent authority;23 (2) bad faith can exist without explicitly violating a rule, statute,

 or ethical code of conduct;24 (3) direct evidence of bad faith is not required;25 (4) an attorney acting

         22
            See In re Bennett, 960 S.W.2d 35, 39 (Tex. 1997) (sanctioning counsel requires the court to determine
 whether the attorney has abused the judicial process and what sanction is appropriate).
         23
              546 S.W.3d at 878-79.
         24
              Id. at 880.
         25
              Id. at 879-80.

                                                       17




                                                                                                                    Appendix218
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                   Page 226 of 509 PageID 8165



 in bad faith can be sanctioned for conducting a pretrial attitudinal survey even when no authority

 specifically prohibits or constrains the use of such a survey;26 and (5) neither the absence of actual

 interference with the jury venire nor the potential for rectifying any harm through voir dire negates

 the existence of bad faith.27 However, mere violation of a rule, statute, or ethical standard does not

 ipso facto constitute bad faith. An error, without more, is no evidence of improper motive,28 unless

 the conduct could not have occurred without conscious wrongdoing.29




          26
               Id. at 876-78.
          27
             Id.; cf. Primrose Operating Co. Inc. v. Jones, 102 S.W.3d 188, 192 (Tex. App.—Amarillo 2003, pet. denied)
 (observing that the effect of a pretrial community attitude study—a mock trial—had been thoroughly explored during
 jury voir dire examination and a mistrial was therefore unwarranted even though plaintiffs’ counsel declined to furnish
 a list of mock-trial participants).
           28
              The cases of McWhorter v. Sheller, 993 S.W.2d 781 (Tex. App.—Houston [14th Dist.] 1999, pet. denied),
 and Onwuteaka v. Gill, 908 S.W.2d 276, 280 (Tex. App.—Houston [1st Dist.] 1995, no writ), are ready examples. In
 McWhorter, an attorney failed to alert the court and opposing counsel that she was recording a telephonic conference
 for the purpose of preparing a draft order reflecting the court’s findings. Even though the order “tracked the telephone
 conference,” “the findings were specific and [the court] felt comfortable adopting them,” and counsel was not acting in
 bad faith, the court sanctioned the attorney. The court of appeals reversed, noting the record reflected “at best, some
 degree of inexperience and negligence on [the attorney’s] part, rather than an intentional act made in bad faith.” In
 Onwuteaka, the trial court struck an attorney’s plea in intervention seeking to recover a contingency fee, because he was
 not present when his case was called. 908 S.W.2d at 280. Although the attorney timely arrived at the courthouse, he
 was told his case was set for “standby” and the clerk would call him when the case was assigned, that day or maybe the
 next. Id. Counsel returned to the courthouse as soon as he got the call, while his assistant called the court clerk to advise
 her that he was on his way. Id. at 280-81. He arrived too late, but the record bore no evidence that, before trial began,
 counsel knew the case had taken off “standby” status. Id. at 281. The court of appeals vacated the sanctions order for
 two independent reasons: (1) counsel’s conduct was merely negligent, not in bad faith as required to impose sanctions
 under a court’s inherent authority, and (2) the record did not bear evidence of flagrant bad faith as required for the
 particular sanction imposed. Id. at 280-81.
          29
            For example, under no circumstance could a litigant or counsel be acting innocently or in good faith while
 directing an obscene gesture to the court or a trial participant.

                                                             18




                                                                                                                                 Appendix219
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                  Page 227 of 509 PageID 8166



          Pretrial surveys are not uncommon and are neither categorically permissible nor inherently

 suspect.30 And while the absence of authoritative guidance is not a license to act with impunity,31

 bad faith is required to impose sanctions under the court’s inherent authority.32 We hold the

 sanctions order in this case cannot stand because evidence of bad faith is lacking. Even if the survey

 Brewer commissioned was not flawlessly designed or executed, the record bears no evidence that

 Brewer, individually or through his agents, developed or employed the survey for an improper

 purpose. Accordingly, we need not consider whether “substantial interference with the court’s

 legitimate exercise of one of its traditional core functions” is an additional requirement, as Brewer

 asserts.33




          30
            See U.S. v. Collins, 972 F.2d 1385, 1399-1400 (5th Cir. 1992) (pretrial telephone survey in the district from
 which the jury pool was drawn did not compromise the integrity of the jury system even though it was not disclosed by
 the prosecution, offered the prosecution’s version of the evidence, and inquired as to opinions about the defendants’ guilt
 or innocence based on the evidence as presented).
         31
            See In re Bennett, 960 S.W.2d 35, 40 (Tex. 1997) (counsel knowingly undertook conduct designed to
 circumvent local rules ensuring random assignment of cases).
          32
             Roadway Exp., Inc. v. Piper, 447 U.S. 752, 767 (1980) (holding “the trial court did not make a specific
 finding as to whether counsel’s conduct constituted or was tantamount to bad faith, a finding that would have to precede
 any sanction under the court’s inherent powers.”).
          33
             See Kennedy v. Kennedy, 125 S.W.3d 14, 19 (Tex. App.—Austin 2002, pet. denied) (“A court cannot invoke
 its inherent power to sanction without some evidence and factual findings that the conduct complained of significantly
 interfered with the court’s legitimate exercise of one of its traditional core functions.”).

                                                            19




                                                                                                                               Appendix220
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                             Page 228 of 509 PageID 8167



                                              A. Standard of Review

         We review a trial court’s sanctions order for abuse of discretion.34 A trial court abuses its

 discretion if it acts without reference to guiding rules and principles such that the ruling is arbitrary

 or unreasonable.35 Although we view conflicting evidence favorably to the court’s decision,36 we

 are not bound by a trial court’s fact findings or conclusions of law and must, instead, review the

 entire record independently to determine whether the trial court abused its discretion.37 A decision

 lacking factual support is arbitrary and unreasonable and must be set aside.38

                                         B. Inherent Power to Sanction

         Various rules and statutes imbue courts with authority to sanction attorneys for professional

 lapses of one kind or another with or without bad faith.39 Courts also possess inherent powers that

 aid the exercise of their jurisdiction, facilitate the administration of justice, and preserve the

 independence and integrity of the judicial system.40 A court’s inherent authority includes the “power

 to discipline an attorney’s behavior.”41




         34
              Cire v. Cummings, 134 S.W.3d 835, 838-39 (Tex. 2004).
         35
              Id.
         36
              In re Barber, 982 S.W.2d 364, 366 (Tex. 1998).
         37
              Am. Flood Research, Inc. v. Jones, 192 S.W.3d 581, 583 (Tex. 2006).
         38
              Goode v. Shoukfeh, 943 S.W.2d 441, 446 (Tex. 1997).
         39
              See supra n.2.
         40
              Eichelberger v. Eichelberger, 582 S.W.2d 395, 399 (Tex. 1979).
         41
              See In re Bennett, 960 S.W.2d 35, 40 (Tex. 1997).

                                                          20




                                                                                                             Appendix221
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                 Page 229 of 509 PageID 8168



          Inherent authority emanates “from the very fact that the court has been created and charged

 by the constitution with certain duties and responsibilities.”42 Indeed, courts “‘are universally

 acknowledged to be vested, by their very creation, with power to impose silence, respect, and

 decorum, in their presence, and submission to their lawful mandates.’”43 Courts are accordingly

 empowered to punish an attorney’s behavior even when the offensive conduct is not explicitly

 prohibited by statute, rule, or other authority.44

          That power is not boundless, however. The inherent authority to sanction is limited by due

 process, so sanctions must be just and not excessive.45 Moreover, “[b]ecause inherent powers are

 shielded from direct democratic controls,”46 and “[b]ecause of their very potency, inherent powers

 must be exercised with restraint[,] discretion,”47 and “great caution.”48 To that end, invocation of

 the court’s inherent power to sanction necessitates a finding of bad faith.49

          With the understanding that inherent powers must be used sparingly, our appellate courts

 have consistently held that a court’s inherent power to sanction “exists to the extent necessary to


          42
               Eichelberger, 582 S.W.2d at 398.
          43
               Chambers v. NASCO, Inc. 501 U.S. 32, 43 (1991) (quoting Anderson v. Dunn, 19 U.S. 204, 227 (1821)).
          44
               Bennett, 960 S.W.2d at 40.
          45
               Id.; TransAmerican Nat’l Gas Corp. v. Powell, 811 S.W.2d 913, 917 (Tex. 1991).
          46
               Roadway Exp., Inc. v. Piper, 447 U.S. 752, 764 (1980).
          47
               Chambers, 501 U.S. at 44; accord Roadway Exp., 447 U.S. at 764.
          48
               Chambers, 501 U.S. at 43 (quoting Ex Parte Burr,6 L. Ed. 152 (1824)).
          49
             Roadway Exp., 447 U.S. at 767 (imposition of “any sanction under the court’s inherent authority” requires
 a finding of bad-faith conduct); see Chambers, 501 U.S. at 49-50 (1991) (“[A] federal court is [not] forbidden to sanction
 bad-faith conduct by means of the inherent power simply because that conduct could also be sanctioned under the statute
 or the Rules. A court must, of course, exercise caution in invoking its inherent power and it must comply with mandates
 of due process, both in determining that the requisite bad faith exists and in assessing fees.”).

                                                            21




                                                                                                                              Appendix222
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                   Page 230 of 509 PageID 8169



 deter, alleviate, and counteract bad faith abuse of the judicial process . . . .”50 Bad faith is not just

 intentional conduct but intent to engage in conduct for an impermissible reason, willful

 noncompliance, or willful ignorance of the facts.51 “Bad faith” includes “conscious doing of a

 wrong for a dishonest, discriminatory, or malicious purpose.”52 Errors in judgment, lack of

 diligence, unreasonableness, negligence, or even gross negligence—without more—do not equate



          50
             Houtex Ready Mix Concrete & Materials v. Eagle Const. & Envtl. Servs., L.P., 226 S.W.3d 514, 524 (Tex.
 App.—Houston [1st Dist.] 2006, no pet.); accord, e.g., Darnell v. Broberg, 565 S.W.3d 450 (Tex. App.—El Paso 2018,
 no pet.); Liles v. Contreras, 547 S.W.3d 280 (Tex. App.—San Antonio 2018, pet. denied); Guerra v. L&F Distribs., 521
 S.W.3d 878, 890 (Tex. App.—San Antonio 2017, no pet.); Fast Invs., LLC v. Prosper Bank, No. 02-13-00026-CV, 2014
 WL 888438 (Tex. App.—Fort Worth Mar. 6, 2014, no pet.) (mem. op.); McDonald v. State, 401 S.W.3d 360 (Tex.
 App.—Amarillo 2013, pet. ref’d); Union Carbide Corp. v. Martin, 349 S.W.3d 137 (Tex. App.—Dallas 2011, no pet.);
 Ezeoke v. Tracy, 349 S.W.3d 679 (Tex. App.—Houston [14th Dist.] 2011, no pet.); Dike v. Peltier Chevrolet, Inc., 343
 S.W.3d 179 (Tex. App.—Texarkana 2011, no pet.); Wythe II Corp. v. Stone, 342 S.W.3d 96, 113 (Tex. App.—Beaumont
 2011, pet. denied); Davis v. Rupe, 307 S.W.3d 528, 531 (Tex. App.—Dallas 2010, no. pet.); Finlan v. Peavy, 205 S.W.3d
 647 (Tex. App.—Waco 2006, no pet.); Howell v. Tex. Workers’ Comp. Comm’n, 143 S.W.3d 416, 446-47 (Tex.
 App.—Austin 2004, pet. denied); McWhorter v. Sheller, 993 S.W.2d 781 (Tex. App.—Houston [14th Dist.] 1999, pet.
 denied); Keithly v. P.G.D., Inc., No. 08-99-00278-CV, 2000 WL 1681066 (Tex. App.—El Paso Nov. 9, 2000, no pet.)
 (mem. op.); Williams v. Azko Nobel Chems. Inc., 999 S.W.2d 836, 843 (Tex. App.—Tyler 1999, no pet.); Onwuteaka
 v. Gill, 908 S.W.2d 276, 280 (Tex. App.—Houston [1st Dist.] 1995, no writ); Kutch v. Del Mar Coll., 831 S.W.2d 506,
 510 (Tex. App.—Corpus Christi 1992, no writ); see also Clark v. Bres, 217 S.W.3d 501, 512 (Tex. App.—Houston [14th
 Dist.] 2006, pets. denied) (“Even in the absence of an applicable rule or statute, courts have the authority to sanction
 parties for bad faith abuses if it finds that to do so will aid in the exercise of its jurisdiction, in the administration of
 justice, and the preservation of its independence and integrity.”).
           Some courts have further articulated, as an additional requirement, that “the conduct complained of significantly
 interfered with the court’s legitimate exercise of one of its traditional core functions.” Kennedy v. Kennedy, 125 S.W.3d
 14, 19 (Tex. App.—Austin 2002, pet. denied) (party’s actions subjected her to contempt of court but not sanctions under
 a statute or rule, or even under the court’s inherent power to sanction for abuse of the judicial process, which requires
 evidence and findings of significant interference with core judicial functions (citing Kutch, 831 S.W.2d 506, 510 (Tex.
 App.—Corpus Christi 1992, no writ), which articulates bad faith as a predicate to inherent-authority sanctions)). But
 see In re J.V.G., No. 09-06-015CV, 2007 WL 2011019, at *5 (Tex. App.—Beaumont July 12, 2007, no pet.) (mem. op.)
 (upholding sanctions because counsel’s pattern of conduct “significantly interfered” with core judicial functions and
 stating “bad faith” is “one basis for imposing inherent authority sanctions” but “broader considerations are involved when
 reviewing the propriety of sanctions imposed”).
          51
             Cf. Assoc. Indem. Corp. v. CAT Contracting, Inc., 964 S.W.2d 276, 285 (Tex. 1998) (explaining in the surety
 context that “‘bad faith’ means more than merely negligent or unreasonable conduct; it requires proof of an improper
 motive or wilful ignorance of the facts”); Citizens Bridge Co. v. Guerra, 258 S.W.2d 64, 69-70 (Tex. 1953) (willful
 ignorance is the equivalent of bad faith).
          52
            Pearson v. Stewart, 314 S.W.3d 242, 248 (Tex. App.—Fort Worth 2010, no pet.); Zuehl Land Dev., LLC v.
 Zuehl Airport Flying Cmty. Owners Ass’n, Inc., 510 S.W.3d 41, 53 (Tex. App.—Houston [1st Dist.] 2015, no pet.);
 Robson v. Gilbreath, 267 S.W.3d 401, 407 (Tex. App.—Austin 2008, pet. denied); Elkins v. Stotts-Brown, 103 S.W.3d
 664, 669 (Tex. App.—Dallas 2003, no pet.).

                                                             22




                                                                                                                                 Appendix223
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                               Page 231 of 509 PageID 8170



 to bad faith.53 Improper motive,54 not perfection,55 is the touchstone. Bad faith can be established

 with direct or circumstantial evidence, but absent direct evidence, the record must reasonably give

 rise to an inference of intent or willfulness.56

          An illustrative case involving the use of inherent authority to sanction attorney misconduct

 is In re Bennett, which involved an attorney’s plan to deliberately circumvent rules implementing

 random assignment of cases in the district courts.57 The attorney sequentially filed seventeen

 lawsuits with the same factual allegations and the same legal claims against the same defendants,

 but with different plaintiff groups.58 Each case was randomly assigned, but plaintiffs’ counsel

 instructed the clerk of the court not to prepare service of citation for the first sixteen filings.59 Mere

 hours after securing assignment to a particular judge for the seventeenth lawsuit, plaintiffs’ counsel

 amended the petition in that case to add approximately seven hundred plaintiffs.60 Soon after,

 counsel attempted to nonsuit the sixteen previously filed lawsuits.61 The trial judge assigned to the



          53
           See Assoc. Indem., 964 S.W.2d at 285 (discussing bad faith in the surety context); Gomer v. Davis, 419
 S.W.3d 470, 478 (Tex. App.—Houston [1st Dist.] 2013, no pet.); Elkins, 203 S.W.3d at 664.
          54
            Zuehl, 510 S.W.3d at 54; Dike v. Peltier Chevrolet, Inc., 343 S.W.3d 179, 194 (Tex. App.—Texarkana 2011,
 no pet.); Robson, 267 S.W.3d at 407.
          55
             See Dike, 343 S.W.3d at 191; cf. Cosgrove v. Grimes, 774 S.W.2d 662, 664-65 (Tex. 1989) (good-faith
 defense to a legal malpractice action is governed by an objective inquiry: “An attorney who makes a reasonable decision
 in the handling of a case may not be held liable if the decision later proves to be imperfect.”).
          56
               Zuehl, 510 S.W.3d at 54; Dike, 343 S.W.3d at 194.
          57
               960 S.W.2d 35, 36-37 (Tex. 1997).
          58
               Id. at 36.
          59
               Id.
          60
               Id. at 36-37.
          61
               Id. at 37.

                                                           23




                                                                                                                           Appendix224
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                 Page 232 of 509 PageID 8171



 first-filed case sanctioned plaintiffs’ counsel for knowingly and intentionally violating rules

 providing for random assignment.62 Plaintiffs’ counsel admittedly gamed the system to ensure

 assignment to a particular court, but such activities were not expressly prohibited.63 We nevertheless

 upheld the sanctions order.64 We considered counsel’s overall course of conduct as well as his

 expressed intent and held that subversion of random assignment procedures is “an abuse of the

 judicial process” that “if tolerated, breeds disrespect for and threatens the integrity of our judicial

 system.”65 Bennett involved rules that did not specifically prohibit the attorney’s conduct, but the

 attorney’s filings exhibited a pattern giving rise to an inference of improper motive, which he

 admitted.

          We have had few occasions to consider conduct sanctionable only under a court’s inherent

 authority, and when we have done so, we have not explicitly articulated bad faith as a predicate

 finding. But we have used equivalent language;66 we have not upheld a sanction where bad faith

 conduct was lacking; and we have observed that the severity of the sanction imposed turns on the




          62
               Id.
          63
               Id.
          64
               Id. at 40.
          65
               Id.
           66
              See, e.g., Bennett, 960 S.W.2d at 40 (stating courts have inherent authority to sanction attorneys who “abuse
 [] the judicial process” and citing Lawrence v. Kohl, 853 S.W.2d 697, 700 (Tex. App.—Houston [1st Dist.] 1993, no
 writ), and Kutch v. Del Mar College, 831 S.W.2d 506, 509-10 (Tex. App.—Corpus Christi 1992, no writ), for the
 proposition that “trial courts have the power to sanction parties for bad faith abuse of the judicial process not covered
 by rule or statute” (emphasis added)); id. (noting the egregious conduct at issue there would “if tolerated, breed[]
 disrespect for and threaten[] the integrity of our judicial system”); see also Abuse, OXFORD AMERICAN DICTIONARY &
 THESAURUS (3d ed. 2010) (“use something to bad effect or for a bad purpose”); Abuse, WEBSTER’S SECOND NEW
 UNIVERSITY DICTIONARY 69 (1984) (“to use wrongly or improperly”).

                                                            24




                                                                                                                              Appendix225
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                  Page 233 of 509 PageID 8172



 degree of bad faith.67 Today’s concurring opinion agrees that bad faith is a prerequisite to a

 sanctions award, but only for certain sanctions, like attorney’s fees, and not other types of sanctions,

 like requiring hours of legal-ethics education.68 The distinction the concurrence makes lacks clarity

 and provides no guidance to trial courts.69 More significantly, it ignores decades of jurisprudence

 that has ably guided Texas courts,70 is derived from a misreading of the Supreme Court’s opinion




          67
            See Altesse Healthcare Sols. v. Wilson, 540 S.W.3d 570, 575-76 (Tex. 2018) (“extreme sanctions” like
 death-penalty sanctions require flagrant bad faith).
          68
               Post at 6-7.
          69
             In urging bad faith is required only for some sanctions and not others, the concurrence cites three cases as
 allowing courts to invoke inherent authority to impose sanctions based only on “significant interference” with core
 judicial functions. Post at 8-9. Two of those cases do not so hold, see infra n. 70, but more problematically, the
 concurrence never says whether that is the standard and, if so, how that standard is satisfied on this record. Indeed, the
 concurrence does not identify any standard as guiding invocation of a court’s inherent authority to sanction parties and
 counsel. The concurrence studiously avoids the issue, but as the highest civil court in the state, we have a duty to
 establish standards and settle the law, not unsettle the law and leave the applicable standards in doubt.
          70
              See supra n.50. With the weight of authority decidedly in opposition, the concurrence’s contrary view rests
 on a single unpublished case with flawed reasoning that has not been followed by any other court, including its own.
 Post at 9 (citing In re J.V.G., No. 09-06-015CV, 2007 WL 2011019 (Tex. App.—Beaumont July 12, 2007, no pet.)
 (mem. op.)). But see Wythe II Corp. v. Stone, 342 S.W.3d 96, 113 (Tex. App.—Beaumont 2011, pet. denied) (observing
 inherent authority to sanction exists “to the extent necessary to deter, alleviate, and counteract bad faith abuse of the
 judicial process”). The opinion in J.V.G. states that bad faith is but one basis for imposing sanctions and holds sanctions
 were proper there for a pattern of conduct that “significantly interfered with” a core judicial function. Id. at *5-8. But
 all of the cases J.V.G. relied on treated “significant interference” as a required component of a bad-faith finding, not as
 an alternative standard. See In re K.A.R., 171 S.W.3d 705, 712 n.3, 714-15 (Tex. App.—Houston [14th Dist.] 2005, no
 pet.) (observing bad-faith conduct findings were unchallenged and conduct significantly interfered with core judicial
 functions); Kings Park Apts., Ltd. v. Nat’l Union Fire Ins. Co., 101 S.W.3d 525, 541 (Tex. App.—Houston [1st Dist.]
 2003, pet. denied) (evidence that a party instructed a paralegal to steal documents from the judge’s chambers authorized
 sanctions under the trial court’s inherent authority); Roberts v. Rose, 37 S.W.3d 31 (Tex. App.—San Antonio 2000, no
 pet.) (“Roberts’s deliberate acts of bad faith throughout his representation” were evidence of bad faith that supported
 the imposition of sanctions against him).
           The concurrence also misstates the holdings in Kennedy v. Kennedy, 125 S.W.3d 14, 19 (Tex. App.—Austin
 2002, no pet.), and McWhorter v. Sheller, 993 S.W.2d 781, 789 (Tex. App.—Houston [14th Dist.] 1999, pet. denied),
 as rejecting bad faith as the guiding standard. But both Kennedy and McWhorter hold only that sanctions not authorized
 by rule or statute cannot stand without a finding and evidence of significant interference with core judicial functions,
 an issue raised here that we do not reach. Notably, both courts relied on Kutch v. Del Mar College, which articulates
 the standard as requiring both bad faith and significant interference. 831 S.W.2d 506, 509-10 (Tex. App.—Corpus
 Christi 1992, no writ) (“We hold Texas courts have inherent power to sanction for bad faith conduct during litigation.”).
 More to the point, the Austin and Houston courts of appeals have long articulated the standard for inherent-authority
 sanctions as requiring bad faith. See supra n.50.

                                                            25




                                                                                                                               Appendix226
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                   Page 234 of 509 PageID 8173



 in Chambers v. NASCO, Inc.,71 and inverts the analysis by looking to the particular sanction imposed

 to determine whether conduct is sanctionable in the first instance.72 But whether counsel should


          71
              The concurrence misconstrues Chambers v. NASCO, Inc., 501 U.S. 32 (1991), as requiring bad faith to
 support inherent-authority sanctions only when the court chooses attorney’s fees as the particular sanction. Post at 6.
 Of course, it is true the Supreme Court required bad faith to support an award of attorney’s fees as a sanction, because
 bad faith is necessary whenever a court invokes inherent authority to impose any sanction. Roadway Exp., Inc. v. Piper,
 447 U.S. 752, 767 (1980). But Chambers actually involves the analytically obverse issue—whether attorney’s fees could
 ever be imposed as a sanction in light of the American Rule’s restriction on fee shifting. Chambers, 501 U.S. at 45, 51;
 see Travelers Indem. Co. v. Mayfield, 923 S.W.2d 590, 594 (Tex. 1996) (allowing trial courts to award attorney’s fees
 “under the guise of ‘inherent authority’ would constitute a judicial end-run around the statutory fee-shifting scheme”).
 The Court held attorney’s fees could indeed be awarded as a sanction under a court’s inherent authority, id. at 51, 57,
 and more recently has clarified that such an award is limited to only those fees causally related to the bad faith conduct.
 Goodyear Tire & Rubber Co. v. Heager, 137 S. Ct. 1178, 1184 (2017) (a federal court’s inherent authority to award
 attorney’s fees as a sanction for bad-faith conduct is limited to the fees the innocent party incurred solely because of the
 misconduct). So, while trial courts do not have inherent authority to award attorney’s fees when not provided by contract
 or statute, courts have inherent authority to impose sanctions for bad-faith conduct and those sanctions can include
 attorney’s fees incurred because of the misconduct.
           The Supreme Court cases the concurrence cites are not inconsistent with our holding today. Post at 6-7. Those
 cases affirm that courts possess inherent authority to enforce their lawful mandates by contempt, manage their dockets,
 and dismiss with prejudice cases involving deliberate and undue delay. See Young v. U.S. ex rel Vuitton et Fils S.A., 481
 U.S. 787, 796 (1987) (criminal contempt power); Illinois v. Allen, 397 U.S. 337, 343 (1970) (criminal contempt power);
 Link v. Wabash R. Co., 370 U.S. 626, 630-31 (1962) (docket management and dismissal with prejudice). Contempt
 requires willful disobedience—engaging in specifically and definitely prohibited conduct. See Lee v. State, 799 S.W.2d
 750, 753 (Tex. Crim. App. 1990) (“Because it is the disobedience of the inherent authority of the court that is at issue,
 it follows that a court, before exercising its contempt powers, must have provided the person it seeks to punish with
 specific and definite notice of those acts which he may or may not perform without the risk of being held in contempt.”);
 accord, e.g., Allen, 397 U.S. at 353 (holding a defendant can be excluded from trial for stubbornly defiant, contumacious,
 and disruptive behavior after being warned by the judge to cease and desist). Here, the trial court neither exercised its
 contempt power nor could on this record. What is more, this case involves inherent authority to sanction, not the court’s
 inherent authority to manage a docket. As to the former, Link, which involved dismissal with prejudice as a sanction
 for deliberate dilatory conduct, accords with our analysis. See Link, 370 U.S. at 630-32 (“[I]t could reasonably be
 inferred from [petitioner’s] absence [at a court-ordered hearing and] from the drawn-out history of the litigation that
 petitioner had been deliberately proceeding in dilatory fashion.”). The concurrence’s citation to Anderson v. Dunn, 19
 U.S. 204, 227 (1821), is confounding as that case involves inherent powers of Congress to compel attendance at
 contempt proceedings, which is not even close to being the same issue.
          72
              Sanctioning counsel involves a two-step determination: “[1] whether the attorney has abused the judicial
 process, and, [2] if so, what sanction would be appropriate.” In re Bennett, 960 S.W.2d 35, 39 (Tex. 1997) (quoting
 Cooter & Gell v. Hartmax Corp., 496 U.S. 384, 396 (1990))). The concurrence’s analysis puts the proverbial cart before
 the horse, collapsing the second inquiry—what sanction is appropriate—onto the first—whether conduct is sanctionable
 at all. This root flaw is most readily apparent in the discussion regarding sanctions for spoliation. Post at 5. Trial courts
 have some discretion to fashion an appropriate remedy for discovery abuse, including spoliation, but whether spoliation
 occurred at all depends on the existence of a duty to preserve evidence, which is a question of law. Brookshire Bros.,
 Ltd. v. Aldridge, 428 S.W.3d 9, 14, 20 (Tex. 2014) (“[A] spoliation analysis involves a two-step judicial process: (1) the
 trial court must determine, as a question of law, whether a party spoliated evidence, and (2) if spoliation occurred, the
 court must assess an appropriate remedy . . . Upon a finding of spoliation, the trial court has broad discretion to impose
 a remedy that, as with any discovery sanction, must be proportionate[.]”); Wal-Mart Stores, Inc. v. Johnson, 106 S.W.3d
 718, 722 (Tex. 2003) (declining to consider whether a particular sanction for spoliation was justified because the

                                                             26




                                                                                                                                 Appendix227
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                   Page 235 of 509 PageID 8174



 receive any sanction at all is a serious matter that impugns counsel’s professional judgment and

 ethical standing. It must be treated as such.

          Requiring a predicate finding of bad faith before imposing sanctions under the amorphous

 and uniquely powerful inherent authority to sanction does not “handcuff[]” courts as the concurrence

 says.73 Courts have many tools at their disposal under rules and statutes that are relatively specific

 in defining the duties imposed and the conduct proscribed, many of which do not require bad faith

 or its equivalent.74 But to wield inherent powers of intrinsic potency and unconstrained breadth

 necessitates the restraint and caution the bad-faith predicate encapsulates.75

                                                C. Brewer’s Conduct

          In imposing sanctions on Brewer, the trial court took issue with certain aspects of the

 telephone survey’s contents and execution and found Brewer’s courtroom demeanor disconcerting.

 Though the survey Brewer commissioned is not without its faults, the evidence shows he undertook

 reasonable efforts to secure a third-party industry professional to create a relatively balanced public


 defendant had no duty to preserve the evidence in question, so no sanction was warranted in the first place). As to
 remedies, “spoliation is essentially a particularized form of discovery abuse” that is sanctionable in accordance with Civil
 Procedure Rule 215. Brookshire Bros., Ltd. v. Aldridge, 428 S.W.3d at 18, 21; see TEX. R. CIV. P. 215.2-.3 (sanctions
 for discovery abuse include attorney’s fees and an order designating “facts shall be taken to be established for the
 purposes of the action in accordance with the claim of the party obtaining the order”).
          73
               Post at 2-3.
          74
               See supra n.2 & infra n.76.
          75
             By merely rubber stamping amorphous trial court “findings” that are neither facts nor conclusions of law, the
 concurrence proves the point. See post at 9-10. Worse, the concurrence misapprehends the applicable standard of review
 and fails to identify any guiding principles governing the trial court’s discretion. “In reviewing sanctions orders, the
 appellate courts are not bound by a trial court’s findings of fact and conclusions of law; rather, appellate courts must
 independently review the entire record to determine whether the trial court abused its discretion.” Am. Flood Research,
 Inc. v. Jones, 192 S.W.3d 581, 583 (Tex. 2006); see Cire v. Cummings, 134 S.W.3d 835, 838-39 (Tex. 2004) (a court
 abuses its discretion if it acts without reference to guiding rules and principles). An opinion, no mater how genuinely
 held, must nonetheless be supported by evidence and must adhere to guiding principles. The concurrence identifies
 neither. If the concurrence is embracing “significant interference with a core judicial function” as an additional or
 alternative standard, it is impossible to discern.

                                                             27




                                                                                                                                Appendix228
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                  Page 236 of 509 PageID 8175



 opinion survey for random administration. The record bears no direct, or even circumstantial,

 evidence of bad faith.

          Brewer did not disobey any court order, knowingly or otherwise. The trial court did not find

 that Brewer violated any disciplinary rule, nor is there evidence Brewer knowingly violated any

 disciplinary rule.76 Neither is there evidence that Brewer knew, or even had reason to believe, that

 a randomly generated database of roughly seven percent of the county population would result in

 any touch points connected to this case, let alone many. At worst, Brewer was lax in failing to

 ensure the survey was not totally random by securing the exclusion of case-related individuals from

 the survey database.77 Leaving the matter entirely in a third party’s hands could arguably constitute

 gross negligence, as the trial court found, but it does not give rise to a reasonable inference of bad

 faith. Reviewing the totality of the evidence leads us to conclude the trial court’s concerns about

 the survey were reasonable, but the court’s finding of bad faith is factually unsupported.




          76
             The trial court’s referral of the matter to the Commission for Lawyer Discipline is one method available to
 courts to help ensure ethical lapses are disciplined, when warranted, according to the processes, procedures, and
 standards of review applicable to all attorneys. If a judge has knowledge of unethical conduct, the judge can, and indeed
 must, refer the matter for disciplinary proceedings. See TEX. CODE JUD. CONDUCT, CANON 3(d)(2); TEX. DISCIPLINARY
 RULES OF PROF’L CONDUCT R. 8.03(a); cf. CODE OF CONDUCT FOR U.S. JUDGES cmt. 3(B)(6); Comm’n for Lawyer
 Discipline v. Cantu, 587 S.W.3d 779, 784 (Tex. 2019) (“The obligation to report attorney misconduct [to the State Bar]
 applied doubly to Judge Isgur, who is not only a judge but a licensed Texas attorney.”); Remington Arms Co., Inc. v.
 Caldwell, 850 S.W.2d 167, 172 (Tex. 1993) (“[T]he court itself is obligated to refer a lawyer to appropriate authorities
 to answer for unprofessional conduct of which the judge is aware.”).
          77
              Ensuring removal of individuals directly connected to a case should be relatively straightforward, but
 scrubbing a survey database of every person related to or affiliated with someone directly connected to a lawsuit may
 be difficult, if not infeasible, particularly when businesses, governmental entities, and other organizations are involved.
 Many names and surnames are common; relatives do not always share the same surname; relatives do not necessarily
 share the same address; and many people can be reached at more than one telephone number.

                                                            28




                                                                                                                               Appendix229
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                              Page 237 of 509 PageID 8176



                                           1. Public Opinion Surveys

          Pretrial surveys are a useful litigation tool “to conduct research, get reliable results (both

 quantitative and qualitative), and create a winning trial strategy,” while also “saving the [law] firm

 time, money, and resources in trial preparation.”78 In one form or another, surveys of the community

 from which the jury will be summoned have been conducted for almost eighty years.79 Such surveys

 have even been conducted without rebuke in high-profile cases such as the Boston Bomber case,80

 the Oklahoma City bombing case,81 the Ted Bundy trial,82 and the Harrisburg-Seven trial.83

 Attorneys frequently rely on community surveys in complex commercial litigation and obscenity

 prosecutions,84 and many law review articles, practice treatises, and other reliable secondary sources

 cite “public opinion surveys,” “community surveys,” and “opinion polls” as valid methods of

          78
             Richard H. Middleton, Jr., Competitive Pretrial Intelligence: Can Mock Trials and Focus Groups Be
 Advanced?, 2002 ATLA-CLE 1361 (July 2002) (also noting that surveys were empirically tested and found to be more
 reliable and cost-effective than mock trials and focus groups in pretrial research and preparation).
          79
             Cases from as early as the 1940s discuss the use of pretrial community surveys or public opinion research
 to support litigants’ claims. See, e.g., Oneida, Ltd., v. Nat’l Silver Co., 25 N.Y.S.2d 271, 286 (N.Y. Sup. Ct. 1940)
 (housewives surveyed using the litigants’ silverware patterns to determine whether one company had appropriated the
 other’s design).
          80
           Motion for Change of Venue at 1, United States v. Tsarnaev, No-13-10200-GAO, 2014 WL 4823882, at *1
 (D. Mass. Sept. 24, 2014).
          81
            See Christina Studebaker & Steven Penrod, Pretrial Publicity, the Media, the Law, and Common Sense, 3
 PSYCHOL. PUB. POL’Y & L. 428, 450 (1997) (citing the trials of McVeigh and Nichols for employing “the use of a media
 analysis and public opinion surveys quite well”).
          82
           Bundy v. Dugger, 850 F.2d 1402, 1425 (11th Cir. 1988) (refusing to presume prejudice where a pretrial public
 opinion poll was conducted to determine community familiarity with serial killer Ted Bundy and opinions about his
 guilt).
          83
           See Rachel Hartje, Comment, A Jury of Your Peers?: How Jury Consulting May Actually Help Trial Lawyers
 Resolve Constitutional Limitations Imposed on the Selection of Juries, 41 CAL. W. L. REV. 479, 491-92 (2005).
          84
            See Gabriel M. Gelb & Betsy D. Gelb, Internet Surveys for Trademark Litigation: Ready or Not, Here They
 Come, 97 TRADEMARK REP. 1073, 1086–87 (2007); see also Schering Corp. v. Pfizer Inc., 189 F.3d 218, 234 (2d Cir.
 1999), as amended on reh’g (Sept. 29, 1999) (misrepresentation case dealing with pharmaceutical sales); Com. v.
 Trainor, 374 N.E.2d 1216, 1220 (Mass. 1978) (obscenity prosecution).

                                                          29




                                                                                                                          Appendix230
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                 Page 238 of 509 PageID 8177



 determining the community’s attitude toward the parties, witnesses, or issues in a particular case.85

 Examples of pretrial surveys are found in case law from almost every state and in the federal judicial

 system. Such surveys are not inherently improper.

          United States v. Collins is a case in point.86 Collins was an appeal from a federal judge’s

 bribery conviction. Before the bribery case went to trial, the prosecutors commissioned a telephone

 survey of 457 respondents from within the district, asking questions related to the impending trial

 and specifically identifying the defendants by name.87 Notably, “after hearing a recitation of the

 prosecution’s version of the evidence against the [judge and a co-defendant], those polled were

 asked whether they thought the defendants were ‘definitely guilty, probably guilty, probably not

 guilty, definitely not guilty or do you have no opinion in this case.’”88 A majority of the respondents

 answered that the defendants were definitely or probably guilty.89

          When the defendants learned about the survey, they reported it to the district court.90 The

 court ordered the prosecution to turn over all polling material and, on review, determined the polling

 issue was a “red herring” and “nothing had been done to compromise the integrity of jury




          85
             See, e.g., § 14:10: Jury Selection Based on Juror Profiles and Investigations, JURY SELECTION: THE LAW,
 ART, AND SCIENCE OF SELECTING A JURY, Thompson Reuters (2018); Franklin Strier & Donna Shestowsky, Profiling
 the Profilers: A Study of the Trial Consulting Profession, Its Impact on Trial Justice and What, If Anything, to Do About
 It, 1999 WIS. L. REV. 441, 444 (1999).
          86
               972 F.2d 1385 (5th Cir. 1992).
          87
               Id. at 1398 & n.18.
          88
               Id. at 1398 (footnote omitted).
          89
               Id.
          90
               Id.

                                                           30




                                                                                                                             Appendix231
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                      Page 239 of 509 PageID 8178



 selection.”91 The court declined to turn over the polling material to the defendants until after trial

 and later denied their motion for a new trial. The court held the poll had not undermined the

 integrity of the jury, noting none of the jurors who served on the jury had been contacted and the

 matter had been adequately covered in voir dire questioning.92

         On appeal, the defendants challenged the survey under various theories. The Fifth Circuit

 held the survey did not violate the defendants’ due process rights in any respect.93 The appellate

 court agreed with the district court that complaints about the poll were a red herring.94 The court

 concluded that pretrial message testing did not give the government an unfair advantage at trial and

 no fundamental unfairness ensued from the district court’s decision to withhold disclosing the

 polling materials to the defendants until after the trial.95 The court affirmed the convictions, holding,

 in relevant part, that the government’s commencement of a telephone survey did not violate the

 defendants’ due process rights.96

         As Collins demonstrates, pretrial telephone surveys in the district from which the jury pool

 is drawn are not necessarily unfair or improper. But when zealously pursued without fidelity to rules

 of professional ethics, community research activities—regardless of which side employs

 them—have the potential to taint the jury pool and threaten the functioning of the judicial system.



         91
              Id.
         92
              Id.
         93
              Id. at 1398-99.
         94
              Id. at 1398.
         95
              Id. at 1399.
         96
              Id. at 1415.

                                                    31




                                                                                                             Appendix232
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                           Page 240 of 509 PageID 8179



 Concerns about undisclosed and unsupervised survey activities in the course of pending litigation

 are not unfounded, especially when a trial date is impending. Indeed, any type of community

 outreach—whether it be surveys, overt media engagement, or web-based activities—has the

 potential to impact the jury-selection process. A campaign of disinformation, in whatever form,

 undermines the sanctity of the judicial process and is inimical to the constitutional promise of a fair

 and impartial jury trial. It cannot be tolerated.

         Lack of specific guidance on the form, content, and timing of community research in

 connection with pending litigation suggests such endeavors should be undertaken with great caution

 and a healthy dose of trepidation. When attitudinal research is conducted in the community from

 which the venire will be empaneled, they can present fertile ground for mischief and misadventure

 if adequate safeguards are lacking. A handful of federal courts in Texas have standing orders

 acknowledging that litigation focus testing is routinely employed but can impact the jury-selection

 process.97 The standing orders do not prohibit use of surveys as a litigation tool; rather, they

 regulate the practice when it occurs in the county of suit.98 Collectively, the orders (1) require

 pretrial notice of intent to conduct such a study; (2) require disclosure (to varying degrees) of the

 methodology; (3) temporally limit proximity to trial; and (4) require in camera submission of each

 participant’s name and address in advance of the pre-trial conference. No such order was in place

 here.


         97
             The Honorable Ron Clark, E.D.T.X. Standing Order RC-47 (Aug. 11, 2010); The Honorable Rodney Gilstrap
 and the Honorable Roy Payne, E.D.T.X. Standing Order Regarding Mock Juries (Feb. 3, 2012); The Honorable Robert
 Schroeder, E.D.T.X. Standing Order Regarding Mock Juries (Jan. 15, 2016); Kacy Miller, A Primer on EDTX Jury
 Research          Rules,       COURTROOMLOGIC CONSULTING (Mar.                                   2,    2017),
 http://courtroomlogic.com/2017/03/02/edtx-jury-research-rules/.
         98
              See supra n.97.

                                                        32




                                                                                                                     Appendix233
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                               Page 241 of 509 PageID 8180



          Implementation of Brewer’s survey in Lubbock County was not perforce impermissible, but

 it brought the survey’s imperfections into sharper focus. Nevertheless, considering the survey

 process as a whole, we cannot agree the survey’s ostensible shortcomings create a reasonable

 inference of bad faith. Evidence that the survey database and survey respondents were randomly

 selected—without any input by Brewer or his staff—was unrefuted. And the record does not

 support the allegation that anyone in particular was “targeted.” Nor is there evidence that the size

 of the survey database suggested anything untoward. Genuine inaccuracies in the formulation of

 litigation statements tested in Brewer’s quite lengthy survey are debatable, but any such defects were

 isolated and few and far between. The survey reflects reasonable efforts to achieve a reasonable

 degree of balance. Not perfect, but reasonable.99

          The survey efforts bear other markers of good faith:

          (1) Qualified Third-Party Experts.100 Brewer engaged an independent, internationally

 recognized research organization to design and implement the survey.101 As a member of the

 American Association for Public Opinion Research, Public Opinion Strategies was required to

 follow industry standards that include prohibiting push polls. Brewer and his firm were privy to the



          99
            The parties present a false dichotomy between impermissible push polls and legitimate survey research. As
 the testimony of the movants’ expert affirms, a survey could have aspects of both—neither all bad nor all good.
          100
              Cf. Tex. Aeronautics Comm’n v. Braniff Airways, Inc., 454 S.W.2d 199 (Tex. 1970) (qualifications of the
 researcher important in determining reliability of survey); Baumholser v. Amax Coal Co., 630 F.2d 550, 552-53 (7th Cir.
 1980) (a survey conducted by “qualified experts” in market research and public opinion helps provide “a substantial
 showing of reliability”); Sanchez v. Cegavske, 214 F. Supp. 3d 961, 970 (D. Nev. 2016) (“Generally, experts who design,
 conduct, and analyze a survey should have extensive training in the social sciences which includes methods, sampling,
 and statistics work.”); G. v. Hawaii, Dept. of Human Servs., 703 F. Supp. 2d 1112, 1125 (D. Haw. 2010) (“[T]he persons
 conducting the survey must be experts[.]”) (quoting Pitts. Press Club v. U.S, 579 F.2d 751, 758 (3d Cir. 1978)).
          101
              Public Opinion Strategies has been an industry-recognized research firm for more than twenty years, has
 conducted over 14,000 projects for scientific and political clients, and is headed by an individual with leadership
 positions in ethics organizations governing public opinion research internationally.

                                                          33




                                                                                                                           Appendix234
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                 Page 242 of 509 PageID 8181



 survey questions and had an opportunity to provide input, but were screened off from critical aspects

 by Public Opinion Strategies’ use of third-party vendors to create the survey database and conduct

 the survey. This is consistent with industry practice and case law on pretrial surveying.102 Barring

 red flags or other indicia of untrustworthiness—and the record here bears no evidence of either—one

 can reasonably presume qualified third-party research professionals will perform their services in

 accordance with industry standards.

          (2) Proper Relevant Universe and Randomly Drawn Representative Sample.103                                    In

 professional surveying research, the “relevant universe” refers to the universe of people most

 relevant to the issue being studied.104 Defining the universe is a methodological choice designed to

 ensure a statistically significant result. Ordinarily, a prudent litigant might avoid the county of suit

 to avoid even the appearance of impropriety. But attitudinal studies conducted in other jurisdictions

 might not produce an appropriately representative sample or a statistically valid result.

          Carter and Brewer reasonably explained why Lubbock County was chosen for the pretrial

 survey. The explosion, the moratoriums, the plaintiffs’ own survey efforts, and enhanced media



          102
             Tunnell v. Ford Motor Co., 330 F. Supp. 2d 707, 719-20 (W.D. Va. 2004) (blind surveys are preferred as
 a method for avoiding bias where the interviewers and participants are “blind to the purpose and sponsorship of the
 survey” and “attorneys are excluded from any part in conducting interviews and tabulating results”); Pitts. Press Club,
 579 F.2d at 758 (surveys should be conducted “independently of the attorneys” and “the interviewers,” “[survey]
 designers,” and “[survey] Respondents” should all be “unaware of the purposes of the survey or litigation”).
          103
            County of Kenosha v. C&S Mgmt., Inc., 588 N.W.2d 236, 253 (Wis. 1999) (examining relevant population);
 Nat’l Football League Props., Inc. v. N.J. Giants, Inc., 637 F. Supp. 507, 513-14 (D.N.J. 1986) (analysis of survey began
 with universe selected for the survey conducted).
          104
             For example, in trademark litigation, the relevant universe would be people in the market who would
 purchase a product and be exposed to and confused by the competing product. See, e.g., Nat’l Football League Props.,
 637 F. Supp. at 514 (survey properly conducted in a community of concentrated support for the Giants). In change of
 venue cases, the relevant universe would be the community the party believes has been tainted or prejudiced in some
 way. See, e.g., U.S. v. Rodriguez, 581 F.3d 775, 785 (8th Cir. 2009) (discussing several cases where public opinion polls
 were introduced in change-of-venue motions based on community prejudice).

                                                           34




                                                                                                                             Appendix235
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                               Page 243 of 509 PageID 8182



 coverage took place in Lubbock County. Carter also explained that other jurisdictions may not be

 as prone to significant lightning events as Lubbock County. Brewer and Carter provided specific

 reasons why Lubbock County residents were uniquely situated to properly evaluate the impact of

 media coverage on public opinion and test themes and messages that would resonate with the

 relevant community. The record bears no evidence these reasons were false or otherwise pretextual.

          As to sample size, no one has asserted that completing 300 surveys or assembling a survey

 database of 20,000 was abnormal or improper.105 A representative sample is required to ensure

 research results are not skewed, and the results here show a statistically acceptable margin of error.

 While significantly overdrawing from a sample could suggest improper motives for conducting a

 survey, there is no evidence that occurred here.

          (3) Adherence To Generally Accepted Standards. The record lacks evidence that the sample,

 questionnaire, and interviews were designed without adhering to generally accepted standards of

 objective procedure and statistics in the research field. Brewer’s firm was not entirely hands off in

 formulating the survey questions, but Carter’s input was limited and Brewer’s was minimal, and

 neither participated in the survey administration process.106 The trial court observed that Brewer was

 the customer who told the retailer what to do. But by engaging a third-party professional to design

 and implement the survey, the retailer was subject to and constrained by professional guidelines and

 ethical standards. The American Association for Public Opinion Research, the European Society


          105
            See U.S. v. Collins, 972 F.2d 1385 (5th Cir. 1992) (finding no adverse jury impact arising from a telephone
 survey of 457 local respondents in connection with a high-profile criminal trial).
          106
             See Pitts. Press Club, 579 F.2d at 758 (“[T]he survey must be conducted independently of the attorneys
 involved in the litigation.”); G. v. Hawaii, Dept. of Human Servs., 703 F. Supp. 2d 1112, 1125 (D. Haw. 2010) (same);
 Sanchez, 214 F. Supp. 3d at 970 (articulating the reasons behind preference for attorneys and firms to remain separate
 from the survey administration process).

                                                          35




                                                                                                                          Appendix236
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                       Page 244 of 509 PageID 8183



 for Opinion Marketing and Research, other organizations, and watchdog groups regularly publish

 these guidelines.107 Absent evidence to the contrary, reputable researchers, like Public Opinion

 Strategies, can reasonably be expected to adhere to these guidelines to maintain membership in

 professional associations and to maintain credibility.

         (4) Randomized Favorable and Unfavorable Message-Testing Questions. In several

 important respects, Brewer’s survey resembles the survey in United States v. Collins—similarities

 included survey size, situs, and message testing based on the surveyor’s point of view. But where

 those surveys differ is even more notable. Unlike the Collins survey, Brewer’s survey included a

 relatively balanced array of statements that favored and undermined his client’s litigation position.

 The survey did not endorse either set of statements or represent them to be facts; it merely asked

 respondents if the statements—whether favorable or unfavorable—were convincing. And most of

 the message-testing questions were rotated to avoid order bias. Rotating questions is common in

 professional public opinion research as a way to ensure unbiased results. This strategic choice

 indicates an intent to solicit the respondent’s opinions rather than shape them.

         On the other hand, (1) not all the adverse statements against other potentially responsible

 parties were rotated, (2) some of the negative statements about Brewer’s clients were not as strongly

 negative as negative statements about other parties and non-parties, (3) emphasis was used only in

 a single question and that question was favorable to Titeflex, and (4) not all negative messages were

 counterbalanced. For example, in various forms or fashions, the survey made reference to improper

 installation of the piping at least thirteen times but included only one question suggesting CSST



         107
             See, e.g., AAPOR Code of Ethics, AMERICAN ASSOCIATION FOR PUBLIC OPINION RESEARCH (revised Nov.
 2015), https://www.aapor.org/Standards-Ethics/AAPOR-Code-of-Ethics.aspx.

                                                     36




                                                                                                               Appendix237
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                              Page 245 of 509 PageID 8184



 piping could fail even if properly installed. But in determining whether the survey was designed in

 bad faith, it should be viewed holistically, not by isolating its parts. And, here, the whole is greater

 than the sum of its parts.

         On the record before the court, the trial court’s finding that Brewer designed and

 implemented the survey in bad faith is unsupported. Even if some of the survey questions were

 individually problematic, bad faith cannot be inferred merely from error;108 otherwise, it would cease

 to function as a constraint on sanction power.109 Nor can conscious wrongdoing be inferred merely

 from the fact that a message-testing survey was conducted proximate to trial without voluntary

 disclosure when, unlike In re Bennett, no governing authority expressly or implicitly regulated those

 aspects of the survey efforts.110 Improper motive might be reasonably inferred if the record bore

 even slight evidence that SSI’s contacts with case-related individuals could not have occurred

 randomly; or if Brewer engaged in a pattern or practice of similar conduct; or if the background

 materials Carter provided to the survey company were so one-sided or unbalanced as to taint the

 independence of the survey process; or if there were proof demonstrating pervasive falsity, rather




         108
             McWhorter v. Sheller, 993 S.W.2d 781, 789 (Tex. App.—Houston [14th Dist.] 1999, pet. denied) (reversing
 sanctions imposed on attorney who taped telephone conversation with the court and opposing counsel, holding conduct
 showed “at best, some degree of inexperience and negligence [but not] an intentional act made in bad faith”).
         109
             Kutch v. Del Mar Coll., 831 S.W.2d 506, 510 (Tex. App.—Corpus Christi 1992, no writ) (“The amorphous
 nature of this power, and its potency, demands sparing use.”).
         110
             Collins, 972 F.2d at 1400 n.27 (government-commissioned community attitudes survey was not subject to
 mandatory Brady disclosure because neither the poll nor its results were “evidence”); Primrose Operating Co., Inc. v.
 Jones, 102 S.W.3d 188, 192 (Tex. App.—Amarillo 2003, pet. denied) (mock trial was conducted four days before case
 was called for trial).

                                                         37




                                                                                                                         Appendix238
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                               Page 246 of 509 PageID 8185



 than incidental errors and statements based on disputed evidence. But inference stacked only on

 other inferences is not sufficient to support a finding of bad faith.111

                                             2. Courtroom Demeanor

          The trial court’s letter ruling negatively references Brewer’s behavior at the sanctions

 hearing in the following respects: (1) his “nonchalant and uncaring” demeanor, (2) “repeatedly

 evasive” answers to questions, which resulted in the court “sustain[ing] multiple objections for

 non-responsiveness,” and (3) his intransigence in defending himself on the basis that he acted

 reasonably in hiring a third-party vendor to conduct a blind study. From this, the respondents infer

 the trial court sanctioned Brewer not only because of the survey but also based on his courtroom

 conduct, and they suggest the sanctions order can be upheld on that basis alone. Even if the former

 is correct, the latter is not.

          Trial courts are empowered to command respect and decorum in courtroom proceedings and

 may exercise that authority by sanctioning members of the bar who are pugnacious and

 indecorous.112 Attorneys are expected to comport themselves respectfully and professionally in their

 interactions with the court, opposing counsel, the parties, and witnesses. Failure to do so can disrupt

 proceedings, impair the efficient administration of justice, and impede the exercise of a trial court’s

 core functions.113 But the record here does not reflect that Brewer’s behavior interfered with the




          111
                See Marathon Corp. v. Pitzner, 106 S.W.3d 724, 728 (Tex. 2003).
          112
                See Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991).
          113
            See Armadillo Bail Bonds v. State, 802 S.W.2d 237, 239 (Tex. Cr. App. 1990) (core judicial functions include
 hearing evidence, deciding issues of law or fact, and rendering final judgments); accord McWhorter v. Sheller, 993
 S.W.2d 781, 788-89 (Tex. App.—Houston [14th Dist.] 1999, pet. denied).

                                                          38




                                                                                                                           Appendix239
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 247 of 509 PageID 8186



 administration of justice, detracted from the trial court’s dignity and integrity, or even prolonged the

 hearing to any measurable degree.

         Over the course of an entire day of questioning, the trial court sustained only four objections

 to Brewer’s testimony on the basis of nonresponsiveness. In response to a fifth objection, the court

 instructed him to listen and answer the question asked. And at a break, the court asked Brewer’s

 counsel to “please visit with [his] client about answering the question that’s asked.” After the

 court’s mild rebuke, Brewer toed the line, and the court sustained no further responsiveness

 objections to his testimony.

         Failure to appreciate the gravity of the matter, by displaying a “nonchalant and uncaring”

 demeanor, might bear on the type of sanction necessary to deter, punish, or secure compliance. But

 the record does not reflect that Brewer engaged in the type of contumacious, insolent, or

 disrespectful behavior that rises to the level of sanctionable conduct in its own right.

         Making groundless arguments in bad faith or for an improper purpose might warrant

 sanctions, but arguments that are merely “unpersuasive” do not. Brewer’s defensive theories were

 not so meritless that they could properly be characterized as “bad faith, unprofessional and

 unethical.”

         In sum, whether viewed separately or cumulatively, we hold that the sanctions order is not

 sustainable based solely on Brewer’s attitude or courtroom behavior.




                                                   39




                                                                                                            Appendix240
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 248 of 509 PageID 8187



                                           III. Conclusion

        The survey Brewer commissioned was not a model of perfection, and its execution was not

 flawless. Nearly everyone agrees, including Brewer, that he should have ensured the survey

 database excluded witnesses, parties, and governmental officials directly connected with the

 litigation. But these errors do not constitute bad faith when the survey and the circumstances of its

 undertaking are viewed in totality. Brewer’s dismissive attitude and intermittent obstinance at the

 sanctions hearing undoubtedly taxed the trial court’s patience and was relevant to what sanctions

 should be imposed but did not itself justify the imposition of sanctions. We therefore reverse the

 court of appeals’ judgment and vacate the sanctions order.




                                                       ________________________________
                                                       Eva M. Guzman
                                                       Justice


 OPINION DELIVERED: April 24, 2020




                                                  40




                                                                                                         Appendix241
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 249 of 509 PageID 8188




                                        41




                                                                               Appendix242
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 250 of 509 PageID 8189




                                          42




                                                                               Appendix243
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 251 of 509 PageID 8190




                                       43



                                                                               Appendix244
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 252 of 509 PageID 8191




                                        44



                                                                               Appendix245
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 253 of 509 PageID 8192




                                       45



                                                                               Appendix246
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 254 of 509 PageID 8193




                                       46



                                                                               Appendix247
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 255 of 509 PageID 8194




                                       47



                                                                               Appendix248
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 256 of 509 PageID 8195




                                      48



                                                                               Appendix249
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 257 of 509 PageID 8196




                IN THE SUPREME COURT OF TEXAS
                                         ══════════
                                           No. 18-0426
                                         ══════════

                           WILLIAM A. BREWER III, PETITIONER,

                                                 v.


   LENNOX HEARTH PRODUCTS, LLC; TURNER & WITT PLUMBING, INC.; STRONG
   CUSTOM BUILDERS, LLC; THERMO DYNAMIC INSULATION, LLC; STATE FARM
  LLOYDS INSURANCE COMPANY; KEN AND BECKY TEEL; ROSS AND MEG RUSHING,
                             RESPONDENTS

            ══════════════════════════════════════════
                          ON PETITION FOR REVIEW FROM THE
                 COURT OF APPEALS FOR THE SEVENTH DISTRICT OF TEXAS
            ══════════════════════════════════════════

       JUSTICE BOYD, concurring in part and dissenting in part.

       An attorney commissioned a pretrial telephone survey of residents within the community

where the suit was about to be tried. After an extensive evidentiary hearing, the trial court found

the attorney engaged intentionally and in bad faith in “an abusive litigation practice that harms the

integrity of the justice system and the jury trial process.” Relying on its inherent authority to

sanction such misconduct, the court ordered the attorney to pay other parties’ attorney’s fees and

expenses and to complete ten extra hours of legal-ethics education. Today the Court vacates that

order, holding that (1) a court cannot exercise its inherent authority to sanction an attorney who

abuses the judicial system unless the court finds the attorney acted in bad faith, ante at ___, and

(2) this record contains no evidence to support the trial court’s finding that this attorney acted in

bad faith, ante at ___.




                                                                                                        Appendix250
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                 Page 258 of 509 PageID 8197




         Regarding the Court’s second holding, I have repeatedly documented my view that “no

evidence” should mean “no evidence.” 1 The trial court entered specific fact findings after

conducting a hearing “over the course of seven days,” ante at ___, and three distinguished appellate

jurists—after making “an independent inquiry of the entire record,” including “the evidence,

arguments of counsel, written discovery on file, and the circumstances surrounding the party’s

sanctionable conduct”—unanimously agree that some evidence supports the trial court’s findings,

Brewer v. Lennox Hearth Prods., LLC, 546 S.W.3d 866, 876 (Tex. App.—Amarillo 2018).

Holding that the evidence on which those judges relied was not actually any evidence at all should

be a most difficult task.

         But I find the Court’s first holding far more important and concerning. Before today, this

Court has never held that trial courts can only exercise their inherent authority to sanction a party

or attorney if they first find that the party or attorney acted in “bad faith.” Globally applying a bad-

faith requirement to all inherent-authority sanctions for all sanctionable conduct unnecessarily


         1
            See, e.g., Alamo Heights Indep. Sch. Dist. v. Clark, 544 S.W.3d 755, 817 (Tex. 2018) (BOYD, J., dissenting)
(“Because a reasonable juror could conclude from this evidence that Clark suffered harassment because of sexual
desire or because of her gender-specific anatomy and characteristics, I would hold that the evidence is sufficient to
create a fact issue on whether Clark suffered discrimination ‘because of sex’ under the TCHRA.”); United Scaffolding,
Inc. v. Levine, 537 S.W.3d 463, 501 (Tex. 2017) (BOYD, J., dissenting) (“At least some evidence established that USI
did not have control of the scaffold at the time of Levine’s accident, and the evidence certainly did not conclusively
establish that USI had such control.”); KBMT Operating Co. v. Toledo, 492 S.W.3d 710, 718 (Tex. 2016) (BOYD, J.,
dissenting) (“Because Toledo provided some evidence that an ordinary viewer could have understood the broadcasts
to assert that she engaged in sexual contact with a pediatric patient, our jurisprudence makes it the jury’s duty, not this
Court’s, to decide whether the broadcasts were defamatory, false, or privileged. The Court’s result-driven approach
ignores our own precedent and the applicable standard of review and thereby usurps the jury’s role in this case.”);
Genie Indus., Inc. v. Matak, 462 S.W.3d 1, 13 (Tex. 2015) (BOYD, J., dissenting) (“This record contains at least some
evidence that it was both foreseeable and likely that untrained non-professionals would use the Genie lift, that they
would destabilize it while the platform was raised and occupied despite the warnings and the allegedly obvious
dangers, and that doing so would result in serious injuries and death, no matter how high the platform is elevated.”);
Elizondo v. Krist, 415 S.W.3d 259, 271 (Tex. 2013) (BOYD, J., dissenting) (“I believe the Court imposes too strict a
standard at this summary judgment stage. Because the expert based his opinion on facts that could support a finding
that the Elizondos’ claims had substantial merit but were settled as if they had no merit at all, I would hold that the
Elizondos created a fact issue on the existence of malpractice damages.”).




                                                                                                                              Appendix251
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 259 of 509 PageID 8198




handcuffs our state’s trial courts and undermines the very reason they possess inherent authority

in the first place. 2

         Instead of globally requiring bad faith in all contexts, we have explained that the courts’

inherent authority, 3 which derives from their constitutional creation and duties, exists so that they

can “effectively perform their judicial functions and . . . protect their dignity, independence and

integrity.” Eichelberger v. Eichelberger, 582 S.W.2d 395, 399 (Tex. 1979). We have held that

courts may rely on this power to sanction both “recalcitrant litigants,” Altesse Healthcare Sols.,

Inc. v. Wilson, 540 S.W.3d 570, 572 (Tex. 2018) (per curiam), and “errant counsel” who engage

in “improper trial conduct,” Remington Arms Co. v. Caldwell, 850 S.W.2d 167, 172 (Tex. 1993).

We have said that courts have inherent authority to sanction attorneys for an “abuse of the judicial

process” and for conduct that “breeds disrespect for and threatens the integrity of our judicial

system.” In re Bennett, 960 S.W.2d 35, 40 (Tex. 1997) (per curiam). 4 And they have “not only the



         2
           The Court imposes its global bad-faith requirement because of its concern that the trial courts’ “wield[ing]
inherent powers of intrinsic potency and unconstrained breadth necessitates the restraint and caution the bad-faith
predicate encapsulates.” See ante at ___. But our system is designed to constrain the limits of inherent sanctions.
Indeed, the Court cites ample opinions in which courts of appeals reversed a trial court’s use of its inherent power to
sanction. See ante at ___ (citing Union Carbide Corp. v. Martin, 349 S.W.3d 137, 148 (Tex. App.—Dallas 2011, no
pet.) (reversing sanctions award); McWhorter v. Sheller, 993 S.W.2d 781, 789 (Tex. App.—Houston [14th Dist.] 1999,
pet. denied) (same); Onwuteaka v. Gill, 908 S.W.2d 276, 281 (Tex. App.—Houston [1st Dist.] 1995, no writ) (same)).
The courts of appeals constrain a trial court’s inherent authority to sanction even when bad faith exists. See Harmouch
v. Michael A. Rassner, D.D.S., P.C., No. 01-10-00367-CV, 2011 WL 1435008, at *4 (Tex. App.—Houston [1st Dist.]
April 14, 2011, no pet.) (mem. op.) (vacating sanctions order despite evidence of bad faith because no evidence existed
that the “bad faith conduct interfered with the legitimate exercise of the trial court’s core functions.”). If the lower
courts have been able to constrain the use of the inherent authority to sanction for “decades,” I see no reason why
creating an additional requirement of bad faith is necessary today.
         3
           To be clear, we are addressing here a trial court’s inherent authority to sanction an attorney, not authority
granted by statute or rule. See ante at ___ n.2 (listing sources of courts’ authority to sanction).
         4
            The Court stretches to characterize Bennett as globally requiring bad faith, suggesting that we used
“equivalent language” when we referred to “abuse of the judicial process.” See ante at ___ n.66. But as the definitions
the Court itself cites confirm, “abuse” includes conduct that has a “bad effect” as well as a “bad purpose,” and use that
is “improper” as well as “wrong.” Id. An attorney’s conduct can abuse the judicial process without bad faith.




                                                                                                                            Appendix252
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                             Page 260 of 509 PageID 8199




power but the duty to insure that judicial proceedings remain truly adversary in nature.” Pub. Util.

Comm’n of Tex. v. Cofer, 754 S.W.2d 121, 124 (Tex. 1988).

          To protect the integrity of the judiciary and judicial process, trial courts rely on their

inherent authority to impose a wide array of sanctions—from slap-on-the-wrist ethics-education

orders to death-penalty dismissal orders—in response to an equally wide array of sanctionable

conduct. In each case, however, we have repeatedly demanded that with all sanctions, whether

based on inherent authority or not, the punishment must fit the crime. See Altesse Healthcare, 540

S.W.3d at 572 (citing TransAmerican Nat. Gas Corp. v. Powell, 811 S.W.2d 913, 917 (Tex.

1991)). 5

          As the Court explains today, a trial court’s decision to impose sanctions involves two

determinations—“(1) whether conduct is sanctionable and (2) what sanction to impose”—but

because the punishment must fit the crime, the two are not nearly as “distinct” as the Court

suggests. Ante at ___. Because “a direct relationship must exist between the offensive conduct and

the sanction imposed,” conduct that is “more” sanctionable justifies sanctions that are “more”

punitive. Altesse Healthcare, 540 S.W.3d at 572 (quoting TransAmerican, 811 S.W.2d at 917).

The most “extreme sanctions,” like a death-penalty dismissal order (or worse), requires a finding

not just of “bad faith,” but of “flagrant” or “extreme” bad faith. Id. at 575–76. But for the less

extreme sanctions, like an order requiring legal-ethics training, we have never required “bad faith”

at all.



          5
          See also Nath v. Tex. Children’s Hosp., 446 S.W.3d 355, 363 (Tex. 2014); Paradigm Oil, Inc. v. Retamco
Operating, Inc., 372 S.W.3d 177, 187 (Tex. 2012); PR Invs. & Specialty Retailers, Inc. v. State, 251 S.W.3d 472, 480
(Tex. 2008); In re SCI Tex. Funeral Servs., Inc., 236 S.W.3d 759, 761 (Tex. 2007); Cire v. Cummings, 134 S.W.3d
835, 839 (Tex. 2004); Chrysler Corp. v. Blackmon, 841 S.W.2d 844, 849 (Tex. 1992); Alvarado v. Farah Mfg. Co.,
830 S.W.2d 911, 915 (Tex. 1992).




                                                                                                                       Appendix253
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                               Page 261 of 509 PageID 8200




         Different levels of culpability—such as bad faith, intent, or negligence—warrant different

types of sanctions. Take, for example, spoliation sanctions. When a party loses, alters, or destroys

relevant evidence, the trial courts inherently “have discretion to fashion an appropriate remedy to

restore the parties to a rough approximation of their positions if all evidence were available.” Wal-

Mart Stores, Inc. v. Johnson, 106 S.W.3d 718, 721 (Tex. 2003). Neither the Texas Rules of

Evidence nor the Texas Rules of Civil Procedure specifically addresses spoliation, although they

do enumerate remedies for discovery abuses. Brookshire Bros., Ltd. v. Aldridge, 438 S.W.3d 9, 18

(Tex. 2014). But a trial court also has the inherent “discretion to craft other remedies it deems

appropriate in light of the particular facts of an individual case, including the submission of a

spoliation instruction to the jury.” Id. at 21. As with all sanctions, the remedy must have a direct

relationship to the act of spoliation and may not be excessive. Id. (citing TransAmerican, 811

S.W.2d at 917). “Key considerations in imposing a remedy are the level of culpability of the

spoliating party and the degree of prejudice, if any, suffered by the nonspoliating party.” Id. at 14.

And while a spectrum of available remedies exists, “the harsh remedy of a spoliation instruction

is warranted only when the trial court finds that the spoliating party acted with the specific intent

of concealing discoverable evidence, and that a less severe remedy would be insufficient to reduce

the prejudice caused by the spoliation.” Id. 6 Thus, intentional wrongful conduct is required for the

harshest spoliation sanction, but is not required for all spoliation sanctions. 7



         6
           We clarified that “‘intentional’ spoliation, often referenced as ‘bad faith’ or ‘willful’ spoliation, [means]
that the party acted with the subjective purpose of concealing or destroying discoverable evidence.” Brookshire Bros.,
438 S.W.3d at 24.
         7
           A “narrow caveat” exists, however, allowing more severe sanctions in the “rare occasion[]” in which “a
party’s negligent breach of its duty to reasonably preserve evidence irreparably prevents the nonspoliating party from
having any meaningful opportunity to present a claim or defense.” Id. at 25.




                                                                                                                           Appendix254
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 262 of 509 PageID 8201




       Here, the trial court imposed two different sanctions: It ordered the attorney to pay

opposing parties’ attorney’s fees and expenses and to complete ten extra hours of legal-ethics

education. Consistent with U.S. Supreme Court precedent, I can accept the Court’s new rule that

a sanction order requiring a litigant or attorney to pay another party’s attorney’s fees and expenses

must be based on a finding that the sanctioned party “has acted in bad faith, vexatiously, wantonly,

or for oppressive reasons.” F. D. Rich Co. v. United States ex rel. Indus. Lumber Co., 417 U.S.

116, 129 (1974); see also Goodyear Tire & Rubber Co. v. Heager, — U.S. —, 137 S. Ct. 1178,

1186 (2017) (“[O]ne permissible sanction is . . . an order . . . instructing a party that has acted in

bad faith to reimburse legal fees and costs incurred by the other side.” (emphasis added)). As the

Supreme Court has repeatedly explained, bad faith (or its equivalent) should be required for this

type of sanction to ensure it remains a limited but well-established exception to the long-standing

American Rule, which requires each party to pay its own attorney’s fees unless a statute or contract

provides otherwise. F. D. Rich Co., 417 U.S. at 129; see also Chambers v. NASCO, Inc., 501 U.S.

32, 45–46 (1991); Roadway Express, Inc. v. Piper, 447 U.S. 752, 765–66 (1980); Alyeska Pipeline

Serv. Co. v. Wilderness Soc’y, 421 U.S. 240, 258–59 (1975). To preserve the policies behind the

American Rule, a trial court may exercise its inherent sanctions authority to require payment of

another party’s attorney’s fees only in these “narrowly defined circumstances” involving bad-faith

conduct. Roadway Express, 447 U.S. at 765.

       Like the Supreme Court, we have consistently affirmed the American Rule and the policies

behind it. See JCB, Inc. v. Horsburgh & Scott Co., No. 18-1099, — S.W.3d —, 2019 WL 2406971,

at *8 (Tex. June 7, 2019); In re Nat’l Lloyds Ins. Co., 532 S.W.3d 794, 809 (Tex. 2017); Tucker v.

Thomas, 419 S.W.3d 292, 295 (Tex. 2013); In re Nalle Plastics Family Ltd. P’ship, 406 S.W.3d




                                                                                                         Appendix255
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 263 of 509 PageID 8202




168, 172 (Tex. 2013); Akin, Gump, Strauss, Hauer & Feld, L.L.P. v. Nat’l Dev. & Research Corp.,

299 S.W.3d 106, 120 (Tex. 2009); Tony Gullo Motors I, L.P. v. Chapa, 212 S.W.3d 299, 310–11

(Tex. 2006). To preserves those policies, I agree that a finding of bad faith or its equivalent should

be required before a trial court may exercise its inherent sanctions authority to require payment of

another party’s attorney’s fees.

       But the American Rule does not justify globally requiring bad faith as a prerequisite for all

inherent-authority sanctions imposed to protect the integrity of the judicial process. Contrary to

the Court’s assertions, the U.S. Supreme Court does not require a bad-faith finding for all inherent-

authority sanctions. See, e.g., Young v. U.S. ex rel. Vuitton et Fils S.A., 481 U.S. 787, 796 (1987)

(“The ability to punish disobedience to judicial orders is regarded as essential to ensuring that the

Judiciary has a means to vindicate its own authority without complete dependence on other

Branches.”); Illinois v. Allen, 397 U.S. 337, 343 (1970) (recognizing trial courts’ inherent authority

to ban criminal defendants who disrupt conduct of trial); Link v. Wabash R. Co., 370 U.S. 626,

630–31 (1962) (recognizing trial courts’ inherent authority “to manage their own affairs so as to

achieve the orderly and expeditious disposition of cases”); Anderson v. Dunn, 19 U.S. 204, 227

(1821) (“Courts of justice are universally acknowledged to be vested, by their very creation, with

power to impose silence, respect, and decorum, in their presence, and submission to their lawful

mandates.”).

       Ignoring the Supreme Court’s express recognition that courts have the inherent

authority “to manage their own affairs so as to achieve the orderly and expeditious disposition of

cases,” Link, 370 U.S. at 630–31, the Court instead relies repeatedly and exclusively on a single

statement in the concluding paragraph of the Supreme Court’s decision in Roadway Express, in




                                                                                                         Appendix256
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 264 of 509 PageID 8203




which the Court summarized its point that “the trial court did not make a specific finding as to

whether counsel’s conduct in this case constituted or was tantamount to bad faith, a finding that

would have to precede any sanction under the court’s inherent powers.” See ante at ___ & n.32,

___ n.49, ___ n.71 (quoting Roadway Express, 447 U.S. at 767). But the sanction at issue in

Roadway Express was an award of attorney’s fees, and the Court’s analysis and holding

specifically addressed not a global bad-faith requirement for inherent-authority sanctions, but the

“bad-faith exception [to the American Rule] for the award of attorney’s fees.” Roadway Express,

447 U.S. at 766 (emphasis added). Noting that “New York courts have sanctioned lawyers for

mere negligence,” the Court did not reject that standard but instead clarified that it was addressing

only the attorney’s-fees sanction before it: “this opinion addresses only bad-faith conduct.” Id. at

767 n.13. In short, the Supreme Court has never held that bad faith is required to support every

sanction under the courts’ inherent authority, and neither should we.

         The Court also relies on Texas courts of appeals decisions, which it says have universally

required bad faith for “decades.” Ante at __. But this is simply not true. Some of the courts of

appeals—like the McWhorter case on which the Court relies, ante at ___ n.28 (citing McWhorter,

993 S.W.2d at 781)—divided the inquiry between bad-faith conduct and conduct that interferes

with the legitimate exercise of the trial court’s core functions, finding either sufficient for a trial

court to use its inherent authority. 8 For example, one appellate court explicitly denounced the


         8
            The McWhorter case involved a sanction order awarding attorney’s fees, and the court of appeals reversed
the sanction not just because there was no bad faith, but because there was “no evidence that McWhorter’s attorney
acted in a manner which would interfere with the administration of justice or detract from the trial court’s dignity and
integrity,” or “that the conduct complained of significantly interfered with the court's legitimate exercise of one of”
its core judicial functions. McWhorter, 993 S.W.2d at 788–89. The other case on which the Court relies reversed a
death-penalty sanction dismissing the party’s pleading because “the trial court could not have reasonably concluded
that Onwuteaka acted in flagrant bad faith when he appeared late for trial,” and because there was “no evidence that
the trial court considered some lesser sanction.” Onwuteaka, 908 S.W.2d at 281.




                                                                                                                           Appendix257
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 265 of 509 PageID 8204




global requirement of bad faith, explaining, “‘Bad faith’ may indeed be one basis for imposing

inherent authority sanctions, but a survey of pertinent cases demonstrates broader considerations

are involved when reviewing the propriety of sanctions imposed.” In re J.V.G., No. 09-06-015CV,

2007 WL 2011019, at *5 (Tex. App.—Beaumont July 12, 2007, no pet.) (mem. op.). In the absence

of bad faith, the court found the trial court did not abuse its discretion by imposing sanctions

because the attorney’s conduct, “when taken together, could be found to have significantly

interfered with the court’s management of its docket as well as the issuance and enforcement of

its orders.” Id. at *10; see also Kennedy v. Kennedy, 125 S.W.3d 14, 19 (Tex. App.—Austin 2002,

pet. denied) (“[A] court cannot invoke its inherent power to sanction without some evidence and

factual findings that the conduct complained of significantly interfered with the court’s legitimate

exercise of one of its traditional core functions.”).

       Based on the evidence submitted in this case, the trial court specifically found, and the

court of appeals agreed, that some of the survey questions, which the attorney personally reviewed

and approved, were “designed to influence or alter the opinion or attitude of the person being

polled.” Brewer, 546 S.W.3d at 880. And the pool of those considered for survey included potential

jurors, court personnel and their family members, city council members and their spouses, city

managers, witnesses and their spouses, and designated third parties and their spouses. Id. at 879

n.7, 881. The trial court specifically found that the survey, as designed and implemented, was

“highly prejudicial and inimical to a fair trial by an impartial jury,” was “disrespectful to the

judicial system,” “threatening to the integrity of the judicial system,” was incompatible with a “fair

trial by an impartial jury,” was “an abusive litigation practice that harms the integrity of the justice

system and the jury trial process,” and negatively affected “the rights of parties to a trial by an




                                                                                                           Appendix258
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                   Page 266 of 509 PageID 8205




impartial jury of their peers” and “the due process and seventh (7th) amendment protection due to

litigants in the case before the Court.” Id. at 880. Today, the Court does not find that “no evidence”

supports these trial-court findings. 9 It finds only that “no evidence” supports the trial court’s

finding that the attorney acted in bad faith when he authorized the survey. The attorney argued

that, although he may have exercised “bad judgment” or been negligent or even grossly negligent,

the trial court could not sanction him because no evidence established that he acted in “bad faith.”

Id. at 878–79.

         The Court agrees, suggesting that the “mere violation” of an “ethical standard in connection

with conducting a pretrial survey does not ipso facto constitute bad faith.” Ante at ___. That may

be, but it does ipso facto constitute the violation of an ethical standard. And here, at least, the trial

court found that the attorney’s unethical conduct seriously threatened the integrity of the judicial

process, and that finding on this evidence would justify the court’s decision to exercise its inherent

authority to impose an appropriate sanction, regardless of whether the attorney acted negligently,

intentionally, or in bad faith. Assuming the absence of any evidence to support a finding of bad

faith, the sanction may not include an order requiring payment of other parties’ attorney’s fees, but



         9
            Instead, the Court suggests that the trial court’s specific fact findings are neither findings of “facts nor
conclusions of law.” Ante at ___ n.75. Of course, if they are neither fact findings nor legal conclusions, one must
wonder what they are. Perhaps the Court thinks they are merely the trial court’s belief or opinion, but a fact finder’s
belief or opinion of the facts, based on the evidence presented, is of course the fact finder’s finding of fact. See Phillips
v. Carlton Energy Grp., LLC, 475 S.W.3d 265, 276–77 (Tex. 2015) (listing facts “the jury could have believed”); Mut.
Life Ins. Co. of N.Y. v. Tillman, 19 S.W. 294, 296 (Tex. 1892) (noting that “jury could form their own opinion from
the facts”); Bernal v. Seitt, 313 S.W.2d 520, 521 (Tex. 1958) (summarizing facts “which the jury might reasonably
have believed to be true from the evidence”). And as to the Court’s reference to the standard of review, the court of
appeals made “an independent inquiry of the entire record” and concluded that the trial court did not abuse its
discretion by making these findings. Brewer, 546 S.W.3d at 876, 882. The Court has made its own independent inquiry
of the record and concludes that the trial court abused its discretion by finding bad faith, but it never concludes that
the trial court abused its discretion by finding that the survey, as conducted, threatened the integrity of the judicial
system.




                                                                                                                                Appendix259
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 267 of 509 PageID 8206




it certainly may include an order requiring the attorney to attend additional legal-ethics education

courses.

        Accepting for these purposes the Court’s conclusion that the record contains “no evidence”

of bad faith, I concur in the Court’s judgment to the extent it vacates the trial court’s order requiring

the attorney to pay other parties’ attorney’s fees and expenses. But to the extent the Court vacates

the trial court’s order requiring the attorney to take additional legal-ethics education courses, and

to the extent it requires trial courts to find bad faith before exercising their inherent authority to

impose any form of sanction, I respectfully dissent.




                                                        ____________________
                                                        Jeffrey S. Boyd
                                                        Justice

Opinion delivered: April 24, 2020




                                                                                                            Appendix260
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 268 of 509 PageID 8207




                    EXHIBIT 41




                                                                               Appendix261
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 269 of 509 PageID 8208




                                                                               Appendix262
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 270 of 509 PageID 8209




                                                                               Appendix263
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 271 of 509 PageID 8210




                                                                               Appendix264
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 272 of 509 PageID 8211




                                                                               Appendix265
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 273 of 509 PageID 8212




                    EXHIBIT 42




                                                                               Appendix266
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20               Page 274 of 509 PageID 8213



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


NATIONAL RIFLE ASSOCIATION OF                    §
AMERICA,                                         §
                                                 §
       Plaintiff and Counter-Defendant,          §
                                                 §
and                                              §
                                                 §
WAYNE LAPIERRE,                                  §
                                                 §
       Third-Party Defendant,                    §
                                                 §
v.                                               § Civil Action No. 3:19-cv-02074-G
                                                 §
ACKERMAN MCQUEEN, INC.,                          §
                                                 §
       Defendant and Counter-Plaintiff,          §
                                                 §
and                                              §
                                                 §
MERCURY GROUP, INC., HENRY                       §
MARTIN, WILLIAM WINKLER,                         §
MELANIE MONTGOMERY, and JESSE                    §
GREENBERG,                                       §
                                                 §
       Defendants.                               §

                         DECLARATION OF CHARLES COTTON

       My name is Charles Cotton, and I declare under penalty of perjury pursuant to 28 U.S.C.

§ 1746 that the following statements are true and correct.

       1.      I am over twenty-one years old and am fully competent to make this declaration.

Unless otherwise noted, I have personal knowledge of all matters stated herein. I submit this

declaration in support of the NRA’s Opposition to Defendants’ Motion to Disqualify Plaintiff’s




                                                1

                                                                                                 Appendix267
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 275 of 509 PageID 8214



Counsel (William A. Brewer III (“Brewer”) and Brewer Attorneys & Counselors (“BAC”)) (such

motion, the “Disqualification Motion”).

       2.      I am a member of the Board of Directors of the National Rifle Association of

America ("NRA"), am the First Vice President of the Board and Chairman of the Board’s Audit

Committee. During the times relevant to the issues herein, I was a member of the NRA’s Board of

Directors and Chairman of the NRA’s Audit Committee. I never been paid any compensation for

my work for the NRA.

       3.      I am retired from the full-time practice of Cotton Farrell PC. Prior to becoming an

attorney, I was employed as a Certified Public Accountant.

       4.       As Chairman of the Audit Committee, I participate in oversight of the NRA’s

financial reporting process, audit process, the NRA’s system of internal controls, including related-

party transactions, and compliance with other laws and regulations.

       5.      The allegation by Ackerman McQueen, Inc. (“AMc”) that Brewer or BAC

somehow “manufactured” the disputes between the NRA and AMc is false. I am aware that

Brewer and BAC were retained to represent the NRA in a variety of actual and potential disputes

in Spring 2018. Coincidentally, during July 2018, several NRA employees approached the Audit

Committee and raised serious concerns about AMc’s business and billing practices. Although the

Audit Committee received legal advice on relevant topics, based on the those reports, it was the

Audit Committee that ordered deeper scrutiny of AMc to determine whether its activities for the

NRA were in compliance with NRA procedures and whether AMc had taken advantage of the

NRA.

       6.      Since that time, facts have surfaced over the ensuing year which made clear that the

NRA was correct to investigate this concern expressed by NRA employees in 2018. Based on



                                                 2

                                                                                                        Appendix268
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 276 of 509 PageID 8215




                                                                               Appendix269
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 277 of 509 PageID 8216




                    EXHIBIT 43




                                                                               Appendix270
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20               Page 278 of 509 PageID 8217




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 NATIONAL RIFLE ASSOCIATION OF        §
 AMERICA,                             §
                                      §
     Plaintiff and Counter-Defendant, §
                                      §
 and                                  §
                                      §
 WAYNE LAPIERRE,                      §
                                      §
     Third-Party Defendant,           §
                                      §
 v.                                   § Civil Action No. 3:19-cv-02074-G
                                      §
 ACKERMAN MCQUEEN, INC.,              §
                                      §
     Defendant and Counter-Plaintiff, §
                                      §
 and                                  §
                                      §
 MERCURY GROUP, INC., HENRY           §
 MARTIN, WILLIAM WINKLER,             §
 MELANIE MONTGOMERY, and JESSE §
 GREENBERG,                           §
                                      §
     Defendants.                      §


                                  DECLARATION OF IAN SHAW

       I, Ian Shaw, declare, pursuant to 28 U.S.C § 1746, as follows:

       1.      I am an Associate with the law firm Brewer, Attorneys & Counselors, counsel to

the National Rifle Association (“NRA”) in the above-captioned action (the “Action”). I submit

this declaration in opposition to Defendants’ motion to disqualify the NRA’s counsel.

       2.      I am a member in good standing with the State Bar of Texas and am the requisite

age to submit this declaration.




                                                                                                 Appendix271
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 279 of 509 PageID 8218




       3.      I began working for Brewer, Attorneys & Counselors in 2007 as a summer intern.

Thereafter, I was offered a full-time job with the firm as a junior consultant in the Dallas office

upon my graduation from college.

       4.      On March 10, 2008, my parents passed away—three months before my college

graduation—and Bill Brewer (“Brewer”), allowed me to commence my career in the firm’s New

York office.

       5.      To help me get acclimated to a new life, the Brewer family began inviting me to

visit with them on weekends, spend time with them in the Hamptons and share holidays at their

house in Dallas. Over the years, I began participating in family activities, attending family outings,

and helping Brewer coach his youngest son in basketball. Brewer’s family accepted me as if I was

kin to them. To this day, we remain close.

       6.      An ongoing ritual for me became spending Thanksgivings with the Brewer family.

Every Thanksgiving—starting in 2008—I spent Thanksgiving with the Brewer family.

       7.      Typically, the Brewer Thanksgivings included one or more of Bill’s siblings, their

families and friends of the family. One Thanksgiving in particular, in 2012, Skye Brewer’s

(“Skye”) mother, father (“Angus McQueen” or “Mr. McQueen”), and brother (“Revan”) came to

the Brewer’s home in Dallas for Thanksgiving. That’s where I met Revan McQueen (“Revan”).

       8.      Early in the evening on Thanksgiving Day, as Brewer and I made our way to his

backyard to play basketball, Brewer briefly introduced me to Revan. We shook hands and that was

the first and last interaction I had with Revan.

       9.      Later that evening, there were two tables set up in the formal dining room given the

number of people who there for Thanksgiving dinner. At one table sat Brewer, Skye, Skye’s




                                                                                                         Appendix272
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 280 of 509 PageID 8219
family, including Revan, Brewer’s sisters and their husbands. The second table, where I sat,

consisted of Brewer’s six children, his nephew, and nieces.

        10.        At no time during the entire dinner did I have any interaction with Revan or any of

Skye’s family, nor did I participate or hear any talk about Mr. McQueen’s business. In fact, topics

discussed over Thanksgiving dinners with the Brewer family that I have attended usually center

on sports, current news, and family stories.

        11.        Revan’s sworn statement that “we shared dinner together” is a bit exaggerated. I

did not speak with him or interact with him in any manner beyond our brief introduction. That was

also the last time I ever saw him. Furthermore, his testimony that I “surely benefited from hearing

business that was discussed” is not true. I did not hear any business being discussed at the

Thanksgiving gathering where I met Revan.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed this 30th day of April 2020.


                                                        /s/
                                                        Ian Shaw




4813-5605-8299.1
2277-08


                                                                                                         Appendix273
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 281 of 509 PageID 8220




                    EXHIBIT 44




                                                                               Appendix274
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 282 of 509 PageID 8221




                                                                               Appendix275
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 283 of 509 PageID 8222




                                                                               Appendix276
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 284 of 509 PageID 8223




                                                                               Appendix277
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                       Page 285 of 509 PageID 8224




           13.    To be clear, I am not a disgruntled employee, and I was proud of the work I did at

   NRATV. I was always grateful for the opportunity to be a voice for NRA members. That

   responsibility to the NRA members - for the awesome responsibility of speaking for them - is

    why I came forward. "Disgruntled" is certainly not a term I would use to describe my emotions.

    "Sad" is a much better description.

           14.     My goal has always been to protect the NRA from any actions that could be harmful

    to membership and the NRA's ultimate goal of protecting the Second Amendment.

           15.      I never had a sense that AMc- under Revan's leadership- wanted to work with

    the NRA or even cooperate with them on important issues like budgeting or messaging.

           16.      I certify that the foregoing statements are true and correct under penalty of perjury.

           Executed this 30th day of April 2020.




                                                   Grant Stinchfield




                                                                                                             Appendix278
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 286 of 509 PageID 8225




                    EXHIBIT 45




                                                                               Appendix279
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 287 of 509 PageID 8226




                            IN THE UNITED STATES DISTRICI' COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


    NATIONAL RIFLE ASSOCIATION OF                   §
    AMERICA,                                        §
                                                    §
            Plaintiff and Counter-Defendant,        §
                                                    §
    and                                             §
                                                    §
    WAYNE LAPIERRE,                                 §
                                                    §
            Third-Party Defendant,                  §
                                                    §
    v.                                             §    Civil Action No. 3:19-cv-02074-G
                                                    §
    ACKERMAN MCQUEEN, ll~C.,                        §
                                                   §
            Defendant and Counter-Plaintiff,       §
                                                   §
    and                                            §
                                                   §
    MERCURY GROUP, INC., HENRY                     §
    MARTIN, WILLIAM WINKLER,                       §
    MELANIE MONTGOMERY, and JESSE                  §
    GREENBERG,                                     §
                                                   §
           Defendants.                             §

                                 DECLARATION OF ,JOHN FRAZER

           Pursuant to 28 U.S.C. § 1746,   r, John Frazer, declare   under penalty of perjury that the

    following is true and correct:


           1.      I am over twenty-one years old and am fully competent to make this declaration.

    Unless otherwise noted, I have personal knowledge of all matters stated herein. I submit this

    declaration in support of Plaintiff National Rifle Association of America's Opposition to




                                                   l



                                                                                                         Appendix280
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                         Page 288 of 509 PageID 8227




    Defendants' Motion to Disqualify Plaintiff's Counsel (William A. Brewer Ill ("Brewer") and

    Brewer, Attorneys & Counselors ("BAC")) (such motion, the "Disqualification Motion").

               2.   I have served as Secretary and General Counsel of the National Rifle Association

    of America since 2015, including at all times relevant to the Disqualification Motion. In this

   capacity, I negotiate engagement letters with outside counsel, review and approve legal invoices

   submitted by outside counsel, and oversee major litigation involving the NRA. I also provide legal

   advice to the NRA where appropriate regarding contractual relationships and contractual disputes

   with vendors, including Ackerman McQueen, Inc. and Mercury Group. Inc. (collectively, "AMc").

               3.   I have reviewed the allegations contained in the Disqualification Motion and

   believe them to be totally without merit.

           4.       The NRA first retained BAC in early 2018 at the recommendation of our former

   outside counsel, Steve Hart.' Well before BAC began to address any issues involving AMc, I was

   fully aware, and understood that other members of the NRA leadership were fully aware, of

   Brewer's relationship by marriage to the McQueen family. I am also aware of the animus which

   AMc alleges has characterized that relationship over the past two years. The NRA has consented,

   and consents now, to be represented by Brewer and BAC notwithstanding the supposed conflicts

   which AMc alleges to arise from the Brewer-McQueen family relationship.

           5.       Since the outset of this litigation, the NRA has understood that A Mc might attempt

   to call Brewer as a fact witness. Indeed, many of the same "lawyer-witness" arguments that appear

   in the Disqualification Motion were asserted unsuccessfully by AMc before a Virginia state court

   in a similar lawsuit in June 2019. The NRA consented then, and consents now, to be represented



           1  The NRA suspended Mr. Hart's engagement on April 22, 2019, and no longer has an attorney-client
   relationship with Mr. Harl. Certain functions formerly performed by Mr. Hart are performed by BAC.


                                                       2




                                                                                                                Appendix281
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 289 of 509 PageID 8228




    by Brewer and BAC notwithstanding AMc's insistence that Brewer is a necessary or adverse

    witness.      As discussed below, the NRA would be considerably prejudiced if Brewer were

    individually disqualified from representing it in any capacity. Nonetheless, the NRA would

    consent to be represented by BAC in that situation, including in the event of a lawyer-witness

    disqualification as contemplated by Texas Rule of Professional Conduct 3.08(c).

           6.         The Disqualification Motion alleges that BAC's engagement letters fail to comply

    with the NRA Bylaws," and that BA C's "exorbitant legal fees'? create a conflict of interest which

    ought to disqualify BAC from this case.4 In my view, these allegations are false and meritless. The

    NRA has had the opportunity Lo obtain-and did obtain-independent legal advice from other

    outside counsel regarding BAC's engagement, and the engagement has also been reviewed by the

    NRA's Audit Committee. The NRA is satisfied that its engagement of BAC complies with its

    bylaws and internal controls. In addition, I personally review detailed monthly invoices submitted

    by BAC and raise questions where appropriate regarding the substance of the work performed, the

    hours expended, charges incurred for third-party vendors and experts, and similar items. These

    questions have always been addressed to my satisfaction. Except for certain work handled pro

    bono, BAC is compensated by the NRA on an hourly-fee basis. Taking into account regional

    market variations, the hourly rates charged by BAC attorneys are comparable to the hourly rates

    paid by the NRA for outside counsel in other high-profile cases.

           7.           The Disqualification Motion accuses BAC of "faking the AMc audits and

    document demands'? during 2018 and 2019 which preceded the NRA's lawsuit for specific



           2 See ECF       105 al 'I( 12.
           3/d.   at1[6.
           +u« 'I 41.
           5 Id. at 'I 43.



                                                      3




                                                                                                          Appendix282
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                              Page 290 of 509 PageID 8229




   performance of a books-and-records inspection clause filed April J 2, 2019. This allegation is

   false. Based on legitimate concerns about AM c's compliance with contractual requirements, I

   personally sent several of the letters requesting documents from AMc that went unanswered, and

   retained and supervised tbe third-party forensic accounting firm, Forensic Risk Alliance (FRA),6

   which attempted to examine AMc's records on-site during February 2019. The NRA's efforts to

   obtain documents from AMc were not "faked," by Brewer or otherwise.

           8.         The Disqualification Motion also cites then-AMc employee, Lt. Col. Oliver North,

   as raising concerns about whether "Brewer's prior record of sanctions" was "properly vetted" by

   the NRA.7 Although the NRA is not in the habit of taking advice from adverse litigants regarding

   its choice of counsel, I note that I was fully informed, long before this action commenced,

   regarding the sanctions imposed on Brewer discussed in Brewer v. Lennox Hearth Prods., UC,

   546 S.W.3d 866,871 (Tex. App.-Amarillo 2018). I am also aware these sanctions were reversed

   in their entirety by the Texas Supreme Court,

           9.        The NRA has chosen Brewer and BAC to lead some of its most significant litigation

   and regulatory advocacy, and it is my assessment that the firm has developed significant

   institutional knowledge regarding the documents, issues, and witnesses relevant to this work. If

   Brewer-or worse, BAC as a whole-were disqualified in this case, it is highly unlikely that the

   NRA could timely bring aboard substitute counsel with comparable mastery of the case.

   Therefore, the NRA would be severely prejudiced. Moreover, because the subject matter of this




             6 The Disqualification Motion also suggests that FRA's accountants were "anything but [independent]"
   because a former BAC employee, Susan Dillon, worked at FRA. Id. at'][ 26. FRA was retained by the NRA because
   its bid showed it was likely to provide better value for money than a competing firm. Moreover. Ms. Dillon was not
   part of the audit team that conducted the on-site record examination.
           1
               See ECF 105 at 1110.


                                                           4




                                                                                                                        Appendix283
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 291 of 509 PageID 8230




     case overlaps with other ongoing legal matters, the NRA would be forced to incur additional

     unnecessary legal fees, sacrificing the efficiency of having the same firm handle overlapping cases.



     Executed this 1st day of May, 2020.




                                                                  J~




                                                      5




                                                                                                            Appendix284
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 292 of 509 PageID 8231




                                                                               Appendix285
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 293 of 509 PageID 8232




                    EXHIBIT 46




                                                                               Appendix286
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 294 of 509 PageID 8233

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 NATIONAL RIFLE ASSOCIATION OF                  §
 AMERICA,                                       §
                                                §
       Plaintiff and Counter-Defendant          §
                                                §
 and                                            §
                                                §
 WAYNE LAPIERRE,                                §
                                                §
       Third-Party Defendant,                   §
                                                §
 v.                                             § Civil Action No. 3:19-cv-02074-G
                                                §
 ACKERMAN MCQUEEN, INC.,                        §
                                                §
       Defendant and Counter-Plaintiff,         §
                                                §
 and                                            §
                                                §
 MERCURY GROUP, INC., HENRY                     §
 MARTIN, WILLIAM WINKLER,                       §
 MELANIE MONTGOMERY, and JESSE                  §
 GREENBERG,                                     §
                                                §
       Defendants.                              §


                     DECLARATION OF ANDREW ARULANANDAM

       1.      My name is Andrew Arulanandam, and I declare under penalty of perjury pursuant

to 28 U.S.C. § 1746 that the following statements are true and correct.

       2.      I am over twenty-one years old and am fully competent to make this

declaration. Unless otherwise noted, I have personal knowledge of all matters stated herein. I

submit this declaration in support of the NRA’s Opposition to Defendants’ Motion to Disqualify

Plaintiff’s Counsel (William A. Brewer III (“Brewer”) and Brewer Attorneys & Counselors

(“BAC”).

                                                1



                                                                                                 Appendix287
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 295 of 509 PageID 8234

       3.     I serve as the Managing Director of Public Affairs of the National Rifle Association

(the “NRA”). I have worked for the NRA for more than 19 years. As part of my job

responsibilities, I interface with in-house communications professionals; outside advertising and

public relations firms, such as Ackerman McQueen (AMc); and law firms, such as Brewer,

Attorneys & Counselors (“BAC”).

       4.      I understand that AMc claims BAC is a “competitor” of the agency based on the

communications services provided by BAC and its Public Affairs Group to the NRA. I am familiar

with the communications services provided by BAC to our organization, and I am also familiar

with the suite of communications, political consultation, web creation and advertising services

previously provided by AMc to the NRA.

       5.     I have worked closely with BAC Managing Director of Public Affairs Travis J.

Carter and his small team of communications professionals. They have primarily assisted

with communications relating to legal and regulatory matters being handled by BAC. In that

regard, they have assisted in formulating media advisories, drafting public statements, and

coordinating media relations activities. Given the size and strategic focus of the BAC Public

Affairs Department (a total of less than five people, to my knowledge), its work for the NRA has

been specialized.

       6.     By comparison, and as is reflected in the Services Agreement, dated April 30, 2017,

(amended May 6, 2018), which existed between the NRA and AMc, AMc was to provide the NRA

a broad range of communications, branding, digital, print media and video production services.

Those included, but were not limited to, generating earned media at NRA events; coordinating and

scheduling appearances for NRA officials and celebrities; overseeing brand management;

directing media planning and placement services; managing advertising and photography;



                                               2



                                                                                                     Appendix288
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 296 of 509 PageID 8235

directing audio/visual and event management; providing videotaping, editing and production

services; directing music composition and arrangement; directing infomercials; managing full-

time webcasting; providing support services for “live” website offerings; creating graphic and

flash animation; providing ongoing technical support for NRA headquarters; overseeing search

engine placement; and assisting in the production and coordination of an NRA Radio Show. AMc

also directed, produced, facilitated, and managed professional talent relating to the broadcasting

of NRATV – an online “TV” experience managed exclusively by AMc. None of these services are

provided by BAC.

       7.         So expansive were the communications and advertising functions provided by

AMc, the agency represented that it had, over the years, more than 100 staff members servicing

the NRA account.

       8.         As I stated in my declaration, dated April 14, 2020, “…the NRA has never viewed

the two entities [BAC and AMc] as competitors for the expansive suite of services provided

by AMc.” 1

       9.         In fact, there has been no effort on behalf of the NRA to “replace” AMc

with BAC – even as the NRA ended its affiliation with the agency. The bulk of the

services once provided by AMc to the NRA are now being performed in-house by our

organization. These functions include, but are not limited to, preparing for media appearances,

drafting key messaging, directing social media campaigns, event management, maintaining our

digital assets and publishing certain magazines and other NRA publications.




       1
           See declaration from A. Arulanandam, dated April 14, 2020.

                                                        3



                                                                                                     Appendix289
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 297 of 509 PageID 8236




                                                                               Appendix290
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 298 of 509 PageID 8237




                    EXHIBIT 47




                                                                               Appendix291
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 299 of 509 PageID 8238

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 NATIONAL RIFLE ASSOCIATION OF                   §
 AMERICA,                                        §
                                                 §
       Plaintiff and Counter-Defendant           §
                                                 §
 and                                             §
                                                 §
 WAYNE LAPIERRE,                                 §
                                                 §
       Third-Party Defendant,                    §
                                                 §
 v.                                              § Civil Action No. 3:19-cv-02074-G
                                                 §
 ACKERMAN MCQUEEN, INC.,                         §
                                                 §
       Defendant and Counter-Plaintiff,          §
                                                 §
 and                                             §
                                                 §
 MERCURY GROUP, INC., HENRY                      §
 MARTIN, WILLIAM WINKLER,                        §
 MELANIE MONTGOMERY, and JESSE                   §
 GREENBERG,                                      §
                                                 §
       Defendants.                               §

                      DECLARATION OF JAMES M. McCORMACK

       1.      My name is James M. McCormack. My date of birth is September 26, 1958. My

law office address is 1715 Capital of Texas Highway South, Austin, Texas 78746. I am over 18

years of age, of sound mind, and competent to make this Declaration. I submit this Declaration in

support of the NRA’s Opposition to Defendants’ Motion to Disqualify Plaintiff’s Counsel

(William A. Brewer III and Brewer, Attorneys & Counselors). I declare under penalty of perjury

pursuant to 28 U.S.C. § 1746 that the following declaration is true and correct.




                                                 1


                                                                                                    Appendix292
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 300 of 509 PageID 8239



        2.     Where indicated, the facts stated in this Declaration are within my personal

knowledge and are true and correct; however, to be clear, I do not have personal knowledge of the

facts underlying this lawsuit or the present controversy. For those underlying facts, I have relied

on sources such as the pleadings, motions (and their attachments), correspondence, and other

documents identified herein.

        3.     I have based my opinions set forth below on facts or data of a type reasonably relied

upon by experts in my field in forming opinions regarding the ethical and legal duties and

obligations of Texas lawyers.

        4.     I am and have been a licensed attorney in Texas for 35 years (since 1984).

        5.     I am a former General Counsel and Chief Disciplinary Counsel of the State Bar

of Texas (1991-1996) and an adjunct professor of law at the University of Texas School of

Law in Austin where I taught legal ethics and the law governing lawyers. More recently, I taught

a non-legal ethics related course titled “Expert Witnesses” and am presently teaching a course

during the Spring 2020 semester titled “Handling Depositions and Expert Witnesses.” I am also a

former member of the Texas Disciplinary Rules of Professional Conduct Committee of the

State Bar of Texas; a past Chairman of the Texas Center for Legal Ethics and Professionalism

(now called the Texas Center for Legal Ethics); and presently serve as the Editor-in-Chief of the

EthicsExchange (which provides online legal ethics articles and related resources for lawyers) of

the Texas Center for Legal Ethics.

        6.     In 2015, the Supreme Court of Texas appointed me to the Texas Professional

Ethics Committee, which prepares and publishes formal ethics opinions for the guidance of Texas

lawyers in the Texas Bar Journal. In 2018, the Court reappointed me to an additional three-year

term.




                                                 2

                                                                                                       Appendix293
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 301 of 509 PageID 8240

       7.      My legal practice primarily involves legal ethics and legal malpractice. Within that

legal practice category, I serve as ethics and malpractice counsel to Texas lawyers, law firms, and

others, represent complainants and respondent attorneys in the Texas attorney disciplinary and

disability system, represent clients with respect to unauthorized practice of law issues and Texas

bar admissions, and serve as a consulting and/or testifying expert in legal ethics and legal

malpractice-related matters, including on numerous occasions attorney disqualification issues.

Further, I have practiced on both sides of the civil law docket for many years, have served as a

general counsel and outside counsel to entities, taught law school courses, served as a legal ethics

advisor to lawyers and law firms, have been an author or presenter of numerous articles and

programs on legal ethics and legal malpractice issues for lawyers and other audiences.

       8.      For further information about my education, training, and experience, my

curriculum vita is attached hereto as Exhibit A.

                                 SCOPE OF ENGAGEMENT

       9.      I have been retained to review information, including various documents from this

case, and provide expert opinions within the scope of my education, training, and experience as a

Texas lawyer who practices extensively in the legal ethics and legal malpractice area (as described

herein) and particularized expertise in the legal authorities discussed. For the purposes of this

Declaration, I have been asked to offer expert opinions regarding Defendants’ Motion to Disqualify

Plaintiff’s Counsel (William A. Brewer III and Brewer Attorneys and Counselors) in Civil Action

No. 3:19-cv-02074-G; National Rifle Association of America, et al. v. Ackerman McQueen, Inc..,

et al. now pending in the United States District Court for the Northern District of Texas, Dallas

Division, before the Honorable Judge A. Joe Fish. I have also reviewed the “Brief in Support of




                                                   3


                                                                                                       Appendix294
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20               Page 302 of 509 PageID 8241



Defendants’ Motion to Disqualify Plaintiff’s Counsel (William A. Brewer III and Brewer Attorneys

& Counsellors) and the exhibits attached thereto.

                            SUMMARY OF RELEVANT FACTS

        10.   In brief summary only, I have the following understanding of the facts:

        11.   Plaintiff in the above-referenced lawsuit is the National Rifle Association of

America (“NRA”), in addition to Third-Party Defendant, Wayne LaPierre (“LaPierre”), the

Executive Vice President and CEO of the NRA. The Brewer, Attorneys & Counsellors law firm

(“Brewer Firm”) represents the NRA and Mr. LaPierre in this suit.

        12.   Defendants are Ackerman McQueen, Inc. (“AMc”), a public relations and

marketing firm, AMc’s subsidiary Mercury Group, Inc., and individual defendants Henry Martin,

William Winkler, Melanie Montgomery, and Jesse Greenberg (collectively, “AMc”). The law

firm of Dorsey & Whitney, LLP (“Dorsey Firm”) represents AMc.

        13.   The NRA filed its Original Complaint against Defendants in August 2019. That

Original Complaint involved claims based on the Copyright Act and the Lanham Act and alleged

that AMc engaged in the unauthorized use of the NRA’s trademarks and copyrights, including a

false association claim under the Lanham Act and an alternative claim for conversion of the NRA’s

intellectual property. Subsequently, in October 2019, the NRA amended its Complaint and made

additional claims against AMc and persons affiliated with AMc for fraud and breaches of fiduciary

duty.

        14.   Defendant AMc was a long-time agent of the NRA and provided public relations-

related services. As part of its defenses to the NRA’s claims, AMc has accused the William A.

Brewer III (“Brewer”) and the Brewer, Attorneys & Counsellors law firm (“Brewer Firm” or the




                                               4

                                                                                                    Appendix295
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 303 of 509 PageID 8242



“Firm”) of competing with AMc for public relations-related services in addition to the Firm

practicing law.

       15.        Defendants, including AMc, filed “Defendants’ Motion to Disqualify Plaintiff’s

Counsel (William A. Brewer III and Brewer Attorneys & Counselors)” with this Court on March

30, 2020. Defendants’ Motion alleges several grounds in support of its assertion that the Brewer

Firm should be disqualified from continuing to represent the NRA in this suit. As grounds for

disqualification, Defendants cite six of the Texas Disciplinary Rules of Professional Conduct (and

their companion ABA Model Rules), namely :

                  A. Texas Rule 1.06(b) and ABA Model Rule 1.7 (Conflicts of Interest).

                  B. Texas Rule 3.08(a)-(c) and ABA Model Rule 3.7 (Lawyer as Witness).

                  C. Texas Rule 3.07 and ABA Model Rule 3.6 (Trial Publicity).

                  D. Texas Rule 4.01 and ABA Model Rule 4.1 (Truthfulness in Statements to
                     Others).

                  E. Texas Rule 4.02 and ABA Model Rule 4.2 (Communication with Represented
                     Persons).

                  F. Texas Rule 4.04 and ABA Model Rule 4.4 (Respect for the Rights of Third
                     Persons)

       16.        As a purported basis for invoking these rules, Defendants make the following

factual allegations:

                  A. Brewer has a strained relationship with the McQueen family—of which some
                     family members have or had managerial and/or ownership roles in AMc.

                  B. The Brewer Firm is competing with AMc for public relations business and is
                     now providing services to the NRA that AMc previously provided to the
                     organization for nearly 40 years.

                  C. Brewer and the Brewer Firm have “taken over the NRA” with respect to “all
                     legal and PR [public relations] decisions” and has made “exorbitant legal fees
                     along the way.”




                                                  5

                                                                                                      Appendix296
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 304 of 509 PageID 8243



              D. The NRA initially hired the Brewer Firm for a single case and now has “taken
                 over” an unbounded scope of representation for the organization.

              E. That former NRA President Oliver North tried and failed to have the
                 organization “investigate” the Brewer Firm’s “duties and invoices.”

              F. That the Brewer Firm “retaliated” against former NRA President Oliver North
                 “and others” by assisting some within the NRA to oust North as its President
                 and by suing AMc.

              G. That Brewer escalated “attacks” against AMC after he learned that his father-
                 in-law (A. McQueen) had cancer, including making various threats to have
                 certain persons prosecuted and instigating audits of AMc’s work for the NRA.

              H. That Brewer used McQueen family members to communicate with A.
                 McQueen and R. McQueen as part of an improper effort to communicate with
                 AMc.

              I. That Brewer has had “prior ethical conflicts and court sanctions” in other cases
                 during his legal career.

                  That Brewer is a “material fact witness” in this case because he allegedly
                  knows how and why AMc and the NRA parted ways after nearly 40 years and
                  may have “manufactured” this falling-out between the two organizations.

       17.    Finally, Defendants summarize their disqualification arguments with the following

statements:

       I.“Brewer’s continued representation of the NRA or LaPierre against AMc in this matter
              improperly and unfairly prejudices AMc’s ability to fully and fairly litigate its
              claims and defenses and will further perpetuate public suspicion of the integrity of
              the judicial system and this lawsuit. Brewer, and by extension, the Brewer Firm,
              must be disqualified and prohibited from further representing the NRA and
              LaPierre in this case, or any other party against Defendant relating to this NRA
              dispute, and from participating beyond providing witness evidence in the form of
              documents and testimony.”

       II.“Brewer and his firm are violating several Texas Disciplinary Rule of Professional
              Conduct and Model Rules of Professional Conduct by directly competing with AMc,
              leaking false and disparaging information about AMc to the press, side-stepping
              the attorney-client privilege, and communicating with a represented party.”




                                                6

                                                                                                     Appendix297
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 305 of 509 PageID 8244



       18.     To establish the facts they allege in support of disqualification, Defendants cite

deposition testimony, documents of various provenance, and a declaration by Revan McQueen. I

have reviewed these materials, along with the declarations of Skye McQueen Brewer, Wayne

LaPierre, John Frazer, Craig Spray, Charles Cotton, Michael Erstling, Travis Carter, Andrew

Aurulanandam and Michael Collins submitted in opposition to the Motion.

                                            OPINIONS

       19.     Based on the above information and applying my education, training and

experience (as well as applying relevant authorities, including the various Texas disciplinary rules

and ABA Model Rules that Defendants assert are applicable here), I have the following opinions:


   I. Defendants’ claims concerning Brewer’s alleged conflicts of interest under Texas
   Rule 1.06 and ABA Model Rule 1.7 intrude into matters properly resolved between the
   Brewer Firm and its client, the NRA. Defendants have no legitimate standing to assert
   these conflicts.

       20.     First, most conflicts of interest arise, and are properly addressed, solely among a

lawyer or (or law firm) and the client. Comment 17 to Rule 1.06, Texas Disciplinary Rules of

Professional Conduct states, in part, that “[r]aising conflicts of interests is primarily the

responsibility of the lawyer undertaking the representation.” A litigant very rarely, if ever, has

standing to assert that opposing counsel is conflicted. Comment 17 acknowledges such standing

only “where the conflict is such as clearly to call into question the fair or efficient administration

of justice….”. Therefore, any alleged conflicts of interest (or potential conflicts) are for Brewer

and the Brewer Firm to address with its client, the NRA; likewise, it is for the NRA to decide

whether it wishes to accommodate the alleged conflict or not. Nothing in the record comes close

to establishing the type of exceptional circumstance, contemplated by Comment 17, which would

taint the administration of justice in the eyes of the public and confer standing on Defendants to




                                                  7

                                                                                                         Appendix298
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 306 of 509 PageID 8245



assert a conflict. For example, Defendants do not claim that Brewer previously represented them,

or switched sides during the course of this litigation. Nor do Defendants identify particular

information or confidences that Brewer gained by virtue of his relation by marriage to the sister of

an AMc executive. Instead, Defendants’ primary argument appears to be that they would be much

more comfortable if the NRA was represented by more amiable counsel—which is what roughly

100% of litigants would prefer.

       21.     For example, Defendants attempt to make much of Brewer’s supposed animus

toward the McQueen family, which, in turn, allegedly makes his firm and him somehow unfit to

represent an opponent against AMc. This is a weak reed (at best) upon which to base a

disqualification claim. Lawyers and law firms are not required to like opposing parties or even

feel neutrally about them. In fact, lawyers and their firms often develop an extreme dislike for—

or have a pre-existing dislike regarding—opposing parties. This situation is not disqualifying

unless a lawyer reasonably concludes that his or her extreme animus toward an opposing party is

materially prejudicing the representation of his or her own client or the lawyer is unable to meet

his or her professional obligations of civility toward opponents under the Texas Lawyers Creed or

other professional standard.   It is Brewer’s prerogative to raise this issue with the NRA if he

objectively concludes that his legal representation of the NRA is somehow compromised by his

familial relationships. The NRA may be perfectly fine with the fact that Brewer allegedly dislikes

his wife’s family. But it is the NRA’s right to determine whether it wishes to accommodate

Brewer’s feelings—whatever they may be—toward the NRA’s opponent or related parties.

       22.     Second, it is not an impermissible conflict of interest for a law firm to “compete”

with an opposing party in litigation for services that the opposing party provides to others. For

example, law firms certainly compete against other law firms all the time with respects to clients,




                                                 8

                                                                                                       Appendix299
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 307 of 509 PageID 8246



cases, and transactions. Under Defendants’ apparent theory, a law firm that handles a patent

litigation and legal malpractice cases could not, on behalf of a client, sue another patent litigation

law firm for legal malpractice because it is in the first law firm’s interest to disadvantage a

competing firm in the patent litigation space. That, however, is not the law governing conflicts of

interest anywhere. Additionally, the mere fact that a law firm provides public relations-related

services as an adjunct to its legal services is hardly novel. Some law firms, particularly in the

corporate counsel world, provide crisis-management and public relations-related services to their

entity and individual clients, whether those law firms refer to those services that way or not. In

any event, whether the Brewer Firm provides public relations-related services is irrelevant. It is

neither unlawful nor inappropriate to do so—nor does that fact, if true, have any bearing on the

NRA’s claims against AMc. Those affirmative NRA claims will presumably be decided on their

own merits—and the Court will make its own decisions about whether AMc’s defensive theories

concerning this alleged competition are relevant to this proceeding. At most, this is another issue

for discussion between the Brewer Firm and its client, the NRA.

       23.     Third, AMc’s claim that Brewer and/or the Brewer Firm are disqualified because

they have a financial interest in pursuing this and other litigation is laughable. Virtually all lawyers

and law firms have a financial incentive in representing clients. That financial motive is tempered

by the lawyers’ and law firms’ legal, ethical, and professional obligations to their clients, including

the obligation not to charge unreasonable or unconscionable legal fees; however, the Brewer

Firm’s client, the NRA, is apparently not complaining about the legal fees that it has paid or may

pay in the future. Unsurprisingly, an adverse party typically lacks standing to complain that its

opponent in litigation is spending too much money on legal fees. If this was a family law case in

which one spouse’s expenditures on legal services in the divorce were significantly draining the




                                                   9

                                                                                                           Appendix300
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 308 of 509 PageID 8247



marital estate, the other spouse might well question those expenditures. But despite Defendants’

apparent efforts to transform it into one, this is not a family-law dispute. AMc has no legitimate

interest in how much or how little the NRA spends on legal services in this case or any other.

       24.     Fourth, AMc’s claim that it is disadvantaged because one of its principals, R.

McQueen, must defend the company against claims brought by his sister’s husband (Brewer)

provides no legal basis for disqualification. A party, such as AMc here, might have numerous

reasons why it would prefer that another law firm represent its opponent in litigation; however, a

party in litigation does not get to select (or veto) counsel for its opponent.

       25.     Fifth, AMc appears to claim that Brewer and the Brewer Firm have filed

“unauthorized” lawsuits on behalf of the NRA when the NRA “was seeking to keep the peace with

AMc, concocting and carrying out the false and defamatory ‘extortion’ narrative, and for

terminating AMc’s Services Agreement.” If the NRA has not “authorized” any lawsuits in its

name, including this one, then that is an issue for the NRA to resolve; otherwise, AMc can file a

motion for the Brewer Firm to show authority to appear as the NRA’s counsel in this matter, if it

genuinely believes that the Brewer Firm lacks that authority. A motion to disqualify is not the

proper vehicle for challenging an opposing counsel’s authority to act for an adverse party. It is

also my understanding that a Virginia court previously rejected the exact same argument by AMc.

       II.     Defendants’ “lawyer-witness” arguments are misguided and defective.

       26.     There is no indication of which I am aware that the NRA plans to use Brewer as

both an advocate and fact witness in the trial of this case. Nor is there any indication that Brewer

is a “witness necessary to establish an essential fact on behalf of the [NRA].” If Brewer becomes

a “witness necessary to establish an essential fact on behalf of his client,” then he certainly cannot

act as an advocate before the tribunal at trial; however, that scenario, if it occurs, is not

disqualifying as to the Brewer Firm as a whole—and does not completely exclude Brewer from


                                                  10

                                                                                                         Appendix301
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 309 of 509 PageID 8248



representing the NRA in this case. See, e.g., Anderson Producing, Inc. v. Koch Oil Co., 929

S.W.2d 416, 422 (Tex. 1996)(“Rule 3.08 only prohibits a testifying attorney from acting as an

advocate before a tribunal, not from engaging in pretrial, out-of-court matters such as preparing

and signing pleadings, planning trial strategy and pursuing settlement negotiations”). But see,

Crossroads Systs (Texas), Inc. v. Dot Hill Systs. Corp., 2006 WL 1544621 (W.D. Tex. 2006) at

*10 (holding that other members of the testifying lawyer’s firm should also be disqualified from

serving as trial counsel under the circumstances of the case). Under Anderson Producing, Brewer

could continue to assist with the Brewer Firm’s handling of this case and participate in roles other

than as an advocate before the trier of fact. Anderson, 929 S.W.2d at 422. Further, a party cannot

disqualify an opposing counsel simply by claiming that that opposing counsel will be compelled

to provide testimony adverse to his or her own client or where another witness could provide the

same allegedly “essential” testimony. United States v. Beauchamp, 2017 WL 1684406, at *2 (N.D.

Tex. 2017)(criminal case in which the government claimed that defense counsel was a necessary

witness under Rule 3.08 due to work that he allegedly did on certain agreements; in denying the

motion, the Court found the government’s argument in this regard to be speculative and

insufficient). If Brewer is compelled to testify adversely to the NRA—which cannot occur simply

because AMc wills it—then Brewer could, in theory, make appropriate disclosures to his client,

the NRA, about the consequent conflict and obtain a waiver. See Rule 3.08(c), Texas Disciplinary

Rules of Professional Conduct. Whether Brewer must seek a conflicts waiver from his client

depends on: (a) whether he will be compelled to give adverse testimony; and (b) the nature of that

adverse testimony and its materiality. The Court will ultimately decide whether Brewer will be

compelled to testify by AMc and the scope of that testimony, if any—while presumably ruling on

the likely attorney-client privilege and work product objections to AMc’s demand that opposing




                                                11

                                                                                                       Appendix302
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 310 of 509 PageID 8249



counsel testify. If the Court compels Brewer’s testimony, only then would Brewer need to make

appropriate disclosures regarding the conflict to his client, the NRA, and receive (or not) the

NRA’s consent to the conflict. There may be circumstances where Brewer might not be able to

seek the NRA’s consent to a conflict of this nature (i.e., where the conflict is so prejudicial to the

NRA that it should not agree to accommodate the conflict); however, disqualification is not

warranted by AMc’s mere claim that it will force Brewer to be a witness adverse to the NRA, nor

by its claim that Brewer is absolutely necessary to provide essential testimony in support of the

NRA’s claims. I note that Defendants failed, in their briefing, to alert the Court to the high legal

hurdles that exist for disqualification under the Texas and ABA “lawyer as witness” rules.

       III.   Defendants’ Motion offers a scattershot of vague and irrelevant allegations
       that do not implicate the Texas disciplinary rules or ABA Model Rules upon which
       Defendants claim to rely.

       27.     Neither Defendants’ Motion nor the supporting papers coherently substantiate each

alleged rule violation, let alone by marshaling relevant, admissible evidence. Defendants’ brief

is especially difficult to follow in that its alleged proof and arguments do not mirror the claims set

out in the Motion and brief at the outset. This is not just a disagreement with writing style or

competence in organizing arguments coherently. After covering its general conflicts of interest

and “lawyer as witness” arguments, Defendants’ brief trails off without developing its four other

disqualification arguments or corresponding proof in sufficient detail. For example, Defendants

claim that Brewer “used” McQueen family members to “communicate” with certain principals at

AMc in an alleged violation of Texas Rule 4.02 (and the companion ABA Model Rule), but made

no effort to identify who those McQueen family members were, how AMc principals knew that

Brewer was intentionally trying to communicate with them through these unnamed family

members, what those alleged “communications” concerned or when they occurred, or how these

alleged indirect communications violated either Rule. With respect to this allegation, Defendants


                                                 12

                                                                                                         Appendix303
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                              Page 311 of 509 PageID 8250



offer the March 30, 2020, Declaration of Revan McQueen in which he claims, in §31 and §36 (on

pp. 9-10) that Brewer used McQueen family members to “communicate” with him, allegedly to

circumvent AMc’s counsel. The declaration asserts that Brewer threatened to have “me and Angus

[McQueen] indicted,” but does not explain how R. McQueen knows that Brewer was trying to

communicate this information to him improperly through other family members. Presumably, one

of these alleged family members could have testified by affidavit to these claims, but Defendants

offered no direct evidence of that sort.

          28.     Even more oddly, Defendants appear to claim that statements and events totally

unrelated to this case, some occurring decades ago, provide grounds for disqualification. Among

other things, Defendants cite: an article written by Brewer and two co-authors for the Pepperdine

Law Review regarding the 1998 Dondi decision; and, alleged sanctionable conduct by Brewer in

other cases, including sanctions that were reversed for abuse of discretion by the Texas Supreme

Court.1

          29.      Overall, Defendants’ disqualification motion is a mishmash of undeveloped or

shoddily developed theories and claims, coupled with reputational smears. Defendants make no

real effort to support their allegations with admissible evidence, and even less explain how the

same allegations, if proven, would provide grounds for disqualification under any theory

recognized in the Fifth Circuit. Perhaps Defendants’ overall objective is to create an “appearance

of impropriety”—which has not been recognized for ethical purposes in the Texas Disciplinary

Rules of Professional Conduct for more than 30 years. Indeed, an “appearance of impropriety” is




1
 Specifically, Defendants’ brief spends considerable time highlighting a trial court’s 2015 highly-publicized sanction
against Brewer in Brewer v. Lennox Hearth Prods, LLC, 546 S.W.3d 866, 871 (Tex. App.- Amarillo 2018, pet.
granted). The Texas Supreme Court struck down those sanctions in their entirety, determining that imposing them was
an abuse of discretion. See Brewer v. Lennox Health Products, LLC, et. al., No. 18-0426, Supreme Court of Texas.


                                                         13

                                                                                                                         Appendix304
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 312 of 509 PageID 8251



a largely discredited ABA ethical standard due to its inherent subjectivity (e.g., an “appearance”

is clearly different than the “reality of impropriety”). Wolfram, Modern Legal Ethics, §7.1.4, West

Publishing, 1986. Nonetheless, the Fifth Circuit has occasionally considered “appearances of

impropriety” in the past; however, the U.S. District Court for the Northern District of Texas noted

that this standard, in the attorney disqualification context, should be applied “with caution.”

Grosser-Samuels v. Jacquelin Designs Enters., Inc., 448 F. Supp.2d 772, 780 (N.D. Tex. 2006).

And for good reason: An “appearance” is susceptible to arbitrary determinations about what

lawyers, courts, and the public may find “distasteful” or “unseemly.”

        30.        Presumably, Defendants’ counsel are familiar with Rule 3.01, Texas Disciplinary

Rules of Professional Conduct. That Rule states: “A lawyer shall not bring or defend a proceeding,

or assert or controvert an issue therein, unless the lawyer reasonably believes that there is a basis

for doing so that is not frivolous.” Given the inapplicability of the Rules cited and the alleged

proof offered, it is difficult to see how Defendants’ counsel have acquitted themselves well in

observance of this basic ethical obligation.

        31.        I may supplement or amend this Declaration as further information or issues are

presented for my consideration.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed in Gonzales County, Texas on the 3rd day of May 2020.


                                                       ____________________________
                                                       James M. McCormack



4843-5356-2041.6
-




                                                  14
                                                                                                        Appendix305
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20           Page 313 of 509 PageID 8252

                              JAMES M. McCORMACK
                           Attorney and Counselor at Law
                          1715 Capital of Texas Hwy South
                                      Suite 200A
                                 Austin, Texas 78746
                                 Office: 512-615-2408
                          Email: jmmccormack@austin.rr.com

   Mr. McCormack is the former General Counsel and Chief Disciplinary Counsel
   of the State Bar of Texas (1991-1996) and a former Managing Attorney of the
   Civil Litigation Section of the Travis County Attorney's Office in Austin, Texas. As
   the State Bar's Chief Disciplinary Counsel, he served as the chief legal ethics
   enforcement officer for the attorney discipline system in Texas. He is a graduate
   of the University of Texas at Austin: BBA with Honors, l981; Doctor of
   Jurisprudence, 1984.

   Mr. McCormack also served as an adjunct professor of law at the University of
   Texas School of Law in Austin where he taught professional responsibility. Mr.
   McCormack also received the 2016 Professionalism Award from the Austin Bar
   Association and the Texas Center for Legal Ethics.

   From 1998 to 2004, Mr. McCormack served as a member of the State Bar's Texas
   Disciplinary Rules of Professional Conduct Committee, which is charged with
   recommending amendments to the Texas ethics rules. In 2015, the Texas
   Supreme Court appointed Mr. McCormack to the State Bar of Texas’
   Professional Ethics Committee, which prepares formal ethics opinions that are
   published in the Texas Bar Journal. He was reappointed by the Court in 2018.

   He served as the Chairman of the Board of Trustees of the Texas Center for
   Legal Ethics and Professionalism (Chair-Elect, 2006-2007; Chairman
   20072008; Immediate Past Chairman 2008-2009). Mr. McCormack presently
   serves as the Editor-in-Chief of the EthicsExchange of the Texas Center for
   Legal Ethics.

   Mr. McCormack's Austin-based practice emphasizes legal ethics-related
   consultations and representations. Past consultations include conflicts of
   interest analysis, mass tort settlements, disqualification motions, lawyer
   advertising and solicitation questions, organizational ethics reviews, legal
   malpractice-related expert testimony, representation before the Texas Board of
   Law Examiners, and other professional responsibility and malpractice-related
   counsel. He is a regular lecturer on legal ethics and malpractice issues.

   Martindale-Hubbell national legal directory peer-based rating: “AV” since
   1994.




                                                                                          Appendix306
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20              Page 314 of 509 PageID 8253

                             JAMES (JIM) M. McCORMACK
                                   Attorney at Law

   •   Current practice emphasizes legal ethics and legal malpractice consultation
       and representation; expert consultation and testimony; prior service as an
       adjunct professor of law, The University of Texas School of Law; Partner,
       Tomblin Carnes McCormack, L.L.P., Austin, Texas (1999-present); Law
       Offices of James M. McCormack (1996-1999; 2008-present); also Of Counsel,
       Law Offices of Anthony W. Tomblin (1997-1999).

                   General Counsel and Chief Disciplinary Counsel
                                State Bar of Texas
                                     1991-1996

   •   Served as the General Counsel and the Chief Disciplinary Counsel of the
       State Bar of Texas; as General Counsel, provided corporate and litigation
       services to the Board of Directors, Executive Departments, and other
       Barrelated entities, such as the Unauthorized Practice of Law Committee and
       the Client Security Fund; as Chief Disciplinary Counsel, served as the chief
       legal ethics enforcement officer and chief prosecutor for the statewide attorney
       disciplinary system; supervised ten offices and 118 employees across Texas;
       oversaw all litigation conducted on behalf of the State Bar and the Texas
       Commission for Lawyer Discipline; served as ex-officio member of the State
       Bar Board of Directors and Executive Committee. The State of Texas is a
       public corporation and the administrative arm of the Judicial Department of the
       State of Texas.

                         Managing Attorney, Litigation Section
                            Travis County Attorney's Office
                                  May 1988 to 1991

   •   Managed public litigation section. Supervised trial attorneys and support staff
       while handling a regular litigation caseload.

                               Assistant County Attorney
                              Travis County Attorney's Office

   •   Handled wide variety of lawsuits in virtually all areas of public practice, including
       personal injury defense, civil rights defense, eminent domain, ad valorem tax
       collection, employment law, environmental enforcement, contract and real
       property disputes and miscellaneous litigation.




                                               2



                                                                                               Appendix307
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20         Page 315 of 509 PageID 8254


                                   Staff Counsel
                                 Texas State Senate
                                    1984 to 1985

   •   Served as Staff Counsel to a Texas State Senator; provided legal opinions
       and advice drafted legislation and amendments; monitored and analyzed
       proposed legislation.

   EDUCATION

   •   The University of Texas Law School. Doctor of Jurisprudence, 1984.

   •   The University of Texas at Austin. Bachelors in Business Administration with
       Honors, 1981 (Management).


   EXECUTIVE AND CONTINUING EDUCATION

   •   The Wharton School, The University of Pennsylvania, Executive Education in
       Managing People, 1995.

   •   Covey Leadership Center, Seven Habits Program, 1995.

   •   The University of Texas at Austin, Coursework in counseling psychology, 1990.

   •   40 hour Mediation Training Program, Travis County Dispute Resolution Center,
       1991.

   •   The University of Texas at Austin, Executive Education in Finance and
       Accounting for Non-Financial Managers, 1995.

   HONORS, ACTIVITIES, AND MEMBERSHIPS

   •   Past President, Board of Directors, AUSTIN WOMEN'S CENTER; Board
       Member (1987-1992), for twenty year old non-profit organization providing job
       training and counseling for men and women; staffed by professional staff and
       volunteers; recipient of federal, state, and local funds.

   •   State Bar Presidential Citations in 1993 and 1996 for leadership in
       implementing the new grievance system and balancing multiple responsibilities
       as General Counsel/Chief Disciplinary Counsel of the State Bar of Texas.




                                           3



                                                                                       Appendix308
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                        Page 316 of 509 PageID 8255

   •   Member, State Bar of Texas, since 1984.

   •   Member of the Bar, U.S. District Court, Western and Eastern Districts of
       Texas; U.S. Court of Appeals, Fifth Circuit; and the United States Supreme
       Court.

   •   Member, National Mock Trial Team, University of Texas Law School, 1984;
       Member, Board of Advocates, University of Texas Law School, 1983-1984.

   •   Member, Friar Society (since 1982); Cactus Yearbook Outstanding Student
       (1984); University of Texas Cactus Yearbook Goodfellow (1983).

   •   Life Fellow, Texas Bar Foundation.

   •   Member, Texas Disciplinary Rules of Professional Conduct Committee,
       State Bar of Texas, 1998-2004.

   •   Member and Past Chairman, Board of Trustees, Texas Center for Legal
       Ethics and Professionalism, 2003-2009 (Chair-Elect, 2006-2007; Chairman,
       2007-2008; Immediate Past Chairman 2008-2009).

   •   Member, The State Bar of Texas’ Professional Ethics Committee,
       appointed by the Texas Supreme Court (2015-). Reappointed 2018 to a new
       three year term. The Professional Ethics Committee prepares formal ethics
       opinions for the guidance of Texas lawyers and for publication in the Texas Bar
       Journal.

   •   Recipient of the Professionalism Award by the Austin Bar Association and
       the Texas Center for Legal Ethics, 2016 (“The recipient of the Award will be that lawyer
       selected at the local level who best exemplifies, by conduct and character, truly professional
       traits, who others in the bar seek to emulate, and who all in the bar admire. Those selected for
       the award will truly be ‘role models for the bar, particularly younger or less experienced lawyers.
       Those selected will be lawyers who are respected by their peers and make all their peers proud
       of the profession’”).

   TEACHING, WRITING AND ETHICS-RELATED PRESENTATIONS

   •   Adjunct Professor of Law, The University of Texas School of Law,
       “Professional Responsibility” (1995-1997); Trial Advocacy: “Expert Witnesses”
       (2017-present); Trial Advocacy: “Handling Depositions and Expert Witnesses”
       (2020).

   •   Editor-in-Chief, The EthicsExchange, The Texas Center for Legal Ethics,
       2014-present (online legal ethics articles and resources).



                                                     4



                                                                                                             Appendix309
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20          Page 317 of 509 PageID 8256

   •   Contributing Co-Author, A Guide to the Basics of Law Practice, 1995 and
       1996 editions, Texas Center for Legal Ethics and Professionalism.

   •   Author, “The Client Connection,” The Texas Lawyer, (legal newspaper
       column appeared each month from September 2001 through August 2003)

   •   Author, "Good Ethics, Smart Tactics", Law Practice Management Magazine,
       American Bar Association, September 1995, (similar article at 57 TEX. B.J.
       178, 1994). Named by the publication as one of its five best articles of 1995.
   •   Co-author (with Arthur Piacenti) and Presenter, "Dual Role Conflicts of
       Interest," "Reporting Misconduct," and "Entering into and Withdrawing from
       Representation"; National Academy of Law, Ethics, and Management Program,
       1994.

   •   Author and Presenter, "How to Guarantee a Grievance," Evidence: Current
       Strategies For The Trial Lawyer In A New Environment Program, South Texas
       College of Law, 1995.

   •   Author and Presenter, "Ethical Considerations for the Personal Injury
       Lawyer," The Annual Page Keeton Products Liability and Personal Injury Law
       Conference, The University of Texas School of Law, 1996.

   •   Author and Presenter, "Conflicts of Interest in Complex Litigation,"
       Recognizing and Resolving Conflicts of Interest Program, The State Bar of
       Texas, 1997.

   •   Speaker, "Most Common Ethical Lapses at Trial," 3rd Annual Evidence and
       Procedure Symposium, The University of Texas School of Law, San Antonio,
       Texas, 1998 (similar presentation at "Masters of Litigation" Program for Travis
       County Bar Association, 1997).

   •   Speaker, "Ethics and Negotiations," Travis County Bar Association, Austin,
       Texas, 1998.

   •   Panel Member and Speaker, "Class Action and Mass Tort Panel; Discussion
       of Special Ethics Issues, 3rd Annual Evidence and Procedure Symposium, The
       University of Texas School of Law, San Antonio, Texas, 1998.

   •   Speaker, "Legal Malpractice," 21st Annual Page Keeton Products Liability &
       Personal Injury Law Conference, The University of Texas School of Law, 1997.

   •   Instructor, "Ethical Considerations for Multi-party and Complex Litigation,"
       Continuing Legal Education Online Course, 1998-present.



                                            5



                                                                                         Appendix310
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20           Page 318 of 509 PageID 8257

   •   Co-presenter (with Tracy McCormack) “So You Want To Be A Millionaire
       Lawyer, Ethically?” 5th Annual Advanced Evidence and Procedure Symposium,
       The University of Texas School of Law, May 2000 (similar legal ethics programs
       presented for the Texas Association of Bank Counsel, October 2000; and
       University of Texas School of Law CLE Program, April 2001).

   •   Panel Member, “Ethics and the Litigator”, Live Statewide Satellite
       Presentation, Ethics and Malpractice Avoidance for Business/Corporate
       Lawyers and Litigators, State Bar of Texas, Dallas (and 25 Texas sites),
       November 2000.
   •   Co-Presenter (with Tracy McCormack) “The Weakest Link: Pitfalls in Legal
       Ethics,” Texas Association of Bank Counsel Annual Meeting, Austin, Texas,
       October 2001.

   •   Co-Presenter (with Tracy McCormack) “The Weakest Link: Pitfalls in Legal
       Ethics,” 25th Annual Page Keeton Products Liability and Personal Injury Law
       Conference, The University of Texas School of Law, Austin, Texas, November
       2001 (similar legal ethics program presented at University of Texas Law School
       Reunion CLE Program, April 2002).

   •   Co-Presenter (with Tracy McCormack) “Ethics Jeopardy” Continuing Legal
       Education Program, 26th Annual Page Keeton Products Liability and Personal
       Injury Law Conference, The University of Texas School of Law, Austin, Texas,
       October 2002.

   •   Speaker, “Settling Cases Ethically,” Silica Litigation Conference (HarrisMartin
       Publishing Company), New Orleans, Louisiana, June 2003

   •   Panel Member, “Ethics, Ethics, Ethics” 3 hour ethics program, Travis County
       Bar Association, December 2003.

   •   Speaker, “Ethical Pitfalls,” Andrews Asbestos Conference, New Orleans,
       Louisiana, May 2004.

   •   Speaker, “Ethical Issues for Administrative Lawyers,” Advanced Administrative
       Law Conference, Travis County Bar Association, June 2004.

   •   Author and Presenter, “Ethical Pitfalls Leading to Disqualification in the Texas
       and Federal Courts,” Page Keeton Litigation Conference, The University of
       Texas School of Law Continuing Legal Education Program, Austin, Texas,
       October 2004.




                                            6



                                                                                          Appendix311
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20           Page 319 of 509 PageID 8258

   •   Speaker, “Six Ethics Rules I Thought I Knew Until I Read Them Again,” Austin
       LSA Association Program, Austin, Texas, April 2005.

   •   Author and Presenter, “The Verdict from Kerrville: Resolving Conflicts of
       Interests Under Rule 1.06,” Fiduciary Litigation Course, The State Bar of Texas,
       Houston, May 2006.

   •   Speaker, “Some Ethics Rules I Thought I Understood Until I Read Them
       Again,” Texas Attorney General’s Office, Distinguished Speaker’s Program,
       Third Court of Appeals, Austin, August 2007.

   •   Speaker, “Attorneys and Paralegals,” The Corpus Christi Bar Association,
       Corpus Christi, November 2007.
   •   Speaker, Legal Ethics Program for Clinical Programs at the University of Texas
       School of Law, Austin, January 2008.

   •   Speaker, “Ethical Insomnia: Construction Law Ethical Situations That Keep
       You Awake At Night,” 21st Annual Construction Law Conference, The
       Construction Law Section of the State Bar of Texas and the Texas Institute of
       Continuing Legal Education, San Antonio, February 2008.
   •   Panelist, “The Ethics of Lawyer-Judge Interactions,” The Ethics Course, The
       Texas Center for Legal Ethics and Professionalism, Austin, May 2008.

   •   Panelist, “The Ethics of Lawyer-Judge Interactions,” The State Bar of Texas,
       TexasBarCLE, March 2008 (video program).

   •   Panelist, “Ethical Courtroom Behavior,” The State Bar of Texas, TexasBarCLE
       Live Webcast program, June 2008.

   •   Speaker, “Ethics in Forming, Operating, and Amending Partnerships,” The
       University of Texas CLE Program: Partnerships and Limited Liability
       Companies, Austin, July 2008.

   •   Panelist, “How to Avoid Ethical Improprieties When Dealing with Governmental
       Personnel,” The 22nd Annual Legal Seminar on Ad Valorem Taxation, San
       Antonio, August 2008.

   •   Panelist, “Ethical Courtroom Behavior - Part II: Enforcement,” The State Bar of
       Texas, TexasBar CLE Live Webcast program, October 2008.

   •   Panelist/Chair, “Lawyer-Judge Interactions,” The Ethics Course, The Texas
       Center for Legal Ethics and Professionalism, Austin, December 2008.



                                            7



                                                                                          Appendix312
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20          Page 320 of 509 PageID 8259

   •   Speaker, “What Social Science Teaches About Rules, Procedures, and Ethical
       Behavior” (“Advising Businesses and Government in a Troubled Economy:
       Ethical Policies, Procedures, and Behavior”), UTCLE (The University of Texas
       School of Law), 13th Annual Law Use Conference, Austin, March 2009.

   •   Moderator, “Imposing Sanctions” and “Most Common Rule Violations”
       Grievance Committee Training Videos, Office of the Chief Disciplinary Counsel,
       The State Bar of Texas, Austin, April 2009.

   •   Panelist, “Ethics and High Profile Cases: Free Press v. Fair Trial”,
       Cosponsored by the Litigation Section of the State Bar of Texas and the Texas
       Center for Legal Ethics and Professionalism, The State Bar of Texas Annual
       Meeting, Dallas, June 2009.

   •   Panelist, “Tuning Up Your Law Practice: Conflicts, Contracts, and Costs of
       Doing Business,” Live Webcast by the State Bar of Texas Continuing Legal
       Education, Austin, July 2009.

   •   Speaker (with Tracy McCormack), “What Happens If We Are Honest About
       Our Jury Trial Experience?,” The Car Crash Seminar, UTCLE (The University
       of Texas School of Law), Austin, August 2009.

   •   Speaker, “Navigating the Ethics Rules,” The Ethics Course, The Texas Center
       for Legal Ethics and Professionalism, Austin, Texas, September 2009.

   •   Speaker, “What Social Science Teaches About Rules, Procedures, and Ethical
       Behavior,” The Academy of Hospitality Industry Attorneys Conference, Austin,
       Texas, October 2009.

   •   Panelist, “Presenting the Case in Chief—Defense,” Trial of a Fiduciary
       Litigation Case, TexasBarCLE (The State Bar of Texas), Fredericksburg,
       Texas, December 2009.

   •   Speaker, “Navigating the Ethics Rules,” The Ethics Course, The Texas Center
       for Legal Ethics and Professionalism, Houston, Texas, January 2010.

   •   Speaker, “Beyond the MPRE,” Spring Symposium, Pursuing Justice Through
       Legal Innovation, Sponsored by the Thurgood Marshall Legal Society, The
       Chicano/Hispanic Law Students Association, and the National Black Law
       Journal, The University of Texas At Austin, Austin, Texas, February 2010.

   •   Speaker, “Practical Legal Ethics for Immigration Lawyers,” Austin Chapter of
       the American Immigration Lawyers Association, Austin, Texas, March 2010.


                                           8



                                                                                        Appendix313
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20          Page 321 of 509 PageID 8260


   •   Speaker, “Attorney Retainer Agreements: Getting In and Getting Out,” The
       Austin Bar Association, Litigation Section Program, Austin, Texas, April 2010.

   •   Presenter, “Ethical Tips and Traps for the Marketing Lawyer,” Superlawyers
       Continuing Legal Education Webinar, Austin, Texas, June 2010.

   •   Speaker, “How to Terminate a Client Engagement,” Advanced Tax Law
       Course, TexasBarCLE, Dallas, Texas, August 2010.

   •   Panelist, “New Disciplinary Rules: Point and Counterpoint,” 34th Annual Page
       Keeton Civil Litigation Conference, The University of Texas School of Law
       (UTCLE), Austin, Texas, October 2010.

   •   Speaker, “Social Science and Ethics,” Strategic Management Classes
       (Professor Mark Poulos), The School of Management and Business, St.
       Edward’s University, Austin, Texas, November 2010, April 2011, November
       2011, May 2012, and November 2012.

   •   Co-Presenter (with Jess Irwin), “Representation of Multiple Parties & Conflicts
       of Interest,” The Advanced Administrative Law Course, TexasBarCLE, Austin,
       Texas, July 2011.

   •   Author, “The Elephant in the Room: The Referendum Defeat Is A Symptom of
       a Larger Problem,” The Advocate, The State Bar Litigation Section Report, Vol.
       55, Summer 2011.

   •   Co-Author (with Tracy McCormack and Susan Schultz), “Probing the
       Legitimacy of Mandatory Mediation: New Roles of Judges, Mediators, and
       Lawyers,” St. Mary’s Journal on Legal Malpractice & Ethics, St. Mary’s
       University School of Law, Vol. 1, Number 1, 2011.

   •   Speaker, “Ethics & Pro Bono Service,” Central Texas Wildfire Response Team
       Volunteer Attorney Training, The Austin Bar Association, Austin, Texas,
       September 2011.

   •   Speaker, “Navigating the Ethics Rules,” The Holiday Ethics Program, The
       Austin Bar Association, Austin, Texas, December 2011.

   •   Moderator, Panel Discussion (with Buck Files and Charles Herring, Jr.), “The
       Ethics of the Legal Profession and the Public Perception of the Profession,”
       The Dr. Richard Street Legal Symposium, Austin College, Sherman, Texas,
       March 2012.


                                            9



                                                                                         Appendix314
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20         Page 322 of 509 PageID 8261


   •   Panelist, “Appellate Ethics Roundtable,” (“Fee Agreements: 5 Easy Pieces”),
       The University of Texas Conference on State and Federal Appeals, Austin,
       Texas, May 2012.

   •   Speaker, “Navigating the Ethics Rules and Conflicts,” 12th Annual Legal
       Conference, The Office of General Counsel, The University of Texas System,
       Austin, Texas, October 2012.

   •   Speaker, “Navigating the Ethics Rules and Conflicts,” 8th Annual Texas Energy
       Law Conference, The University of Texas School of Law, Austin, Texas,
       January 2013.

   •   Speaker, “Ethics in Negotiations,” The Environmental Impacts of Oil and Gas
       Production Course, The State Bar of Texas, San Antonio, Texas, January
       2014.

   •   Speaker, “Organizational and Personal Ethics,” Principles of Management
       Courses, St. Edward’s University, Austin, Texas, February 2013-Fall 2018;
       also, similar presentations for various “Strategic Management” Courses, Fall
       and Spring semesters, 2012-2018.

   •   Speaker, “Due Diligence Dilemmas: Contacting Coworkers and “Purloined”
       Documents” Program, Austin and Capital Area Plaintiff Employment Lawyers
       Association, Austin, Texas, April 2014.

   •   Speaker, “Contacts with Persons Represented and Not Represented by
       Opposing Counsel,” Austin Bar Employment Law Section, November 2014.

   •   Speaker, “An Introduction to Attorney Disqualification,” The Texas Center for
       Legal Ethics, Filmed April 2015.

   •   Speaker, “Attorney Fees and Fee Contracts,” The Texas Center for Legal
       Ethics, Filmed April 2015.

   •   Speaker, “Contingent Fees and Fee Contracts,” Capital Area Trial Lawyers
       Association, Austin, Texas, May 2015

   •   Speaker, “Managing a Grievance and How to Avoid a Grievance,” Government
       Law Boot Camp, TexasBarCLE, Austin, Texas, July 2015

   •   Speaker, “Attorney’s Fees and Fee Contracts in Family Law,” Austin Family
       Law Advocates, Austin, Texas, September, 2015


                                          10



                                                                                       Appendix315
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20        Page 323 of 509 PageID 8262

   •   Author, various EthicsExchange Articles, Texas Center for Legal Ethics,
       20142015, including:

             o   Filing Law Firm Advertisements with the State Bar
             •   Ethics in Negotiation and Mediation
             o   Improper Client Solicitations
             o   Confidentiality in Attorney-Client Relationship
             o   Disputes Over Legal Fees and Claims by Third Parties
             o   Overview of the Texas Grievance System: Ten Questions
             o   Inappropriate Relationships with Clients
             o   Lawyer Contacts with Adverse Parties and Experts
             o   Reporting the Misconduct of Other Lawyers (and Judges)
             o   Representing Organizations and Reporting Client Problems
             o   The Texas Lawyer Creed: Purpose and Enforcement
             o   Training Law Office Staff Regarding Ethical Obligations
             o   The Basics of Lawyer Trust and IOLTA Accounts
             o   Legal Fees: Types, Their Causes and Cures
             o   Introduction to Attorney Disqualification
             o   Navigating the Ethics Rules: What Matters in Answering
                 Questions About Texas Legal Ethics and Why
             o   The Binding Arbitration Disclosure
             o   The Fee Agreement
             o   Joint Representations: “More Than Just One Client” Ethics
             o   The Conflicts of Interest Disclosure

   •   Speaker, “Ethics and Dilemmas in Representing Multiple Client: Conflicts and
       Other Implications,” The Texas Wetlands Conference, Houston, Texas,
       January 2016.

   •   Speaker, “Ethical Issues Regarding Trial,” Advanced Civil Trial Law Seminar,
       Corpus Christi Bar Association, Corpus Christi, Texas, April 2016.

   •   Co-Presenter (with Tracy McCormack), “Disclosure is the New Ethics,” The
       University of Texas School of Law (Reunion Weekend Continuing Legal
       Education), Austin, Texas, April 2016.

   •   Speaker, “Conflicts of Interest in Labor and Employment Law,” The Austin Bar
       Association (Labor & Employment Law Section), Austin, Texas, November
       2016.




                                          11



                                                                                      Appendix316
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20         Page 324 of 509 PageID 8263


   •   Speaker, “Ethical Traps for New (and Experienced) Lawyers,” Justice James
       A. Baker - Guide to Ethics and Professionalism in Texas Course, The Texas
       Center for Legal Ethics, Dallas, Texas November 2016.

   •   Co-Presenter (with Tracy McCormack), “Ethical Jeopardy,” Holiday Ethics
       Program, The Austin Bar Association, Austin, Texas, December 2016.

   •   Speaker, “Legal Ethics for the Seasoned Lawyer,” Austin Bar Association (Still
       Loving It Bar Section), April 2017.

   •   Panel Member, Disruptive Technology and Ethics, University of Texas Law
       School Technology Conference, UTCLE program, Austin, Texas, May 2017.

   •   Speaker, “Ethics in Business Litigation,” Business Disputes Conference,
       TexasBarCLE, Austin, Texas, September 2017.

   •   Speaker (with Tracy McCormack), “The Ethical Perils of Cocktail Party Talk,”
       Cocktail Party Law: Answering Questions in Social Situations, UTCLE
       Program, Austin, Texas, November 2017.

   •   Speaker, “Legal Ethics and Professionalism for the Civil Trial Lawyer,” The
       Advanced Civil Trial Law Course, The Corpus Christi Bar Association, Corpus
       Christi, Texas, March 2018.

   •   Speaker, “They Say What? A Few Ethics Rules and Opinions That Surprise
       Experienced Lawyers,” The Capital Area Trial Lawyers Association, Austin,
       Texas, December 2018.

   •   Co-Presenter (with Tracy McCormack), Ethics Jeopardy: Fee Agreements
       Through Appeal, The American Board of Trial Advocates, Austin, Texas,
       November 2019.




                                           12


                                                                                        Appendix317
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 325 of 509 PageID 8264




                    EXHIBIT 48




                                                                               Appendix318
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20             Page 326 of 509 PageID 8265



IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION


 NATIONAL RIFLE ASSOCIATION OF §
 AMERICA,                                §
                                         §
      Plaintiff and Counter-Defendant,   §
                                         §
 and                                     §
                                         §
 WAYNE LAPIERRE,                         §
                                         §
      Third-Party             Defendant, §
                                         §
 v.                                      § Civil Action No. 3:19-cv-02074-G
                                         §
 ACKERMAN MCQUEEN, INC.,                 §
                                         §
      Defendant and Counter-Plaintiff,   §
                                         §
 and                                     §
                                         §
 MERCURY GROUP, INC., HENRY §
 MARTIN,       WILLIAM       WINKLER, §
 MELANIE MONTGOMERY, and JESSE §
 GREENBERG,                              §
                                         §
      Defendants.                        §

DECLARATION OF WAYNE LAPIERRE

       My name is Wayne LaPierre, and I declare under penalty of perjury pursuant to 28 U.S.C.

§ 1746 that the following statements are true and correct.

       1.      I am over twenty-one years old and am fully competent to make this

declaration. Unless otherwise noted, I have personal knowledge of all matters stated herein. I

submit this declaration in support of the NRA’s Opposition to Defendants’ Motion to Disqualify




                                                1

                                                                                                 Appendix319
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 327 of 509 PageID 8266



Plaintiff’s Counsel   (William   A.    Brewer    III   (“Brewer”) and    Brewer    Attorneys    &

Counselors (“BAC”)) (the “Motion” or the “Disqualification Motion”).

       2.      I am the Executive Vice President (“EVP”) and Chief Executive Officer (“CEO”)

of the National Rifle Association of America ("NRA" or the “Association”). During the times

relevant to the Motion, I was EVP and CEO of the NRA.

       3.      In this role, I am responsible for making major corporate decisions, as well as

directing the NRA’s programs and business activities in accordance with policies set by the Board.

I am also one of the public faces of the NRA.

       4.      The NRA had a longstanding relationship with Ackerman McQueen, Inc. (“AMc”),

prior to 2019. During the course of that relationship, I understood that AMc had a large number

of employees working on the NRA account, managing advertising campaigns, public relations,

branding strategies, publications and more. AMc managed many of the NRA’s most significant

public-facing communications, directed key elements of our online presence, and operated many

of our digital assets. Notably, AMc concepted, managed and created all of the content for the

NRA's live-streaming digital platform, known as NRATV.

       5.      Although I valued AMc for the creativity of its longtime CEO, Angus McQueen,

AMc was not easy to work with and alienated many NRA staff, Board members and significant

donors. Long before I met Bill Brewer, NRA executives, directors and others were increasingly

strident in their complaints about AMc. For years, I regarded many of these as mere personality

conflicts engendered by the abrasiveness of Angus McQueen. As such, I looked past the

complaints because I believed the agency’s work benefitted the NRA.

       6.      By 2018, AMc was the NRA’s largest vendor, billing approximately $40 million

per year. Because their work covered key communications and public relations, I often turned to



                                                2

                                                                                                     Appendix320
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 328 of 509 PageID 8267



them for highly sensitive matters. Consistent with the significance of this work and the level of

trust placed in AMc, the NRA allowed them considerable latitude in managing their work for the

Association, subject to their agreement that we could access AMc’s files, books and records under

the parties’ Services Agreement, dated April 30, 2017 (as amended May 6, 2018, the “Services

Agreement”).

       7.      Nonetheless, I became concerned and received numerous complaints that the public

messaging AMc was crafting for the Association often struck the wrong tone. AMc was placing

increasing emphasis on material that was unrelated to Second Amendment issues and often

inflammatory. My concern became acute in connection with the messages coming across NRATV,

which had been created with the intention of reaching a younger and more diverse audience. The

NRA is a civil rights organization focused on individual freedoms, especially the Second

Amendment, and in my view should provide a home for all lovers of our Second Amendment

freedoms. These misgivings arose long before BAC came aboard, and long before I learned of

specific staff complaints about AMc’s billing practices.

       8.      In early 2018, as the NRA faced regulatory scrutiny over a membership program

known as Carry Guard, I began to question the adequacy of our oversight of two key vendors: the

insurance partner that administered that program (Lockton), and AMc, which directed portions of

the program that incurred significant cost overruns.

       9.      Therefore, greater transparency from the Association’s vendors became a high

priority for the NRA. It was especially important to get the AMc relationship right given the size

of their budget. Moreover, several NRA employees voiced pointed concerns that AMc was

abusing the NRA’s trust. For all of these reasons, it became important to gain greater insight into

how the agency was spending the NRA’s money. Areas of interests included the number of AMc



                                                3

                                                                                                      Appendix321
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 329 of 509 PageID 8268



employees working on the NRA account, project approvals, project investments, completed

services, and the projected returns on our investment in connection with NRATV. The allegation

by AMc that Brewer or BAC somehow “manufactured” the disputes between the NRA and AMc,

or “faked” the NRA’s document requests is not only patently false but inconsistent with the

historical facts.

        10.      In fact, when the Association initially sought information regarding AMc’s billing

practices in the summer of 2018, AMc tried to convince me that the NRA should not want to

review the files, books and records AMC maintained related to its work for the NRA. Specifically,

Angus McQueen warned me that any documents transmitted to the NRA might later be accessed

by New York State regulators, but those same records would be beyond the reach of those same

regulators if left in AMc’s hands since AMc was headquartered in Oklahoma and would be

impervious to a New York subpoena. This was not only unpersuasive, it was disconcerting: if

AMc was engaged in the type of activity that triggered concerns about subpoenas, I wanted to

know about it.

        11.      For reasons completely unrelated to AMc, the NRA had engaged BAC in March

2018, to represent it on a number of legal fronts. At or about that time, I informed Angus McQueen

that the NRA was retaining BAC in connection with the various litigation and regulatory matters.

He did not express any concerns. In fact, we discussed the familial relationship. I am unaware of

any objections by Angus McQueen regarding BAC’s representation of the NRA until after the

Association began asking questions about AMc’s billing.

        12.      In June 2018, I was informed that our new Chief Financial Officer, Craig Spray

(“Craig”), was going to travel to AMc’s headquarters in Oklahoma City to be introduced to AMc’s

leadership by our outgoing chief financial officer. Before Craig returned to work, I received an



                                                 4

                                                                                                      Appendix322
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 330 of 509 PageID 8269



irate phone call from Angus McQueen who demanded that I fire Craig immediately. I tried to get

to the bottom of AMc’s complaint. I came to understand that Craig had merely asked questions

that AMc executives did not want to answer about AMc’s services, the metrics related to NRATV,

and AMc’s accounting practices. Assured by Wilson Phillips that the questions asked by Craig

were appropriate, I informed Angus that the NRA would not fire Craig.

        13.    On October 11, 2018, Craig and I met with Angus McQueen, Revan McQueen, and

other members of AMC’s leadership at their office in Dallas, Texas. The purpose of the meeting

was to discuss ways to reduce AMc’s fourth-quarter budget for 2018 and the budget for 2019. The

meeting was explosive. Angus and Revan were enraged at the prospect of cutting AMc’s $40

million budget and seemed to have lost all sight of their role as a vendor in a vendor-client

relationship. In abusive, vulgar tirades, the McQueens told me I was “dead to [them]” and they

had already written NRA off and had moved on. BAC was not the focus of the meeting. I have

read Revan McQueen’s declaration filed in support of AMc’s Disqualification Motion. His

testimony regarding the events that took place at this meeting, as well as a number of claims about

my relationship with Brewer, is entirely incorrect.

        14.    During 2018 and early 2019, Andrew Aurulanandam and I occasionally asked BAC

to assist with specialized media outreach—almost always in response to press inquiries about legal

issues the NRA was facing. Similarly, I asked BAC to assist with my remarks for the February

2019 Conservative Political Action Conference (“CPAC”). I wanted the speech to focus on First

Amendment litigation BAC spearheaded, and felt it was important to get the legal nuances

right. AMc also provided input on the speech. I never viewed BAC and AMc as business

competitors, nor do I believe that AMc held this view until it became convenient for purposes of

litigation.



                                                 5

                                                                                                      Appendix323
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 331 of 509 PageID 8270



       15.     Against this backdrop, the NRA’s efforts to obtain documents and information from

AMc continued throughout the remainder of 2018 and the first quarter of 2019. At times, AMc

went through the motions of complying with some of our requests, but our most important requests

were ignored or rebuffed. By early April 2019, it was clear to me the agency would not comply

with the most important of the Association’s information requests. Therefore, on April 12, 2019,

I authorized the filing of a lawsuit in Virginia against AMc to force them to produce all of the

documents to which the NRA was entitled.

       16.     The decision to sue one of our longtime vendors was a difficult but necessary one.

Of course, I did not imagine AMc would retaliate in the outrageous fashion that followed.

       17.     Lt. Col. Oliver North (“North”) came aboard as President of the NRA during the

fall of 2018. This role, at one time occupied by Charlton Heston, was largely ceremonial and

unpaid. I understood and agreed that during at least part of his presidency, North would host a

show on NRATV, for which he would be paid by AMc as an independent contractor. Unbeknownst

to me at the time (May 2018), North was actually hired by AMc as a full-time employee and turned

out to be more loyal to AMc than the NRA. Although he appeared to support the NRA’s

engagement of BAC, North later aligned himself with the agency as his business relationship with

the agency was scrutinized. By April 2019, as the NRA prepared for its Annual Meeting of

Members, I regarded North as having a conflict of interest as he attempted to interfere with the

Association’s efforts to gain access to AMc’s files, books and records. In fact, in early 2019, even

before the NRA prepared for its Annual Meeting of Members, I regarded North as having a conflict

of interest. I repeatedly informed him of this conflict multiple times and that he should cease

trying to derail BAC’s compliance work and its efforts to scrutinize AMc’s books and records.




                                                 6

                                                                                                       Appendix324
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 332 of 509 PageID 8271



        18.     On April 24, 2019, I was in Indianapolis, Indiana, at the NRA Annual Meeting. I

was meeting with a number of Board members and staff in the living room area of a hotel suite

when one of my aides, Millie Hallow, received a telephone call from North. Millie ducked into

the bedroom of the suite to take the call, and NRA President Carolyn Meadows (then 2nd Vice

President) accompanied her.         Several minutes later, Millie and Carolyn emerged from the

bedroom, both visibly upset. Millie recounted the conversation she just had with North. In sum,

North wanted to convey a message from Angus McQueen and AMc: unless I dropped the lawsuit

against AMc and immediately resigned, AMc would circulate allegedly damaging information

about me, members of my leadership team, and the NRA. On the other hand, if I agreed to their

demands and supported North for another term as NRA President, North stated he would speak to

Angus McQueen in order to negotiate an “excellent retirement” for me.

        19.     Sandy Froman and Scott Bach, both of whom are attorneys and were present when

Millie and Carolyn relayed the contents of the call, remarked that this sounded like extortion.

Although I was shocked by the explicitness and audacity of AMc’s ultimatum, I was not surprised

by the agency’s openly adverse posture. Earlier that day, Millie had reported receiving a less-

detailed version of the same corrupt proposal from former NRA Board member (and senior

executive of an AMc client) Dan Boren, likewise relayed on behalf of AMc. I had already

determined that I would not accept “the deal”. In fact, I was determined to expose AMc’s conduct

to the Board of Directors so they would know what Angus McQueen, North and AMc were doing.

        20.     On April 25, I circulated a letter to the Board to this effect, a true and correct copy

of which is attached as Exhibit A to this declaration.

        21.     Bill Brewer was not in Indianapolis on April 24, 2019. The suggestion that he was

in or near Indianapolis is false.



                                                  7

                                                                                                          Appendix325
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 333 of 509 PageID 8272




                                                                               Appendix326
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 334 of 509 PageID 8273




                    EXHIBIT 49




                                                                               Appendix327
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 335 of 509 PageID 8274




                                                                             Appendix328
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 336 of 509 PageID 8275




                                                                             Appendix329
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 337 of 509 PageID 8276




                                                                             Appendix330
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 338 of 509 PageID 8277




                                                                             Appendix331
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 339 of 509 PageID 8278




                                                                             Appendix332
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 340 of 509 PageID 8279




                                                                             Appendix333
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 341 of 509 PageID 8280




                                                                             Appendix334
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 342 of 509 PageID 8281




                                                                             Appendix335
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 343 of 509 PageID 8282




                                                                             Appendix336
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 344 of 509 PageID 8283




                                                                             Appendix337
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 345 of 509 PageID 8284




                                                                             Appendix338
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 346 of 509 PageID 8285




                                                                             Appendix339
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 347 of 509 PageID 8286




                                                                             Appendix340
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 348 of 509 PageID 8287




                    EXHIBIT 50




                                                                               Appendix341
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 349 of 509 PageID 8288

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 NATIONAL RIFLE ASSOCIATION OF                   §
 AMERICA,                                        §
                                                 §
         Plaintiff and Counter-Defendant         §
                                                 §
 and                                             §
                                                 §
 WAYNE LAPIERRE,                                 §
                                                 §
         Third-Party Defendant,                  §
                                                 §
 v.                                              § Civil Action No. 3:19-cv-02074-G
                                                 §
 ACKERMAN MCQUEEN, INC.,                         §
                                                 §
         Defendant and Counter-Plaintiff,        §
                                                 §
 and                                             §
                                                 §
 MERCURY GROUP, INC., HENRY                      §
 MARTIN, WILLIAM WINKLER,                        §
 MELANIE MONTGOMERY, and JESSE                   §
 GREENBERG,                                      §
                                                 §
         Defendants.                             §

                           DECLARATION OF NANCY J. MOORE

                                           Introduction

1. My name is Nancy J. Moore. My date of birth is June 30, 1949. My office address is 765

      Commonwealth Ave., Boston, MA 02215. I am over 18 years of age, of sound mind, and

      competent to make this Declaration in support of the NRA’s Opposition to Defendants’ Motion




                                                 1




                                                                                                    Appendix342
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                            Page 350 of 509 PageID 8289

     to Disqualify Plaintiff’s Counsel. I declare under penalty of perjury pursuant to 28 U.S.C.

     §1746 that the following declaration is true and correct. 1

 2. I have been asked by Brewer Attorneys & Counselors (“the Brewer Law Firm”) to consider

     whether the allegations of unethical conduct contained in Defendants’ Motion to Disqualify

     Plaintiff’s Counsel warrant disqualification of either William A. Brewer III (“Brewer”) or the

     Brewer Law Firm from representing the plaintiff National Rifle Association of America

     (“NRA”) in this lawsuit.

 3. In formulating my opinions I have relied on the materials cited in Defendants’ Brief in Support

     of Defendants’ Motion to Disqualify Plaintiff’s Counsel (“Defendants’ Brief”) in support of

     their allegations, as well as the materials contained in Exhibit 1 to this Declaration.

 4. I am being compensated at my regularly hourly rate of $800.

                                               My Qualifications

5.   I am Professor of Law and Nancy Barton Scholar at Boston University School of Law (“BU”).

     I have been a tenured full professor at BU since January 1999. From 1976 through December

     1998, I was employed at Rutgers School of Law-Camden (“Rutgers”) as an assistant professor,

     tenured associate professor, associate dean for academic affairs, and tenured full professor. I

     am a Member and former Chair of the Multistate Professional Responsibility Test Drafting

     Committee. In addition, I was Chief Reporter to the American Bar Association’s Commission

     on Evaluation of Professional Rules of Conduct (“Ethics 2000 Commission”). I also served as

     an adviser to the American Law Institute’s Restatement of the Law (Third) Governing Lawyers

     and as a member of the ALI’s Members Consultative Group for its Principles of Aggregate


 1
  I do not have personal knowledge of the facts underlying this lawsuit or the present controversy. For those
 underlying facts, I have relied on sources such as the pleadings, motions (and their attachments), correspondence,
 and other documents identified herein.

                                                         2




                                                                                                                      Appendix343
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 351 of 509 PageID 8290

   Litigation. I served twice as Chair of the Professional Responsibility Section of the Association

   of American Law Schools. I have authored numerous articles on legal ethics, including articles

   on lawyers’ conflicts of interest.

6. I have testified as an expert on legal ethics via deposition, declaration and in various state and

   federal tribunals, including testimony in courts in Connecticut, Florida, Maine, Maryland,

   Massachusetts, New Jersey, New York, and Pennsylvania. I am currently licensed to practice

   law in the Commonwealth of Massachusetts. I have spoken on topics in legal ethics numerous

   times in the last forty years at continuing legal education seminars and professional

   conferences, including national bar conferences. In addition to regularly teaching the basic

   course in Professional Responsibility (formerly at Rutgers and now at BU), I teach a seminar

   on Professional Responsibility for Business Lawyers. A current copy of my Curriculum Vitae

   is attached as Exhibit 2.

                                    Disqualification Standards

7. Disqualification decisions in this court are guided by state and national standards for lawyers

   adopted by the Fifth Circuit. Centerboard Securities, LLC v. Benefuel, Inc., 2016 WL 3126238

   (June 3, 2016). These standards include the American Bar Association’s Model Rules of

   Professional Conduct (“Model Rules”), as well as the Texas Disciplinary Rules of Professional

   Conduct (“Texas Rules”). Id. The court also considers any applicable local rules of this court,

   id.; however, except for the local rule adopting the Texas Rules as governing the ethical

   behavior of lawyers appearing before the court, see LR. 83.8(e)--ND Texas, I do not find any

   local rule relevant to my opinions. As a result, I base my opinions on both the Model Rules

   and the Texas Rules, which I find to be significantly similar with respect to the issues raised

   in Defendants’ Brief.

                                                 3




                                                                                                        Appendix344
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 352 of 509 PageID 8291

                                               My Opinions

    I.       The allegations that Brewer’s personal interests violate the conflict of interest rules are
             insufficient to warrant disqualification of either Brewer or the Brewer Law Firm

8. Defendants, including Ackerman McQueen, Inc., (“AMc”), allege that Brewer has personal

    and professional interests that create personal conflicts of interest under both the Texas Rules

    and Model Rules, citing what they characterize as six separate bases for these conflicts: (1)

    “Brewer manufactured conflicts and tension between the NRA and AMc,” contrary to the

    NRA’s goals and without the knowledge or consent of some of the NRA’s officers and

    directors, thereby making Brewer a “principal actor in the underlying dispute;” 2 (2) “Brewer

    and his firm are direct business competitors of AMc;” 3 (3) Brewer has “personal and well-

    known animosity” towards AMc, suggesting that his actions on the NRA’s behalf may be “for

    his own personal vendetta;” 4 (4) “Brewer’s financial motives are a key issues in this litigation,”

    including his alleged “exorbitant fees” and his alleged incentive “to maintain the NRA lawsuits

    against AMc to generate more revenue;” 5 (5) “Brewer is suing his family;” 6 and (6) “Brewer

    is a principal actor and tortfeasor in this litigation.” 7 Defendants allege that these personal

    interests violate Texas Rule 1.06(b) and Model Rule 1.7.

9. Conflict of interest rules are for the protection of the affected client or former client. Texas

    Rule 1.06 and Model Rule 1.7 address conflicts of interest affecting current clients of a lawyer.

    The only person or entity arguably affected by any of these alleged conflicts is the NRA.




2
  See ECF 105 (Defendants’ Brief) at ¶ 38.
3
  Id. at ¶39.
4
  Id. at ¶40.
5
  Id. at ¶41.
6
  Id. at ¶42.
7
  Id. at ¶43.

                                                   4




                                                                                                           Appendix345
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 353 of 509 PageID 8292

10. As a general rule, courts do not disqualify an attorney on grounds of conflict of interest unless

   it is the client itself (or former client, where applicable) that is moving for disqualification. See,

   e.g., In re Yarn Processing Patent Validity Litigation, 530 F.2d 83, 88 (5th Cir. 1975) (refusing

   to disqualify an attorney for a former-client conflict arguably affecting a former co-defendant,

   who had been dismissed from the case and was not pressing a conflict it had previously raised);

   Centerboard Securities v. Benefuel, Inc., 2016 WL 3126238 (N.D. Tex. June 3, 2016) (holding

   that plaintiff had no standing to seek the disqualification of the defendant’s law firm from

   simultaneously representing non-party witnesses); Coates v. Brazoria County Texas, 2012 WL

   2568129 (S.D. Tex. 2012) (holding that plaintiffs did not have standing to challenge the

   defendant law firm’s representation adverse to a former co-plaintiff who had previously

   consulted with the firm); Clemens v. McNamee, 2008 U.S. Dist. LEXIS 36916 (S.D. Tex. May

   6, 2008) (holding that the defendant did not have standing to raise an alleged former client

   conflict of a non-party). Courts have recognized narrow exceptions to this rule where the

   movant was a company that the former client controlled, where the former client appeared by

   counsel to argue for disqualification even though he was not the formal moving party, and

   where the conflicts were “manifest and glaring,” confronting the court with a plain duty to act.

   See In re Yarn Processing Patent Validity Litigation, 530 F.2d at 89. See also Centerboard

   Securities v. Benefuel, Inc., supra; Coates v. Brazoria County Texas, supra; Clemens v.

   McNamee, supra. None of these narrow exceptions applies to the allegations made by

   Defendants in their efforts to disqualify the Brewer Law Firm on grounds of a personal conflict

   of interest. The NRA, which is the party sought to be protected under current client conflict of

   interest rules, is a party to this lawsuit and is strenuously resisting the disqualification of its




                                                   5




                                                                                                            Appendix346
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                              Page 354 of 509 PageID 8293

     attorneys 8. Moreover, for the reasons set forth below, it is my opinion that not only is there no

     “manifest and glaring conflict,” there is no conflict at all. Further, even if there were a conflict,

     the NRA has given its fully informed consent; therefore, there is no violation of the applicable

     conflict of interest rules.

 11. Under Texas Rule 1.06(b), a conflict exists if the lawyer’s representation of a person

     “reasonably appears to be or become adversely limited by the lawyer’s or law firm’s

     responsibilities to another client or to a third person or by the lawyer’s or law firm’s own

     interests.” Texas Rule 1.06(b)(2). Model Rule 1.7 is similar, providing that a conflict exists if

     “there is a significant risk that the representation of one or more clients will be materially

     limited by the lawyer’s responsibilities to another client, a former client or a third person or by

     a personal interest of the lawyer.” Model Rule 1.7(a)(2).

 12. Revisiting the numbered allegations summarized in Paragraph 8 above, in my opinion,

     allegations (1), (4) and (6) are essentially the same, single allegation that Brewer’s conduct

     will be the subject of some aspects of the litigation, at least with respect to Defendants’

     counterclaims. As a result, AMc maintains, Brewer may be a necessary witness who is

     disqualified from personally appearing as an advocate in the lawsuit under the advocate-

     witness rule. See infra at ¶ 18. This does not mean, however, that his alleged role in the

     underlying events creates a conflict of interest under either the Texas Rules or the Model Rules.

13. The facts alleged in allegations (1), (4), and (6) are disputed by both Brewer and the NRA. 9

     Indeed, according to Defendants, these are facts that are at issue and will be determined in the

     trial of this lawsuit. As such, they should not serve as the basis for disqualification. More



 8
   See Declaration of John Frazer (“Frazer Decl.”) at ¶¶ 4-9; Declaration of Wayne LaPierre (“LaPierre Decl.”) at ¶ 1;
 Declaration of Charles Cotton (“Cotton Decl.”) at ¶ 1.
 9
   See LaPierre Decl. at ¶¶ 9-20; Frazer Decl. at ¶¶ 6-7; Cotton Decl. at ¶¶ 5, 8.

                                                          6




                                                                                                                         Appendix347
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                        Page 355 of 509 PageID 8294

       important, there is no indication that the positions of the NRA and Brewer with respect to these

       allegations are or are likely to become inconsistent. It may be in Defendants’ interest to prove

       that Brewer “manufactured conflicts and tension between the NRA and AMc,” that his

       “exorbitant fees” contributed to that tension, and that “Brewer is a principal actor and tortfeasor

       in this litigation,” but it is in the interest of both Brewer and the NRA to disprove these

       allegations. See F.D.I.C. v. U.S. Fire Ins. Co., 50 F.3d 1304 (5th Cir. 1995) (“[j]ust as it is in the

       interest of [the defendant] to show comparative bad faith, it is in the interest of both [the

       plaintiff’s lawyer] and [the plaintiff] to disprove it;” a “remote possibility that [the plaintiff and

       its lawyer] may eventually find themselves at odds is much too tenuous a thread to support the

       burdensome sanction of law firm disqualification”). In the absence of evidence establishing a

       likelihood that the NRA has taken or should seriously consider taking positions that are

       inconsistent with Brewer’s interest in denying these allegations, it is my opinion that the

       allegations do not create a conflict of interest under either the Texas Rules or the Model Rules.

14. Further, with respect to allegation (4), Defendants claim that “Brewer is incentivized to maintain

       the NRA lawsuits against AMc to generate more revenue.” 10 All litigators charging hourly fees

       have some incentive to maintain and prolong lawsuits to generate more fees. Indeed, there are

       conflicts of interest in all fee arrangements, and this would be the case regardless of which law

       firm represents the NRA. These general fee-based conflicts are inherent in principal-agency

       relationships and are not the type of conflicts specific to particular lawyers that underlie the

       legal profession’s conflict of interest rules. See Nancy J. Moore, “Who Should Regulate Class

       Action Lawyers?” 2003 U. Ill. L. Rev. 1477, 1489-1492 (2003) (distinguishing “between

       ‘conflicts of interest’ in the broad sense, which economists characterize as a form of agency



 10
      See ECF 105 at ¶41.

                                                       7




                                                                                                                Appendix348
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                             Page 356 of 509 PageID 8295

     problem, and the far narrower ‘conflict-of-interest doctrine,’ which is found in Rule 1.7 and

     other conflicts rules”).

15. Defendants’ second allegation is that Brewer and his firm are “direct business competitors.”

      Once again, this is a fact disputed by both Brewer and the NRA. 11 Moreover, given that AMc

      was a public relations firm with approximately 100 employees, whereas Brewer’s law firm has

      only four employees in its Public Relations unit, 12 it is difficult to see how Brewer and his law

      firm could possibly perform the work that was previously performed by AMc on the NRA’s

      behalf. 13 In any event, Defendants do not explain, nor is it apparent, how this fact, even if true,

      establishes a likelihood that this competitor relationship would adversely affect (or even

      “reasonably appear” to adversely affect) the Brewer Law Firm’s representation of the NRA in

      this lawsuit. Given the current state of the relationship between AMc and the NRA, as

      evidenced by the pleadings in this lawsuit, AMc cannot reasonably believe either that it and

      the law firm are currently competing for AMc’s former business with the NRA or that the

      Brewer Law Firm’s supposed desire to further develop its public relations work at AMc’s

      expense will cause it to conduct this lawsuit in a manner that is not in the best interest of the

      NRA. As a result, it is also my opinion that, in the absence of evidence establishing a likelihood

      that the Brewer Law Firm’s alleged interest in performing public relations work will cause it

      to take positions inconsistent with the NRA’s interests, this allegation does not create a conflict

      of interest under either the Texas Rules or the Model Rules.




11
   See Affidavit of Andrew Arulanandam, Managing Directofr of Public Affairs of the NRA, dated April 14, 2020;
Declaration of Travis J. Carter, Managing Director of Public Affairs at the Brewer Law Firm, dated Mar. 4, 2020.
12
   See ECF 61 (NRA’s Memorandum of Law in Opposition to Defendant’s Motion for Protective Order).
13
   Defendants claim that the Virginia court acknowledged the fact that Brewer and his firm are direct business
competitors of AMc, see Defendants’ Brief at ¶39; however, the hearing transcript cited by Defendants in support of
this contention establishes that the Brewer Law Firm vigorously disputed that it was a business competitor of AMc
and that the judge made no finding of fact concerning this allegation. See Id. at n. 110, citing Ex. A-58 at 42:4-19.

                                                         8




                                                                                                                        Appendix349
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                 Page 357 of 509 PageID 8296

16. AMc’s third and fifth allegations are essentially the same, single allegation that Brewer’s

     relationships with members of his wife’s family, who were and are principals in AMc,

     somehow create a conflict of interest with the NRA. The only support offered for the allegation

     that Brewer has a “personal and well-known animosity” towards AMc and its former and

     current principals is a single citation to a deposition of a former NRA outside counsel that

     provides no evidence of such animosity. 14 Moreover, the only consequence Defendants can

     ascribe to the allegation that “Brewer is suing his family” is an adverse effect not on the NRA,

     Brewer’s client, but on R. McQueen, the current CEO of AMc, who allegedly may be less

     zealous on behalf of AMc because of his concerns for his family. 15 In the absence of evidence

     that Brewer has an actual and severe “animosity” toward AMc and that any such animosity

     has a realistic likelihood of adversely affecting the Brewer firm’s representation of the NRA

     in this lawsuit, it is my opinion that these allegations do not create a conflict of interest under

     either the Texas Rules or the Model Rules.

17. Even if there were a conflict of interest, both the Texas Rules and the Model Rules permit the

     client to consent to the continued representation after full disclosure of the nature of the conflict

     and its implications. See Texas Rule 1.06(c)(2); Model Rule 1.7(b)(4). Such fully informed

     consent is effective when the lawyer reasonably believes “that the representation of each client

     will not be materially affected” (Texas Rule 1.06(c)(1)) or “that the lawyer will be able to

     provide competent and diligent representation to each affected client” (Model Rule 1.7(b)(1). 16

     In my opinion, Defendants have offered no evidence or explanation that any personal conflict




14
   See ECF 105 at n. 111.
15
   See Id. at ¶42.
16
   Model Rule 1.7(b) also requires that “the representation is not prohibited by law” and that “the representation does
not involve the assertion of a claim by one client against another client represented by the lawyer in the same litigation
or other proceeding before a tribunal.” Both of those conditions are satisfied here.

                                                            9




                                                                                                                             Appendix350
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                             Page 358 of 509 PageID 8297

     of Brewer will materially and adversely affect the interests of the NRA or that the Brewer Law

     Firm’s representation of the NRA in this lawsuit will not be diligent and competent. Nor is it

     reasonably apparent that such is the case. Moreover, the NRA has provided an affidavit from

     its General Counsel attesting that the NRA has been fully informed concerning the alleged

     conflicts of interest and their possible implications and that the NRA nevertheless wants to

     continue to retain Brewer and the Brewer Law Firm as its legal representatives in this lawsuit. 17

     Therefore, it is further my opinion that, to the extent there may be a conflict of interest under

     the relevant rules, the NRA has effectively consented to that conflict of interest, and the Brewer

     Law Firm’s continued representation of the NRA does not violate either the Texas Rules or

     the Model Rules.

     II.     The allegation that Brewer may be a necessary witness does not warrant
             disqualification of either Brewer or the Brewer Law Firm

18. Defendants argue that both Brewer and the Brewer Law Firm must be disqualified because

     Brewer may be a necessary witness in this lawsuit. 18 Defendants further argue that Brewer’s

     testimony will be adverse to the NRA, 19 although they cite no evidence to support that

     allegation. 20

19. Texas Rule 3.08 provides that “[a] lawyer shall not accept or continue employment as an

     advocate before a tribunal in a contemplated or pending adjudicatory proceeding if the lawyer

     knows or believes that the lawyer is or may be a witness necessary to establish an essential fact

     on behalf of the lawyer’s client,” except under certain circumstance. Texas Rule 3.08(a). The




17
   See Frazer Decl. at ¶ 4.
18
   See ECF 105 at ¶¶45-51.
19
   Id. at ¶ 46.
20
   See Id. at n. 188, citing transcripts in which the Brewer Law Firm stated that Brewer may be a witness and agreed
that if Brewer’s testimony would be adverse to the NRA, that would constitute a conflict of interest, but denied that
any such testimony would be adverse.

                                                         10




                                                                                                                        Appendix351
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                        Page 359 of 509 PageID 8298

     rule further provides that “[w]ithout the client’s informed consent, a lawyer may not act as

     advocate in an adjudicatory proceeding in which another lawyer in the lawyer’s firm is

     prohibited by paragraphs (a) or (b) from serving as an advocate. If the lawyer to be called as a

     witness could not also serve as an advocate under this Rule, that lawyer shall not take an active

     role before the tribunal in the presentation of the matter.” Texas Rule 3.08(c). Model Rule 3.7

     similarly provides that “[a] lawyer shall not act as advocate at a trial in which the lawyer is

     likely to be a necessary witness,” except under certain circumstances. Model Rule 3.7(a). The

     rule further provides that “[a] lawyer may act as advocate in a trial in which another lawyer in

     the lawyer’s firm is likely to be called as a witness unless precluded from doing so by Rule 1.7

     or Rule 1.9.” Model Rule 3.7(b).

20. The Brewer Law Firm has confirmed that Brewer will not appear as an advocate at the jury

     trial of this lawsuit. 21 However, under both the Texas Rule and the Model Rule, other lawyers

     in the Brewer Firm may appear as advocates in the lawsuit in which Brewer may testify. Under

     Texas Rule 3.08(c), they may do so with the client’s informed consent, see, e.g., Tex. Ctr.

     Legal Ethics, Op. 682 (2018), 22 and the NRA has provided such consent. 23 Under Model Rule

     3.7(b), no such client consent is necessary unless the testimony will create a conflict of interest

     under Rule 1.7 or Rule 1.9, which might be the case if the lawyer’s testimony will be

     substantially adverse to the client. See F.D.I.C. v. U.S. Fire Ins. Co., 50 F.3d at 1313 (absent

     an impermissible conflict between testifying lawyer and client, Model Rule 3.7 does not

     mandate disqualification of lawyer’s law firm). For reasons set forth in paragraphs 22-24

     below, that is not the case here.


21
   See Declaration of Michael Collins, at ¶ 4.
22
   See also Anderson Producing Inc. v. Koch Oil Co., 929 S.W.2d 416, 422 (Tex. 1996) (with company’s informed
consent, testifying attorney’s law firm partner was not prohibited from representing company at trial).
23
   See Frazer Decl. at ¶ 5.

                                                     11




                                                                                                                Appendix352
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 360 of 509 PageID 8299

21. Neither the Texas Rules nor the Model Rules prohibit a lawyer-witness from participating in

     the preparation of the matter for trial, so long as the lawyer does not appear as an advocate at

     trial. A comment to the Texas Rule expressly permits such participation. See Texas Rule 3.08,

     cmt. [8] (“This rule does not prohibit the lawyer who may or will be a witness from

     participating in the preparation of a matter for presentation to a tribunal.”). Although neither

     the text nor the comment to Model Rule 3.7 expressly addresses whether a lawyer-witness may

     participate other than as an advocate, courts in most jurisdictions have held that a lawyer

     disqualified as a necessary witness may still represent the client other than as an advocate at

     trial. See Droste v. Julien, 477 F.2d 1030 (8th Cir. 2007); Anderson Producing Inc. v. Koch Oil

     Co., 929 S.W.2d 416, 422 (Tex. 1999). Thus it is my opinion that there is no basis to disqualify

     Brewer himself from participating in the lawsuit other than as an advocate at trial.

22. As noted above, Defendants have alleged not only that Brewer is a necessary witness, but that

     his testimony will be adverse to his client, the NRA. 24 If so, there might be a personal interest

     conflict under Texas Rule 1.06(b) and Model Rule 1.7(a)(2). However, Defendants do not have

     standing to attempt to disqualify either Brewer or the Brewer Law Firm on this ground. 25 This

     is because Defendants are not and have never been clients of Brewer or the Brewer Firm, and

     any conflict of interest that arises from the testimony of a lawyer-witness is for the benefit of

     the client, not the client’s adversary. 26 In any event, as explained below, it is my opinion that




24
   See ¶ 18 supra.
25
   See ¶ 10 supra.
26
   In addition to the authorities earlier cited on the question of standing, see Texas Rule 3.08 at cmt. [10] (“a lawyer
should not seek to disqualify an opposing lawyer under this Rule merely because the opposing lawyer’s dual roles
may involve an improper conflict of interest with respect to the opposing lawyer’s client, for that is a matter to be
resolved between lawyer and client or in a subsequent disciplinary proceeding”). Under Model Rule 3.7, conflicts
arising from adverse testimony are expressly identified as conflicts under Model Rules 1.7 or 1.9, rules that federal
courts in the Fifth Circuit and in Texas have repeatedly held are only rarely appropriate as a basis for disqualification
urged by the client’s opponent. See ¶ 10 supra.

                                                           12




                                                                                                                            Appendix353
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 361 of 509 PageID 8300

     the continued representation of the NRA by Brewer and the Brewer Law Firm does not violate

     either the advocate-witness or the conflicts rules of the Texas Rules or the Model Rules.

23. As noted above, the Brewer Law Firm denies that any testimony Brewer might give will be

     adverse to the NRA, and Defendants have provided no evidence establishing any likelihood

     that any such testimony will be adverse to the Brewer Law firm’s client. 27

24. Under the Texas advocate-witness rule, even if a lawyer’s testimony will be adverse to the

     client, lawyers in a firm other than the lawyer-witness are permitted to continue the

     representation with the client’s informed consent. See Texas Rule 3.07(b), (c); see also Ayrus

     v. Total Renal Care, Inc., 48 F. Supp. 714, 718 (S.D. Tex. 1999). The NRA has provided such

     consent to continued representation by the Brewer Law Firm. 28 Under the Model Rules,

     substantially adverse testimony will likely create a conflict of interest under Rule 1.7; however,

     as with other personal interest conflicts, the representation is consentable unless the lawyer

     could not reasonably believe that the representation will be competent and diligent. See Model

     Rule 1.7(b)(1); see also F.D.I.C. v. U.S. Fire Ins. Co., 50 F.3d at 1314 (Model Rule 1.7, in

     conjunction with Model Rule 1.10, provides “that disqualification is unnecessary if the client

     consents after consultation”). There is no evidence suggesting that the Brewer Firm lawyers

     could not reasonably believe that their continued representation of the NRA will not be

     competent and diligent, even if Brewer’s testimony is adverse to the NRA, and the NRA has

     given its informed consent to any conflict that might arise as a result of Brewer’s testimony,

     including testimony adverse to the NRA. 29

     III.     Brewer’s alleged ex parte contact with a represented person does not warrant
              disqualification of either Brewer or the Brewer Law Firm


27
   See ¶ 18 supra.
28
   See Frazer Decl. at ¶ 5.
29
   See Id.

                                                  13




                                                                                                          Appendix354
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 362 of 509 PageID 8301



25. Although Defendants have not alleged an improper ex parte contact as a separate basis for

     disqualification, they did insert an allegation of such an improper contact in the midst of their

     Brief’s discussion of the advocate witness rule. 30 According to Defendants, Brewer “us[ed]

     family members to communicate with R. McQueen about this very lawsuit.” 31

26. Both Texas Rule 4.02 and Model Rule 4.2 prohibit a lawyer from contacting a represented

     party concerning the subject matter of the lawsuit without the permission of that party’s lawyer;

     however, the sole evidence that Defendants cite in support of their allegation is a declaration

     submitted by R. McQueen, in which he states that he has “personal knowledge that Brewer,

     using family members as channels, has attempted to communicate with me to influence AMC’s

     litigation positions and strategy,” including trying to direct him to “’break privilege’” with his

     own attorneys. 32 McQueen does not explain what his “personal knowledge” is based on, but it

     would appear that, if true, it can only be based on some form of inadmissible hearsay statement,

     since Brewer’s alleged attempts were apparently unsuccessful.

27. Even if true, a violation of the ex parte contact rule does not typically result in disqualification

     of the attorney, given the alternative remedies available, such as barring use of any testimony

     or evidence gained from the improper contact. See, e.g., Parker v. Pepsi-Cola Gen. Bottlers,

     Inc., 249 F. Supp. 2d 1006 (N.D. Ill. 2003). In my opinion, disqualification based solely on the

     evidence contained in McQueen’s declaration is inappropriate here for several reasons. First,

     it is uncertain either that a violation took place or that any such violation rises to a level

     requiring the severity of the sanction of attorney disqualification. See Cramer v. Sabine Transp.




30
   See ECF 105 at ¶55.
31
   Id.
32
   Id. at n. 139.

                                                  14




                                                                                                           Appendix355
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 363 of 509 PageID 8302

       Co., 141 F.Supp.2d 727, 731 (S.D.Texas. 2001). Second, although McQueen does not say

       precisely when the attempted contact occurred, it appears that he is referring to a period

       beginning in April 2019, and yet to my knowledge, Defendants never raised this allegation

       until the filing of their motion to disqualify in March 2020. Such a lengthy delay suggests that,

       even if he believed that Brewer was attempting to contact him, McQueen did not view this

       attempt as raising such serious concerns that either Brewer or the Brewer Law Firm should be

       disqualified from representing the NRA in either the Virginia or the Dallas lawsuit. See Cramer

       v. Sabine Transp. Co., 141 F. Supp. at 732 (plaintiff’s initial nonconcern over communication

       with plaintiff’s expert suggests that the contact did not result in the expert revealing any

       information     of   import,   which   “significantly   undermines    plaintiff’s   request   for

       disqualification”). Finally, courts have held that even if an ethical violation occurred,

       disqualification is inappropriate if the moving party suffered no actual prejudice from the

       alleged violation. See Id. at 732 (harm to plaintiff was “seemingly minimal”); Orchestrather,

       Inc. v. Trombetta, 2016 WL 4563348 at *14 (N.D. Tex. Sept. 1, 2016) (even if ethical violation

       had occurred, plaintiffs did not show that they “suffered actual prejudice from any alleged

       violation,” citing In re Meador, 968 S.W.2d 346, 350 (Tex. 1998)(“[A] court should not

       disqualify a lawyer for disciplinary violation that has not resulted in actual prejudice to the

       party seeking disqualification”)).

       IV.     Brewer’s media statements do not warrant disqualification of either Brewer or the
               Brewer Law Firm

28. Defendants allege that Brewer and the Brewer Law Firm are violating rules regarding improper

       trial publicity by “leaking confidential information and defaming AMc,” 33 but they have

       provided no evidence of these violations. The only media publications they cite in support of


33
     See ECF 105 at ¶58.

                                                    15




                                                                                                           Appendix356
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 364 of 509 PageID 8303

     their allegation are: an article from March, 1998 describing how Brewer arranged for reporters

     to receive certain pleadings immediately after they were filed in court; 34 a recent article

     referencing a Brewer statement to the media about the effect of Covid-19 on the NRA, 35 and a

     March 2019 New York Times article, which contained adverse comments about AMc from

     two NRA Board members, allegedly supplied to the newspaper by Brewer. 36

29. Texas Rule 3.07 provides that “[i]n the course of representing a client, a lawyer shall not make

     an extrajudicial statement that a reasonable person would be expected to be disseminated by

     means of public communication if the lawyer knows or reasonably should know that it will

     have a substantial likelihood of materially prejudicing an adjudicatory proceeding. A lawyer

     shall not counsel or assist another person to make such a statement.” Texas Rule 3.07(a). Model

     Rule 3.7 is substantially similar, providing that “[a] lawyer who is participating or has

     participated in the investigation or litigation of a matter shall not make an extrajudicial

     statement that the lawyer knows or reasonably should know will be disseminated by means of

     public communication and will have a substantial likelihood of materially prejudicing an

     adjudicate proceeding in the matter.”

30. The meager evidence cited by Defendants in support of their allegation is clearly insufficient

     to establish that Brewer or any member of the Brewer Law Firm has made extrajudicial


34
   Id. at n. 146. In the absence of a gag order prohibiting all comments to the media, statements that do no more than
disclose what is already a matter of public record are ordinarily permissible. See Texas Rule 3.07(c)(2); Model Rule
3.6(b)(2).
35
   Id. at n. 147.
36
   Id. at n. 148 & accompanying text. Defendants claim that it is “undisputed” that Brewer “leaked” the comments
from the NRA Board members, see id. at ¶58; however the only evidence cited is an email from an AMc attorney to
the NRA’s in-house counsel claiming only that the New York Times reporter stated that Brewer supplied the quotes.
See id. In any event, as I explain below, see ¶31 infra, there is nothing about this article that suggests that if indeed
Brewer supplied the quotes, he violated either the Texas Rule or the Model Rule prohibiting prejudicial trial publicity.
           The only other evidence cited in this section of AMc’s Brief, is deposition testimony from two witnesses
claiming that Brewer was the source of the March 2019 New York Times article and speculating that Brewer was
responsible for “leaks” to the press in unspecified articles discussing “NRA’s issues”. Id. at n. 149. In the absence of
evidence demonstrating substantial likelihood of material prejudice, whether Brewer was the source of this
information is irrelevant.

                                                           16




                                                                                                                            Appendix357
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                Page 365 of 509 PageID 8304

     statements to the media that they “knew or reasonably should know” would have a “substantial

     likelihood of materially prejudicing an adjudicatory proceeding.” The only recent article cited

     concerns the effect Covid-19 is having on the NRA, a subject that has absolutely nothing to do

     with the dispute between the NRA and AMc. An earlier March 1998 article describes Brewer

     providing immediate access to the press of pleadings that had been filed in court; this article is

     both too old to be prejudicial and relates conduct that is expressly permitted under both the

     Texas Rule and the Model Rule, which provide that a lawyer may provide “information

     contained in a public record.” See Texas Rule 3.08(c)(2) (a lawyer providing such information

     “ordinarily will not violate paragraph (a)); Model Rule 3.7(b)(2) (notwithstanding paragraph

     (a), lawyer may provide such information).

31. Further, with respect to the March 2019 New York Times article containing adverse comments

     about AMc’s work from two NRA Board members, Defendants make no effort to explain how

     these brief comments have a “substantial likelihood of material prejudicing an adjudicatory

     proceeding.” The quoted comments do not appear to say anything beyond what is already

     alleged in the pleadings in the current lawsuits, 37 and courts have held that lawyers may

     permissibly make “general statements about the nature of the allegations or defense.” E.g.,

     United States v. Brown, 218 F.3d 415, 429-30 (5th Cir. 2000). Movants seeking relief on the

     basis of excessive trial publicity must “describe how the publicity would affect [the movant’s]



37
   The statements in question appear to be the following two quotes from “two prominent board members”: (1) “’Since
the founding of NRATV, some, including myself and other board members, have questioned the value of it,’ Marion
Hammer the group’s most formidable lobbyist and a key adviser to its chief executive, Wayne LaPierre, said in a
statement. ‘Wayne has told me and others that NRATV is being constantly evaluated---to make sure it works in the
best interest of the organization and provides an appropriate return on investment.’”; (2) “’It is clear to me that NRATV
is an experiment and Wayne is evaluating the future of the enterprise,’ Willes K. Lee, a board member who leads the
N.R.A. Outreach Committee, said in a statement to The Times. After the Thomas the Tank Engine video, he said, Mr.
LaPierre appeared ‘livid and embarrassed’ in a meeting with the outreach group. ‘He apologized to the entire
committee and spent hours listening to our concerns.’” See https://www.nytimes.com/2019/03/11/us/nra-video-
streaming-nratv.html The quoted statements are not the focus of the article and do not even mention AMc by name.

                                                           17




                                                                                                                            Appendix358
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                      Page 366 of 509 PageID 8305

       right to a fair trial.” Clifford v. Trump, 2018 WL 5273913 (C.D. Cal. July 31, 2018). Further,

       even when the content itself could be prejudicial, the movant must explain how any publicity

       would be prejudicial when trial of the matter is not imminent. Id. (“[N]o trial date has been set,

       and this action has been stayed for a number of months. It is far from clear that the publicity

       in this case would affect the outcome of a trial that may happen, if at all, months down the

       road.”).

32. Finally, Defendants have cited no cases supporting disqualification as an appropriate remedy

       for any violation of the trial publicity rules. On the contrary, courts have suggested that

       appropriate remedies include “change of venue, jury sequestration, ‘searching’ voir dire, and

       ‘emphatic’ jury instructions,” as well as the more serious remedy of a “gag order” for courts

       concerned that trial publicity will undermine the participants’ right to a fair trial. See United

       States v. Brown, 218 F.3d at 431; see also Levine v. U.S. Dist. Court for C. Dist. of Cal., 764

       F.2d 590 (9th Cir. 1985) (upholding restraining order, explaining why other alternative

       remedies were insufficient); Restatement (Third) of the Law Governing Lawyers §109, cmt f

       (2000) (no mention of disqualification among remedies for violation of trial publicity rules).

       V.      Any alleged appearance of impropriety or “public suspicion” is insufficient to warrant
               disqualification of either Brewer or the Brewer Law Firm

33. Defendants conclude by arguing that “the likelihood of public suspicion” in this matter

       outweighs the NRA’s right to counsel of choice. 38 They do not explain, however, precisely

       how or why there would be an appearance of impropriety if Brewer and the Brewer Law Firm

       are permitted to continue to represent the NRA. Most of the allegations concern personal

       conflicts of interest in which the affected client is the NRA, a sophisticated user of legal




38
     See ECF 105 at ¶¶ 60-61.

                                                    18




                                                                                                            Appendix359
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                       Page 367 of 509 PageID 8306

     services represented by in-house counsel. 39 Given the NRA’s emphatic and insistent desire to

     continue being represented by Brewer and the Brewer Law Firm, it is difficult to see how the

     Defendants’ allegations of personal conflicts “would cause the public to question the loyalty a

     lawyer owes to a client and ‘invite skepticism of the justice system.’” 40 As for the allegations

     concerning the advocate-witness rule, the Fifth Circuit has held the appearance of impropriety

     is not even a partial rationale for this rule, because loyalty to a former client is just as likely to

     cause the public to suspect the testimony of a lawyer witness regardless of whether that lawyer

     is currently serving as counsel for the party on whose behalf the lawyer is testifying. See

     F.D.I.C. v. U.S. Fire Ins. Co., 50 F.3d at 1315-1316. With respect to the remaining allegations,

     because disqualification is generally not an appropriate remedy for actual violations of either

     the ex parte contact rule 41 or excessive trial publicity; 42 disqualification would be even more

     inappropriate as a remedy for any mere “suspicion” that such a violation has occurred.

34. Finally, any likelihood of public suspicion must be weighed against a party’s right to counsel

     of choice. Id. at 1316. “[R]ather than indiscriminately gutting the right to counsel of one’s

     choice, [the Fifth Circuit] has held that disqualification is unjustified without at least a

     reasonable possibility that some identifiable impropriety actually occurred.” Id. And “when

     instigated by an opponent, [disqualification] presents a palpable risk of unfairly denying a party

     the counsel of his own choosing.” Id. For the reasons set forth above, it is my opinion that

     Defendants have not established either that any actual ethical violation has occurred or that

     there is a “reasonable possibility” that an actual violation has occurred. As a result, it is my




39
   See Frazer Decl. at ¶ 2.
40
   See ECF 105 at ¶ 61.
41
   See supra ¶ 27.
42
   See supra ¶ 32.

                                                    19




                                                                                                              Appendix360
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 368 of 509 PageID 8307




                                                                               Appendix361
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20              Page 369 of 509 PageID 8308




                                          Exhibit 1

   1. Motion to Disqualify Brewer and the Brewer Firm
   2. Motion for Leave to temporarily File Under Seal Brief in Support of Motion to
       Disqualify
   3. Brief in Support of Motion to Disqualify
   4. Appendix in Support of Motion to Disqualify
   5. Motion for Leave to File Under Deal Certain Exhibits to Motion to Disqualify
   6. Exhibits A-1 through A-67
   7. Declaration of Revan McQueen
   8. Affidavit of Andrew Arulanandam, Managing Director of Public Affairs of the NRA,
       dated April 14, 2020
   9. Declaration of Travis J. Carter, Managing Director of Public Affairs at the Brewer Law
       Firm, dated Mar. 4, 2020;
   10. The NRA’s Memorandum of Law in Opposition to Defendant’s Motion for Protective
       Order;
   11. Declaration of Michael J. Collins, dated May 4, 2020;
   12. Declaration of Charles Cotton, dated April 30, 2020.
   13. Declaration of John Frazer, dated May 1, 2020.
   14. Declaration of Wayne LaPierre, dated May 3, 2020.




                                                                                               Appendix362
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 370 of 509 PageID 8309




                    EXHIBIT 51




                                                                               Appendix363
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 371 of 509 PageID 8310



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 NATIONAL RIFLE ASSOCIATION OF                   §
 AMERICA,                                        §
                                                 §
        Plaintiff and Counter-Defendant          §
                                                 §
 and                                             §
                                                 §
 WAYNE LAPIERRE,                                 §
                                                 §
        Third-Party Defendant,                   §
                                                 §
 v.                                              § Civil Action No. 3:19-cv-02074-G
                                                 §
 ACKERMAN MCQUEEN, INC.,                         §
                                                 §
        Defendant and Counter-Plaintiff,         §
                                                 §
 and                                             §
                                                 §
 MERCURY GROUP, INC., HENRY                      §
 MARTIN, WILLIAM WINKLER,                        §
 MELANIE MONTGOMERY, and JESSE                   §
 GREENBERG,                                      §
                                                 §
        Defendants.                              §

                         DECLARATION OF RICHARD E. FLAMM

                                           Introduction

        1.      My name is Richard E. Flamm. My date of birth is August 7, 1953. My office

address is 2840 College Avenue, Berkeley, CA 94705. I am over 18 years of age, of sound mind,

and competent to make this Declaration in support of the NRA’s Opposition to Defendants’

Motion to Disqualify Plaintiff’s Counsel. I declare under penalty of perjury pursuant to 28 U.S.C.

§1746 that the following statements are true and correct.


                                                 1


                                                                                                     Appendix364
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 372 of 509 PageID 8311



        2.    I have been a practicing attorney for nearly four decades. Since 1995 I have had my

own practice, in which I concentrate exclusively on matters of legal and judicial ethics.

        3.    I have often been asked to testify as an expert witness regarding such matters. This

 testimony has typically been by affidavit, but I have also been qualified to testify as an expert at

 court hearings and trials. In addition, in December of 2009 I was invited to and did testify before

 a subcommittee of the House Judiciary Committee on judicial disqualification.

        4.     I have taught courses on “Professional Responsibility” as an Adjunct Professor at

 the University of California at Berkeley and at Golden Gate University in San Francisco. I have

 also lectured on the subjects of conflicts of interest in the practice of law and attorney and law

 firm disqualification at many seminars and other educational events.

        5.    I have written and annually prepare updates for four national treatises. The first of

 these, Judicial Disqualification: Recusal and Disqualification of Judges, was originally

 published by Little, Brown & Company of Boston in 1996, and is now in its Third Edition. This

 book has been relied on by a host of federal courts. See Williams v. Pennsylvania, 136 S. Ct.

 1899, 1918 (Thomas, J., dissenting). The book has also been cited by the highest courts of many

 states. See Whitacre Inv. Co. v. State, 113 Nev. 1101, 1116 at n.6 (Nev. 1997), Springer, J.

 (referring to the undersigned as the nation’s “leading authority on judicial disqualification”).

        6.    In addition to writing treatises on judicial ethics I have written books on legal ethics,

 including Lawyer Disqualification: Disqualification of Attorneys and Law Firms (Banks &

 Jordan Law Publishing Co. 2d. Ed., 2014), and Conflicts of Interest in the Practice of Law:

 Causes and Cures (2015).          I am currently working on the Third Edition of Lawyer

 Disqualification, which is due out later this year. I have also authored a number of articles on

 conflicts, disqualification and related topics which have appeared in law reviews and periodicals.



                                                   2


                                                                                                          Appendix365
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 373 of 509 PageID 8312



       7.     From 2000 until 2002 I served as Chair of the San Francisco Bar Association’s

Legal Ethics Committee. I also served as a member of the Advisory Council for the American

Bar Association’s Commission on Evaluation of Rules of Professional Conduct (“Ethics 2000”),

and as Chair of Alameda County Bar Association’s Ethics Committee.

                                 A.      Summary of Opinions

       8.    An attorney for Plaintiff National Rifle Association of America (“NRA”) recently

informed me that the defendants had moved to disqualify plaintiff’s counsel, William A. Brewer

III (“Brewer”) and the law firm of Brewer Attorneys & Counsels (collectively “the Brewer

firm”). Counsel asked whether I would be willing to review certain documents relating to this

matter and provide the Court with my opinion regarding the relevant ethical standards governing

disqualification of attorneys and their firms. After reviewing those documents, I agreed to do so.

       9.     In order to be able to opine about this subject in a way that might be of most

assistance to the Court I have undertaken to review a number of documents, including the

Brief in Support of the Motion to Disqualify (“D.B.”).

       10.    Upon completing my review of these documents, as well as the legal precedents, I

formed four opinions. The first is that defendants have not shown that they filed their motion in

a timely fashion; and, because this is so, the Court would be warranted in denying it on that

basis, without considering it on its merits. The second opinion I formed is that, while defendants

have accused Mr. Brewer in conclusory fashion of having violated thirteen rules of professional

conduct, they have not carried their burden of proving that he violated any of them. The

third opinion I formed is that, even if defendants had been able to show that Mr. Brewer ran

afoul of one or more ethical rules, they have not shown that disqualification would be an

appropriate remedy for that violation; and, in my opinion, it would not. Finally, I have formed



                                                3


                                                                                                     Appendix366
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 374 of 509 PageID 8313



the opinion that even if defendants had shown that Mr. Brewer should be disqualified from

participating in this case, they have not shown that his firm is subject to “imputed”

disqualification, and it is not.

               B.      The Right to Seek Disqualification May have been Waived

        11.      Before evaluating the merits of a disqualification motion courts often consider

whether the right to bring it has been “waived.” Waiver can take two forms: whereas some

courts discuss a “client’s waiver of a conflict as occurring only through ‘informed consent’ after

‘full disclosure’ of the facts creating the conflict, others recognize waiver based on delay.”

Vinewood Capital, LLC v. Dar Al-Maal Al-Islami Trust, 2010 U.S. Dist. LEXIS 30358, at *24-

25 (N.D. Tex. 2010). In this case I have seen no indication that defendants expressly waived

their right to move to disqualify the Brewer firm; I have focused on whether it impliedly did so.

        12.     It is “well established that a party can waive its motion to disqualify opposing

counsel by failing to timely file” it. Buck v. Palmer, 2010 Tex. App. LEXIS 10082, at *18

(2010). See also In re Nat’l Lloyds Ins. Co., 2016 Tex. App. LEXIS 1353, at *16 (Tex. App.–

Corpus Christi-Edinburg 2016) (“A party who fails to file its motion to disqualify opposing

counsel in a timely manner generally waives the complaint”); Diggs v. Diggs, 2013 Tex. App.

LEXIS 8500, at *22 (Tex. App.–Hou. [14th Dist.] July 11, 2013) (“Complaints based on

violations of the [TDRPC] are waived if not timely raised”). Because no statute or court rule

specifies what constitutes a “timely” motion this requirement has not resulted in any express

bright line rule, but certain parameters can be gleaned from the existing case law.

        13.    In the same vein, while some courts have held that a party must file its motion to

disqualify promptly upon learning of the facts on which it is based, just as the word “timely” is

not unambiguous, the available jurisprudence does not say precisely what it means for such a



                                                 4


                                                                                                     Appendix367
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 375 of 509 PageID 8314



motion to be “prompt.”      J.K. & Susie L. Wadley Research v. Morris, 776 S.W.2d 271, 283

(Tex. App. 1989) (noting that, like the word “timely,” the word “promptly” is amenable to a

number of very different interpretations). A common formulation of the requirement is that, to

obviate the possibility that disqualification is being sought for tactical reasons, the objecting

party must file its motion at the “earliest practical opportunity” after learning the facts upon

which its challenge is based.

       14.     No hard and fast rule can be discerned from the case law, and there have been

cases in which courts have found that a party’s delay of only a few weeks or even days before

filing its motion to disqualify was fatal to its challenge. It is probably fair to say, however, that

in a situation where a party places its motion on file within a month or two of discovering the

relevant facts, an implied waiver defense is unlikely to carry the day. See, e.g., U.S. ex rel.

Southern Rock, Inc. v. Precision Impact Recovery, LLC, 2011 U.S. Dist. LEXIS 15517, at *10

(N.D. Tex. 2011) (the moving party “did not file this motion immediately…[but waiting seven

weeks] does not rise to the level of waiver”); In re Am. Home Prods. Corp., 42 Tex. Sup. Ct. J.

252, 895 S.W.2d 68, 76-79 (1999) (holding that a delay of 2 months did not constitute a waiver).

       15.    Even a delay of a period of three months or so may not be deemed to give rise to an

implied waiver – particularly where the moving party is able to show good cause for not moving

sooner. In Re Hoar Construction, L.L.C., 256 S.W.3d 790, 798 (Tex. App. 2008) (“we cannot

conclude the trial court abused its discretion by impliedly finding that [the client did not waive]

its right to seek disqualification…three months after the Hoar Parties asserted counterclaims”).

But where the moving party procrastinates for an extended period after learning the relevant facts

the court is likely to seriously entertain a waiver defense.             Vinewood Capital, LLC,




                                                 5


                                                                                                        Appendix368
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 376 of 509 PageID 8315



supra, 2010 U.S. Dist. LEXIS 30358, at *22 (a conflict based on substantial relationship “can be

waived by the former client’s delay for an extended amount of time” in asserting that conflict).

       16.    Texas state courts “have found waiver where a party waited as little as four to eight

months to file the motion to disqualify.” In re Trujillo, 2015 Tex. App. LEXIS 11394, at *4

(Tex. App.–El Paso [8th Dist.] Nov. 4, 2015). Cf. Buck v. Palmer, 381 S.W.3d 525, 528

(Tex. 2012) (concluding that an unexplained delay of seven months amounted to waiver);

Petroleum Co. v. Mancias, 773 S.W.2d 662, 664 (Tex. App.–San Antonio 1989) (finding a

waiver where the movant waited four months to file a motion to disqualify). This is particularly

likely to happen when the delay has been inadequately explained. Buck, supra, 381 S.W.3d at

528   (the “court   of   appeals   held   that   Buck’s    unexplained    seven-month     delay    in

seeking…disqualification was sufficient…We have held that a delay of even less time waives a

motion to disqualify”). It follows that an implied waiver is likely to be found in a situation

where the delay in seeking disqualification is even longer. Compare Vaughan v. Walther,

875 S.W.2d 690, 691 (Tex. 1994) (denying a motion to disqualify as untimely where it was not

filed until 6½ months after the moving party learned of the grounds for disqualification)

with Buck, supra, 2010 Tex. App. LEXIS 10082, at *24 (2010) (“The delay in this case was even

longer”).

       17.      Federal courts in Texas have also found that a delay of only a few months in

bringing a disqualification motion may render the motion untimely. See Microsoft Corp. v.

Cmwlth. Sci. & Indus. Research Org., 2007 U.S. Dist. LEXIS 91550, 2007 WL 4376104, at *9

(E.D. Tex. 2007) (concluding that a nearly six-month delay in seeking disqualification waived

the claim). This is so, a fortiori, in a situation where the court finds the reasons the moving party

has given to explain its delay to be unpersuasive. One World Foods, Inc. v. Stubb’s Austin Rest.



                                                 6


                                                                                                        Appendix369
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 377 of 509 PageID 8316



Co. LC, Case No. A-15-CA-1071-SS, 2016 U.S. Dist. LEXIS 147312, at *23 n.5 (W.D. Tex.

Oct. 25, 2016) (“Plaintiff claims it only became aware of the alleged prior representation on

September 1, 2016…The Court finds this reason for the delay unpersuasive”)

       18.    The length of the moving party’s delay in moving for disqualification is typically

the first factor a court will consider in deciding whether the right to challenge counsel has been

impliedly waived. See, e.g., Am. Prod. Co. v. Zaffirini, 419 S.W.3d 485, 514 (Tex. App.–

San Antonio [4th Dist.] 2013) (“In considering the timeliness of the motion, the court considers,

inter alia, the length of time between when the conflict was apparent and when the motion was

filed”); In re Gunn, 2013 Tex. App. LEXIS 12727, at *16 (Tex. App.–Hou. [1st Dist.] Oct. 15,

2013) (“courts consider the length of time between when the conflict became apparent and the

filing of the motion”); In re Trujillo, 2015 Tex. App. LEXIS 11394, at *4 (Tex. App.–El Paso

[8th Dist.] Nov. 4, 2015) (“the reviewing court should consider the time period between when the

conflict became apparent to the aggrieved party and when he moved to disqualify”).

       19.    In some cases, however, this is not the only thing that will go into a court’s waiver

calculus. Judges have, in fact, identified a number of factors that may be considered, including

whether the motion may have been employed as a litigation tactic. In re Nat’l Lloyds Ins. Co.,

2016 Tex. App. LEXIS 1353, at *16-17 (Tex. App.–Corpus Christi-Edinburg 2016) (“In

determining waiver, we consider the length of time between when the conflict became apparent

to the aggrieved party and when [it] filed a motion for disqualification…We also consider any

evidence that indicates the motion is being filed as a dilatory trial tactic...We further look to

whether the moving party has a satisfactory explanation for the delay”). Cf. Am. Sterilizer Co. v.

Surgikos, 1992 U.S. Dist. Lexis 21542, at *16 (N.D. Tex. 1992) (“[w]aiver is particularly

relevant when a motion to disqualify is used in an abusive manner as a part of litigation tactic”).



                                                 7


                                                                                                      Appendix370
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 378 of 509 PageID 8317



       20.      Yet another factor that has sometimes been considered is whether the moving

party was represented by counsel during the period of delay. Compare In re Epic Holdings,

985 S.W.2d 41, 52 (Tex. 1998) (noting that the party’s attorney who had knowledge of the

conflict was not representing the party in the litigation in which disqualification was asserted)

with Buck v. Palmer, 2010 Tex. App. LEXIS 10082, at *23-25 (2010) (“That is not the case

here”). It has sometimes been suggested, finally, that a party who did not object to the same

conduct of a lawyer in a different case cannot be seriously concerned about being prejudiced by

that conduct; and, therefore, that a party who moves to disqualify counsel in one case, after

failing to seek this remedy in another, should be deemed to have impliedly waived its right to

complain. Cf. In re Corr’d Container Antit. Litig., 659 F.2d 1341, 1348 (5th Cir. 1981).

       21.    In this case, despite the fact that defendants have neither briefed the need to file a

timely motion, nor attempted to specify when they learned the relevant facts – and even though

the facts which defendants claim to warrant disqualification are not laid out sequentially, but

instead are scattered throughout many pages of text and more than 150 footnotes –I believe that

all of the major building blocks of defendants’ disqualification motion were known to them even

before the Complaint in this case was placed on file.

       22.    Defendants drew attention to the timeliness problem they face on page one of their

brief when they said: “[s]ince his engagement by the [NRA] in March 2018, William A.

Brewer III [and his law firm]…have skirted the edge of disqualifying conflicts and conduct.”

D.B. 1 (emphasis added). To be sure, defendants attempted to nip the inevitable timeliness

inquiry in the bud by adding that “[r]ecently revealed facts and developments” have “now

ripened” the issue to “the point where disqualification is required;” but this action “was filed on

August 30, 2019” [D.B. 23, ¶ 56], and defendants have not specified which of their facts were



                                                8


                                                                                                       Appendix371
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 379 of 509 PageID 8318



“recently revealed” and which have been known to them even before this action was placed on

file.

        23.   It is certain that the first of defendants’ “background facts,” and the one they most

stridently claim to warrant the firm’s disqualification, that “Brewer has a multi-decade, animus-

filled family relationship with” AMc’s owners [D.B. 2], is not something that AMc learned about

“recently.” See D.B. 2 (“For over 20 years, Brewer has had a strained relationship [with] A.

McQueen and other McQueen family members”). The same goes for defendants’ professed

concern about the “insight” Mr. Brewer supposedly acquired as a result of his relationship with

AMc’s owners. D.B. 3 (“Brewer has had 20 years, as a family member and AMc client, gaining

key insight into AMc’s business strategy and the personal lives of the McQueen family”).

        24.   Likewise, while defendants cite to a recent article in saying that unlike “typical law

firms, the Brewer Firm actively promotes its ability to offer crisis-management and PR services

to clients,” defendants did not discover this fact last week or last month. Defendants say that

“Brewer positioned his law firm as a direct competitor of AMc, supplanting it shortly after his

retention by the NRA.” D.B. 3 ¶ 5 (emphasis added). The first piece of evidence they

submitted on this point was an email dated April 5, 2018, from Travis Carter of the Brewer Firm.

D.B. 3, ¶ 12. The recipient of that email was the AMc CEO, Angus McQueen. APP 362.

See also APP363 (April 13, 2018 email from Mr. Brewer to Angus McQueen.).

        25.   Several claims defendants make against Mr. Brewer stem from his firm’s supposed

“takeover of the NRA;” but, again, the evidence on which defendants based this claim was not

learned by them “recently.” Defendants allege that after “being retained by the NRA in 2018,

Brewer and his firm appear to have overtaken all legal and PR decisions within the NRA,

allowing the firm to extract exorbitant legal fees along the way.” D.B. 4. The first item of



                                                 9


                                                                                                       Appendix372
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 380 of 509 PageID 8319



evidence they submitted to support this claim was a letter from Oliver North – then an AMc

employee – in which, according to defendants, North advised the NRA “to obtain a full

accounting of the Brewer firm’s time charges to date.” D.B. 4 n.14. The letter was dated March

31, 2019 – five months before the Complaint in this action was placed on file.

       26.    The fact is, too, that some of the same claims defendants say warrant disqualifying

the Brewer firm in this case were made in the Opposition they filed on June 24, 2019 to the

NRA’s motion to have Brewer firm partner Michael Collins admitted pro hac vice in the Virginia

consolidated action. In paragraph one of that Opposition defendants warned that the “attorneys

seeking admission pro hac vice are very likely to become witnesses” in violation of [Va. R.P.C.]

Rule 3. 7; that none “of the exceptions to Rule 3.7 apply;” and that “the testimony of these

two attorneys will be adverse to the position of their client,” and “therefore will create a

disqualifying conflict for the attorneys.”       In paragraph two defendants previewed the

“economic competitor conflict” claim they made in the pending motion when they urged that the

Brewer firm had “poached substantial portions of the NRA business that Defendant AMc has

handled for over 38 years.” Defendants do not explain why, if they knew of these “conflicts”

two months before the Complaint in this case was filed, it took them until a few weeks ago to

register their concerns.

       27.      I realize that some of the allegations the defendants made in their motion were

supported by references to recent deposition testimony. But if a party could delay in making a

motion for disqualification for months after learning the relevant facts, then conduct discovery to

corroborate “facts” it was already aware of – and then claim that the need for disqualification

only recently “ripened” – no disqualification motion would ever be impliedly waived.

                           C. The Burden of Proof on Disqualification



                                                10


                                                                                                      Appendix373
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 381 of 509 PageID 8320



       28.     Courts sometimes consider the question of whether a motion to disqualify was

made in a timely manner to be a threshold matter for a court to decide: when the court concludes

that it was not, it may see no need to proceed to a discussion of the motion’s merits. But even

those that have found a disqualification motion to be untimely, and that the right to challenge

counsel has been waived, have often gone on to consider the motion on its merits in order to

decide whether a different conclusion would have been reached if the moving party had acted

more expeditiously. In making such a determination it is, in my view, helpful to bear in mind

who bears the burden of proof on disqualification, and what that burden entails.

       29.    Courts have made it clear that the party who moves for disqualification bears the

burden of proof on its motion.       See Vinewood Capital, LLC v. Dar Al-Maal Al-Islami

Trust, 2010 U.S. Dist. LEXIS 30358, at *18-19 (N.D. Tex. 2010) (“the party seeking

disqualification bears the burden of proof”); In re Whitcomb, 575 B.R. 169, 174 (Bankr. S.D.

Tex. Sept. 18, 2017) (“As the party seeking disqualification, Whitcomb bears the initial burden

to prove [that counsel] should be disqualified”). What that burden entails may not be always be

as clear. It has been suggested, however, that a party who seeks to disqualify an attorney must

establish the factual predicate upon which its motion depends by showing that counsel’s

continued participation in a particular matter would be impermissible; and, therefore, that the

court should exercise its discretion to grant the motion. Abney v. Wal-Mart, 984 F. Supp. 526,

528 (E.D. Tex. 1997).

       30.        To clear this hurdle the moving party is typically assigned the task of

demonstrating that challenged counsel’s continued representation would cause it to run afoul of

the conflict of interest rules or some other rule of professional conduct. Spears v. Fourth Court

of Appeals, 797 S.W.2d 654, 656 (Tex. 1990). But some courts have assigned the moving party



                                               11


                                                                                                    Appendix374
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 382 of 509 PageID 8321



the additional burden of proving that, if disqualification is not ordered, prejudice will inure to the

moving party or to counsel’s own client; or that, for some other reason, no remedy less drastic

than disqualification exists. In re Hilliard, 2006 Tex. App. LEXIS 3514, at *7 (2006) (“The

mere allegation of potential prejudice is insufficient”).

         31.      The specifics of the showing the moving party will be required to make will

depend, in part, on which rule has purportedly been violated. For example, in a case where a

motion to disqualify has been predicated upon a putative violation of the “advocate-witness

rule,” the movant typically bears the burden of demonstrating that counsel’s testimony is needed

and not readily obtainable elsewhere. In re Sanders, 153 S.W.3d 54, 2004 Tex. LEXIS 1365, at

*6 (2004) (“Because she has sought disqualification, Joyce bears the burden of showing that

McKnight’s testimony is necessary”). Conversely, where disqualification is sought on the basis

of a claimed conflict of interest violation the movant is ordinarily expected to show, first, that an

attorney-client relationship either currently exists or once existed between her and challenged

counsel [Johnston v. Harris County Flood Control Dist., 869 F.2d 1565, 1569 (5th Cir. 1989)];

and, therefore, that she has standing to raise the conflict issue. Once this showing has been

made, the moving party is usually expected to establish – by the weight of the evidence, a

preponderance of the evidence, or at least some evidence – that challenged counsel, if

unrestrained by the court, will violate the conflict of interest rules that are in effect in the

jurisdiction in which the motion to disqualify has been made. See, e.g., OneBeacon Ins. Co. v. T.

Wade Welch & Assocs., 2012 U.S. Dist. LEXIS 14663, at *19-20 (S.D. Tex. 2012) (“the severity

of this remedy ‘requires the movant to establish by a preponderance of the facts indicating a

substantial relation between the two representations’”); Tierra Tech de Mex. SA de CV v. Purvis

Equip. Corp., CIVIL ACTION NO. 3:15-CV-4044-G, 2016 U.S. Dist. LEXIS 99229, at *11



                                                 12


                                                                                                         Appendix375
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 383 of 509 PageID 8322



(N.D. Tex. July 29, 2016) (“Manley has not carried his burden of delineating with specificity the

existence of a substantial relationship between the prior and present CSA representations”)

         32.     Many federal courts have characterized the movant’s burden on disqualification

as being a “heavy” one. United States v. Aleman, 2004 WL 1834602, at *1 (W.D. Tex. 2004);

Am. Sterilizer Co. v. Surgikos, Inc., 1992 U.S. Dist. LEXIS 21542 (N.D. Tex. 1992). This is

true, a fortiori, in a situation where, as here, even though disqualification has been sought on the

basis of a purported “conflict,” the moving party is neither a current nor former client of the

challenged firm. Robertson v. AstraZeneca Pharms., LP, 2015 U.S. Dist. LEXIS 132859, at *8

(E.D. La. Sept. 30, 2015) (“Plaintiff bears the burden of demonstrating a conflict…that warrants

disqualification. [Her] burden is heightened here because she is not a former [firm] client”).

       33.     The precise nature of the moving party’s burden is not always clear, but it is well-

settled that to satisfy that burden it must do more than make assertions that are vague, tenuous or

conclusory in nature; and which, therefore, are unsubstantiated by the record. In re Cerberus,

164 S.W.3d 379 (Tex. 2005) (allegations of unethical conduct will not suffice); In re Sanders,

153 S.W.3d 54, 2004 Tex. LEXIS 1365, at *5 (2004) (“mere allegations of unethical conduct or

evidence showing a remote possibility of [an RPC] violation will not merit disqualification”).

Courts have also made it plain that a party who moves to disqualify a law firm is expected to

concretely establish the particular facts and grounds that support its attempt to exclude counsel

from further participating in the matter, and that mere “generalities” will not suffice. See

Microsoft Corp. v. Cmwlth. Sci. & Indus. Research Org., 2007 U.S. Dist. LEXIS 91550, at *27-

28 (E.D. Tex. 2007) (“disqualification cannot be granted on generalities”). Cf. FDIC v. U.S. Fire

Ins. Co., 50 F.3d 1304, 1314 (5th Cir. 1995) (the remote possibility that counsel and plaintiff

might eventually find themselves at odds was “much too tenuous a thread”).



                                                13


                                                                                                       Appendix376
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 384 of 509 PageID 8323



       34.     In the same vein, while disqualification motions have sometimes been based on

claims as to what might have transpired in the past, or could conceivably occur in the future,

courts have made it clear that conjecture and speculation do not suffice. United States v.

Beauchamp, 2017 U.S. Dist. LEXIS 66393, at *8 (N.D. Tex. Apr. 4, 2017) (“speculation is

insufficient to satisfy the government’s burden to prove conflict of interests”); Painter v. Suire,

2014 U.S. Dist. LEXIS 108151, at *8 (M.D. La. Aug. 5, 2014) (“Painter’s argument rests on

nothing more than mere speculation of improper activity, and would not justify

disqualification”); In re Sanders, 153 S.W.3d 54, 56 (Tex. 2004) (“[courts] have condemned

disqualifications based upon ‘speculative and contingent allegations’”).

       35.     The rule that speculative claims do not satisfy the moving party’s proof burden

applies without regard to the nature of the rule violation that has been alleged. Therefore, just as

a well-founded motion to disqualify cannot be based on the moving party’s speculation that

challenged counsel will serve as both an advocate and a witness at trial, it is not enough for a

party to allege the mere possibility that a conflict of interest may arise, or that some other ethical

rule will be impinged. See, e.g., In re A.M., 974 S.W.2d 857, 864 (Tex. App. 1998).

       36.    Courts have likewise observed that, to warrant the drastic remedy of disqualifying

a party’s chosen counsel, the basis for disqualification cannot be “potential” or “hypothetical.”

United States v. Hernandez, 690 F.3d 613, 619 (5th Cir. 2012). Cf. Tierra Tech de Mex. SA de CV

v. Purvis Equip. Corp., CIVIL ACTION NO. 3:15-CV-4044-G, 2016 U.S. Dist. LEXIS 99229,

at *10-11 (N.D. Tex. July 29, 2016) (“‘A potential conflict based on potential issues is simply

not the standard’”), quoting Hydril Company v. Multiflex, Inc., 553 F. Supp. 552, 556 (S.D. Tex.

1982). It follows that a motion that is based on surmise, suspicion, or imagined scenarios of

conflict will not carry the day. Hughes v. Pogo Producing Co., 2009 U.S. Dist. LEXIS 59454, at



                                                 14


                                                                                                         Appendix377
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 385 of 509 PageID 8324



*6 (W.D. La. 2009) (“the Fifth Circuit has ‘provided clear guidance as to the need to ensure that

any disqualification is linked to an actual, real conflict rather than an imaginary one’”).

       37.        As I will discuss, many of the claims defendants have made in support of their

motion to disqualify appear to have their source not in competent evidence, but in conclusory

claims and speculative assertions about things that may or may not occurred. In particular, it

would appear that most if not all of the claims the defendants have made about ethical rules Mr.

Brewer and his firm have supposedly infringed in this case are unsupported by record evidence;

and, for that reason alone, defendants have not carried their burden of proof on disqualification.

             D.       Defendants have not Demonstrated a Conflict Rule Violation

       38.    Defendants say that Mr. Brewer and his firm violated the ethical rule that generally

precludes lawyers from undertaking or continuing with representation if they have a “conflict of

interest.” However, defendants have not established – or, in fact, even alleged – that they have

standing to move to disqualify the Brewer firm on conflicts of interest grounds.

       39.    “Standing” is a jurisdictional matter that goes to the power of a court to decide an

issue; the question is whether a party who has invoked the court’s jurisdiction has done so

properly. Warth v. Seldin, 422 U.S. 490, 498 (1975). As one court has put it, standing is a

party’s “ticket to ride.” Booth v. Cont’l Ins. Co., 167 Misc.2d 429, 433, 634 N.Y.S.2d 650

(1995). Because standing implicates the court’s power to decide a motion, standing is sometimes

the threshold issue the Court must decide. See, e.g., U.S. ex rel. Friddle v. Taylor, Bean &

Whitaker Mortgage Corp., 2012 U.S. Dist. LEXIS 42473, at *23 (N.D. Ga. 2012) (“As an initial

matter, the relators must [show] that they have standing to seek Mr. Parker’s disqualification”).

       40.        Prior to 1983, when the Model Code of Professional Responsibility (“Model

Code”) was in effect, DR 1-103(A) placed an affirmative obligation upon an attorney to disclose



                                                 15


                                                                                                     Appendix378
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 386 of 509 PageID 8325



to an appropriate tribunal any ethical violation that she had unprivileged knowledge of. In part

for this reason, during the 1970’s some courts held that a court that had an issue of ethical

misconduct brought to its attention was obliged to examine the charge. See In re Gopman, 531

F.2d 262, 265 (5th Cir. 1976). But the same year that Gopman was handed down a different Fifth

Circuit panel pointed out that courts generally do not disqualify attorneys on conflict of interest

grounds unless a former client has sought that relief. In re Yarn Processing Patent Validity

Litigation 530 F.2d 83, 88 (5th Cir. 1976). The court went on to explain, in words that have been

oft quoted since, that to allow “an unauthorized surrogate to champion the rights of the former

client” would allow that surrogate to “use the conflict rules for his own purposes.” Id. at 90.

       41.    In 1983 DR 1-103(A) was effectively replaced by Rule 8.3(a) of the Model Rules

of Professional Conduct (“Model Rules”). The new rule materially differs from its Model Code

predecessor in that, whereas the Code obliged lawyers to report all suspected ethics violations,

the Model Rule only requires them to report infractions that raise substantial questions about a

lawyer’s “honesty, trustworthiness or fitness to practice law.” Lawyers are, moreover, to report

their concerns to “the appropriate professional authority” – not to a court. Since the applicable

conflict of interest rules exist for the benefit of an attorneys’ clients and former clients – and

because, in most jurisdictions, _no ethical rule currently compels attorneys to report unethical

conduct – in recent years many courts have held or implied that, when a motion to disqualify has

been predicated upon a claimed conflict, the movant must ordinarily satisfy a threshold burden of

showing, as a matter of fact, that it is – or at least once was – represented by challenged counsel.

       42.     In recent years many federal courts have held or implied that in a case where a

motion for disqualification has been predicated upon a putative conflict of interest, but the

moving party has not shown that it has standing to raise that conflict, the motion may properly be



                                                 16


                                                                                                       Appendix379
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 387 of 509 PageID 8326



denied. See, e.g., Coates v. Brazoria County Tex., 2012 U.S. Dist. LEXIS 90748, at *5-6 (S.D.

Tex. 2012) (“the general rule is that ‘courts do not disqualify an attorney on [conflict grounds]

unless the former client moves for disqualification’”); U.S. v. Aleman, 2004 WL 1834602, at *2

(W.D. Tex. 2004). In fact, one of the cases defendants rely on in attempting to show that the

Brewer firm has a disqualifying conflict of interest undercuts the defendants’ claimed right to

seek disqualification on that basis. Hill v. Hunt, 2008 U.S. Dist. LEXIS 68925, at *9 (N.D. Tex.

2008) (a “party seeking to disqualify opposing counsel on the grounds of current and/or former

representation must first establish that an actual attorney-client relationship existed between the

party and the attorney he or she seeks to disqualify”) (citation omitted).

       43.    In this case defendants point to various “relationships” Mr. Brewer supposedly had,

including his “animus-filled family relationship” with AMc’s owners [D.B 2], his “strained

relationship” with “A. McQueen” [D.B. 2], and his “relationship with Danny Hakim” [D.B. 13

n.84]. But even a cursory review of defendants’ brief reveals that they have not alleged – much

less established – that they have or ever had an attorney-client relationship with Mr. Brewer.

Defendants have not shown, in short, that they have standing to raise the conflict issue.

       44.    Assuming arguendo that defendants do have standing to raise a “conflict” between

the interests of Mr. Brewer and his client, the NRA, defendants have not, in my opinion, shown

that any such conflict exists. In order to understand why this is so it is necessary, first, to know

what the applicable ethical rule says. Relevant to the instant motion, Model Rule 1.7(a)(2)

provides that a concurrent conflict of interest exists if “there is a significant risk that the

representation of one or more clients will be materially limited by the lawyer’s responsibilities to

another client, a former client or a third person or by a personal interest of the lawyer.” In this

case, I have seen nothing to suggest that there is a “significant risk” – or, indeed, any risk – that



                                                 17


                                                                                                        Appendix380
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 388 of 509 PageID 8327



the Brewer firm’s representation” of the NRA “will be materially limited” by any “personal

interest” Mr. Brewer or his firm may arguably have in this matter. To understand why there is

not, it is important to examine what defendants are claiming that counsels’ “conflict” is.

       45.     Some of the 42 references to “conflicts” in the brief defendants filed in support of

their motion were nothing more than conclusory claims regarding unspecified “conflicts.” See,

e.g., D.B. 12 (“high-ranking NRA officials testified that Brewer’s actions were improper given

his clear conflict of interest with A. McQueen and AMc”); D.B. 20 (“Brewer’s testimony is

necessary on his conflict of interest with AMc”); D.B. 25 (“Allowing his firm to continue would

signal to the public that the protection of one’s rights extends only to the lawyer himself, but not

to the abusive litigation tactics and conflicts of interests that pervade the law firm”).

       46.    Defendants have also used the word “conflicts” to refer to different things, such as

the “prior conflicts” Mr. Brewer purportedly had in other cases [D.B. 15] or “conflicts” the firm

supposedly “manufactured.” D.B. 17. But when Defendants have spoken in terms of the

“conflict of interest” that supposedly exists in this case, what they have contended is not so much

that there is a conflict between the interests of Mr. Brewer and his client, the NRA, as between

Mr. Brewer and principals of AMc to whom he is related by marriage. D.B. 9 (referring to the

“multi-decade, animus-filled family relationship with the owners of AMc”); D.B. 9 (“Brewer’s

prior record of…conflict of interest with the McQueen family had been properly vetted”); D.B.

17-18 (“numerous individuals both within the NRA and AMc knew that Brewer’s involvement

with AMc was a conflict of interest given his relationship with the McQueens”).

       47.     Defendants never say exactly why it is that they think that Mr. Brewer’s “animus”

towards his wife’s family members, or fractious relationship with them, constitutes a “conflict of

interest” within the meaning of Model Rule 1.7; and, in my opinion, it does not. For one thing,



                                                  18


                                                                                                       Appendix381
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 389 of 509 PageID 8328



any “animus” Mr. Brewer might possibly bear towards AMc’s principals would not cause him to

“pull his punches” in dealing with AMc – if anything, it would cause him to punch harder. The

“personal interests” defendants allege, in other words, would not cause Brewer’s representation

to be “limited;” if anything, they would cause him to become even more zealous than he is

already accused of being in advancing NRA claims. As defendants own moving papers reflect,

moreover, if anybody would be “limited” in their ability to “zealously advocate” in this case it

would not be Mr. Brewer, but Mr. McQueen: “R. McQueen, the current CEO of AMc, must

battle his sister’s husband, which could hamper R. McQueen’s ability to zealously advocate for

his own company because of his concerns for family.” D.B. 18. ¶ 42 (italics added).

       48.     In addition to making conclusory claims about generic “conflicts,” and supposed

interpersonal “conflicts” between the interests of Mr. Brewer and those of the defendants, they

have adverted to certain circumstances which could be taken to implicate a professed concern

about Mr. Brewer’s ability to zealously represent the NRA. In my opinion, however, none of the

“evidence” that was proffered in support of these other “conflict” claims demonstrates or even

suggests that the Brewer firm would be “materially limited” in representing its client.

       49.     Defendants allege, for example, that because of “AMc’s concerns about Brewer

and his firm’s conflicts, LaPierre promised Brewer would not be involved anymore.” D.B. 12. ¶

26. Insofar as proof that Mr. LaPierre promised that Mr. Brewer “would not be involved

anymore” in response to “AMc’s concerns” about “conflicts” would be tantamount to proof that

Mr. Brewer and his firm was, in fact conflicted, one would expect that such an allegation would

be supported by evidence that Mr. LaPierre did, in fact, think that the firm’s ability to represent

the NRA had been materially limited in some way. But the only “evidence” that was submitted

in support of this prong of defendants’ “conflict” claim was not from Mr. LaPierre – it was



                                                19


                                                                                                      Appendix382
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 390 of 509 PageID 8329



testimony from defendants’ CEO, and a letter from defendants’ attorney, which seem to establish

nothing more than what the Court already knows: that defendants claim the firm has a conflict.

       50.     In the cited passage Revan McQueen contended that after he and Mr. LaPierre

“extensively discussed Brewer’s connection to the McQueen family,” how “inappropriate and

aggressive Brewer’s conduct had become,” and that “we felt it was inappropriate for him to

continue to represent the NRA in any manner related to AMc,” LaPierre promised “that AMc

would not have to deal with Powell, Brewer or his firm anymore, and that any future review of

AMc’s documents would be conducted by independent parties.” APP176. Even a cursory review

of this “evidence” reflects that it does not establish that the Brewer firm’s representation of the

NRA would be limited in any way, or even that LaPierre thought that it might be. What it

shows, and all it shows, is that to keep the NRA’s long-time P.R. firm happy Mr. LaPierre

acquiesced in its request to have someone other than the Brewer firm conduct an AMc audit.

       51.    The same is true of the other “evidence” defendants submit to bolster this claim – a

letter from AMc attorney, Jay Madrid. It is true that Mr. Madrid opined, in that letter, that one of

the reasons why Mr. LaPierre agreed that the Brewer firm would have no further contacts with

AMc or its representatives was that the firm had an “irreconcilable conflict of interest.” But that

assertion was nothing but “lawyer speak” – defendants have not established that AMc’s counsel

had any reason to know what motivated Mr. LaPierre to agree to what he did. Regardless of

what Mr. LaPierre may have thought, moreover, nothing in the cited letter suggests – much less

establishes – that the Brewer firm’s ability to represent the NRA had been “limited” by the

conflict Mr. Madrid claimed it had. In fact, the only time the defendants used the word “limited”

anywhere in their brief was in their citation to the Texas Rule 1.06(b). The fact is that if a party

could manufacture a conflict on the part of an adverse firm, and thereby engineer grounds for its



                                                20


                                                                                                       Appendix383
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 391 of 509 PageID 8330



disqualification, merely by citing proof that the moving party or its counsel had claimed that its

adversary had a conflict, few disqualification motions would ever be denied.

       52.    Defendants also purported to provide evidence to support their claim that “Brewer

and LaPierre chased former NRA President North and numerous others out of the NRA to cover

up Brewer’s conflicts.” D.B. 22. The “evidence” cited in support of this claim consists of three

passages from attorney J. Stephen Hart’s February 20, 2020 deposition transcript. In the first of

these Mr. Hart described the termination of certain NRA personnel on account of their supposed

participation in a “conspiracy,” but no “conflict” on the part of Mr. Brewer was even mentioned.

In fact, the only thing the witness said about the firm in the cited passage was that it “was only

doing document production at that time.” APP 87. This nondescript excerpt was followed by

one in which Mr. Hart opined, in conclusory fashion, that NRA’s counsel and another person had

been terminated for “challenging Bill Brewer’s billings” [APP143], and another in which the

only things Mr. Hart said about Mr. Brewer was that “there was kind of a limited crowd that was

trying to figure out what to do about Brewer,” and that he did not think Chris Cox had been

involved in the effort to “complain about Bill Brewer’s bills.” APP 156-157.

       53.     If I understand what defendants are contending, it would seem to be that when an

employee of an entity questions a law firm’s bills to that entity, or hears about others who have,

the firm ipso facto, has a “conflict” that materially limits its ability to represent its client; and,

should that person subsequently be terminated from his or her job, for whatever reason, his or her

rank speculation that the termination was effected for the purpose of “covering up” the firm’s

“conflict” is sufficient grounds on which to disqualify the firm from representing its client.

       54.    If this is what defendants are contending three points should be mentioned. First, it

is not at all unusual for employees of an entity that employs law firms to question bills that have



                                                 21


                                                                                                         Appendix384
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 392 of 509 PageID 8331



been submitted by those firms. If the fact that billing questions have been raised by someone

who works or worked for an entity client meant that the firm had a “conflict” in representing that

client it is probably fair to say that every major law firm in this country, and most of the smaller

ones, has been afflicted by many a “disqualifying conflict” they never knew they had.

       55.    The fact is, moreover, that just as defendants only allege that the Brewer firm has a

“conflict” that was manifested by Mr. LaPierre’s decision to have somebody other than that firm

conduct an AMc audit – without establishing how the firm’s representation of the NRA was, in

any way, limited as a result – defendants have not even suggested how its unsupported claim that

Mr. LaPierre “chased the NRA President and others out” of the NRA to cover up “Brewer’s

conflicts” shows that the firm’s ability to represent the NRA in this litigation against defendants

was limited in any way. The third point is that a ruling that “unauthorized surrogates” like

defendants could have a firm “conflicted out” of a case merely because somebody raised

questions about the firm’s billing practices, or because somebody was rumored to have been

terminated for doing so, would be an open invitation to those who have never been represented

by a firm to do precisely as the Fifth Circuit worried they might, by using “the conflict rules for

[their] own purposes.” It is precisely to avoid this eventuality that the “standing” rule exists.

       56.     One final point about defendants’ “conflict” charge that bears mentioning is that,

pursuant to Model Rule 1.7(b), notwithstanding the existence of a concurrent conflict under 1.7

(a), a lawyer may represent a client if: “(1) the lawyer reasonably believes that the lawyer will be

able to provide competent and diligent representation to each affected client; (2) the

representation is not prohibited by law; (3) the representation does not involve the assertion of a

claim by one client against another client represented by the lawyer in the same litigation or

other proceeding before a tribunal; and (4) each affected client gives informed consent,



                                                 22


                                                                                                       Appendix385
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 393 of 509 PageID 8332



confirmed in writing.” In this case, no claim has been made that Mr. Brewer’s representation is

prohibited by law, and his representation of the NRA does not involve the assertion of a claim by

one client against another client he represents. In addition, I am informed and believe that

counsel has averred that it will be able to provide competent and diligent representation to the

NRA, despite defendants’ claims to the contrary; and that the only “affected client,” the NRA,

has given informed consent, confirmed in writing,” to the Brewer Firm’s continuing to represent

it in this case. Since this is so, in my opinion, even if the firm would have been subject to being

disqualified pursuant to Rule 1.7(a), they are permitted by Rule 1.7(b) to stay on the case.

       57.    I recognize that while defendants mentioned Model Rule 1.7 without saying what it

says, they cited Rule 1.06(b) of the Texas Disciplinary Rules of Professional Conduct

(“TDRPC”) for the proposition that a lawyer shall not undertake representation that “even

appears” to be “adversely limited” by the lawyer or law firm’s own interests. To the extent that

the defendants may be contending that the court should apply the Texas conflict rule, rather than

Model Rule 1.7(a), and that the Texas rule is less stringent than its ABA counterpart – either

because the Texas rule only seems to require a showing that counsel’s representation of a client

will be “adversely limited,” rather than it will be “materially” so, or because the moving party

does not have to show that there actually is a significant risk that the representation will be so

limited, only that it might “appear to be” – I must respectfully disagree.

       58.    In the absence of a uniform code of ethics for attorneys who practice before federal

courts it is not always obvious whether a motion to disqualify should be decided in accordance

with the Model Rules or those that have been adopted in the state in which the federal court sits.

In many instances this is a distinction without a difference because application of either rule

would yield the same result. Finalrod IP, LLC v. John Crane, Inc., 2016 U.S. Dist. LEXIS



                                                 23


                                                                                                      Appendix386
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 394 of 509 PageID 8333



26870, at *8 (W.D. Tex. Mar. 3, 2016) (“The relevant ABA Model Rule, Rule 1.9(b), has some

‘linguistic differences’ from Texas Rule 1.09, but ‘the two codes produce the same result

application’”); Hutton v. Parker-Hannifin Corp., CIVIL ACTION H-15-3759, 2016 U.S. Dist.

LEXIS 102176, at *6-7 (S.D. Tex. Aug. 4, 2016) (“The Fifth Circuit has noted that the ABA

Model Rules and the Texas Disciplinary [R.P.C.] are essentially identical regarding conflicts of

interest due to an attorney’s prior representation of the opposing party…Accordingly, the court

may properly focus its analysis on the Texas Disciplinary [R.P.C.]”) (citation omitted).

    59.      There are times, however, when the Model Rules and the state rules are not uniform in

all respects. By way of example, in a 1995 case the Fifth Circuit pointed out that the Rules for

the Northern District of Texas, the TDRPC, the ABA Model Rules, and the Model Code all

delineated dissimilar rules for determining whether an attorney could serve as both an advocate

and witness in the same case. FDIC v. United States Fire Insur. Co., 50 F.3d 1304, 1312 (5th

Cir. 1995). More recently, a federal district judge in the Eastern District of Texas pointed out

that the Model and Texas Rules propound different tests for deciding disqualification motions

based on putative conflicts of interest, and that “the Fifth Circuit has shown a preference for the

more stringent ABA Model Rule.” JuxtaComm-Texas Software, LLC v. Axway, Inc., 2010 U.S.

Dist. LEXIS 125352, at *9-10 (E.D. Tex. 2010) (“Thus, the Court will apply the Model Rule”).

Like the Eastern District of Texas, I am of the view that when there is any tension between the

applicable Model Rule and the applicable Texas rule, it is the former that should be applied.

          E.        Defendants have not Shown a “Lawyer-Witness” Rule Violation.

       60.       The second rule defendants claim that Mr. “Brewer is violating” is “the Lawyer-

Witness Rule.” D.B. 19. Defendants say that “Brewer must be disqualified because his witness

testimony is necessary,” and “because no exception applies.” D.B. ¶ 46. Since I have not been



                                                 24


                                                                                                      Appendix387
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 395 of 509 PageID 8334



involved in the underlying case I am in no position to opine about whether Mr. Brewer’s

testimony will truly be “necessary” within the meaning of the applicable professional conduct

rules; or, if it would, whether any of the exceptions to that rule would apply. But to the extent

that defendants are claiming that if Mr. Brewer will be a necessary witness at trial he must

“withdraw” from participating in pre-trial proceedings I do have an opinion – he need not.

      61.    Defendants begin their “lawyer-witness” argument by selectively citing Texas Rule

3.08(a) for the proposition that a “lawyer shall not accept or continue representation ‘if the

lawyer knows or believes that the lawyer is or may be a witness necessary to establish an

essential fact on behalf of the lawyer’s client’” [D.B. 19 ¶ 45, italics added, emphasis omitted].

What the rule actually says is that a “lawyer shall not accept or continue employment as an

advocate before a tribunal in a contemplated or pending adjudicatory proceeding if the lawyer

knows or believes that the lawyer is or may be a witness necessary to establish an essential fact

on behalf of the lawyer’s client.” T.D.R.P.C. Rule 3.08(a) (italics added). Perhaps the quote was

trimmed merely to save space, but the apparent effect of “ellipsing” the rule – coupled with

defendants’ invocation of Texas Rule 1.15(a)(1) for the proposition that “a lawyer ‘shall’ decline

or withdraw from representation if it would ‘result in violation of Rule 3.08” [D.B. ¶45] – is to

leave the reader with the impression that, under the relevant Texas rules, a lawyer who thinks he

may be a witness must not only not “advocate before a tribunal,” but must immediately

withdraw.

      62.    In their moving papers defendants do not discuss Model Rule 3.7, except to say it is

“substantially similar to Texas Rule 3.08;” which, in my opinion, it is not. For one thing, Model

Rule 3.7(a) is categorical in stating that, unless certain exceptions apply, a lawyer who is “likely

to be a necessary witness” shall not “act as advocate at a trial” (italics added); thereby making it



                                                25


                                                                                                       Appendix388
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 396 of 509 PageID 8335



clear beyond peradventure that a lawyer who knows he will be a witness at trial may nevertheless

continue to be involved in pre-trial proceedings. The relevant federal case law is to like effect.

      63.    During the period when the Model Code was in force some courts stated that when

an attorney knew that he was likely to be a testifying witness at trial the proper course was for

him to withdraw. It has long been recognized, however, that many of the policy reasons that

underlie the advocate-witness rule – such as concerns about “jury confusion,” and the possibility

that counsel’s testimony might be given undue weight by the fact-finder – do not usually apply to

pre-trial proceedings in which no jury is present. During the Model Code era, too, some were of

the view that the Code’s advocate-witness provisions were ambiguous; and that, as a result,

parties had essentially been invited to file disqualification motions in an attempt to deprive

opposing parties of their chosen counsel, or disrupt that counsels’ trial preparation. In 1983 the

drafters of the Model Rules responded to these perceived abuses by creating Rule 3.7 – a rule

that was designed to eliminate the ambiguity of prior Code provisions [FDIC v. U.S. Fire Ins.

Co., 50 F.3d 1304, 1317 (5th Cir. 1995)], as well as to minimize the use of the rule as a tactical

weapon, and ensure that a litigant’s choice of trial counsel would not be lightly disturbed.

       64.    Since then many federal district courts have acknowledged that Rule 3.7, unlike its

predecessor, does not require a lawyer who is likely to be a witness at trial to cease representing

a client in all phases of a case; he can, rather, remain involved in most pre-trial proceedings.

Landmark Graphics Corp. v. Seismic Micro Tech., Inc., 2007 U.S. Dist. LEXIS 6897, at *16

(S.D. Tex. 2007) (“Courts have distinguished between a lawyer’s role at trial and in pretrial

matters”); P & J Daiquiri Cafe, Inc. v. Andrew K. Knox & Co., 2008 U.S. Dist. LEXIS 20775, at

*7 (E.D. La. 2008) (“There is no prohibition against [representing a] client in pre-trial matters”).

It has been suggested that a testifying advocate can only participate in certain types of pre-trial



                                                 26


                                                                                                       Appendix389
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 397 of 509 PageID 8336



proceedings with the consent of his client. See Ayus v. Total Renal Care, 48 F. Supp. 2d 714,

718 (S.D. Tex. 1999) (a “lawyer should not represent the client at his own pre-trial deposition,

nor should he argue pre-trial motions involving his pre-trial testimony as to a contested matter

unless the client consents”). I am informed, however, that Mr. Brewer has received consent here.

       65.     Although a cursory review of defendants’ brief might lead the reader to conclude

that the rule is different in Texas, courts in that state have also recognized that a lawyer who will

be an advocate at trial can nevertheless participate in pre-trial proceedings. See, e.g., In re

Guidry, 316 S.W.3d 729, 738 (Tex. App. 2010) (“Even if a lawyer is disqualified…[he] can still

represent the client in that case by performing out-of-court functions…, such as drafting

pleadings, assisting with pretrial strategy, engaging in settlement negotiations, and assisting with

trial strategy”). Even if the Texas rule was more stringent, moreover, for reasons I have already

stated I am of the opinion that Model Rule 3.7, rather than Rule 3.08, would apply.

       66.     In any event D.R. 3.08, as its name suggests, was promulgated as a disciplinary

standard – not as a barometer for when an attorney who has been accused of running afoul of that

rule should be disqualified from representing her client. In a 2007 decision a federal district

judge in Western Texas said that, while the trial court has the “duty to disqualify counsel when

representation of the client is prohibited” by the Rules of Professional Conduct, Rule 3.08 is “not

well-suited as a procedural rule of disqualification.” Mendoza v. U.S., 2007 U.S. Dist. LEXIS

26955, at *16-17 (W.D. Tex. 2007). Several state courts have suggested that the rule should

rarely be the basis for a disqualification order. See, e.g., In re Reeder, No. 12-15-00206-CV,

2016 Tex. App. LEXIS 1084, 2016 WL 402536, at *7, *18 (Tex. App.–Tyler Feb. 3, 2016).

       F.      Defendants have not Shown a “Unauthorized Contact” Rule Violation




                                                 27


                                                                                                        Appendix390
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 398 of 509 PageID 8337



       67.    Two of the ethics rules defendants claim that Mr. Brewer ran afoul of, and should

be disqualified for violating – Model Rule 4.2 and TDRPC Rule 4.02 – seek to prevent a lawyer

from driving a wedge between a represented client and its counsel by engaging in unauthorized

communications with a represented party. Rule 4.2 provides that in representing a client a

lawyer shall not “communicate about the subject of the representation with a person the lawyer

knows to be represented by another lawyer in the matter, unless the lawyer has the consent of the

other lawyer or is authorized to do so…” Rule 4.02(a) would appear to be substantially similar.

       68.    The charge that a lawyer has violated the “unauthorized communications” rule is a

serious one; and one that should be supported not only by competent evidence, but by a detailed

discussion of the relevant case law. That did not happen here. The entirety of defendants’ claim

in this regard would appear to be contained in the phrase “by using family members to

communicate with” his brother-in-law, Revan McQueen, “about this very lawsuit, Brewer is

violating the ethical rule against communicating with represented parties.” D.B. 23, ¶ 55.

       69.    According to defendants, the evidentiary basis for this claim can be found in three

paragraphs of the affidavit that was filed by Mr. McQueen in support of this motion, Exh. B, ¶¶

36-38. But even a cursory review of two of those paragraphs, ¶¶ 37 and 38, reveal that they have

nothing to do with any supposedly “unauthorized” contact with Mr. McQueen. In ¶ 37 Mr.

McQueen talked about Mr. Brewer’s representation of Grant Stinchfield, and purported “false

statements regarding AMc” that were purportedly contained in an affidavit Mr. Stinchfield filed;

in ¶ 38 Mr. McQueen described Mr. Brewer’s supposed “manipulation of Stinchfield” as “a way

to continue his personal attack on Angus.” It would appear to follow that, if defendants did

provide evidentiary support for their Rules 4.2 and 4.02 claim, it must be in ¶ 36.




                                                28


                                                                                                    Appendix391
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 399 of 509 PageID 8338



       70.    In that paragraph Mr. McQueen did say that since “the date the NRA’s first lawsuit

was filed against AMc on April 12, 2019, I have personal knowledge that Brewer, using family

members as channels, has attempted to communicate with me to influence AMc’s litigation

positions and strategy.” But he did so without explaining why, if he had such knowledge, it is

only now, a full year later, that counsel moved to disqualify Mr. Brewer for having made these

“attempts.” Perhaps more fundamentally, McQueen made no attempt to substantiate this claim.

       71.    McQueen hinted that there may be other “examples” of how Mr. Brewer attempted

to communicate with him through family members, but the only contact he specifically referred

to was one, “in April 2019,” in which Mr. McQueen purportedly learned of a “threat of

indictment” through “these channels.” According to Mr. McQueen, even though Mr. Brewer

“knew that AMc was represented by counsel,” he “tried to direct me to ‘break privilege’ with my

own attorneys” so he could tell me “how to get out of this.” McQueen Aff. ¶ 36.

       72.     As I have indicated, a party cannot base a motion to disqualify on speculation,

conclusions or subjective beliefs; it is, rather, incumbent upon the party to substantiate its claims.

In this case, while Mr. McQueen alleges, in conclusory fashion, that he learned of a “threat of

indictment” from family members, he did not say which “members” communicated that “threat”

to him; what he was threatened with being indicted for; or anything to indicate that the

“indictment” was related to any matter on which AMc was being represented on by counsel.

       73.    After providing the “factual basis” for its Rule 4.2 claim in footnote 139, the legal

basis for disqualifying Mr. Brewer was purportedly set forth in footnote 140. However, in that

footnote all defendants did was “string cite” two cases – no attempt was made to show that the

applicable precedent warrants disqualifying Mr. Brewer; and, in my opinion, it does not.




                                                 29


                                                                                                         Appendix392
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 400 of 509 PageID 8339



       74.      The standard to be applied in deciding disqualification motions that have been

based upon putative violations of the “unauthorized contact” rule has received scant attention

over the years, and the few courts which have considered the matter have not reached a

consensus.    It is probably fair to say, however, that in the vast majority of such cases

disqualification has not been ordered; and, when it has, that has generally been because the

contacting attorney received confidential information from an unsophisticated person that could

not be protected in any other way. Conversely, courts have been reluctant to disqualify counsel

in a situation where the contacted person was sophisticated; where no privileged or work product

information was conveyed to the lawyer as a result of the contact; or where, as here, no

prejudice to the moving party has been shown to have resulted from the communication.

       75.     In the same footnote in which they made their Rule 4.2 claim defendants cited

TDRPC Rule 4.04(b) for the proposition that a “lawyer shall not present, participate in

presenting, or threaten to present: (1) criminal or disciplinary charges solely to gain an advantage

in a civil matter.” But because defendants have not even alleged that Mr. Brewer presented such

a charge for such a purpose, much less proved that he did so – and because they did not cite any

legal authority that would support the contention that disqualification of Mr. Brewer would be an

appropriate remedy if he did – it would appear to be unnecessary for me say any more about this

particular claim than that defendants do not appear to have satisfied their burden of proof.

             G.      Defendants have not Shown that Other Rules were Violated

       76.    In addition to alleging – incorrectly, in my view – that the Mr. Brewer violated the

three rules that have most commonly been cited by parties who move to disqualify counsel – the

conflicts of interest rule, the advocate-witness rule, and the unauthorized contacts rule, as well as

TDRPC Rule 4.04(b) – defendants have contended that Mr. Brewer violated three more Model



                                                 30


                                                                                                        Appendix393
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 401 of 509 PageID 8340



Rules (Rules 3.6(a), 4.1(a) and 4.4(a)) and their Texas counterparts (Rules 3.07, 4.01(a) and

4.03(a)). Defendants suggest that Mr. Brewer should be disqualified for having done so, despite

citing no case in which any court disqualified counsel for violating any of those rules.

       77.      The “trial publicity” rule, Model Rule 3.6(a), provides that a “lawyer who is

participating or has participated in the investigation or litigation of a matter shall not make an

extrajudicial statement that the lawyer knows or reasonably should know will be disseminated by

means of public communication and will have a substantial likelihood of materially prejudicing

an adjudicative proceeding in the matter.” While defendants allege, in conclusory fashion, that

Mr. Brewer and his firm “are violating” that rule by “using PR tactics to beat their opposition

into submission” [D.B. 24, ¶ 58], it would appear that the only “extrajudicial statement”

defendants claim the firm actually made to the press was one in which Mr. Brewer was quoted as

saying that the COVID epidemic and its accompanying nationwide lockdown had “caused a

major disruption” to the NRA’s fundraising activities. D.B. 24 n.147. On its face there would

appear to be nothing about this comment that is in any way objectionable – much less anything

about it that would “have a substantial likelihood of materially prejudicing” this lawsuit.

       78.    In addition to claiming that Mr. Brewer made an unremarkable statement about the

impact of the COVID epidemic on NRA revenues defendants cited a 22 year old newspaper

article in support of their claim that the firm leaks “court filings before opposing counsel is even

aware of them.” D.B. 24 ¶ 58. Assuming for the sake of the argument that Mr. Brewer’s former

firm did this in the 1990’s, or that the same was done in this case, it would appear to go without

saying both that a “court filing” is not an “extrajudicial statement” by a lawyer, and that

defendants have not shown how they were, in any way, prejudiced by such “leaking.”




                                                 31


                                                                                                       Appendix394
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 402 of 509 PageID 8341



       79.    The same is true of comments “about AMc” that Mr. Brewer purportedly “leaked.”

Apart from the fact that a deponent’s conclusory claim that “we all know it is Brewer [leaking]”

is speculation about what the witness believes to be true, not proof that it is, the comments

purportedly leaked were those of two “NRA board members” – not statements by Mr. Brewer –

and there has been no showing of how “leaking” what NRA members actually said, if it

occurred, would have a “substantial likelihood of materially prejudicing” this lawsuit.

       80.      As to this, the comments defendants adverted to were statements NRA board

members made about concerns they had, not about AMc itself, but about a television station

AMc ran, NRA-TV; and, in particular, about an episode of one show that some had deemed to be

objectionable. Although defendants claim that this “impropriety is now a matter of national

attention because of Brewer’s own insistence on abusively leaking information to the media,”

and that “Brewer was not responding to negative publicity – he created it,” the fact is that fully 6

months before the New York Times article defendants complain about, USA Today ran a story

which the author began by noting that, using “a jarring image to blast increased diversity on a

children’s TV show, a National Rifle Association online show depicted characters from "Thomas

& Friends" in white, Ku Klux Klan-style hoods on a burning train.” See Melas, Chloe, NRA TV

Depicts Thomas & Friends in KKK Hoods, CNN, available at: https://www.cnn.com/2018/09/13/

entertainment/thomas-the-tank-engine-nra-kkk-trnd/index.html, dated September 14, 2018.

       81. “Leaking” the reaction of an entity client’s board members to such a depiction is not

the type of “extrajudicial statement” the drafters of the Model Rules appear to have in mind.

Compare Gentile v. State Bar of Nev., 501 U.S. 1030, 1033, 115 L. Ed. 2d 888 (1991). Cf. J.

Fletcher, Gentile v. State Bar of Nevada: ABA Model Rule 3.6 as the Constitutional Standard for

Reviewing Defense Attorneys’ Trial Publicity, 46 SMU L. Rev. 293, 293 (1993) (“[Gentile,] a



                                                32


                                                                                                       Appendix395
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 403 of 509 PageID 8342



criminal defense attorney, held a press conference on the day of his client’s indictment on theft

charges. Gentile hoped to rebut adverse press coverage that his client, Gary Sanders, had

received over the preceding months. Gentile delivered a prepared statement that he believed

conformed with ethical rules. In the statement, he maintained Sanders’s innocence, claimed that

a police detective was the likely culprit, and attacked the character and motives of three potential

witness. Six months later, a jury acquitted Gentile’s client. The State Bar of Nevada then

charged Gentile with violating the Nevada Supreme Court rule on trial publicity”).

       82.    It would appear to be no coincidence that, in addition to failing to clearly identify

any “extrajudicial statement” Mr. Brewer made that would have a “substantial likelihood of

materially prejudicing” this lawsuit, defendants have failed to cite a single case that would

support their contention that the court should disqualify Mr. Brewer for violating that rule. Most

of the reported cases in which violations of Model 3.6 or analogous rules of professional conduct

have been discussed are not disqualification cases; they are, like Gentile, ones in which the

question before the court was whether counsel should have been disciplined. Gentile, supra, 501

U.S. at 1036. Cf. Davenport v. Garcia, 834 S.W.2d 4, 29 (Tex. 1992) (Hecht, J., concurring) (“I

do not suggest that relator should be disciplined, only that the [TDRPC] address the propriety of

attorneys’ extrajudicial statements during pending litigation”). In fact, offhand, the only decision

I can think of in which an attorney was disqualified, in whole or in part, for violating Model Rule

3.6 or an analogous state rule was an Ohio case, and that decision was reversed on appeal. State

v. Cornick, 2014-Ohio-2049, ¶¶ 8-19 (Ohio App. 8th Dist. 2015) (even if May publicly suggested

the defendants were guilty, “that statement would not cause actual prejudice because all criminal

prosecutions carry the implied understanding that the state believes that a defendant is guilty”).




                                                 33


                                                                                                       Appendix396
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 404 of 509 PageID 8343



         83.     In one final claim that was also relegated to a footnote defendants suggest that the

same conduct that purportedly caused Mr. Brewer to run afoul of M.R 3.6 also infringed M.R.

4.1(a) and 4.4(a), and Texas Rules 4.01(a) and 4.4(a). D.B. 24 n.150. It is certainly true, as a

matter of general principle, that a lawyer should not knowingly “make a false statement of

material fact or law to a third person,” or use means that have no substantial purpose “other than

to embarrass, delay, or burden a third person.” But because defendants have not specified what

“false statement of material fact or law” Mr. Brewer purportedly made, who he made it to, or

what “means” he allegedly employed that has “no substantial purpose other than to embarrass,

delay or burden a third person,” the conclusory charge that he did one or more of those things

does not, in my view, provide any basis for finding that Mr. Brewer violated these rules.

    H.         Even if a Rule was Violated Disqualification of Mr. Brewer is Not Automatic

         84.        In the Model Code era (1970-1983) some courts suggested that, once a

Disciplinary Rule had been shown to have been violated, disqualification would ordinarily

follow on a “per se” basis, as a matter of course; without regard to the impact such an order

might have on the interests of the non-moving party or challenged counsel, or on the

administrative efficiency of the court itself. This was particularly so in a situation where the

violated rule was the one that forbade improper “dual” representation. J.K. & Susie L. Wadley

Research v. Morris, 776 S.W.2d 271, 284 (Tex. App. 1989) (Howell, J., concurring) (“[t]he rule

against dual representation is monolithic and rigorous; it recognizes few exceptions, if any”).

         85.     Defendants seem to believe that this “per se” disqualification rule is still in effect.

See D.B. 19 ¶ 44 (“Each conflict independently warrants disqualification; together, they mandate

it”). But the views of courts regarding the automatic disqualification of a lawyer have changed.

See, e.g., SWS Fin. Fund A v. Salomon Bros., 790 F. Supp. 1392, 1403 (N.D. Ill. 1992) (many



                                                   34


                                                                                                           Appendix397
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 405 of 509 PageID 8344



courts automatically disqualify counsel, but “[t]he legal world is changing”). While no court

condones ethical rule violations, on account of the severe consequences a disqualification order

can wreak, both on the non-moving client and its counsel, a large and ever-growing number of

courts have pointed out that disqualification can be a harsh, drastic and even draconian sanction

for a rule violation. NCNB Tex. Nat’l Bank v. Coker, 765 S.W.2d 398, 399 (Tex. 1989).

       86.      In recent years both state and federal courts in Texas have reminded the bar that

disqualification is a “severe remedy” [Jackson v. City of Sherman, 2018 U.S. Dist. LEXIS

14198, at *5 (E.D. Tex. Jan. 30, 2018)] which “can result in immediate and palpable harm,

disrupt trial court proceedings, and deprive a party of the right to have counsel of choice.” In re

Trujillo, 2015 Tex. App. LEXIS 11394, at *4 (Tex. App.–El Paso [8th Dist.] Nov. 4, 2015)

(citation omitted). Also compare In re Solis Law Firm, NUMBER 13-16-00350-CV, 2016 Tex.

App. LEXIS 10567, at *7 (Tex. App.–Corpus Christi-Edinburg [13th Dist.] Sept. 27, 2016)

(disqualification “is a severe remedy”) with In re Ace Real Prop. Invs., LP, 2018 Tex. App.

LEXIS 1258, at *6 (Tex. App.–Beaumont [9th Dist.] Feb 15, 2018) (“Because disqualifying a

party’s attorney results in the party losing its counsel of choice, courts generally review

disqualification as a severe remedy, especially [if based on an] alleged conflict of interest”).

       87.      Over the years it has come to be understood that the disqualification remedy –

although frequently aimed at protecting one attorney-client relationship – inevitably interferes

with another. In re In re Am. Air., 972 F.2d 605, 619 (5th Cir. 1992) (disqualification rules

“unavoidably affect relationships”), cert. denied, 113 U.S. 1262 (1993). It has been recognized,

too, that motions to disqualify attorneys and firms are often made for tactical reasons that have

nothing whatsoever to do with the moving party’s professed concerns about insuring ethical

conduct.     For these reasons and others, disqualification of counsel – far from being the



                                                 35


                                                                                                      Appendix398
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 406 of 509 PageID 8345



“automatic” remedy for a rule violation that it once was – has in many jurisdictions become a

“disfavored” one. See, e.g., AMEC Constr. Mgmt. v. FFIC Risk Mgmt., 2017 U.S. Dist. LEXIS

133698, *8-9, 2017 WL 3602053 (M.D. La. August 21, 2017) (“Motions to disqualify attorneys

are generally disfavored and require a high standard of proof so as not to deprive a party of its

chosen counsel”); Am. Sterilizer Co. v. Surgikos, 1992 U.S. Dist. Lexis 21542, at *7 (N.D. Tex.

1992) (“Close scrutiny is necessary because disqualification is a severely disfavored remedy”),

citing Woods v. Covington Cty. Bank, 537 F.2d 804, 810 (5th Cir. 1976).

       88.    In light of the extreme nature of the disqualification remedy, as well as the fact that

disqualification motions are often interposed for strategic purposes, the Fifth Circuit has made it

clear that an “inflexible application of a professional rule is inappropriate” [FDIC v. U.S. Fire

Ins. Co., 50 F.3d 1304, 1314 (5th Cir. 1995)]; and that the “rule of disqualification is not

mechanically applied in this Circuit.” Johnston v. Harris County Flood Control Dist., 869 F.2d

1565, 1569 (5th Cir. 1989); Church of Scientology of California v. McLean, 615 F.2d 691, 693

(5th Cir. 1980); Leleux-Thubron v. Iberia Parish 2015 U.S. Dist. LEXIS 8020, at *10 (W.D. La.

Jan. 23, 2015) (“The rule of disqualification is not mechanically applied in the Fifth Circuit”);

OneBeacon Ins. Co. v. T. Wade Welch & Assocs., 2012 U.S. Dist. LEXIS 14663, 9 (S.D. Tex.

2012) (“In [this circuit], courts ‘do not mechanically apply the rules of disqualification’”).

       89.     In keeping with this admonition courts throughout the nation have abjured a “per

se” approach to disqualification in favor of a “functional” one. UMG Recordings, Inc. v.

Myspace, Inc., 2007 U.S. Dist. LEXIS 91179, at *45 (C.D. Cal. 2007) (“Courts have been

admonished to take a ‘functional’ approach”), quoting R. Flamm, Judicial Disqualification:

Recusal and Disqualification of Judges (1st Ed., at § 23.1). To courts which subscribe to this

“flexible” approach, proof that an ethics rule has been violated is not, in and of itself, a sufficient



                                                  36


                                                                                                          Appendix399
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 407 of 509 PageID 8346



reason for disqualifying a lawyer. Yorkshire Ins. Co. v. Seger, 2007 Tex. App. LEXIS 4777, at

*49 (2007). It must be shown that such a remedy is absolutely necessary. All Am. Semicon., Inc.

v. Hynix Semicon., Inc., 2008 U.S. Dist. LEXIS 106619, at *14 (N.D. Cal. 2008)

(“disqualification is a drastic measure that…should only be imposed when absolutely

necessary”).

       90.     These days, in other words, a court’s disqualification decision typically involves a

two-step inquiry. First, the court must decide whether challenged counsel violated any ethical

rule that is in force in the applicable jurisdiction. Schlumberger Techs. v. Wiley, 113 F.3d 1553,

1561 (11th Cir. 1997). If not, the court’s inquiry will typically end. But should the court find

that a rule has been infringed, disqualification of counsel does not follow as a matter of course.

The court must, rather, engage in a thoughtful and careful – if not “painstaking” – weighing of

all of the relevant facts and circumstances in order to assess, on a case by case basis, whether

disqualification would be a necessary and appropriate remedy for that violation. See Duncan v.

Merrill Lynch, Pierce, Fenner & Smith, Inc., 646 F.2d 1020, 1021 (5th Cir. 1981) (“we conclude

that the district court misallocated the burden of proof applicable in a disqualification proceeding

and failed to make the painstaking factual analysis required by our cases. We therefore remand

for further proceedings”); In re Tex. Windstorm Ins. Ass’n, 417 S.W.3d 119, 129 (Tex. App.–

Hou. [1st Dist.] Nov. 7, 2013) (“To prevent the abusive filing of such a motion for tactical

reasons, the court must carefully evaluate the motion and record to determine if disqualification

is warranted”). Cf. FDIC v. U.S. Fire Ins. Co., 50 F.3d 1304, 1314 (5th Cir. 1995) (all the “facts

particular to a case must be considered”).

       91.     In making this assessment the court is expected to apply the legal precedent to the

facts in order to strive to strike a “cautious,” sensitive, and sometimes difficult balance between



                                                37


                                                                                                       Appendix400
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                     Page 408 of 509 PageID 8347



several important – and often competing – considerations and interests. Alabama v. Dean Foods

Prods. Co., 605 F.2d 380, 383 (8th Cir. 1979) (disqualification, “like other reaches for perfection,

is tempered by a need to balance a variety of competing considerations and complex concepts”);

Rosario v. City of Newark, 2011 U.S. Dist. LEXIS 5880, at *4 (D.N.J. 2011) (“the balance

requires “fact-intensive analysis and careful application of the law”); Kelly v. CSE Safeguard Ins.

Co., 2010 U.S. Dist. LEXIS 101118, 2010 WL 3613872, at *1 (D. Nev. 2010) (“Disqualification

motions present courts with a delicate and sometimes difficult balancing task”). Cf. One World

Foods, Inc. v. Stubb’s Austin Rest. Co. LC, Case No. A-15-CA-1071-SS, 2016 U.S. Dist. LEXIS

147312, at *23-24 (W.D. Tex. Oct. 25, 2016) (“the Court finds the balance of the ethical rules,

public interest, litigants’ rights, and facts of this case does not favor disqualifying [the firm]”).

        92.    The interests which weigh in favor of granting a motion to disqualify include any

prejudice that may inure to the moving party if the motion is not granted. On the obverse side of

the coin the primary factor militating against the precipitous grant of a disqualification motion is

the fact that to do so will inevitably delay the proceedings and deprive the non-moving party of

its right to enjoy the services of the counsel of its choice, thereby causing it economic hardship.

But there are also other factors that may counsel against disqualifying an attorney or law firm in

a particular case, including the possibility that the motion was filed for strategic reasons.

        93.    The first thing the court will typically balance is the relative hardships that would

be expected to inure to the parties should the motion to disqualify be granted or denied. See One

World Foods, Inc., supra, 2016 U.S. Dist. LEXIS 147312, at *13 (“a court weighs the ethical

rules with the public interest and the litigants’ rights in deciding the substantive motion to

disqualify under federal law”). In a situation where the court, after performing the requisite

sifting and weighing, finds that the prejudice the moving party would suffer if disqualification



                                                  38


                                                                                                        Appendix401
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                    Page 409 of 509 PageID 8348



was not ordered outweighs the prejudice to the non-moving party if its counsel is removed, the

motion is likely to be granted. Conversely, if the balance tips in favor of finding that the non-

moving party would be likely to be more prejudiced by the loss of its counsel than plaintiff

would be by losing its motion, the motion will ordinarily be denied. One World Foods, Inc.,

supra, at *22-23 (“Disqualifying [the firm] would impose significant costs in time and money on

the Defendants…[and] would likely cause significant delays in the case. By contrast, Plaintiff

waited ten months after the start of this suit to file its motion for disqualification… Plaintiff fails

to show any harm it might suffer outweighs the harm Defendants would incur if [the firm] were

disqualified”); Classic Ink, Inc. v. Tampa Bay Rowdies, 2010 U.S. Dist. LEXIS 75220, at *13-14

(N.D. Tex. 2010) (plaintiff “could suffer a substantial hardship if the court goes forward with

disqualification…Anderson has made no showing of prejudice”)

       94.    As for the showing of prejudice the moving party is expected to make, since proof

that an ethical rule was infringed does not automatically result in disqualification of counsel, a

party who seeks to disqualify opposing counsel is usually expected to not merely allege that it

will be prejudiced in some way if that remedy is not ordered, but to demonstrate with specificity

that actual prejudice will befall it if challenged counsel is allowed to stay on the case. See Henry

v. City of Sherman, 2017 U.S. Dist. LEXIS 202496, at *8 (E.D. Tex. Dec. 8, 2017) (“the Court

‘should not disqualify a lawyer for a disciplinary violation that has not resulted in actual

prejudice to the party seeking disqualification’”), quoting In re Meador, 968 S.W.2d 346, 351-

352 (Tex. 1998); OrchestrateHR, Inc. v. Trombetta, CIVIL ACTION NO. 3:13-CV-2110-KS-

BH, 2016 U.S. Dist. LEXIS 117986, at *43, 2016 WL 4563348 (N.D. Tex. Sept. 1, 2016)

(“Plaintiffs have not shown that they suffered actual prejudice from any alleged violation”).




                                                  39


                                                                                                          Appendix402
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 410 of 509 PageID 8349



       95.    Courts in Texas have been particularly insistent on this point. In a 1998 case the

Supreme Court of Texas held that a court should not disqualify a lawyer for a rule violation that

has not resulted in actual prejudice to the moving party. In re Meador, supra, 968 S.W.2d at 349.

Since then Texas courts have been virtually unanimous in holding that neither a showing that

challenged counsel engaged in conduct that contravenes a disciplinary rule, nor that counsel’s

misconduct has caused the potential for prejudice to the moving party, is enough to warrant

removing counsel. On the contrary, the movant must demonstrate that counsel’s conduct caused

actual prejudice to it. In re Users Sys. Servs. Inc., 22 S.W.3d 331, 336 (Tex. 1999); Praise

Tabernacle Outreach v. Restoration Fin. Group, Inc., 2008 Tex. App. LEXIS 5612, at *29

(2008) (the movant must show “that the opposing lawyer’s conduct caused actual prejudice”).

       96.    Some courts have gone even further. Due in part to the hardship that is likely to

befall the non-moving client if it is forced to change counsel against its will, some courts have

decreed that a showing that the movant will incur “some” prejudice if disqualification is not

ordered is insufficient. The disqualification remedy will be ordered only if the movant shows

that she will be prejudiced “substantially.” In Re Nitla S.A., 92 S.W.3d 419, 423 (Tex. 2002).

Thus, should a court find that the prejudice that would inure to the moving party if its motion to

disqualify were to be denied would be likely to be minimal, the court will be inclined to deny the

disqualification motion. See Hughes v. Pogo Prod. Co., 2009 U.S. Dist. LEXIS 59454, at *8

(W.D. La. 2009) (the lack of real “prejudice weighs heavily against” complete disqualification).

       97.    In this case defendants claim that their delay in moving for disqualification “will

not meaningfully prejudice the NRA.” D.B. 23 ¶ 56 (italics added). They also allege that Mr.

Brewer sought to create trial publicity to “prejudice this case.” D.B. 24. ¶ 59 (italics added).

But the only prejudice to the defendants themselves that they even contend they will suffer is if



                                               40


                                                                                                     Appendix403
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 411 of 509 PageID 8350



Mr. Brewer is permitted to simultaneously serve as an advocate and a witness. D.B. 22 ¶ 52 (“A

witness-advocate…can “unfairly prejudice the opposing party”); D.B. 22 ¶ 53 (“Defendants will

suffer actual prejudice defending against Brewer’s tactics as lawyer and a witness”).

       98.      As previously noted, I am in no position to opine about whether Mr. Brewer’s

testimony will be needed at trial. I have been informed and believe, however, that he has

represented that he will not act as an advocate at trial; and, therefore, defendants concern about

possible prejudice to them from such testimony would appear to be moot. Defendants have not

even alleged that they will be prejudiced if Mr. Brewer is not disqualified for violating any of the

other ethical rules they have asserted, and it would appear to be clear that they will not be.

       99.     By way of example, while defendants contend that Mr. Brewer violated Model

Rule 4.2 in the past by indirectly communicating with his brother-in-law or father-in-law,

defendants have not even alleged, much less shown, how a decision to deny the motion to

disqualify Mr. Brewer for violating Rule 4.2 or its Texas counterpart would redound in prejudice

to them. In the same vein, while defendants posit that Mr. Brewer’s “personal interest conflict”

caused him to run afoul of Rule 1.7, this claim, if true, would mean that Mr. Brewer’s ability to

represent his client, the NRA, might be limited by his personal interests – in such a situation the

prejudice would be to the NRA, not to the moving parties.

       100.     On the observe side of the coin, while defendants allege, in conclusory fashion,

that the NRA would not suffer any “meaningful prejudice” if the counsel who has represented it

in this action from the beginning (and in three parallel Virginia actions for as long as two years)

is disqualified, because this case is “not yet one year old” [D.B. 23 ¶ 56], it would appear that

plaintiffs would not only be prejudiced by losing Mr. Brewer as its counsel, but materially so.




                                                 41


                                                                                                       Appendix404
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 412 of 509 PageID 8351



       101.     As a preliminary matter, it has long been understood that legal practitioners are

not fungible; and that, because they are not, the right to be represented by counsel of one’s

choice is a significant and even fundamental one, which is entitled to great respect. Richardson-

Merrell v. Koller, 105 S. Ct. 2757, 2767 (1985) (Stevens J., dissenting) (“Everyone must agree

that the litigant’s freedom to choose his own lawyer in a civil case is a fundamental right”); In re

Gunn, 2013 Tex. App. LEXIS 12727, at *5-6 (Tex. App.–Hou. [1st Dist.] Oct. 15, 2013)

(disqualification “can result in immediate harm by depriving a party of the right to have counsel

of its choice”). For this reason, and because separating a client from its chosen attorney is a

sanction that can have serious consequences for both client and counsel, it has often been said

that a court should not separate a client from its chosen attorney “lightly,” “liberally,” or

“cavalierly.” FDIC v. United States Fire Ins. Co., 50 F.3d 1304, 1316 (5th Cir. 1995); In re

ProEducation Int’l, Inc., 587 F.3d 296, 300 (5th Cir. 2009) (“[d]epriving a party of the right to be

represented by the attorney of [its] choice is a penalty that must not be imposed without careful

consideration”); In re Brady, 2016 Tex. App. LEXIS 2962, at *4 (Tex. App. – Tyler [12th Dist]

Mar. 23, 2016) (“[for many reasons] motions to disqualify should not be granted liberally”).

       102.    Given the importance the law places on a party’s right to choose counsel, it could

be argued that a disqualification order, by denying a party that choice, is prejudicial in its own

right; and, indeed, some courts have denied disqualification motions out of concern about

impeding the non-moving party’s right to decide who its counsel should be.             It has been

recognized, however, that disqualification not only separate parties from their chosen counsel,

but that it often does so with immediate and measurable effect. In re Reeder, 2016 Tex. App.

LEXIS 1084, at *3 (Tex. App.–Tyler [12th Dist.] 2016) (“Disqualification of a party’s attorney

can cause immediate harm by depriving the party of its chosen counsel and by disrupting court



                                                42


                                                                                                       Appendix405
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 413 of 509 PageID 8352



proceedings”). For one thing, while delay and increased expense are the unavoidable byproducts

of almost any disqualification order, in some instances a disqualification motion may cause the

non-moving party hardship of a more substantial nature. See, e.g., Nat’l Oilwell Varco, L.P. v.

Omron Oilfield & Marine, 60 F. Supp. 3d 751, 767-768 (W.D. Tex. 2014) (“To disqualify

NOV’s counsel and have it hire [a new one] would almost certainly result in further delay and

inefficient resolution of this lawsuit…the lawyers at [the firm] are singularly familiar with the

issues of this case as they have worked this matter since they filed the complaint…To remove

these lawyers as counsel would work significant prejudice against NOV”). The non-moving

party may endure a particularly onerous hardship in a case where, as here, replacement counsel

would have to be secured after the initial counsel has performed substantial legal services over a

period of thousands of hours, spanning many months, if not years. See, e.g., Alexander v.

Primerica Holdings, 822 F. Supp. 1118 (D.N.J. 1993) (defendant’s huge economic investment

“would be unfairly lost to [the non-moving party if counsel] were not allowed to continue”).

       103.    It bears mentioning, too, that while courts that have been called upon to “balance

the prejudice” in deciding motions to disqualify typically focus on the hardship that would befall

the client who would lose its counsel, rather than on the attorney or law firm that would be

disqualified, in recent years courts have begun to acknowledged that disqualification orders can

cause severe, sometimes irreparable damage to an attorney’s professional reputation and client

relationships, and that these factors – together with counsel’s interest in being permitted to

practice her profession free of any unnecessary restrictions – are also deserving of the court’s

consideration. See, e.g., FDIC v. U.S. Fire Ins. Co., 50 F.3d 1304, 1314 (5th Cir. 1995); P & J

Daiquiri Cafe, Inc. v. Andrew K. Knox & Co., 2008 U.S. Dist. LEXIS 20775, at *8-9 (E.D. La.

2008) (“[Courts] should take into account the social interests at stake including the right of a



                                               43


                                                                                                     Appendix406
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 414 of 509 PageID 8353



party to its counsel of choice and an attorney’s right to freely practice her profession”). See also

One World Foods, Inc. v. Stubb’s Austin Rest. Co. LC, Case No. A-15-CA-1071-SS, 2016 U.S.

Dist. LEXIS 147312, at *23-24 (W.D. Tex. Oct. 25, 2016) (“Even if the Court had found an

attorney-client relationship existed…, such a relationship would be minimal…Allowing such an

encounter to disqualify [the firm] would be an inflexible application of the professional rules,

abrogating Defendants’ right to counsel of their choice and [the firm]’s right to freely

practice…Thus, the Court finds the balance… does not favor disqualifying [the firm]”).

       104.    The possible prejudice that might befall a client if its counsel were to be removed

unnecessarily is a factor courts consider in deciding motions to disqualify, but it is not the only

one. For one thing, while there is no question that such motions can be properly utilized to draw

the court’s attention to ethical rule violations, it has long been understood that disqualification

motions are not always motivated by high-minded concerns about ethical derelictions on the part

of challenged counsel; on the country, such motions have frequently been interposed in bad faith,

for tactical reasons wholly unrelated to any legitimate concern the movant might have about the

ethical purity of the legal profession. Openwave Sys. v. Myriad France S.A.S., 2011 U.S. Dist.

LEXIS 35526, at *15 (N.D. Cal. 2011) (“Too much money is being wasted these days on tactical

motions to disqualify”). In order to inhibit the use of disqualification motions for these types of

purposes many courts have held or implied that, in deciding whether to grant such a motion, one

factor a court can properly consider is whether the motion was “tactical.”

       105.      Many things could motivate a party to file a motion seeking to disqualify an

opposing party’s attorney, apart from a legitimate concern about counsel’s conduct. First and

foremost, because a successful disqualification motion, by definition, deprives a client of the

counsel of its choice, parties sometimes move to disqualify counsel not so much out of a genuine



                                                44


                                                                                                       Appendix407
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 415 of 509 PageID 8354



concern about how counsel has behaved, as out of a belief that eliminating the services of an

adverse attorney may yield a significant litigation advantage. See In re Am. Air., 972 F.2d 605,

613 (5th Cir. 1992) (noting that the alleged facts, if accepted as true, might establish that the

moving party’s efforts were motivated primarily by a desire to ensure that counsel could not

represent its adversary), cert. denied, 113 S. Ct. 1262 (1993); Quicken Loans v. Jolly, 2008 U.S.

Dist. LEXIS 48266, at *5-6 (E.D. Mich. 2008) (disqualification “can work a severe hardship and

give the [movant a significant advantage. This is often the motivation for] filing such motions”).

       106.     A concern about disqualification being sought for such a purpose is particularly

likely to be voiced in a situation where, as here, the targeted attorney is a highly experienced and

formidable advocate, or one who possesses extensive experience that would be difficult to

duplicate by successor counsel. FDIC v. Amundson, 682 F. Supp. 981, 988-989 (D. Minn. 1988)

(we are “in a time when ethics has ceased to be a common guide to virtuous behavior. It is now

a sword in hand, to be used to slay a colleague. This kind of ethics does not reflect a heightened

awareness of moral responsibility or a means to temper one’s zeal for [her] client. It is instead a

means to hobble the opposition by driving a spurious wedge between [client and counsel]”).

       107.    In some cases disqualification motions have been filed, in whole or in part, for the

purpose of retaliating for similar motions brought against the moving party’s counsel. See

Colandrea v. Town of Orangetown, 490 F. Supp. 2d 342, 353 (S.D.N.Y. 2007) (counsel “states,

in a declaration no less, that the reason for his [motion is]…because Defendants indicated that

they intended to move to disqualify him”). This is a point that bears keeping in mind because I

am informed and believe that, while most of the facts that defendants claim justify filing their

motion existed from the outset of the case, no motion was placed on file until after plaintiff’s

counsel warned defense counsel that the NRA intended to seek to move to disqualify them.



                                                45


                                                                                                       Appendix408
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 416 of 509 PageID 8355



       108.    It has been recognized, too, that a party who moves to disqualify a lawyer or firm

does not necessarily need to prevail on its motion in order to reap an advantage. For one thing,

even disqualification motions that are ultimately unsuccessful inevitably stall, if not derail the

proceedings, and motions to disqualify have sometimes been filed for that purpose. In re

Leyendecker, 2012 Tex. App. LEXIS 6581, at *4 (2012) (a “court must strictly adhere to an

exacting standard to discourage a party from using the motion as a dilatory tactic”).

       109.      There is widespread agreement that leveling charges of impropriety which, if

sustained, would require disqualification of an opposing attorney is not something that should be

a standard part of a lawyer’s offensive arsenal; to be used routinely, without a good faith belief

that the charges are justified. The fact is, moreover – as more than one court has observed – that

the rules of professional conduct were not drafted with the intention of providing a windfall to

clients who have hired strategic-minded litigators. In fact, the drafters of the applicable ethical

edicts warned that when rules that were intended to provide guidance for practitioners are

brandished by their adversaries as procedural weapons, the purpose of establishing ethical rules

in the first place can be subverted. Adams v. Reagan, 791 S.W.2d 284, 291 (Tex. App. 1990).

       110.    It is also the case that if disqualification motions were routinely granted, without

regard to the motives of the moving party, the very rules that were designed to promote public

confidence in the legal system and the legal profession may themselves threaten the integrity of

the judicial process, and foster disrespect for the legal system as a whole; and, in the end, may

wind up diminishing public confidence in the ability of the process to redress serious wrongs.

FDIC v. U.S. Fire Ins. Co., 50 F.3d 1304, 1316-1317 (5th Cir. 1995) (“When, for purely strategic

purposes, opposing counsel raises the question of disqualification, and subsequently prevails,

public confidence in the integrity of the legal system is proportionately diminished”).



                                                46


                                                                                                      Appendix409
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 417 of 509 PageID 8356



       111.    Many judges – believing that strict scrutiny of disqualification motions may be an

effective deterrent against improper objectives – have held that, in order to inhibit the misuse of

disqualification motions as strategic weapons, as well as to avoid hardships on innocent clients

and other unjust results, courts not only may but should – or even must – evaluate such motions

carefully and judiciously, with skepticism and extreme caution, if not outright suspicion;

considering any evidence which suggests that the motion may have been filed for a strategic aim.

See, e.g., In re Jackson, 2012 Tex. App. LEXIS 5386, at *4 (2012) (“A trial court should be

extremely judicious in considering a disqualification motion because the procedure should not be

used tactically to deprive an opposing party of the right to be represented by the lawyer of his or

her choosing”); Buck v. Palmer, 2010 Tex. App. LEXIS 10082, at *18 (2010) (“[we must]

consider any evidence that indicates the motion is being filed…as a dilatory trial tactic”).

       112.     This Court has itself recently pointed out that parties “may use disqualification

motions as ‘procedural weapons’ to advance purely tactical purposes”) [Centerboard Secs., LLC

v. Benefuel, Inc., CIVIL ACTION NO. 3:15-CV-2611-G, 2016 U.S. Dist. LEXIS 72476, at *3

(N.D. Tex. June 3, 2016), citation omitted], and said that the “court must give careful

consideration to motions to disqualify because of the potential for abuse.” Tierra Tech de Mex.

SA de CV v. Purvis Equip. Corp., CIVIL ACTION NO. 3:15-CV-4044-G, 2016 U.S. Dist.

LEXIS 99229, at *3 (N.D. Tex. July 29, 2016). See also In re Colony Ins. Co., 2014 Tex. App.

LEXIS 9902, at *2 (Tex. App.–Dallas [5th Dist.] Sept. 2, 2014) (“courts must adhere to exacting

standards when considering motions to disqualify so that they are not used as a tactical device.”).

       113.     Many courts have held or implied that, when the moving party’s motivation for

filing a disqualification motion was not a genuine concern about the ethical issues raised in it,

but rather the hope of securing some type of strategic advantage, an otherwise meritorious



                                                 47


                                                                                                      Appendix410
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 418 of 509 PageID 8357



motion may be properly denied. But even when a tactical motivation is suspected, establishing

the moving party’s reasons for seeking disqualification is seldom an uncomplicated task. After

all, there are few instances in which a party who files a motion for an improper purpose will

candidly attest to that fact. The motive for such a motion must, rather, ordinarily be gleaned

from the circumstances under which it was made. Spears v. Fourth Court of Appeal, 797 S.W.2d

654, 658 (Tex. 1990) (a motion had “all the appearances of a tactical weapon”).

       114.   A tactical motivation is most likely to be suspect in a situation where the timing of

its filing suggests that a motion was made in bad faith, for reasons other than those apparent on

the face of the motion; as where the moving party, although long aware of the conduct that gave

rise to the disqualification challenge, unreasonably delayed in bringing its motion for a lengthy

period of time. See, e.g., Murray v. Metro. Life Ins. Co., 583 F.3d 173, 180 (2d. Cir. 2009)

(“Plaintiffs’ delay suggests opportunistic…motives”); Redd v. Shell Oil Co., 518 F.2d 311, 315

(10th Cir. 1975) (the motion was “held in reserve” until the most expedient time came along to

file it); Skyy Spirits, LLC v. Rubyy, LLC, 2009 U.S. Dist. LEXIS 109641, at *12 (N.D. Cal. 2009)

(“Rubyy was aware of the conflict [from day one]…This motion is largely a tactical gimmick”);

In re Kvaerner|IHI, 2010 Tex. App. LEXIS 7710, at *5-6 (2010) (“untimely urging of a

disqualification motion lends support to any suspicion that the motion is being used as a” tactic).

       115.    A court may also suspect that disqualification has been sought for tactical reasons

in a situation where the conduct of the moving party, or its counsel, reflects that the motion was

not brought out of any sensitivity to ethical concerns. FDIC v. U.S. Fire Ins. Co., 50 F.3d 1304,

1315 (5th Cir. 1995) (“[a] tortured justification for disqualification...premised on a purported

possible [conflict] in the future, suggests not so much a conscientious professional concern for

the profession and the client of the opposing counsel as a tactic”); Vinewood Capital, LLC,



                                                48


                                                                                                      Appendix411
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 419 of 509 PageID 8358



supra, 2010 U.S. Dist. LEXIS 30358, at *22 (N.D. Tex. 2010) (a waiver finding is “appropriate

when…the attempt at disqualification appears abusive or is being used as a delaying tactic”).

For example, a court may also be inclined to suspect that the decision to file a disqualification

motion was prompted by strategic considerations in a situation where, as here, the movant could

have sought counsel’s disqualification in a related proceeding, but never did. See Simmons, Inc.

v. Pinkerton’s, Inc., 555 F. Supp. 300, 305 (N.D. Ind. 1983) (noting, “with interest,” that no

motion to disqualify had been filed in a similar action that was on file in another court).

       116.    Of course, not every motion to disqualify an attorney or law firm is motivated by

the desire to delay the proceedings, eliminate a formidable advocate, or achieve some other

strategic objective; and not every court that has been presented with a motion to disqualify has

found that it was, in fact, tactically motivated. Hill v. Hunt, 2008 U.S. Dist. LEXIS 68925, at

*54 (N.D. Tex. 2008) (finding insufficient evidence that defendant’s motion was tactical). Cf.

Nat’l Oilwell Varco, L.P., supra, 60 F. Supp. 3d at 771 (“In the Court’s view, this motion was

primarily motivated by tactics”). A strategic motive is especially unlikely to be found in a

situation where the motion was filed promptly upon learning of the grounds therefore, or where it

is not apparent that the moving party would have anything to gain by counsel’s disqualification.

       117.     But here the motion was not filed promptly upon learning of the grounds alleged

in support of the motion [D.B. 23 ¶ 56]; it was supported by little, if any, relevant, admissible

evidence; and defendants would have everything to gain were they to prevail on their motion.

Not only would they succeed in depriving plaintiff of the counsel of the services of a tenacious

litigator who has been actively representing the NRA in this litigation from the beginning, and in

parallel litigation for two years; but they would deal an economic and reputational blow to an




                                                 49


                                                                                                     Appendix412
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 420 of 509 PageID 8359



attorney and firm with whom, by defendants’ own account, they have long had a contentious

relationship, and whom they view to be a direct business “competitor.”

       118.    In my opinion, moreover, after carefully reviewing defendants’ stated reasons for

seeking disqualification, it is difficult to view their justification for filing their motion to be

anything other than “tortured.” Defendants, having failed to acknowledge that they have the

burden of proof on their motion or what that burden entails, filed a motion alleging the violation

of 13 different ethical rules, some cited only in footnotes, without providing any factual support

for many of their claims; and, in some instances, without citing any legal authority that would

warrant the court in affording the relief they request. Defendants have also urged the court to

disqualify Mr. Brewer for violating ethical rules without considering any of the factors that

courts have been exhorted to “sift” and “balance” before deciding whether disqualification is an

appropriate remedy for a rule violation – all the while failing to explain why, if Mr. Brewer did

violate 13 ethical rules, it took the defendants eight months to get their motion on file, and only

then after learning that the NRA was planning to move for their law firm’s disqualification.

       119.     One final, and to my mind not insignificant cause for concern about defendants’

motives for filing their motion stems from the fact that, although the applicable conflict of

interest rules exist for the benefit of an attorneys’ clients and former clients, defendants never

had an attorney-client relationship with the Brewer firm: the “conflict” they profess concern

about, if it exists, is between the Brewer firm and defendants’ litigation adversary. See AMEC

Constr. Mgmt. v. FFIC Risk Mgmt., 2017 U.S. Dist. LEXIS 133698, at *6-7 (M.D. La. Aug. 21,

2017) (“While originally it appeared that FFIC’s motivation in requesting disqualification was

genuine…its motivations are now more suspect. FFIC is not seeking disqualification based on

its own interests but rather, it is seeking disqualification to protect AMEC (its adversary) even



                                                50


                                                                                                      Appendix413
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                      Page 421 of 509 PageID 8360



though AMEC itself has waived any potential conflict…where one party seeks to disqualify

opposing party’s counsel based on a conflict between the opposing party and its own counsel, the

Fifth Circuit has directed districts courts to proceed with caution”).

              I.        Defendants Established no Basis for Disqualifying the Firm

       120.         Defendants punctuated the “conflict violation” section of their brief by opining

that, because “Brewer can no longer represent the NRA, neither can his firm.” D.B. 19 ¶ 44. In

my opinion this claim is not only false but troubling, for two reasons. First, defendants did not

even cite the Model Rule that governs the subject of vicarious disqualification, Rule 1.10 – much

less attempt to explain why they think that if Mr. Brewer is disqualified pursuant to that rule his

firm must be also. Defendants have also misstated the rule they did cite, Rule 1.06(f).

       121.        The “imputed” or “vicarious” disqualification rule first appeared in an ethics code

when the ABA adopted the Model Code in 1970. DR 5-105 was categorical in stating that “if a

lawyer is required to decline employment or withdraw from employment under a Disciplinary

Rule, no partner, or associate, or any other lawyer affiliated with him or his firm may accept or

continue such employment.” Model Code of Prof’l Resp., DR 5-105(D). It was recognized,

however that the rule – if read literally – would have mandated firm-wide disqualification not

only when a lawyer at the firm labored under a conflict of interest, but whenever any of its

attorneys was precluded from handling a representation for any reason; and, even while the Code

was in effect, some courts found the rule to be too harsh and declined to strictly apply it.

       122.        In 1983 D.R. 5-105(D) was replaced by the Model Rule 1.10. The new rule did

not mandate firm-wide disqualification every time a lawyer was precluded from representing a

client – it applied only when an attorney would be prohibited from undertaken representation by

Model Rules 1.7 and 1.9. M.R.P.C., Rule 1.10(a) (1983). In 2002 other amendments to Rule



                                                   51


                                                                                                         Appendix414
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 422 of 509 PageID 8361



1.10 were approved which further narrowed the circumstances in which an individual lawyer’s

disqualification would be imputed to her firm; and, in 2009, the rule was amended again to allow

firms to avert conflict imputation in some situations. The current version of the rule provides, in

pertinent part, that while “lawyers are associated in a firm, none of them shall knowingly

represent a client when any one of them practicing alone would be prohibited from doing so by

Rules 1.7 or 1.9.” But such representation is expressly permitted in certain circumstances –

including when the disqualifying conflicts was “based on a personal interest of the disqualified

lawyer,” and does not “present a significant risk of materially limiting the representation of the

client by the remaining lawyers in the firm.” M.R.C.P., Rule 1.10(a)(1) (current).

       123.     In this case the conflict that has been alleged to exist is based on a “personal

interest” of Mr. Brewer; in fact, defendants captioned the “conflict violation” section of their

brief: “Brewer’s personal interests violate the conflict-of-interest rules.” D.B. 17. Defendants

have not shown – or even clearly alleged – how Mr. Brewer’s “personal interests” present a

“significant risk of materially limiting the representation of the client by the remaining lawyers

in the firm.” Defendants have not shown, in other words, that Mr. Brewer’s “personal interest”

conflict warrants disqualifying his firm in accordance with the dictates of Model Rule 1.10.

       124.       In asserting that the Brewer Firm should be disqualified by “imputation”

defendants – instead of explaining how disqualification is warranted by M.R. 1.10 – relied on

Rule 1.06(f) of the TDRPC. This rule materially differs from Rule 1.10; and, for reasons I have

already explained, I am assuming that if the court is called upon to choose between inconsistent

Texas and Model Rules it is the latter that it will apply. But assuming arguendo that Rule 1.06(f)

applies, defendants have interpreted the rule in a rather curious way.




                                                52


                                                                                                      Appendix415
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 423 of 509 PageID 8362



       125.     Defendants, whose only citation to this Rule was in a footnote, wrote: “TEX. R.

1.06(f) (lawyer disqualification imputed to firm)”. D.B. 19 n.114. Rule 1.06(f) does not say,

however, that a lawyer’s “disqualification” is imputed to his firm. In fact, unlike the drafters of

Model Rule 1.10, the drafters of Rule 1.06 did not use the word “disqualification” at all. What

the rule actually says is that, if a lawyer “would be prohibited by this Rule from engaging in

particular conduct, no other lawyer while a member or associated with that lawyer’s firm may

engage in that conduct.” On its face, in other words, the rule does not impute “disqualification”

from one lawyer to another on the basis of the first lawyer’s conflict; what it does – and all it

does – is say that conduct that one lawyer is not permitted to engage in is forbidden to all.

       126.      The fact is, moreover, that while defendants point out that in “the Northern

District of Texas, a judge may discipline a lawyer for…conduct that violates the Texas

Disciplinary Rules of Professional Conduct” [D.B. 16, ¶, citation omitted], if the court’s goal is

to “discipline” Mr. Brewer for his “personal interest” conflict, disqualification of Mr. Brewer

himself performs that function. Defendants have not shown that there is any justification for

“disciplining” any of his affiliated attorneys – much less for punishing the NRA – on the basis of

a personal conflict they do not have. There is, moreover, an eminently practical reason for this.

       127.     In what is by far the most common “conflict” scenario the need for “imputed”

disqualification is predicated upon a concern about the possibility that confidential information

that a “personally prohibited” lawyer may possess about an adverse party could be, even

inadvertently, disseminated to other members of his firm. In such a case the applicable ethical

rules typically call for “imputed disqualification” – at least where no “screening” has been set up

between the “tainted” attorney and the rest of the firm – for the purpose of insuring the moving

party that its confidential information will not be improperly disseminated or adversely used.



                                                 53


                                                                                                      Appendix416
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 424 of 509 PageID 8363



       128.     Defendants say that any “notion that Brewer could be walled off from the NRA

litigation is nonsensical given his leadership of his firm” [D.B. 19 ¶ 44], but no concern about

protecting confidential information has been alleged here. While it might make sense to “wall

off” an attorney from the rest of his firm to avoid the possibility that his affiliates could become

“tainted” by the presumed receipt of confidences he possesses, in this case disqualification is

being sought on the basis of Mr. Brewer’s relationships with Mr. McQueen, not on the basis of

any claim that he improperly acquired client-confidential information. While one of his affiliates

could have been “tainted” if Mr. Brewer had confidential information, it is probably safe to say

that, if he is not “walled off,” no firm lawyer is going to become one of McQueen’s relatives.

       129.     As far as the possibility of disqualifying the Brewer firm as a consequence of a

finding that Mr. Brewer ran afoul of other ethical rules, Model Rule 1.10 only applies in certain

situations where a conflict has arisen for one or more attorneys pursuant to the current client

conflict rule (Model Rule 1.7), or the former client conflict rule (Model Rule 1.9). The drafters

of the Model Rules did not contemplate that the violation of other rules would result in “imputed

disqualification;” and, to defendants’ credit, they have not alleged that, if Mr. Brewer were to be

disqualified in accordance with most of the other rules they say he has violated, his firm should

be removed as well. They did, however, make such a claim about one other rule – they contend

that, if Mr. Brewer is disqualified in accordance with the “lawyer witness rule,” “his firm must

be as well.” D.B. 23 ¶ 53. In my opinion, defendants are wrong about that.

       130.      As previously mentioned, pursuant to DR 5-105(D) of the Model Code, if a

lawyer was required to decline employment or withdraw from employment under a Disciplinary

Rule, no partner, or associate, or any other lawyer affiliated with him or his firm could accept or

continue such employment. Because the rule was generally applied to the advocate-witness



                                                54


                                                                                                       Appendix417
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 425 of 509 PageID 8364



situation, as to any other, many Code-era courts held that, if a lawyer in a firm was disqualified

because of the advocate-witness rule, her entire firm would be disqualified as well. Even when

the Model Code was in force some courts thought that a per se application of the vicarious

disqualification rule, when applied in the advocate-witness context, swept too broadly; and,

when the Model Rules were adopted in 1983 those suggestions were taken to heart.

       131.     Defendants, having dismissed Rule 3.7 as being “substantially similar” to Rule

3.08, and having neglected to cite Model Rule 1.10 at all, apparently failed to take heed of the

fact that, under the Model Rules, even if the testimony of one of a law firm’s attorneys will be

needed at trial, and even if no exception to Model Rule 3.7(a) applies – and, as a result, such a

lawyer will be precluded from serving as an advocate at trial – the Model Rule contains a second

prong, Rule 3.7(b), which expressly provides that a “lawyer may act as advocate in a trial in

which another lawyer in the lawyer’s firm is likely to be called as a witness unless precluded

from doing so by Rule 1.7 or Rule 1.9.” Model Rules of Prof’l Conduct, Rule 3.7(b). Unlike its

Model Code counterpart, in other words, Rule 3.7 does not contemplate the automatic

disqualification of a testifying advocate’s firm. See, e.g., Gilbert v. Rogina Invest. Corp., 991

So. 2d 681, 2008 Ala. LEXIS 63, at *22 (2008) (“DR 5-102 may have contemplated the recusal

of an entire firm…no such requirement is found in Rule 3.7“).

       132.    Since Model Rule 3.7 went into effect most of the federal courts that have had an

occasion to consider the matter – mindful of the drastic nature of the disqualification remedy, as

well as the rule change that expressly permits firms to remain in a case despite the need for a

firm member to testify – have declined to override the nonmoving client’s right to select counsel

of choice by disqualifying an entire firm in this situation. See, e.g., FDIC v. United States Fire

Ins. Co., 50 F.3d 1304, 1316-1317 (5th Cir. 1995) (affirming an order insofar as it disqualified a



                                               55


                                                                                                     Appendix418
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 426 of 509 PageID 8365



lawyer, but vacating the order disqualifying the firm); Iguana, LLC v. Lanham, 2008 U.S. Dist.

LEXIS 102661, at *32-33 (M.D. Ga. 2008) (“Rule 3.7(b) does not recognize imputed

disqualification”); Borom v. Town of Merrillville, 2007 U.S. Dist. LEXIS 45176, at *9-14 (N.D.

Ind. 2007) (“the plaintiffs…provide no rationale to overcome Rule 3.7(b)”); Occidental Hotels

Mgmt. B.V. v. Westbrook Allegro L.L.C., 440 F. Supp. 2d 303, 314 (S.D.N.Y. 2006) (the rule

expressly permits a firm to “‘continue representation of a client even if one [firm attorney must]

testify’”) (citation omitted). Texas state courts have been in accord. In re Bahn, 13 S.W.3d 865,

873 (Tex. App. 2000) (“the testifying attorney’s law firm can continue to represent the client

even though the attorney will testify, as long as the client gives informed consent”).

       133.    In this case, even if Mr. Brewer were to be disqualified from acting as the NRA’s

advocate at trial, nothing in the applicable ethical rules prevents the Brewer Firm from trying the

case in his absence. I am informed and believe, moreover, that the NRA has been fully informed

of the possibility that Mr. Brewer may be called to testify and has given its informed consent to

allow the firm to proceed as its advocate. In this situation, in my opinion, the advocate-witness

rule supplies no basis for imputing disqualification from Mr. Brewer to his firm.

        J. No Need for Disqualification has been Shown Absent any Rule Violation

       134.    The gravamen of defendants’ claim is that Mr. Brewer and his firm engaged in

“actual impropriety,” purportedly by violating certain ethical rules – not that counsel should be

removed even if no rules were transgressed, and no impropriety occurred in fact. See D.B. 25

(“Impropriety occurred, raising public suspicion”); D.B. 25, ¶ 61 (“This brief describes the

improprieties that have already occurred”). In one instance, however, defendants said “Brewer

should have avoided the appearance of – rather than blatantly engage in – impropriety.” D.B. 22,

¶ 55. Since this is so, and because one case they cited mentioned the “appearance of impropriety



                                                56


                                                                                                      Appendix419
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 427 of 509 PageID 8366



in general” [D.B. 25, ¶ 60], it may be prudent to explain why, in my view, disqualification of Mr.

Brewer – much less his firm – is not warranted on the basis of any untoward “appearance.”

       135.    As the Court knows, federal judges are not permitted to engage in conduct that

would give even an “appearance of impropriety.” At one time attorneys operated under the same

constraint. As a result, in a situation where a party complained about a lawyer’s conduct the

absence of demonstrable wrongdoing was not necessarily enough to avoid being disqualified.

Prior to 1970 the “appearance” doctrine was based solely on case law but, in that year, the

concept was incorporated into Canon 9 of the Model Code. See United States v. Trafficante, 328

F.2d 117, 120 (5th Cir. 1964). During the period in which the Code was in effect, the Fifth

Circuit pointed out that Canon 9 reflected the bar’s concern that some conduct that was ethical in

fact might nevertheless appear to be unethical to the public, thereby eroding public confidence in

the profession. Woods v. Covington County Bank, 537 F.2d 804, 813 (5th Cir. 1976).

       136.    Following the adoption of Canon 9 several courts held or implied that, where

counsel’s conduct was such as to give an appearance of impropriety, but she declined to step

away from the case, the court had the power to disqualify her – not for acting improperly, but for

failing to avoid the appearance of doing so. Even under Canon 9, however, attorneys were not

required to abstain from representing clients in response to baseless charges of possibly improper

appearances. Church of Scientology v. McLean, 615 F.2d 691, 692 (5th Cir. 1980). Almost from

the moment the Code was adopted, moreover, courts began to criticize Canon 9 and caution

against its overuse as an independent basis for disqualifying lawyers and firms.

       137.    One problem with the appearance rubric was that, while some judges professed to

being able to readily discern whether counsel had engaged in conduct that gave an improper

appearance – such as a federal judge in Utah who said, in a decision in a 1982 case, that “like



                                                57


                                                                                                     Appendix420
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 428 of 509 PageID 8367



pornography,” courts and lawyers know an appearance of impropriety “when they see it” [Bodily

v. Intermtn. Health Care Corp., 649 F. Supp. 468, 477 (D. Utah 1986)] – others complained that

the appearance standard was imprecise, nebulous and vague; and, as a result, that it provided an

exceedingly poor compass for guiding attorneys in determining whether they had traversed the

boundary of proper ethical conduct. See e.g., People v. Lopez, 155 Cal. App. 3d 813, 824 (1984)

(noting that an appearance is a “malleable factor,” that has the “chameleon like quality of

reflecting the subjective views of the percipient;” and that decision-making “should not turn on

the psychological or philosophical perceptions of those involved”).

       138.    The appearance standard was also subject to criticism on the ground that Canon 9,

if applied literally, could “swallow up” everything else in the Code. Specifically, a concern was

expressed about the possibility that a court might employ the appearance Canon as a sort of

“catchall” of “failsafe” basis for ordering disqualification whenever it intuitively felt that

something was amiss – even if no actual misconduct on the part of challenged counsel had been

shown to exist. It was noted, too, that many members of the public simply do not understand the

duties of counsel; and, because they do not, disqualification for appearances could tarnish a

lawyer’s professional reputation, impose hardship on the non-moving client, and increase the

likelihood of public suspicion of judges and the bar. Woods, supra, 537 F.2d at 813. For these

and other reasons courts began to caution that, while there may be times when Canon 9 might be

applied, it should not be used “promiscuously” for strategic advantage, in cases where the facts

did not fit within the rubric of more specific ethical rules. Woods, supra, 537 F.2d. at 819 (courts

cannot permit Canon 9 to be “manipulated for strategic advantage on the account of an

impropriety which exists only in the minds of imaginative lawyers”).




                                                58


                                                                                                       Appendix421
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 429 of 509 PageID 8368



       139.    Even when the Model Code was in effect some courts expressed misgivings about

the possibility that counsel might be disqualified because of untoward appearances alone. In its

1976 case decision in Woods, for example, the Fifth Circuit pointed out that the more often a

litigant is disadvantaged by the unnecessary disqualification of its lawyer pursuant to the

appearance doctrine, the “greater the likelihood of public suspicion of both the bar and the

judiciary.” Id. at 809-810. To address this concern, as well the increasing use of disqualification

motions for strategic purposes, the Court held that while a party who moves to disqualify an

attorney or law firm need not prove that there was actual wrongdoing by challenged counsel, the

movant must show at least a “reasonable possibility that some specifically identifiable

impropriety had actually occurred.” Even then, a lawyer was not to be disqualified unless the

movant could show that the likelihood of public suspicion “outweighed whatever social interests

would be served by counsel’s continued participation.” Woods, 537 F.2d at 812-813 & n.12.

       140.    By the early 1980’s criticism of the appearance standard had become so

widespread that, as many courts have noted, the drafters of the Model Rules of Professional

Conduct made a conscious decision not to include a provision analogous to Canon 9. This

determination left the continuing viability of the appearance standard in doubt. See Vinewood

Capital, LLC v. Dar Al-Maal Al-Islami Trust, 2010 U.S. Dist. LEXIS 30358, at *21 (N.D. Tex.

2010). Cf. Glover v. Libman, 578 F. Supp. 748, 763-764 (N.D. Ga. 1983) (“the Model Rules fail

to have a counterpart to [Canon 9]. Perhaps the ABA determined that the ‘appearance of

impropriety’ standard was unworkable or too vague to serve as a guide for attorneys or as a

policy consideration for judicial decisions. Within the context of vicarious disqualification, a

Comment provides that: ‘This rubric [appearance of impropriety] has a two-fold problem. First,

the appearance of impropriety can be taken to include any new client-lawyer relationship that



                                                59


                                                                                                      Appendix422
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 430 of 509 PageID 8369




                                                                               Appendix423
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 431 of 509 PageID 8370




                    EXHIBIT 52




                                                                               Appendix424
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 432 of 509 PageID 8371




                                                                               Appendix425
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 433 of 509 PageID 8372




                                                                               Appendix426
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 434 of 509 PageID 8373




                                                                               Appendix427
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 435 of 509 PageID 8374




                                                                               Appendix428
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 436 of 509 PageID 8375




                    EXHIBIT 53




                                                                               Appendix429
                                                                        Exhibit 53- AMc Waiver Chart


                       Allegation Made                          Evidentiary Support for When AMc First Knew of                    Time Period of AMc
                           By AMc                                                      Allegation                                      Awareness
               Brewer was responsible for faking           In a letter dated March 12, 2019, from Jay Madrid of Dorsey,       1 year, 18 days
               the AMc audits and document                 AMc’s counsel, to John Frazer, Mr. Madrid writes: “Over the
               demands. 1                                  past few weeks, it has become clear that Brewer has been
                                                           relying upon information provided by NRA persons and
                                                           entities, including the FRA firm and you, to interact with and
                                                           conduct reviews of AMc. As I have advised NRA in the past,
                                                           AMc has encountered a growing number of disputes with
                                                           demands made and positions taken by the NRA. These
                                                           disputes have coincided with the emergence of the Brewer
                                                           firm as the NRA’s lead outside counsel and, it appears, its
                                                           official spokesman.” 2
               Brewer carried out the false and            In a letter dated April 25, 2019, from Wayne LaPierre to the       11 months, 4 days
               defamatory narrative that AMc and           NRA Board of Directors, Mr. LaPierre writes: “Yesterday
               Colonel North attempted to extort           evening, I was forced to confront one of those defining choices
               Wayne LaPierre. 3                           – styled, in the parlance of extortionists, as an offer I couldn’t
                                                           refuse. I refused it. Delivered by a member of our Board on
                                                           behalf of his employer, the exhortation was simple: resign or
                                                           there will be destructive allegations made against me and the
                                                           NRA. Alarmed and disgusted, I refused the offer. This letter
                                                                                                                                                                         Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20




                                                           explains why.” 4 A Wall Street Journal Article, published April
                                                           26, 2019, states that: “A spokesman for Ackerman McQueen
                                                           said it would have no comment” on Mr. LaPierre’s letter dated
                                                           April 25, 2019, to the Board. 5




                      1
                        See ECF 105 at ¶ 43.
                      2
                        See Ex. 10 to the Collins Decl.
                      3
                        See ECF 105 at ¶ 43.
                      4
                        See Ex. 13 to the Collins Decl.
                      5
                        Mark Maremont, NRA’s Wayne LaPierre Says He Is Being Extorted, Pressured to Resign, dated Apr. 26, 2019, attached as Exhibit 14 to the Collins
              Decl.
                                                                                                                                                                         Page 437 of 509 PageID 8376




                                                                                          1




Appendix430
                                                                      Exhibit 53- AMc Waiver Chart


              Brewer had a multi-decade,                   In an AMc public statement made on April 15, 2019, AMc            11 months, 15 days
              animus-filled family relationship            states that: “Months ago, legal counsel informed the NRA that
              with the owners of AMc. 6                    “Mr. Brewer himself has an irreconcilable conflict of interest.
                                                           Mr. Brewer is the son-in-law of Angus McQueen and brother-
                                                           in-law of Ackerman McQueen’s CEO, Revan McQueen. Mr.
                                                           Brewer has demonstrated, in words and deeds, his animus for
                                                           Ackerman McQueen and these family members and that
                                                           animus pervades the Brewer firm’s dealings with Ackerman
                                                           McQueen, whether dealing directly with Ackerman McQueen
                                                           or through other members of his firm.” 7
              BAC is a business competitor of              In AMc’s Counterclaim, dated May 23, 2019, in the Virginia        10 months, 7 days
              AMc in the public-relations                  Action, AMc states that: “The NRA's Executive Vice President
              market. 8                                    and long-time leader Wayne LaPierre, enabled by his chosen
                                                           attorney, William Brewer of William Brewer Associates and
                                                           Counselors, has set the NRA on a course to eliminate AMc as
                                                           the primary public relations vendor to the NRA.” 9
              Brewer created the fallacy that              In AMc’s Counterclaim, dated May 23, 2019, in the Virginia        10 months, 7 days
              AMc was leaking information. 10              Action AMc states that: “The NRA's decision to work with
                                                           Brewer to release proprietary information gained from AMc to
                                                           the New York Times is a breach of the NRA's implied
                                                           covenant of good faith and fair dealing.” 11
                                                                                                                                                  Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20




              Brewer filed unauthorized lawsuits           In AMc’s Counterclaim, dated May 23, 2019, in the Virginia        10 months, 7 days
              when the NRA was seeking to keep             Action, AMc states that: “Upon information and belief, the
              the peace with AMc. 12                       NRA Board was not aware of the filing of this Lawsuit prior to
                                                           it being filed and never approved or authorized the filing of
                                                           this Lawsuit.” 13
                    6
                      See ECF 105 at ¶ 1.
                    7
                      See Ex. 12 to the Collins Decl.
                    8
                      ECF 105 at ¶ 1.
                    9
                      See ¶ 11 of Ex. 57 to the Collins Decl.
                    10
                       See ECF 105 at ¶ 43.
                    11
                       See ¶ 82 of Ex. 57 to the Collins Decl.
                    12
                       See ECF 105 at ¶ 43.
                    13
                       See ¶ 3 of Ex. 57 to the Collins Decl.
                                                                                                                                                  Page 438 of 509 PageID 8377




                                                                                      2




Appendix431
                                                                      Exhibit 53- AMc Waiver Chart


              Brewer caused AMc's Services                 In AMc’s Counterclaim, dated May 23, 2019, in the Virginia           10 months, 7 days
              Agreement with the NRA to be                 Action, AMc alleges that: “Defendants aver as a new matter,
              terminated. 14                               specifically requiring response, that the NRA's true purpose
                                                           underlying this Lawsuit is to artificially construct a false claim
                                                           for a technical breach of the Services Agreement that they
                                                           erroneously believe will allow them to terminate the Services
                                                           Agreement, move all of the Defendants' contractual services to
                                                           a competing public relations unit, and not pay Defendants the
                                                           required multi-million dollar termination/severance payment
                                                           obligated under the Services Agreement.” 15
              Brewer is a necessary witness in             In AMc’s Opposition to Plaintiff’s Motion for Pro Hac Vice           9 months, 6 days
              this case. 16                                Admission from the NRA v. AMc Virginia Action, dated June
                                                           24, 2019, AMc states that: “Brewer Attorneys & Counselors
                                                           and/or their founding partner, William A. Brewer III, were
                                                           identified 26 times in the Defendants' Counterclaim in the first
                                                           NRA v. AMc case and 23 times in the Defendants'
                                                           Counterclaim in the second NRA v. AMc case. The attorneys
                                                           seeking admission pro hac vice are very likely to become
                                                           witnesses in the case.” 17 Also, in the Transcript of Hearing,
                                                           dated June 26, 2019, counsel for AMc states that: “Your
                                                           Honor, it’s not our position that Mr. Brewer is going to be the
                                                                                                                                                    Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20




                                                           only witness in that firm, but that the other partners in the firm
                                                           are also going to be witnesses. They’re intricately linked.” 18
              Brewer used family relationships             In AMc’s Opposition to Plaintiff’s Motion for Pro Hac Vice           9 months, 6 days
              and prioritized his own personal             Admission from the NRA v. AMc Virginia Action, dated June
              financial interests, in violation of         24, 2019, AMc states that: “Mr. Brewer has spearheaded the
              numerous ethical rules. 19                   litigation tactics of the NRA in the two suits against AMc in a

                    14
                       See ECF 105 at ¶ 43.
                    15
                       See pp. 3-4 of Ex. 57 to the Collins Decl.
                    16
                       See ECF 105 at ¶ 48.
                    17
                       See ¶ 1 of Ex. 19 to the Collins Decl.
                    18
                       See pp. 11-12 of Ex. 21 to the Collins Decl.
                    19
                       See ECF 105 at ¶ 41.
                                                                                                                                                    Page 439 of 509 PageID 8378




                                                                                       3




Appendix432
                                                                       Exhibit 53- AMc Waiver Chart


                                                             way that abuses the process of this Court to gain a public
                                                             relations advantage, smear AMc, and intimidate witnesses
                                                             supportive of AMc.” 20 Also, in the Transcript of Hearing,
                                                             dated June 26, 2019, counsel for AMc states that: “But it’s not
                                                             just that they are witnesses in this case. They financially
                                                             benefit. They have an in-house public relations unit in the firm
                                                             that is siphoning away business from Ackerman McQueen for
                                                             the NRA work…” 21
               BAC was a client of AMc as                    In a Transcript of Hearing, dated June 26, 2019, from the NRA 9 months, 4 days
               recently as December of 2019. 22              v. AMc Virginia Action, counsel for AMc states that: “Your
                                                             Honor, my client is reminding me that the Brewer law firm is
                                                             [actually] a client of Ackerman McQueen and has been a long-
                                                             term client of the firm.” 23


              4812-2922-3867.15
              -
                                                                                                                                              Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20




                      20
                         See p. 4 of Ex. 19 to the Collins Decl.
                      21
                         See p. 15 of Ex. 21 of the Collins Decl.
                      22
                         See ECF 105 at ¶ 2.
                      23
                         See p. 15 of Ex. 21 to the Collins Decl.
                                                                                                                                              Page 440 of 509 PageID 8379




                                                                                      4




Appendix433
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 441 of 509 PageID 8380




                    EXHIBIT 54




                                                                               Appendix434
           Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                                                     Page 442 of 509 PageID 8381




                                          ← BACK



                                                                                                               Travi J. Carter
                                                                                                               Managing Director, Public A airs
                                                                                                               tcarter@brewerattorneys.com
                                                                                                               214.653.4856
                                                                                                               Download vCard




                                          IO

                                          Travis J. Carter is Managing Director of Public A airs (non-attorney) in the Dallas o ce of Brewer, Attorneys & Counselors.

                                          Since 2001, Mr. Carter has managed public relations for the rm and, in many cases, the clients it represents. Mr. Carter has
                                          successfully managed a wide range of communications challenges and opportunities, including legal and regulatory concerns,
                                          crisis events, and pro-active campaigns. He has been recognized as among the rst communication professionals countrywide to
                                          begin an in-house public relations practice at a national litigation rm.

                                          Mr. Carter also manages media relations and public advocacy for the Brewer Storefront, the rm’s community-service a liate.
                                          He helps oversee the Brewer Foundation / New York University International Public Policy Forum (IPPF), the rst and only
                                          competition that gives high school students around the world the opportunity to participate in written and oral debates on
                                          issues of public policy.

                                          Before he joined the rm, Mr. Carter worked as a corporate relations manager with Allstate Insurance Company. He directed
                                          regional communications and spent time working at Allstate’s corporate head uarters near Chicago, where he managed media
                                          relations and served as a communications manager for the company’s National Catastrophe Team. Prior to Allstate, Mr. Carter
                                          worked at the Federal Reserve Bank of Dallas, where he began his public relations career a er working in the print news media.

                                          Mr. Carter has won numerous professional awards recognizing his work in strategic communications. His PR campaigns have
                                          been featured in “Top 100 Case Studies in PR,” annually published by PR News. He has been awarded a “Silver uill” from the
                                          International Association of Business Communicators, and was named an overall winner in the Legal PR Awards, one of the
                                          industry’s premier national honors. e Dallas Business Journal has previously recognized Mr. Carter as among the top 40
                                          business professionals in the Dallas-Fort Worth area under 40 years of age, and he has been named by PR News as “One of 15 to
                                          Watch” on the national PR scene.

                                          Mr. Carter is active in a broad array of philanthropic activities. In addition to his involvement with the Brewer Foundation, he
                                          is a former board member for the Cystic Fibrosis Foundation, Northeast Texas Chapter, and is the former chairman of
                                          Shakespeare Dallas. Mr. Carter has been recognized twice by the North Texas Business Council for the Arts (NTBCA) with an
                                          Obelisk Award, an honor recognizing outstanding community leadership. He is a graduate of the NTBCA Leadership Institute,
                                          a nine-month program designed to develop the next generation of business and arts community leaders.

                                          Mr. Carter, who received a bachelor’s degree in journalism from e University of Oklahoma, holds an MBA from e
                                          University of Dallas. He is a member of several professional organizations, including the International Association of Business
                                          Communicators, the Public Relations Society of America, and the Dallas Press Club.


                                          DUCATION

                                             • M.B.A.,       e University of Dallas, 2002
                                             • B.A. in Journalism & Mass Communications,       e University of Oklahoma, 1993




                                          CONTACT                                                           DISCLAIMER

                                          DALLAS 214.653.4000                                               All materials con ained on this website are made available by Brewer,
                                          NEW YORK 212.489.1400                                             Attorneys & Counselors for informational purposes only and should not be
                                                                                                            construed as legal advice.   e transmission and receipt of information
                                          HOME | STORY | CASES | PEOPLE | EXPERTISE |
                                                                                                            con ained on this website does not form or constitute an attorney-client
                                          ADVOCACY | OUTREACH | OIN US | NEWS | CONTACT
                                                                                                            relationship. Persons should not act upon information found on this website
                                                                                                            without rst seeking professional legal counsel.
                                          ©2019. All rights reserved. Site Design




Source: https://www.brewerattorneys.com/travis-j-carter                                                                                                                                   Created 2020/05/03 at 23:40 GMT

                                                                                                                                                                                                          Appendix435
           Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                                                   Page 443 of 509 PageID 8382




                                        ← BACK



                                                                                                             Andrea aderr
                                                                                                             Senior Manager, Public A airs
                                                                                                             asadberry@brewerattorneys.com
                                                                                                             214.653.4026
                                                                                                             Download vCard




                                        IO

                                        Andrea Sadberry is Senior Manager of Public A airs in the Dallas o ce of Brewer, Attorneys & Counselors. She joined the
                                         rm in 2010.

                                        In this role, Ms. Sadberry develops and executes public relations and crisis management strategies for the rm and the clients it
                                        represents. In addition, she conducts media outreach in support of a wide range of charitable programs.

                                        Ms. Sadberry also serves as the Executive Director for the Brewer Foundation/New York University International Public Policy
                                        Forum (IPPF), a global debate competition that gives high school students the opportunity to participate in written and oral
                                        debates on issues of public policy. e IPPF annually involves thousands of students from dozens of countries around the
                                        world.

                                        Before joining Brewer, Attorneys & Counselors, Ms. Sadberry worked with the rm in her capacity as a project manager for
                                        Carter Public Relations.

                                        Ms. Sadberry has broad experience in video production and television reporting. Prior to joining Carter Public Relations, she
                                        worked as a television reporter at NBC 5 in Dallas, where she reported on a wide range of business, legal, and community issues.
                                        Ms. Sadberry came to NBC 5 from the NBC a liate in Wichita Falls, Texas, where she served as an anchor and reporter.

                                        Ms. Sadberry received her bachelor’s degree in journalism from the University of Kansas (KU). While attending KU, Ms.
                                        Sadberry studied at American University in Washington, DC, where she was one of only 25 students nationwide awarded a
                                        fellowship in the Washington Semester Program in Broadcast Journalism. In 2009, Ms. Sadberry received her master’s degree in
                                        communication from the University o Texas at Arlington. e same year, she completed the North Texas Business for Culture
                                        and the Arts Leadership Arts Institute, a nine-month program designed to develop the next generation of business and arts
                                        community leaders.

                                        From 2009 to 2013, Ms. Sadberry served on the board of directors for Big      ought, the nation’s largest nonpro t organization
                                        focused on improving public education through creative learning.

                                        In December 2013, Ms. Sadberry served as a panelist at the National Association for Hispanic Journalists Region 5 Conference
                                        in Dallas. She spoke on making the transition from a career in journalism to public relations.


                                        DUCATION

                                           • M.A. in communication, University o Texas at Arlington, 2009
                                           • B.A. in journalism, University of Kansas, 2003




                                        CONTACT                                                           DISCLAIMER

                                        DALLAS 214.653.4000                                               All materials con ained on this website are made available by Brewer,
                                        NEW YORK 212.489.1400                                             Attorneys & Counselors for informational purposes only and should not be
                                                                                                          construed as legal advice.   e transmission and receipt of information
                                        HOME | STORY | CASES | PEOPLE | EXPERTISE |
                                                                                                          con ained on this website does not form or constitute an attorney-client
                                        ADVOCACY | OUTREACH | OIN US | NEWS | CONTACT
                                                                                                          relationship. Persons should not act upon information found on this website
                                                                                                          without rst seeking professional legal counsel.
                                        ©2019. All rights reserved. Site Design




Source: https://www.brewerattorneys.com/andrea-sadberry                                                                                                                                 Created 2020/05/03 at 23:40 GMT

                                                                                                                                                                                                        Appendix436
           Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                                                                                   Page 444 of 509 PageID 8383




                                        ← BACK



                                                                                                         Katherine Leal
                                                                                                        Unmuth
                                                                                                             Manager, Public A airs
                                                                                                             klu@brewerattorneys.com
                                                                                                             214.653.4832
                                                                                                             Download vCard




                                        IO

                                        Katherine Leal Unmuth is a Manager of Public A airs in the Dallas o ce of Brewer, Attorneys & Counselors.

                                        Ms. Unmuth develops public relations and crisis management strategies to advance the interests of the rm and its clients,
                                        including Fortune 500 companies, entrepreneurs and leading nancial organizations. In this capacity, she handles media research
                                        and analysis, strategy, social media and media relations on a wide range of matters.

                                        Ms. Unmuth also provides strategic communications for the legal public service a liate of the rm, the Brewer Storefront.
                                        Most notably, Ms. Unmuth has provided communications support in connection with several successful voting rights cases
                                        brought on behalf of voters of color in the Dallas area. She helped direct the Storefront’s advocacy on behalf of the famed Jim’s
                                        Shoe Repair in New York City – helping keep the shop open. e rm was recognized for this work with an Award of Merit for
                                        Media Relations in the 2015 Dallas uill Awards, sponsored by the International Association of Business Communicators
                                        (IABC).

                                        She also manages media and community outreach for the Brewer Foundation’s educational programs – the Future Leaders
                                        Program (FLP) and the International Public Policy Forum (IPPF) debate competition.

                                        Prior to joining the rm in 2012, Ms. Unmuth worked as an education reporter and writer at e Dallas Morning News for six
                                        years. While there, Ms. Unmuth wrote extensively about Latino education issues, immigration, school accountability, and
                                        technology use in schools. She also wrote about education trends and research for the Latino Ed Beat blog, an initiative of the
                                        national Education Writers Association (EWA).

                                        In 2013, she served as an advisor on the PBS Independent Lens documentary “        e Graduates/Los Graduados,” which explored
                                        education issues faced by Latino high school students.

                                        Ms. Unmuth has lectured at a wide range of media and education conferences hosted by organizations including the College
                                        Board and EWA. In 2010, Ms. Unmuth was selected to participate in two international media symposiums sponsored by the
                                        French-American Foundation. In 2009, she won second prize for large media beat reporting in the EWA National Awards for
                                        Education Reporting competition for her work at e Dallas Morning News.

                                        Before moving to Dallas, Ms. Unmuth also worked as a higher education reporter for             e Wichita Eagle in Kansas. Ms. Unmuth
                                        holds a bachelor’s degree in journalism from Northwestern University.

                                        Ms. Unmuth is a board member of the Friends of Santa Fe Trail, a nonpro t organization dedicated to supporting and
                                        enhancing the Santa Fe Trail, a 4.3 mile multi-use Dallas trail that connects Downtown Dallas to White Rock Lake. She also
                                        previously served as a member of the Northwestern University Magazine Editorial Advisory Board from 2003 to 2019.


                                        DUCATION

                                           • B.A. in journalism, Northwestern University, 2003




                                        CONTACT                                                           DISCLAIMER

                                        DALLAS 214.653.4000                                               All materials con ained on this website are made available by Brewer,
                                        NEW YORK 212.489.1400                                             Attorneys & Counselors for informational purposes only and should not be
                                                                                                          construed as legal advice.    e transmission and receipt of information
                                        HOME | STORY | CASES | PEOPLE | EXPERTISE |
                                                                                                          con ained on this website does not form or constitute an attorney-client
                                        ADVOCACY | OUTREACH | OIN US | NEWS | CONTACT
                                                                                                          relationship. Persons should not act upon information found on this website
                                                                                                          without rst seeking professional legal counsel.
                                        ©2019. All rights reserved. Site Design




Source: https://www.brewerattorneys.com/katherine-leal-unmuth                                                                                                                           Created 2020/05/03 at 23:41 GMT

                                                                                                                                                                                                        Appendix437
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 445 of 509 PageID 8384




                    EXHIBIT 55




                                                                               Appendix438
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 446 of 509 PageID 8385




                          Crisis Law & Strategy Group


Introduction
Why Us?


Our firm has built its reputation by carving success from long odds in “bet the company” litigation.
We are home to the best dispute resolution lawyers in the world. From white collar to antitrust to
the entire range of financial issues and cross-border disputes, we have lawyers around the globe
ready to respond to any challenge. In high stakes matters, things move very fast, and bad news—
and false news—spreads literally in minutes. Getting a verdict from a judge or jury can take years,
but in the court of public opinion, verdicts are rendered almost immediately and can directly affect a
company and its leaders—especially the CEO and the GC—long before the first court hearing.


So great lawyering means a lot more these days than just crafting winning legal strategies.
Litigation or government scrutiny may be one part of a larger crisis, and the pieces need to be
managed together. That means managing the public trial—or more often the public media circus—
so you don’t lose your reputation, your business, or your soon-to-be-filed court case before you’ve
even had a chance to see a judge. It means recognizing all the audiences you must effectively
communicate with in order to win the battle: the court and jury, of course; but also the “mainstream”
media, the trade press, the bloggers and other “influencers,” investor relations in all its forms, your
customers, your employees, your competitors, all of whom are making decisions in real time when
crisis hits.


At Quinn Emanuel, we know crisis management requires a proactive, multi-disciplined approach
and have the experience to fight in every arena. It requires not only knowing your business and the
law but also understanding how the media works, knowing who the opinion-makers are, and
sending the right message to the public and to specialized audiences, as well as the courts. When
troubles hit, we hit the ground running. Our lawyers know how to get to the top fast; to find the third
parties you need to support your case; to build a story or kill it. We work across time zones, across
the world, 24/7. When Los Angeles sleeps, Europe wakes up, then New York, Chicago…not to
mention Australia and Asia.
                                                                                                    Appendix439
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 447 of 509 PageID 8386

When is a crisis really a crisis? When it threatens your company, your CEO, your business, and
your relationships. It can begin as an existential threat or just the hint of trouble. A lawsuit can be
the crisis or an outgrowth of one. A crisis can be caused by a crazed employee or an act of God, a
terrorist strike or a dealer who finds a defect. It can be a massive cyber breach, a multi-pronged
government investigation, a come-from-nowhere complaint against your CEO, a disgruntled former-
employee-turned-whistleblower, a phone call from a regulator, or a sick customer halfway around
the world, who could be the first of many.


You call it a potential disaster. We understand - it could be.


You, or those around you, may be panicking. We call it Tuesday.




We have created a special practice group with attorneys whose bags are always packed and ready
to tackle a crisis wherever and whenever.


And we don’t just deal in crises after-the-fact.     We can also help you think through pressing
corporate issues, mitigate risk and develop effective legal and communications strategies before
crises occur. From the ever more visible range of workforce issues making the headlines—from
diversity and sexual harassment to corporate governance, information leaks and the boundaries of
free expression—we are ready to bring to bear our broad range of private and public sector
experiences to leverage best practices, provide informed strategic counsel, and develop a
persuasive communications and outreach strategy that will strengthen your brand and impress
important stakeholders.




Who We Are


The Crisis Law & Strategy Group operates both in the United States and around the globe because
the needs are everywhere. With 23 offices worldwide, we will be by your side from beginning to
end. We know what to do, who to call, how to move, what to say, because really, that’s what we’ve
been doing for the past two decades. Now we do it in double time around the world. We’d like to
meet with you and your top leaders so you know what we do and how we can help.


The group is co-chaired by Founder and Managing Partner, John Quinn, who has built the firm in to
a global litigation and arbitration powerhouse, in Los Angeles, and Bill Burck in Washington, D.C. (a

                                                                                                    Appendix440
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 448 of 509 PageID 8387
veteran Republican and Bush insider). As described below, they are aided by an impressive team
of lawyers and former government officials, who bring decades of experience and contacts to bear.




What We Do


“How Fast Can You Get to…”


“Let’s see. I just got back from London. We’ll be there tomorrow.”


As our founder John Quinn says, “We pack our bags and we go.” Quinn Emanuel always works as
a team. You are our clients, not one particular partner’s—everyone and anyone, from John Quinn
on, will jump in as needed to offer advice or deliver a message.




The Quinn Emanuel Advantage – Value Added


The Best Motion Practice.


Modern litigation rarely resembles the television shows people watch about lawyers. It’s about
motion practice, and sophisticated legal argument; winning on summary judgment; winning before
trial. While trial lawyers have a reputation of not paying attention to, not being able to, or not caring
to produce first rate papers, we think about it very differently. We have won major cases without
ever putting on a suit and going to court. When billionaire Ron Perelman sued the man who had
provided the financing for him to go into business, Michael Milken, a team led by John Quinn got
the case dismissed by winning on the papers in four courts.


Being Able to Try Cases Often Means You Don’t Have To.


It sounds like a paradox, but the fact that Quinn Emanuel has been ranked as one of the “Fearsome
Foursome” (the firms that General Counsels least like to see against them) gives us more clout at
the bargaining table. Our opponents know what we know: that we actually like to try cases. Quinn
Emanuel lawyers win 88% of the cases we take to trial and arbitration. But often the best result is
the certainty and finality that you can achieve only with a settlement, and the challenge is to get the
best possible settlement and, just as in the case of trials, sell it as a major victory. In one case, we
did such a good job that the parent company wanted to know why we weren’t being even more
aggressive; we had to explain that actually, some people might say it was a mixed result at best but

                                                                                                      Appendix441
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                Page 449 of 509 PageID 8388
we got to the microphones first.


Being Willing to Bet on Ourselves.


How much will it cost? We don’t pretend to come cheap, but the best never do. But we believe in
ourselves. We put skin in the game. We negotiate fixed fees for tasks with incentives for our
success. We like to compete in the big games, and if you want us, we’ll find a way to make it work.


An Appellate Specialist Embedded in Every Trial Team.


Just in case. There is nothing that a jury can do that an appellate court can’t undo. We have one of
the most honored and recognized appellate groups in the country, led by former Stanford Law
School Dean Kathleen M. Sullivan, a recognized force in the Supreme Court and numerous courts
of appeal.


The Crisis Law Team Can Handle Communications.


Often, when we take on a big case, our clients ask us for recommendations for crisis management
or public relations firms. There are many talented people who work in these companies and if you
have a PR firm you’re happy with, our job is to work with them to ensure that the message to the
public and the message to the judge support one another. But the truth is, much of the time the
lawyers end up having to explain the legal issues to the PR people and write the releases so as to
be consistent with the legal strategy. What some of our clients have figured out is that since we’re
doing the talking anyway, they don’t need a six or seven figure PR firm. Maybe it’s better, and
safer, to leave it to us. We have the expertise to run the communications effort internally and
efficiently. We can not only do it better, we can do it cheaper. We are your lawyers. You can talk to
us with confidence. And when you talk to us about litigation and legal strategy, you are protected by
the privilege.


We Help You Get Ahead of the Curve


We don’t just manage current crises but help you think strategically about important, longer-term
legal, governance and policy issues – so you can proactively reduce legal risk, improve your brand,
and retain the trust of your Board, your shareholders and the public.




Keys to Managing and Avoiding Crises

                                                                                                  Appendix442
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 450 of 509 PageID 8389

Keep It as Small as You Can.
The first goal in a crisis is to contain it—ideally, to prevent it altogether. You know your product may
have a defect. Call us. You think the Government may be investigating you. Don’t wait. Your
competitors are on the firing line. Who is next? A crisis is a lot like pain: if it gets too far ahead of
you, it’s hard to catch up. Do a risk assessment. We’ll do it with you. In this climate, always
assume someone is looking. Why do CEOs come and go so fast? Or perhaps, why don’t they go
even faster, considering the enormous pressures? Even if you face litigation—or especially when
you face litigation—our goal is to limit its scope and nature, cabin the consequences and potential
damages to make sure that nothing you do now contributes to punitive damages later. Whatever is
coming, let us address it.


Get the Facts.
Not every crisis is real. Rumors are regularly reported as news. The first step in a potential crisis is
to collect as many facts as you can as fast as you can. Given the speed with which news—good
and bad, true and not-so-true, unfortunately—spreads, you can’t afford to be silent for very long. It
often takes time to collect all the facts, and you need a message before you can conduct a full
investigation. Often the message is just that: “No one is more troubled by what we are hearing than
the hardworking men and women of this company, from the CEO to the temporary employee. We
will get to the bottom of this. If there is wrongdoing, we will find it. If there are amends that must be
made, we will make them…”


Remember Your Audiences.
Not just the reporters who call you, but all the people who need to hear it from the company or its
lawyer first—directors, customers, suppliers, bankers. No news during a crisis is bad news, so
we’re ready to reach out on a variety of fronts—bloggers, opinion leaders, the academics who are
going to tell the reporters that you’re right. We work with senior government officials in the United
States and around the world. We cover both sides of the aisle in Washington with relationships
extending back decades based on friendship and mutual respect. We don’t wander the halls of
Capitol Hill with a different issue every day. We represent you. We resolve your dispute.


Counter Lies.
If you’re being smeared, have your lawyer say it and have others back it up. Silence is not golden.
An unanswered charge is assumed to be true. Having no comment may make it true. Being
unavailable for comment means you are intentionally avoiding the reporters, which is almost always
a bad and utterly ridiculous idea if what they are reporting is not true. If you can’t deny each
specific allegation, then deny the conclusion. “That is not the man I know.” The days when lawyers

                                                                                                      Appendix443
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 451 of 509 PageID 8390
could avoid speaking to anyone but the judge and jury are gone, at least in big cases.


Define Your Message.
Every dispute has a story to be told—to the press, to the opinion makers, to the prosecutors, to the
court and to the jury. The story has to be told in the right way at the right time. We have built our
reputation as a firm that is willing to be aggressive when needed, willing to put ourselves on the line
when needed, willing to stand by you when others are heading for the hills. We have longstanding
contacts in the major news and social media organizations. We know who to call and what to say.
We know the importance of being credible.


Accepting Responsibility is Not the Same as Accepting Liability.
When you’re in charge and something goes wrong, you’re either part of the problem or part of the
solution. We’ve heard many executives say, “But it wasn’t my fault. Someone should have told
me.” This is all very important for the court case, in which duties and responsibilities will be
individually defined, but not when you’ve got a frightened public or an angry Senator. Crises
demand leadership. Sometimes, there are things you can’t admit, and we all have examples. But
the best approach to the problem is not always going to be the one we should take in court. Don’t
lowball damages—going up every day is worse than saying, “We don’t know the number, but we do
know this—we will fix the problem.” Bring in the best technicians in the world, compensate the
injured, rebuild what was destroyed. These are not legally binding commitments that you are liable
for x dollars in damages. Showing compassion and leadership, getting to the bottom of matters,
and committing to solve a problem whoever created it turns down the heat. Do the opposite of what
is being done to turn the heat up. The rivers are full of snakes.


Don’t Be Defensive.
That may be the table we will be sitting at, but being defensive will make you sound guilty. The best
companies—with the best workers and the best technology—are still run by humans, who are
capable of errors and vulnerable to the acts of hoodlums, disasters of mother nature, and risks of
the real world. Every company, every CEO has problems. If you’ve got critical directors on your
board, they generally don’t go away by ignoring them, and the same goes for angry customers and
bottom-feeding lawyers. Define the problem. Outline your strategy. Be as transparent as you can
be. Get as much news out (especially bad news) on the same day as you can. Remember, the
public has the attention span of a gnat, and today’s paper still does wrap some of tomorrow’s fish.
Having a strategy, hanging in, hanging tough, doing your politics, eating humble pie when needed
followed by dessert, will make a better meal. And nine times out of ten, the cover-up—if you go that
way—will cause you more problems than whatever you’re trying to hide.



                                                                                                    Appendix444
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                   Page 452 of 509 PageID 8391
Finally, remember, Congress (and similar bodies) are courts of public opinion, not courts of law.


Be Proactive and Think Long-Term
As author Steven Covey says, “begin with the end in mind.” That means figuring out the end-game
from the very beginning: what your goals and objectives are, who your audience is, what
benchmarks will help define success and provide opportunities for expansion, and where the
obstacles and landmines lie that must be avoided or overcome.                   As your strategic and
communications advisers, we will help augment your strengths and identify and help sure up any
potential legal risks and liabilities. We will anticipate issues conduct internal reviews, and work with
you to develop effective strategies to tackle some of your most perplexing and illusive challenges.
Our goal is to not only get you out ahead of the curve but to be the curve, the standard by which all
your peers will be judged.



Recent Representations
   California utilities face increasing and potentially crippling litigation exposure from wildfires. In a
   major appellate victory for PG&E in the California Court of Appeal for the Third District, Quinn
   Emanuel greatly limited that exposure by eliminating the threat of punitive damages against
   PG&E for the 2015 Butte Fire. The court held that, in light of PG&E’s extensive vegetation
   management program along its 135,000 miles of powerlines, PG&E could not possibly be found
   to have consciously disregarded the risk of tree-related wildfires, as would be required to award
   punitive damages. In addition to saving PG&E from potentially billions of dollars in punitive
   damages, the decision creates important new California law protecting companies that institute
   risk management programs from the threat of punitive damages in the future.

   When Fédération Internationale de Football Association (“FIFA”) was rocked by allegations of
   “rampant, systemic, and deep-rooted” bribery and corruption, we had a team on the ground in
   Switzerland within hours, advising the international soccer’s governing body in the midst of a
   raid on its headquarters and the arrests of numerous senior soccer officials. Since then,
   the firm has helped guide FIFA through the crisis—conducting an internal investigation into
   allegations of wrongdoing, advising on media strategy, helping pass wide-ranging reforms to
   resolve the problems of the past, and cooperating with government authorities on FIFA’s behalf.
   As a result of our efforts, FIFA has secured victim status in the global investigations and is
   actively pursuing restitution for the losses it suffered at the hands of corrupt officials.

   Facing high-profile allegations of sexual harassment, the late Fox News Chairman and CEO,
   Roger Ailes turned to the firm. The allegations captured the media’s attention and case
   developments became instant breaking news. In this intense media spotlight, our team quickly

                                                                                                        Appendix445
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 453 of 509 PageID 8392
   devised a strategy to navigate the legal and PR landscape. With one of the world’s leading
   media experts deciding to rely on us to handle all aspects of communication, we negotiated a
   fair agreement within days and have worked cooperatively with Twenty First Century Fox to
   address all pending matters, handling all communications as well as litigation and arbitration.

   We have successfully defended Fortune 100 companies facing government investigations.
   Through an aggressive, carefully orchestrated strategy, they helped one company obtain a
   favorable settlement in a statewide investigation conducted by the Attorney General and District
   Attorneys' offices regarding the company's statewide hazardous waste and materials practices.
   In another, their persuasive oral and written presentations to the government, including a White
   Paper characterized by the General Counsel as “the best he’s ever seen,” deterred further
   governmental action. Their nuanced approach to resolving government disputes prevents or
   minimizes disruption to a company and its corporate image.

   In 2010, the BP Deepwater Horizon drilling unit exploded in the Gulf of Mexico, killing eleven
   crewmen and causing the worst oil spill in U.S. history. When the government’s attention turned
   to BP engineer Bob Kaluza, the company’s “well site leader” who was on the rig that day, he
   turned to the firm. With co-counsel, our team guided Kaluza through Coast Guard hearings,
   civil lawsuits, government commissions, media crises and ultimately a criminal trial accusing
   him of manslaughter and oil pollution, in which he was vindicated on every single charge,
   including a trial in 2016 on the final count of pollution, where the jury unanimously acquitted.

   We represent the Rosenthal family, one of the wealthiest and most prominent families in Central
   America, in connection with high-profile criminal prosecutions of several family members, and
   OFAC investigations targeting family owned companies alleging that family members and
   companies laundered funds for some of the largest narcotics traffickers in Latin America. Days
   after OFAC sanctions were imposed—threatening the survival of the entire group—we deployed
   a team that led a corporation reorganization of approximately 30 companies worth in excess of
   $1 billion and engaged with partners, customers and vendors of the companies to preserve
   commercial relationships, restore confidence and ensure the survival of the group. As a result
   of our efforts, the three most valuable assets of the family continue successfully operating.

   Construction giant Odebrecht turned to the firm for help after its president was arrested and
   accused of paying millions of dollars in bribes to senior officials in Brazil’s state-owned oil
   company, Petrobras, as part of the massive Lava Jato corruption scandal. Facing investigations
   in multiple jurisdictions and the prospect of crushing penalties that could put the company out of
   business, we achieved a historic global settlement in just a matter of months, resolving
   allegations of corruption in a dozen countries. The global settlement was notable for



                                                                                                      Appendix446
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                 Page 454 of 509 PageID 8393
   introducing the concept of measuring a company’s monetary penalty in the FCPA context by its
   financial condition and ability to pay.

   We represented Martín Díaz-Álvarez, one of the most prominent bankers in Mexico, in
   connection with parallel DOJ and SEC investigations and Mexican criminal investigations into
   the collapse of Oceanografía S.A. de C.V. (“Oceanografía”), the largest fraud in the history of
   Latin America. The Mexican government blamed Mr. Diaz for the collapse of Oceanografía,
   indicted him for fraud and sought his extradition from the United States, publicly claiming he
   was Mexico’s most wanted fugitive. We successfully extricated Mr. Diaz from the DOJ and SEC
   investigations, defeated the extradition proceedings and with Mexican counsel dismissed the
   Mexican charges.

   Following a whistleblower complaint and resulting in missed SEC filings, an Audit Committee
   investigation, and the resignation of its auditor, a California-based technology company in crisis
   turned to the firm. We immediately had a team on the ground to diffuse the crisis and guide the
   Company through the investigation. Key in the process was effectively managing all concerned
   constituencies. Our substantial experience in representing companies has provided us with the
   expertise to handle both the myriad issues that inevitably arise and the competing interests at
   play, including often times a divergence between boards of directors and management.

   In 2016, the firm was retained by a U.S. based broker-dealer to advise with respect to a raid on
   their Manila offices by the Philippine’s National Bureau of Investigation. The raid resulted in the
   arrest of more than 30 employees, including a U.S. executive visiting the office, based on
   allegations that the employees were operating a “boiler room” out of the Philippines. Our
   attorneys worked across multiple time zones to coordinate the efforts of the company, to work to
   get all employees released from confinement and to conduct a factual investigation to
   determine whether there was any basis to the allegations in the NBI’s complaint. Charges were
   dropped against all employees.

   Overnight, an M&A transaction involving the Swiss specialty chemicals company Sika and the
   French construction conglomerate Saint-Gobain turned into what The Economist dubbed
   “Europe’s nastiest takeover battle.” The firm was brought in by the family shareholder of Sika
   who was faced with an unprecedented opposition by the company’s board of directors when it
   sought to sell its stake in the company. We helped set up a team of strategic, legal and media
   advisors to lead the family through the various lawsuits, PR and management issues and the
   preparations for the shareholders’ meeting.

   Our offices in Australia have successfully represented and advised numerous companies,
   boards and prominent directors and officers facing corporate crises. Michael and Michelle


                                                                                                     Appendix447
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20                  Page 455 of 509 PageID 8394




   currently represent Infigen Energy, the largest owner of wind farms in Australia, in relation to a
   recent bushfire on its property which resulted in significant damage to surrounding properties
   and attracted scrutiny from the press and the government. This created an immediate crisis
   through the organization that required urgent advice, assistance and management across a
   range of disciplines. Following the fallout from the incident, we are now advising Infigen in
   relation to the potential Coronial Inquiry into the bushfire, as well as a parallel class action
   launched by affected landowners.




                                                                                                        Appendix448
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 456 of 509 PageID 8395




                    EXHIBIT 56




                                                                               Appendix449
  Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20        Page 457 of 509 PageID 8396




Crisis Management

Litigation > Crisis Management

When faced with a major crisis, businesses, organizations and individuals
need lawyers with the judgment, skills, relationships and experience to
provide an integrated approach to resolving the crisis. That means
lawyers who can develop a strategy that addresses all aspects of the
matter—the legal issues; congressional, regulatory and inspector
general investigations; civil litigation; media and investor scrutiny; and the
long-term business or career implications.

Our crisis management practice includes lawyers and advisors with
signi cant hands-on experience solving complex problems in high-
pro le settings. These attorneys have the litigation, public policy and
communications skills to manage the crisis on multiple fronts. Our
lawyers draw on their knowledge and experience in conducting internal
investigations, responding to government regulators and congressional
investigations, preparing witnesses to testify in Congress, managing
litigation, working with the media, designing compliance and
Environmental, Social and Governance (ESG) programs, and formulating
public policy. Our focus is on solving the immediate crisis, working with
the client to correct the problem, and furthering the client’s long-term
objectives in an integrated and e cient way that minimizes future
  nancial, legal and reputational harm.

Lawyers in this group have served in senior positions across the
government, including in the White House, Congress, U.S. Attorneys’
o ces around the country, the Department of Justice (DOJ), the
Department of State, the Securities and Exchange Commission (SEC),
the Federal Communications Commission and the New York City Police
Department. Together they utilize their collective knowledge and
experience, as well as rmwide resources, including the rm’s nationally
recognized practices in white-collar defense, global investigations and
compliance, congressional investigations, reputational recovery,
                                                                                      Appendix450
 Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20      Page 458 of 509 PageID 8397


commercial litigation, cybersecurity, privacy and data protection and
public law and policy. To further supplement our capabilities, our team
also has established relationships with skilled public relations and
communications practitioners and regularly partners with these
professionals to guide and manage the implementation of media
strategy.

Our crisis management lawyers have represented public companies,
professional services rms, current and former government o cials, C-
suite executives, universities, and domestic and foreign governmental
entities in high-stakes matters involving nancial services, securities
fraud, public corruption, campaign nance violations, reputation
management, the A ordable Care Act, professional misconduct, disaster
relief and cybersecurity.

To learn about some of the signi cant representations handled by
members of our team, click here.




   Litigation

   SUBPR ACTICES

   • Administrative and Regulatory Litigation
   • Antitrust Litigation
   • Bankruptcy Litigation
   • Class Actions
   • Complex Commercial Litigation
   • Construction Litigation
   • Consumer Class Actions
   • Crisis Management
   • Cybersecurity, Privacy and Data Protection
   • EB-5 Business Services
   • Energy Litigation
   • Fair Credit Reporting Act




                                                                                   Appendix451
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 459 of 509 PageID 8398




                    EXHIBIT 57




                                                                               Appendix452
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 460 of 509 PageID 8399




                                                                               Appendix453
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 461 of 509 PageID 8400




                                                                               Appendix454
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 462 of 509 PageID 8401




                                                                               Appendix455
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 463 of 509 PageID 8402




                                                                               Appendix456
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 464 of 509 PageID 8403




                                                                               Appendix457
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 465 of 509 PageID 8404




                                                                               Appendix458
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 466 of 509 PageID 8405




                                                                               Appendix459
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 467 of 509 PageID 8406




                                                                               Appendix460
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 468 of 509 PageID 8407




                                                                               Appendix461
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 469 of 509 PageID 8408




                                                                               Appendix462
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 470 of 509 PageID 8409




                                                                               Appendix463
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 471 of 509 PageID 8410




                                                                               Appendix464
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 472 of 509 PageID 8411




                                                                               Appendix465
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 473 of 509 PageID 8412




                                                                               Appendix466
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 474 of 509 PageID 8413




                                                                               Appendix467
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 475 of 509 PageID 8414




                                                                               Appendix468
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 476 of 509 PageID 8415




                                                                               Appendix469
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 477 of 509 PageID 8416




                                                                               Appendix470
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 478 of 509 PageID 8417




                                                                               Appendix471
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 479 of 509 PageID 8418




                                                                               Appendix472
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 480 of 509 PageID 8419




                                                                               Appendix473
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 481 of 509 PageID 8420




                                                                               Appendix474
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 482 of 509 PageID 8421




                                                                               Appendix475
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 483 of 509 PageID 8422




                                                                               Appendix476
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 484 of 509 PageID 8423




                                                                               Appendix477
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 485 of 509 PageID 8424




                                                                               Appendix478
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 486 of 509 PageID 8425




                                                                               Appendix479
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 487 of 509 PageID 8426




                                                                               Appendix480
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 488 of 509 PageID 8427




                                                                               Appendix481
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 489 of 509 PageID 8428




                                                                               Appendix482
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 490 of 509 PageID 8429




                                                                               Appendix483
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 491 of 509 PageID 8430




                                                                               Appendix484
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 492 of 509 PageID 8431




                                                                               Appendix485
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 493 of 509 PageID 8432




                                                                               Appendix486
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 494 of 509 PageID 8433




                                                                               Appendix487
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 495 of 509 PageID 8434




                                                                               Appendix488
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 496 of 509 PageID 8435




                                                                               Appendix489
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 497 of 509 PageID 8436




                                                                               Appendix490
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 498 of 509 PageID 8437




                                                                               Appendix491
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 499 of 509 PageID 8438




                                                                               Appendix492
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 500 of 509 PageID 8439




                                                                               Appendix493
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 501 of 509 PageID 8440




                                                                               Appendix494
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 502 of 509 PageID 8441




                                                                               Appendix495
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 503 of 509 PageID 8442




                                                                               Appendix496
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 504 of 509 PageID 8443




                                                                               Appendix497
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 505 of 509 PageID 8444




                                                                               Appendix498
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 506 of 509 PageID 8445




                                                                               Appendix499
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 507 of 509 PageID 8446




                                                                               Appendix500
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 508 of 509 PageID 8447




                                                                               Appendix501
Case 3:19-cv-02074-G-BK Document 122 Filed 05/04/20   Page 509 of 509 PageID 8448




                                                                               Appendix502
